Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335

                                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                                           amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                12/15



 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                         $235,204.00



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                        $13,298,374.14



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                       $13,533,578.14



 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                   $30,018,333.00



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                      $455,109.79



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                                + $17,778,823.57




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................     $48,252,266.36




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                   Page 1 of 1
           Case: 19-52335                       Doc# 74               Filed: 12/09/19 Entered: 12/09/19 21:47:22                                                   Page 1 of
                                                                                  217
Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335

                                                                                                                         ¨ Check if this is an
                                                                                                                                amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.



 Part 1:     Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
       ¨ No. Go to Part 2.
       þ Yes. Fill in the information below
       All cash or cash equivalents owned or controlled by the debtor                                                 Current value of
                                                                                                                      debtor’s interest

2.     Cash on hand
2.1.   PETTY CASH                                                                                                     $62.81

3.      Checking, savings, money market, or financial brokerage accounts (Identify all)
        Name of institution (bank or brokerage firm)     Type of account              Last 4 digits of account number Current value of
                                                                                                                      debtor’s interest
3.1.    CIT BANK, N.A.                                   MAIN OPERATING               0293                             $23,612.59
        75 N. FAIR OAKS AVE
        PASADENA CA 91103
3.2.    CIT BANK, N.A.                                   DEPOSITORY                   0309                             $0.00
        75 N. FAIR OAKS AVE
        PASADENA CA 91103
3.3.    CIT BANK, N.A.                                   DISBURSEMENT                 0317                             $0.00
        75 N. FAIR OAKS AVE
        PASADENA CA 91103
3.4.    CIT BANK, N.A.                                   PAYROLL                      0325                             $0.00
        75 N. FAIR OAKS AVE
        PASADENA CA 91103
3.5.    CIT BANK, N.A.                                   CORPORATE EXPENSE            1011                             $0.00
        75 N. FAIR OAKS AVE
        PASADENA CA 91103




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                 Page 1 of 134
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                                                                   217
Debtor     Imperial Toy LLC                                                                                        Case number (if known) 19-52335

4.       Other cash equivalents (Identify all)
         Description                 Name of institution              Type of account             Last 4 digits of account   Current value of
                                                                                                  number                     debtor’s interest
4.1.     MERCHANT ACCOUNT            FIRST DATA CIT                   MERCHANT ACCOUNT            3889                       $0.00
                                     P O BOX 8879
                                     CORAL SPRINGS FL 33075

5.     Total of part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                             $23,675.40



 Part 2:       Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?
       ¨ No. Go to Part 3.
       þ Yes. Fill in the information below
7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                                    Current value of
                                                                                                                             debtor’s interest

7.1.     RENT                                                                                                                $17,100.00
         PSJ ASSOCIATES LLP
         PAUL VAN OSTRAND
         7800 DEERING AVE.
         CANOGA PARK CA 91304

7.2.     UTILITY                                                                                                             $15,484.00
         SAN DIEGO GAS & ELECTRIC
         P.O. BOX 25111
         SANTA ANA CA 92799

7.3.     WAREHOUSE LEASE                                                                                                     $31,250.00
         SOUTHAVEN DISTRIBUTION
         4678 WORLD PARKWAY CIRCLE
         ST. LOUIS MO 63134

7.4.     SECURITY DEPOSIT                                                                                                    $62,000.00
         SV PORTFOLIO LP
         P.O. BOX 924133
         HOUSTON TX 77292

7.5.     IP PHONE - DEPOSIT                                                                                                  $7,526.00
         TAMCO CAPITAL CORP
         P.O. BOX 10306
         DES MOINES IA 50306

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                                                 Current value of
                                                                                                                             debtor’s interest
8.1.     INSURANCE                                                                                                           $4,318.75
         ACE INDEMNITY CO.
8.2.     INSURANCE                                                                                                           $217.15
         AIG
8.3.     ROYALTY                                                                                                             $3,250.00
         BEST ROAD, INC.



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                        Page 2 of 134
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Debtor    Imperial Toy LLC                                                                     Case number (if known) 19-52335

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.4.     ROYALTY                                                                                         $13,000.00
         BRANDFORD ROSS
8.5.     INSURANCE                                                                                       $937.50
         COLUMBIA CASUALTY CO.
8.6.     ROYALTY                                                                                         $6,670.00
         DISNEY CONSUMER PRODUCTS, INC.
8.7.     ROYALTY                                                                                         $7,500.00
         EARTHBOUND LLC
8.8.     INSURANCE                                                                                       $16,587.85
         GMX SEGUROS
8.9.     INSURANCE                                                                                       $34,346.00
         GREAT AMERICAN EXCESS & SURPLUS
8.10.    INSURANCE                                                                                       $1,329.15
         GREAT AMERICAN INS. CO.
8.11.    ROYALTY                                                                                         $1,085.85
         GUARANTEE CO. OF NORTH AMERICA
8.12.    INSURANCE                                                                                       $14,695.00
         HANOVER
8.13.    INSURANCE                                                                                       $10,627.80
         HUB INTERNATIONAL INSURANCE SERVICES
8.14.    ROYALTY                                                                                         $9,750.00
         IVY STRAUSS DESIGN LLC
8.15.    ROYALTY                                                                                         $100,000.00
         KADE LIMITED
8.16.    INSURANCE                                                                                       $375.00
         LLOYDS OF LONDON
8.17.    ROYALTY                                                                                         $502.00
         MARVEL BRANDS, LLC
8.18.    ROYALTY                                                                                         $7,070.00
         MGA ENTERTAINMENT, INC.
8.19.    INSURANCE                                                                                       $19,773.00
         NAVIGATORS INS. CO.
8.20.    ROYALTY                                                                                         $35,400.00
         THE WALT DISNEY COMPANY
8.21.    ROYALTY                                                                                         $14,671.24
         TRANOVATION, LLC.
8.22.    INSURANCE                                                                                       $9,339.85
         UNDERWRITERS AT LLOYD’S


Official Form 206A/B                       Schedule A/B: Assets — Real and Personal Property                       Page 3 of 134
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Debtor     Imperial Toy LLC                                                                                        Case number (if known) 19-52335

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment                                                               Current value of
                                                                                                                            debtor’s interest
8.23.     ROYALTY                                                                                                           $5,990.00
          VIACOM MEDIA NETWORKS
8.24.     ROYALTY                                                                                                           $11,820.00
          WALT DISNEY RECORD

9.      Total of part 2
        Add lines 7 through 8. Copy the total to line 81.                                                                        $462,616.14



 Part 3:      Accounts receivable

10.     Does the debtor have any accounts receivable?
        ¨ No. Go to Part 4.
        þ Yes. Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor’s interest

11.        Accounts receivable
                                Face amount          Doubtful or uncollectible
                                                     accounts

11a.       90 days old or       $0.00             - $0.00                            = ........ →                            $0.00
           less:

                                Face amount          Doubtful or uncollectible
                                                     accounts

11b.       Over 90 days old:    $0.00             - $0.00                            = ........ →                            $0.00

12.     Total of part 3
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                       $0.00



 Part 4:      Investments

13.     Does the debtor own any investments?
        ¨ No. Go to Part 5.
        þ Yes. Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. ___________________________________________________________________                           _____________________ $________________

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses,
          including any interest in an LLC, partnership, or joint venture
          Name of entity                                                         % of ownership
15.1.     IMPERIAL ENTERTAINMENT INTERNATIONAL LIMITED                           100.00%            Undetermined            UNDETERMINED
          19F, 8 OBSERVATORY RD
          TSIM, SHA TSUI
          KOWLOON
          HONG KONG


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                       Page 4 of 134
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Debtor      Imperial Toy LLC                                                                            Case number (if known) 19-52335

15.2.      IMPERIAL TOY DE MEXICO, S. DE R.L., DE C.V.                    100.00%        Undetermined            UNDETERMINED
           CALLE MAZATLAN 14600
           PARQUE INDUSTRIAL PACIFICO
           TIJUANA, BAJA CALIFORNIA 22643
           MEXICO

16.        Government bonds, corporate bonds, and other negotiable and non-negotiable
           instruments not included in Part 1
           Describe
16.1.      __________________________________________________________________            _____________________ $_______________

17.      Total of part 4
         Add lines 14 through 16. Copy the total to line 83.                                                       UNDETERMINED



 Part 5:       Inventory, excluding agriculture assets

18.      Does the debtor own any inventory (excluding agriculture assets)?
         ¨ No. Go to Part 6.
         þ Yes. Fill in the information below.
            General description              Date of the last      Net book value of     Valuation method used    Current value of
                                             physical inventory    debtor's interest     for current value        debtor’s interest
                                                                   (Where available)
19.         Raw materials
19.1.       PUMP W/HANG TAG 23204            10/2018               $85,553.52            COST                     $85,553.52

19.2.       SHRINK BAND 4 OZ 6 PK            10/2018               $44,303.80            COST                     $44,303.80

19.3.       TRAY 6 OZ 6 PK PRINTED           10/2018               $43,827.61            COST                     $43,827.61

19.4.       RESIN HDPE - BLOW MOLD 10/2018                         $41,875.40            COST                     $41,875.40

19.5.       CAP 55 OZ BLITZ BLUE             10/2018               $39,775.28            COST                     $39,775.28

19.6.       PVC STORAGE BAG                  10/2018               $36,775.01            COST                     $36,775.01

19.7.       CLAM BLISTER 22051               10/2018               $36,107.54            COST                     $36,107.54

19.8.       BOTTLE 5 OZ P+ PURPLE            10/2018               $34,305.90            COST                     $34,305.90

19.9.       TREATED PALLETS 40X48            10/2018               $31,925.40            COST                     $31,925.40
            4WAY #1

19.10.      CAP 55 OZ BLITZ PURPLE           10/2018               $31,574.62            COST                     $31,574.62

19.11.      BOX 9.63 X 12 X 9.63             10/2018               $31,573.18            COST                     $31,573.18
            (17525)

19.12.      BOTTLE 55 OZ P+ CLEAR            10/2018               $30,750.11            COST                     $30,750.11

19.13.      BLISTER W/FOOT FLASH             10/2018               $29,791.08            COST                     $29,791.08
            BLASTER

19.14.      CAP W/LOGO SCULPTED              10/2018               $27,983.73            COST                     $27,983.73
            ON 2 SIDES

19.15.      CAP 55 OZ BLITZ RED              10/2018               $27,086.14            COST                     $27,086.14

19.16.      LABEL 4 OZ SMB PLAYDAY           10/2018               $26,100.00            COST                     $26,100.00

19.17.      NEW ACTIVATOR B (5 ML)           10/2018               $25,860.98            COST                     $25,860.98
            COMMON

19.18.      CARD 17524B - WT                 10/2018               $23,865.01            COST                     $23,865.01

19.19.      CELLOSIZE QP 100 MH -            10/2018               $22,510.48            COST                     $22,510.48
            MX

Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                           Page 5 of 134
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Debtor   Imperial Toy LLC                                                                  Case number (if known) 19-52335

19.20.   CAP 55 OZ BLITZ GREEN        10/2018              $21,728.17            COST                $21,728.17

19.21.   N1 CONCENTRATE MX            10/2018              $21,451.22            COST                $21,451.22

19.22.   BOX PRINTED W/ACETATE        10/2018              $18,752.44            COST                $18,752.44
         HANDLE

19.23.   DUMPBIN MINION 96 PCS        10/2018              $18,658.75            COST                $18,658.75

19.24.   SHRINK BAND 55 OZ            10/2018              $18,430.37            COST                $18,430.37
         PURPLE

19.25.   SHRINK BAND 55 OZ BLUE       10/2018              $18,318.91            COST                $18,318.91

19.26.   BOWLING 4 PC INSERT          10/2018              $17,841.41            COST                $17,841.41
         SHEET

19.27.   SHRINK BAND 55 OZ RED        10/2018              $16,001.89            COST                $16,001.89

19.28.   RESIN TPE                    10/2018              $15,921.90            COST                $15,921.90

19.29.   DUMPBIN FUZZBIES 48          10/2018              $15,894.13            COST                $15,894.13
         PCS

19.30.   BOX 21.75 X 16.5 X 21        10/2018              $15,177.94            COST                $15,177.94

19.31.   16 OZ SMB W/O WAND           10/2018              $15,031.55            COST                $15,031.55
         FILLED

19.32.   BOX 17.25 X 17.5 X 26.5 -    10/2018              $14,554.64            COST                $14,554.64
         17538

19.33.   GUMBALL MACHINE - WM         10/2018              $14,320.72            COST                $14,320.72
         COLORS

19.34.   TRAY LICKITY BUBBLE          10/2018              $13,821.60            COST                $13,821.60
         BLOWER

19.35.   SHRINK WRAP 26175            10/2018              $13,650.44            COST                $13,650.44

19.36.   BOTTLE 35 OZ P+ ORANGE       10/2018              $13,552.58            COST                $13,552.58

19.37.   BOX 12.675 X 8.5 X 10.75     10/2018              $13,528.89            COST                $13,528.89

19.38.   BOTTLE 64 OZ MB - M/B/G      10/2018              $13,228.87            COST                $13,228.87

19.39.   BUBBLE FILLER                10/2018              $12,892.68            COST                $12,892.68

19.40.   BOTTLE 32 OZ PET -           10/2018              $11,793.44            COST                $11,793.44
         MAGENTA

19.41.   BOTTLE 5 OZ PET TEAL         10/2018              $11,746.91            COST                $11,746.91

19.42.   BOTTLE 5 OZ PET RED          10/2018              $11,746.91            COST                $11,746.91

19.43.   BOTTLE 16 OZ PET             10/2018              $11,530.14            COST                $11,530.14
         MAGENTA

19.44.   BOTTLE 128 OZ PET            10/2018              $11,509.84            COST                $11,509.84
         GREEN

19.45.   BOTTLE 32 OZ PET - BLUE      10/2018              $11,346.97            COST                $11,346.97

19.46.   BOTTLE 32 OZ PET -           10/2018              $11,345.69            COST                $11,345.69
         GREEN

19.47.   BOTTLE 8 OZ PET GREEN        10/2018              $11,229.08            COST                $11,229.08

19.48.   OCTAGON TUBE                 10/2018              $11,193.31            COST                $11,193.31

19.49.   BOTTLE 128 OZ PET            10/2018              $11,175.30            COST                $11,175.30
         MAGENTA

19.50.   BOTTLE 128 OZ PET BLUE       10/2018              $11,175.30            COST                $11,175.30

19.51.   BOTTLE 5 OZ PET PURPLE       10/2018              $11,130.46            COST                $11,130.46
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Debtor   Imperial Toy LLC                                                                  Case number (if known) 19-52335

19.52.   CARD 17524A - WS             10/2018              $11,085.40            COST                $11,085.40

19.53.   BOTTLE 8 OZ PET              10/2018              $11,063.83            COST                $11,063.83
         MAGENTA

19.54.   BULK 25599 NEMO DIP N        10/2018              $11,060.04            COST                $11,060.04
         BLOW

19.55.   CHECKERS INSERT              10/2018              $10,998.33            COST                $10,998.33

19.56.   BOTTLE 16 OZ PET GREEN       10/2018              $10,966.56            COST                $10,966.56

19.57.   BOX 16.38 X 8.88 X 16.38     10/2018              $10,883.39            COST                $10,883.39
         17509

19.58.   CARD 15427                   10/2018              $10,805.92            COST                $10,805.92

19.59.   BLISTER FOR 14181            10/2018              $10,586.62            COST                $10,586.62

19.60.   BOX PRNTD W/ACETATE          10/2018              $10,546.94            COST                $10,546.94
         HANDLE 3PK

19.61.   FILM STRETCH                 10/2018              $10,300.67            COST                $10,300.67

19.62.   PDQ 16807                    10/2018              $10,263.46            COST                $10,263.46

19.63.   BOTTLE 8 OZ PET BLUE         10/2018              $10,233.08            COST                $10,233.08

19.64.   BOTTLE 16 OZ PET BLUE        10/2018              $9,769.81             COST                $9,769.81

19.65.   BOTTLE 5 OZ P+ RED           10/2018              $9,701.53             COST                $9,701.53

19.66.   SHRINK WRAP CHECKERS         10/2018              $9,651.31             COST                $9,651.31
         RED

19.67.   BOTTLE 5 OZ P+ TEAL          10/2018              $9,447.36             COST                $9,447.36

19.68.   SOLUTION N1 - MEXICO         10/2018              $9,410.44             COST                $9,410.44

19.69.   BOX 21.50 X 13.75 X 16.75    10/2018              $9,034.35             COST                $9,034.35

19.70.   BOX - PIT BALL WM            10/2018              $8,987.34             COST                $8,987.34

19.71.   CRYSTAL CLEAR TAPE           10/2018              $8,703.69             COST                $8,703.69

19.72.   BOX 12 X 26.25 X 20.75       10/2018              $8,531.20             COST                $8,531.20
         CHECKER

19.73.   MARBLE 16MM SKY              10/2018              $8,515.93             COST                $8,515.93

19.74.   CAP 35 OZ SMB P W/TAG -      10/2018              $8,386.62             COST                $8,386.62
         MX

19.75.   MARBLE 16MM                  10/2018              $8,362.60             COST                $8,362.60
         ORANGUTAN

19.76.   BOTTLE 178 OZ SMB BLUE       10/2018              $8,338.75             COST                $8,338.75

19.77.   BOX 19069                    10/2018              $8,075.90             COST                $8,075.90

19.78.   MINI BUBBLE TUBE             10/2018              $8,023.28             COST                $8,023.28

19.79.   POWER PANEL LICK-A-          10/2018              $8,019.64             COST                $8,019.64
         BUBBLE ATWK

19.80.   BOX FOR 1000 CT PIT          10/2018              $8,017.85             COST                $8,017.85
         BALLS

19.81.   MARBLE 16MM POISON           10/2018              $7,902.31             COST                $7,902.31
         FROG

19.82.   DIVIDER SET                  10/2018              $7,848.21             COST                $7,848.21

19.83.   BLISTER W/INSERT TRAY        10/2018              $7,830.87             COST                $7,830.87
         26159


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Debtor   Imperial Toy LLC                                                                 Case number (if known) 19-52335

19.84.   BOX 13 X 11.75 X 5.625      10/2018              $7,715.77             COST                $7,715.77

19.85.   BOTTLE 128 OZ SMB -         10/2018              $7,548.44             COST                $7,548.44
         BLUE

19.86.   8 OZ MB FIL W/O WND WIP     10/2018              $7,535.14             COST                $7,535.14
         20927

19.87.   CAP 63 MM                   10/2018              $7,348.03             COST                $7,348.03

19.88.   LABEL STANDARD              10/2018              $7,323.45             COST                $7,323.45

19.89.   SHIPPER 17578               10/2018              $7,317.00             COST                $7,317.00

19.90.   UPPER END SUPPORTS          10/2018              $7,313.34             COST                $7,313.34

19.91.   BOTTLE 128 OZ SMB -         10/2018              $7,286.43             COST                $7,286.43
         GREEN

19.92.   PDQ 9.94 X 10.25 X 12.6     10/2018              $7,153.80             COST                $7,153.80
         19265

19.93.   CARTON TAPE CLEAR           10/2018              $7,129.04             COST                $7,129.04
         48MM 1.6MIL

19.94.   BOTTLE 128 OZ SMB -         10/2018              $7,108.50             COST                $7,108.50
         PINK

19.95.   PUMP W/HANG TAG 18411       10/2018              $7,063.63             COST                $7,063.63
         WG

19.96.   BOTTLE 128 OZ SMB -         10/2018              $7,024.25             COST                $7,024.25
         PURPLE

19.97.   MARBLE 16MM CLEARY          10/2018              $7,021.98             COST                $7,021.98
         ASST

19.98.   CAP 63 MM PURPLE            10/2018              $7,002.41             COST                $7,002.41

19.99.   LAYER TRAY                  10/2018              $6,968.55             COST                $6,968.55

19.100. HANDLE 23204                 10/2018              $6,813.14             COST                $6,813.14

19.101. SHRINK WRAP 20890            10/2018              $6,779.45             COST                $6,779.45

19.102. SOLUTION LAB EU              10/2018              $6,730.32             COST                $6,730.32
        VERSION

19.103. BOTTLE 80 OZ PET BLUE        10/2018              $6,719.54             COST                $6,719.54

19.104. BOTTLE 32 OZ SMB -           10/2018              $6,691.36             COST                $6,691.36
        GREEN

19.105. LAYER TRAY - BLUE            10/2018              $6,688.33             COST                $6,688.33

19.106. BLISTER - 20927              10/2018              $6,477.78             COST                $6,477.78

19.107. RESIN HDPE - ORANGE          10/2018              $6,455.44             COST                $6,455.44
        804C

19.108. PLASTIC CLIP 26175           10/2018              $6,383.13             COST                $6,383.13

19.109. GRAPHIC PANEL SET            10/2018              $6,332.71             COST                $6,332.71
        17597

19.110. BOX 16.25 X 11 X 7.8125      10/2018              $6,315.94             COST                $6,315.94

19.111. BOX 16.4375 X 11 X 7.9375    10/2018              $6,265.41             COST                $6,265.41

19.112. BOX 19399                    10/2018              $6,084.54             COST                $6,084.54

19.113. BOX 20.75 X 10.5 X 16.25     10/2018              $6,033.65             COST                $6,033.65

19.114. BOTTLE 5 OZ PET PURPLE       10/2018              $5,996.70             COST                $5,996.70
        - CN

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19.115. HANDLE YELLOW 100 OZ         10/2018              $5,991.17             COST                $5,991.17
        PET

19.116. BOTTLE 5 OZ PET TEAL -       10/2018              $5,913.87             COST                $5,913.87
        CN

19.117. RESIN LDPE - RED 199C        10/2018              $5,907.50             COST                $5,907.50

19.118. RESIN LDPE - GREEN           10/2018              $5,905.20             COST                $5,905.20
        2293C

19.119. LABEL FRONT 80 OZ SMB        10/2018              $5,856.20             COST                $5,856.20
        PLAYDAY

19.120. RESIN LDPE - YELLOW          10/2018              $5,849.34             COST                $5,849.34
        113C

19.121. RESIN HDPE - WHITE           10/2018              $5,842.72             COST                $5,842.72

19.122. PRINTED CARD 2 PC            10/2018              $5,807.49             COST                $5,807.49
        INSERT PLYDY

19.123. BOX 14.625 X 7.25 X 7.5      10/2018              $5,790.92             COST                $5,790.92

19.124. SHROUD - 17063               10/2018              $5,709.89             COST                $5,709.89

19.125. BOTTLE 80 OZ PET             10/2018              $5,696.80             COST                $5,696.80
        MAGENTA

19.126. BOTTLE 100 OZ SMB - MX       10/2018              $5,681.24             COST                $5,681.24
        M/B/G

19.127. DOUBLE BLISTER 17313         10/2018              $5,667.36             COST                $5,667.36

19.128. SURPRISE BOX - GIRLS         10/2018              $5,649.45             COST                $5,649.45

19.129. RESIN LDPE - BLUE 2935C      10/2018              $5,607.36             COST                $5,607.36

19.130. BOTTLE 80 OZ PET GREEN       10/2018              $5,605.69             COST                $5,605.69

19.131. BOTTLE 32 OZ SMB -           10/2018              $5,571.30             COST                $5,571.30
        PURPLE

19.132. CAP 38 MM BLUE SMB           10/2018              $5,545.68             COST                $5,545.68

19.133. BLISTER & INSERT 16531       10/2018              $5,520.16             COST                $5,520.16

19.134. HANGER                       10/2018              $5,493.02             COST                $5,493.02

19.135. BOX 19 X 25.5 X 22 (17510)   10/2018              $5,417.89             COST                $5,417.89

19.136. BOTTLE 128 OZ MB - M/B/G     10/2018              $5,338.93             COST                $5,338.93

19.137. LABEL 128 OZ SC MB           10/2018              $5,323.76             COST                $5,323.76

19.138. RESIN HDPE - GREEN           10/2018              $5,276.78             COST                $5,276.78
        368C

19.139. BOTTLE 32 OZ SMB - BLUE      10/2018              $5,238.42             COST                $5,238.42

19.140. CARD FOR 45950               10/2018              $5,109.94             COST                $5,109.94

19.141. CAP 33 MM - PURPLE -         10/2018              $5,085.55             COST                $5,085.55
        267C

19.142. GROMMET                      10/2018              $5,023.91             COST                $5,023.91

19.143. RESIN LDPE - PURPLE          10/2018              $4,938.52             COST                $4,938.52
        2587C

19.144. LID 47353                    10/2018              $4,932.74             COST                $4,932.74

19.145. 2 OZ MB FILLED W/WAND        10/2018              $4,924.21             COST                $4,924.21

19.146. BOTTLE 5 OZ PET RED -        10/2018              $4,875.64             COST                $4,875.64
        CN
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19.147. FILM BUNDLER 4 OZ 6 PK       10/2018              $4,813.99             COST                $4,813.99
        SMB

19.148. BOX FOR 16431 NEW            10/2018              $4,729.48             COST                $4,729.48
        PACKAGING

19.149. BOTTLE 8 OZ P+ PURPLE        10/2018              $4,728.98             COST                $4,728.98

19.150. 4 OZ MB FILLED W/WAND        10/2018              $4,686.70             COST                $4,686.70

19.151. TRAY 4OZ 6PK PET TIN'D       10/2018              $4,649.89             COST                $4,649.89
        AMSCAN

19.152. CARD 16531                   10/2018              $4,636.32             COST                $4,636.32

19.153. 7"POWER PANEL SHIPPER        10/2018              $4,624.68             COST                $4,624.68

19.154. BOTTLE 32 OZ MB - MX         10/2018              $4,573.12             COST                $4,573.12

19.155. LABEL 4 OZ SMB/PET           10/2018              $4,543.99             COST                $4,543.99

19.156. ACTIVATOR A (10 ML)          10/2018              $4,442.36             COST                $4,442.36
        ORANGE

19.157. SMB 1/2 PALLET TRAY          10/2018              $4,413.83             COST                $4,413.83
        W/GRAPHICS

19.158. ME POWER PANEL               10/2018              $4,365.40             COST                $4,365.40

19.159. BOTTLE 32 OZ SMB - PINK      10/2018              $4,342.61             COST                $4,342.61

19.160. CAP 38 MM WHITE              10/2018              $4,339.94             COST                $4,339.94
        UNIVERSAL

19.161. RESIN INJECTION PP           10/2018              $4,311.02             COST                $4,311.02
        ORANGE

19.162. OPP BAG 22078                10/2018              $4,301.14             COST                $4,301.14

19.163. BOX 12.25 X 9.375 X 10.875   10/2018              $4,277.81             COST                $4,277.81

19.164. RESIN HDPE - PINK 941C       10/2018              $4,272.80             COST                $4,272.80

19.165. BLISTER 26400                10/2018              $4,264.39             COST                $4,264.39

19.166. BOX 10.875 X 6.0625 X        10/2018              $4,238.33             COST                $4,238.33
        11.625

19.167. SHRINK WRAP LOL OUTER        10/2018              $4,230.01             COST                $4,230.01

19.168. CARD PRINTED 20927           10/2018              $4,183.43             COST                $4,183.43

19.169. TREATED PALLETS              10/2018              $4,170.00             COST                $4,170.00

19.170. PDQ LID 17565                10/2018              $4,163.05             COST                $4,163.05

19.171. INSTRUCTION SHEET LAB        10/2018              $4,134.79             COST                $4,134.79
        M14

19.172. BOX 46173                    10/2018              $4,105.99             COST                $4,105.99

19.173. CARD 13054 (F/E 25619)       10/2018              $4,095.72             COST                $4,095.72

19.174. 2" X 1500YD CLR TAPE         10/2018              $4,068.31             COST                $4,068.31
        FOR 3M

19.175. HEADER 16759                 10/2018              $4,037.76             COST                $4,037.76

19.176. LABEL UPC 16 OZ PET          10/2018              $4,027.87             COST                $4,027.87

19.177. SMB MIDDLE TRAY              10/2018              $4,023.18             COST                $4,023.18
        FLOODCOATED

19.178. SHRINK WRAP 23204            10/2018              $3,950.16             COST                $3,950.16
        PURPLE/GREEN


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19.179. WAND SET LT.BLU PMS291        10/2018              $3,810.53             COST                $3,810.53
        BUBBLE

19.180. CHEP PALLET                   10/2018              $3,805.55             COST                $3,805.55

19.181. BOX 18914 EASTER              10/2018              $3,787.32             COST                $3,787.32

19.182. SHRINK BAND PURPLE            10/2018              $3,760.28             COST                $3,760.28
        26384

19.183. CARTON 47220                  10/2018              $3,724.00             COST                $3,724.00

19.184. SHRINK BAND ORANGE            10/2018              $3,680.43             COST                $3,680.43
        26384

19.185. SHRINK BAND GREEN             10/2018              $3,663.20             COST                $3,663.20
        26384

19.186. POLY BAG INNER PACK 14        10/2018              $3,654.38             COST                $3,654.38
        X 16

19.187. SHRINK WRAP 23141             10/2018              $3,634.89             COST                $3,634.89
        (2015)

19.188. SHRINK WRAP 23204             10/2018              $3,615.31             COST                $3,615.31
        RED/BLUE

19.189. PDQ - TRAY (16230)            10/2018              $3,596.25             COST                $3,596.25

19.190. SHRINK WRAP 18922             10/2018              $3,563.90             COST                $3,563.90

19.191. BOX PRINTED W/INSERT          10/2018              $3,528.91             COST                $3,528.91
        CARD F/E

19.192. BOTTOM END SUPPORT            10/2018              $3,495.17             COST                $3,495.17

19.193. BLISTER GLOBE HALF            10/2018              $3,488.64             COST                $3,488.64
        GMBALL BANK

19.194. BLITZ TRAY 26400              10/2018              $3,476.57             COST                $3,476.57

19.195. BOX 17.25 X 17.5 X 26.5 -     10/2018              $3,421.60             COST                $3,421.60
        23868

19.196. SURPRISE BOX - BOYS           10/2018              $3,386.36             COST                $3,386.36

19.197. BOX 8.13 X 4.13 X 8.13        10/2018              $3,378.96             COST                $3,378.96
        (15822)

19.198. LABEL (S) WORLD BEST          10/2018              $3,348.69             COST                $3,348.69
        BUBBLES

19.199. BLISTER ALAMO 17552           10/2018              $3,282.36             COST                $3,282.36
        2019

19.200. PVC SLEEVE 17564              10/2018              $3,268.34             COST                $3,268.34

19.201. PDQ 15822                     10/2018              $3,264.98             COST                $3,264.98

19.202. RESIN INJECTION PP            10/2018              $3,259.92             COST                $3,259.92
        YELLOW

19.203. BOTTLE 64 OZ SMB - G/P        10/2018              $3,236.11             COST                $3,236.11

19.204. LABEL UPC 80 OZ SMB           10/2018              $3,219.30             COST                $3,219.30
        PLAYDAY

19.205. BLACK P/P 7" (5 SHELVES)      10/2018              $3,214.55             COST                $3,214.55

19.206. V-BOARD 3" X 3" X 43"         10/2018              $3,207.38             COST                $3,207.38

19.207. BLISTER YUMA 17552 2019       10/2018              $3,185.08             COST                $3,185.08

19.208. POLYBAG 6 X 7                 10/2018              $3,163.65             COST                $3,163.65
        W/WARNING

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19.209. POWER PANEL 7" HOOK          10/2018              $3,131.14             COST                $3,131.14

19.210. CLAM PACK 17212              10/2018              $3,129.58             COST                $3,129.58

19.211. SHIPPER 17597                10/2018              $3,128.46             COST                $3,128.46

19.212. BLISTER RUSTLER 17552        10/2018              $3,119.00             COST                $3,119.00
        2019

19.213. BOX PRINTED W/INSERT         10/2018              $3,113.27             COST                $3,113.27
        CARD ARA

19.214. BOX 16.3125 X 7.5625 X       10/2018              $3,042.00             COST                $3,042.00
        10.9375

19.215. BOX 19.875 X 8.8125          10/2018              $3,029.96             COST                $3,029.96
        X5.1875

19.216. TEAR A WAY BOX 19338         10/2018              $3,026.86             COST                $3,026.86

19.217. PDQ 100 OZ VALUE PACK        10/2018              $2,995.77             COST                $2,995.77

19.218. LIC SHRINK WRAP              10/2018              $2,977.17             COST                $2,977.17

19.219. PDQ DOLLAR GENERAL           10/2018              $2,964.13             COST                $2,964.13
        14679

19.220. 4 OZ MB FILLED OLAF W/O      10/2018              $2,963.44             COST                $2,963.44
        WAND

19.221. CARD 15824                   10/2018              $2,940.34             COST                $2,940.34

19.222. 5 OZ BLITZ RED APPLE NO      10/2018              $2,931.63             COST                $2,931.63
        WAND

19.223. 5 OZ BLITZ GRAPE W/O         10/2018              $2,926.46             COST                $2,926.46
        WAND

19.224. BOX 9.94 X 10.75 X 13        10/2018              $2,924.85             COST                $2,924.85
        19358

19.225. BOTTLE 128 OZ MB BLUE        10/2018              $2,920.44             COST                $2,920.44
        312

19.226. UPPER CENTER                 10/2018              $2,899.76             COST                $2,899.76
        SUPPORTS

19.227. BLISTER LICKITY BLOWER       10/2018              $2,890.92             COST                $2,890.92

19.228. PVC SHRINK WRAP BAND         10/2018              $2,887.02             COST                $2,887.02
        20897

19.229. LAYER TRAY                   10/2018              $2,836.72             COST                $2,836.72

19.230. CARD 21140                   10/2018              $2,825.09             COST                $2,825.09

19.231. CYAN BIN DISPLAY             10/2018              $2,807.25             COST                $2,807.25

19.232. BOX 16 X 12.375 X 13.625     10/2018              $2,803.94             COST                $2,803.94

19.233. DUMPBIN LOL                  10/2018              $2,800.38             COST                $2,800.38

19.234. BOTTLE 8 OZ MB GREEN -       10/2018              $2,789.94             COST                $2,789.94
        389C

19.235. SLEEVE PRINTED "F/E"         10/2018              $2,778.30             COST                $2,778.30

19.236. FROZEN 2 L&S BUBBLE          10/2018              $2,776.88             COST                $2,776.88
        WAND

19.237. 5 OZ BLITZ                   10/2018              $2,774.29             COST                $2,774.29
        COTTONCANDY NO WAND

19.238. ADHESIVE LABELING            10/2018              $2,764.46             COST                $2,764.46
        #1662

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19.239. BOTTLE 32 OZ SMB            10/2018              $2,734.12             COST                $2,734.12
        SHORT - BLUE

19.240. RESIN HDPE - RED 200C       10/2018              $2,730.60             COST                $2,730.60

19.241. RESIN HDPE - BLUE 285C      10/2018              $2,725.06             COST                $2,725.06

19.242. CARD 13055 (26538)          10/2018              $2,713.83             COST                $2,713.83

19.243. BLISTER W/FOOT 17493        10/2018              $2,701.72             COST                $2,701.72

19.244. BOX 22042 NEW               10/2018              $2,696.40             COST                $2,696.40
        PACKAGING SIZE

19.245. CARD 13061 (25383)          10/2018              $2,681.26             COST                $2,681.26

19.246. BALL ASST                   10/2018              $2,673.29             COST                $2,673.29
        W/INSTRUCTION SHEET

19.247. TRAY 4 OZ PET 6 PK - MX     10/2018              $2,668.22             COST                $2,668.22

19.248. DINOS                       10/2018              $2,667.85             COST                $2,667.85

19.249. LABEL 32 OZ SMB F/E         10/2018              $2,656.64             COST                $2,656.64
        SHORT - MX

19.250. PLATFORM BOX 47220          10/2018              $2,651.14             COST                $2,651.14

19.251. BOX 5.75 X 7 X 13.75        10/2018              $2,649.66             COST                $2,649.66
        (17556)

19.252. LABEL FOR TUBE 500 CT       10/2018              $2,648.00             COST                $2,648.00

19.253. INNER POLY BAG              10/2018              $2,647.57             COST                $2,647.57
        W/WARNING

19.254. BOX 7.75 X 7.63 X 12.63     10/2018              $2,612.87             COST                $2,612.87
        (17552

19.255. BOX 8.5 X 9.06 X 16.5       10/2018              $2,599.73             COST                $2,599.73
        26373

19.256. PDQ SHIPPER 17580           10/2018              $2,590.41             COST                $2,590.41

19.257. CUP 5/8 OZ P BLITZ          10/2018              $2,560.45             COST                $2,560.45
        PURPLE

19.258. CAP 33 MM YELLOW 108C       10/2018              $2,548.55             COST                $2,548.55

19.259. VINYL BAG - PIT BALL        10/2018              $2,537.67             COST                $2,537.67

19.260. BLISTER COVER               10/2018              $2,534.02             COST                $2,534.02
        W/HANGER OCTAGON

19.261. POLY BAG 16" X 22"          10/2018              $2,518.45             COST                $2,518.45

19.262. LABEL 32 OZ SMB             10/2018              $2,517.33             COST                $2,517.33

19.263. SHRINK BAND 55 OZ           10/2018              $2,502.89             COST                $2,502.89
        GREEN FE

19.264. BOX 13 X 11.375 X 12.1875   10/2018              $2,467.80             COST                $2,467.80

19.265. BUBBLE TRAY FINDING         10/2018              $2,461.50             COST                $2,461.50
        DORY

19.266. FILM BUNDLER 5 OZ BLITZ     10/2018              $2,461.35             COST                $2,461.35
        RED

19.267. PRINTED CARD 2 PC           10/2018              $2,456.93             COST                $2,456.93
        INSERT 13573

19.268. LABEL SPILL STOPPER 8       10/2018              $2,373.73             COST                $2,373.73
        OZ 20927


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19.269. BOX 18.25 X 8.25 X 8.40       10/2018              $2,366.57             COST                $2,366.57

19.270. 4 OZ MB FLLD RAPUNZEL         10/2018              $2,366.32             COST                $2,366.32
        W/O WAND

19.271. BOX 9 X 8 X 10.5              10/2018              $2,361.70             COST                $2,361.70

19.272. CAP 63 MM DARK BLUE           10/2018              $2,353.04             COST                $2,353.04

19.273. BUBBLE TRAY                   10/2018              $2,352.49             COST                $2,352.49

19.274. BOTTLE 128 OZ MB GREEN 10/2018                     $2,322.78             COST                $2,322.78
        7488

19.275. POLY POUCH - MARBLES          10/2018              $2,320.17             COST                $2,320.17

19.276. V BOARD 56"                   10/2018              $2,315.40             COST                $2,315.40

19.277. RESIN HDPE - PURPLE           10/2018              $2,312.40             COST                $2,312.40
        2665

19.278. 175# BROWN CORR. SH.          10/2018              $2,309.91             COST                $2,309.91
        84"X60" T

19.279. BOX 25.25 X 18.25 X 18.25     10/2018              $2,290.75             COST                $2,290.75

19.280. INNER 15427                   10/2018              $2,287.80             COST                $2,287.80

19.281. V BOARD 53" - MX              10/2018              $2,286.59             COST                $2,286.59

19.282. BOX 16.6 X 11 X 7.8125        10/2018              $2,272.14             COST                $2,272.14

19.283. 1/4 PALLET TRAY               10/2018              $2,208.05             COST                $2,208.05
        W/GRAPHICS

19.284. DIVIDER SET 17597             10/2018              $2,207.58             COST                $2,207.58

19.285. SHRINK BAND GREEN             10/2018              $2,206.79             COST                $2,206.79
        21086

19.286. LABEL UPC WRAP 18996          10/2018              $2,195.84             COST                $2,195.84

19.287. HANDLE 23141 17" BLUE         10/2018              $2,192.31             COST                $2,192.31

19.288. RESIN HDPE - RED 1797C        10/2018              $2,178.72             COST                $2,178.72

19.289. POWER PANEL BASE -            10/2018              $2,173.25             COST                $2,173.25
        PURPLE

19.290. TOP TRAY - TRAIN 2019         10/2018              $2,162.96             COST                $2,162.96

19.291. FRONT LABEL 16696             10/2018              $2,155.00             COST                $2,155.00

19.292. CARD 26400                    10/2018              $2,149.77             COST                $2,149.77

19.293. 1/4 PALLET 19" X 24"          10/2018              $2,124.00             COST                $2,124.00

19.294. 5 N 1 W/4 OZ BUBBLE F/E -     10/2018              $2,119.16             COST                $2,119.16
        7452

19.295. DIVIDER SET - TRAIN 2019      10/2018              $2,114.10             COST                $2,114.10

19.296. BOX 17.25 X 17.5 X 26.5 -     10/2018              $2,109.45             COST                $2,109.45
        29544

19.297. BOX PRINTED FOR 17564         10/2018              $2,086.75             COST                $2,086.75

19.298. SHRINK BAND ORANGE            10/2018              $2,086.32             COST                $2,086.32
        21086

19.299. 2 OZ MB FLLED PRINCESS        10/2018              $2,082.01             COST                $2,082.01
        W/O WAN

19.300. PDQ 17580                     10/2018              $2,075.72             COST                $2,075.72

19.301. BOX 19.25 X 13.0625 X 8       10/2018              $2,066.02             COST                $2,066.02

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19.302. TRAY 5 OZ 2 PK PRINTED       10/2018              $2,058.27             COST                $2,058.27
        26385

19.303. BOX 26391                    10/2018              $2,051.70             COST                $2,051.70

19.304. SHRINK BAND PURPLE           10/2018              $2,033.40             COST                $2,033.40
        21086

19.305. BOX 7.25 X 7.5 X 14.6        10/2018              $2,021.22             COST                $2,021.22
        (13937)

19.306. CARD W/1 POP UP FOR          10/2018              $2,019.46             COST                $2,019.46
        26567

19.307. BLISTER 24824 & 24825        10/2018              $2,017.85             COST                $2,017.85

19.308. CAP 63 MM YELLOW             10/2018              $2,017.34             COST                $2,017.34

19.309. WAND SET TURQUISE            10/2018              $2,011.25             COST                $2,011.25
        PMS 7467 BUB

19.310. SENCO STAPLE (NET BAG        10/2018              $2,000.32             COST                $2,000.32
        BOTTOMS)

19.311. X4 CONCENTRATE - SP          10/2018              $1,992.00             COST                $1,992.00

19.312. BOX 18983                    10/2018              $1,989.24             COST                $1,989.24

19.313. PDQ MINION TRAY 17008        10/2018              $1,988.20             COST                $1,988.20

19.314. PRINTED INSERT F/E -         10/2018              $1,970.54             COST                $1,970.54
        17484 MX

19.315. SHIPPER 17587                10/2018              $1,966.81             COST                $1,966.81

19.316. CAP 63 MM ORANGE             10/2018              $1,963.08             COST                $1,963.08

19.317. HANG TAG 32401               10/2018              $1,957.94             COST                $1,957.94

19.318. TOP TRAY 17597               10/2018              $1,955.53             COST                $1,955.53

19.319. BOX 18.375 X 10.75 X 10.75   10/2018              $1,951.33             COST                $1,951.33

19.320. BOX 6.5 X 12.75 X 11.25      10/2018              $1,934.19             COST                $1,934.19

19.321. SHRINK WRAP OLAF             10/2018              $1,928.51             COST                $1,928.51

19.322. POWER PANEL 19369            10/2018              $1,925.75             COST                $1,925.75

19.323. SHRINK WRAP ANNA             10/2018              $1,907.07             COST                $1,907.07

19.324. BOX 16.75 X 12.375 X 13.5    10/2018              $1,900.97             COST                $1,900.97

19.325. FILM BUNDLER 5 OZ BLITZ      10/2018              $1,885.06             COST                $1,885.06
        PURPLE

19.326. FROZEN L/U GLITTER           10/2018              $1,870.06             COST                $1,870.06
        BALL ELSA

19.327. MIDDLE TRAY 17597            10/2018              $1,865.60             COST                $1,865.60

19.328. LABEL UPC 16 OZ SMB -        10/2018              $1,842.50             COST                $1,842.50
        MX

19.329. LID FOR PDQ 14679            10/2018              $1,825.72             COST                $1,825.72

19.330. HANDLE 23141 17" GREEN       10/2018              $1,800.79             COST                $1,800.79

19.331. HAND GUN TAPE                10/2018              $1,799.50             COST                $1,799.50

19.332. NETTING YELLOW               10/2018              $1,796.97             COST                $1,796.97

19.333. BACK PANEL - TRAIN 2019      10/2018              $1,786.98             COST                $1,786.98

19.334. CAP 63 MM GREEN              10/2018              $1,785.47             COST                $1,785.47


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19.335. SURPRISE BOX F/E - BOYS      10/2018              $1,782.38             COST                $1,782.38

19.336. SURPRISE BOX F/E -           10/2018              $1,781.50             COST                $1,781.50
        GIRLS

19.337. BLISTER FOR BUBBLE           10/2018              $1,781.13             COST                $1,781.13
        STICK

19.338. BOX 29 X 15 X 9.625 (7924)   10/2018              $1,759.41             COST                $1,759.41

19.339. BOX 16.25 X 11 X 7.8         10/2018              $1,759.24             COST                $1,759.24

19.340. WAND SET ORANGE              10/2018              $1,754.07             COST                $1,754.07
        PMS158 BUBBLE

19.341. F/E 4" LOL PLAYBALL          10/2018              $1,753.66             COST                $1,753.66
        SHRINKWRAP

19.342. MIDDLE TRAY - TRAIN 2019 10/2018                  $1,752.60             COST                $1,752.60

19.343. GLUE HOT MELTING             10/2018              $1,746.29             COST                $1,746.29

19.344. WAND SET YELLOW              10/2018              $1,734.25             COST                $1,734.25
        PMS108 BUBBLE

19.345. SHIPPER 19448                10/2018              $1,702.80             COST                $1,702.80

19.346. CAP 63 MM RED                10/2018              $1,698.82             COST                $1,698.82

19.347. BOX 14.5625 X 12.25 X        10/2018              $1,692.64             COST                $1,692.64
        13.9375

19.348. SHIPPER 32401                10/2018              $1,691.62             COST                $1,691.62

19.349. 175# BROWN CORR. SH          10/2018              $1,687.65             COST                $1,687.65
        84X80" TO

19.350. BOX 13.13 X 9.94 X 10.25     10/2018              $1,684.18             COST                $1,684.18
        18957

19.351. POWER PANEL PRNTD            10/2018              $1,683.99             COST                $1,683.99
        CHACHA CHARM

19.352. PDQ LID 17260                10/2018              $1,681.59             COST                $1,681.59

19.353. BOX TEARAWAY WHITE           10/2018              $1,674.76             COST                $1,674.76
        18967

19.354. FROZEN 2 L&S                 10/2018              $1,660.97             COST                $1,660.97
        MICROPHONE

19.355. SHRINK SLEEVE -              10/2018              $1,660.94             COST                $1,660.94
        CHECKERS

19.356. BLISTER 3 N 1 FUN SET        10/2018              $1,640.25             COST                $1,640.25

19.357. BOTTLE P+ 50 OZ - MX         10/2018              $1,617.20             COST                $1,617.20

19.358. RESIN INJECTION PP           10/2018              $1,611.60             COST                $1,611.60
        GREEN

19.359. UPPER LAYER CROSS            10/2018              $1,608.35             COST                $1,608.35

19.360. BLISTER FROZEN VALUE         10/2018              $1,603.11             COST                $1,603.11
        BOX

19.361. STICKER PRINTED CIRCLE       10/2018              $1,601.69             COST                $1,601.69
        LAB

19.362. CAP 63 MM BLACK              10/2018              $1,600.35             COST                $1,600.35

19.363. CARD 26399 - CA              10/2018              $1,591.06             COST                $1,591.06

19.364. SHRINK WRAP HULK             10/2018              $1,574.99             COST                $1,574.99


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19.365. F/E CARD 13724 (2015)      10/2018              $1,573.47             COST                $1,573.47

19.366. BOX 21691                  10/2018              $1,563.45             COST                $1,563.45

19.367. BOX 15.3 X 10.2 X 12.8     10/2018              $1,555.38             COST                $1,555.38
        16450

19.368. LABEL 8 OZ MB              10/2018              $1,552.12             COST                $1,552.12

19.369. BOTTLE 4 OZ MB BLUE 312    10/2018              $1,537.74             COST                $1,537.74

19.370. BOTTLE 128 OZ MB SC        10/2018              $1,534.52             COST                $1,534.52
        PINK 205

19.371. BOTTLE 8 OZ SMB            10/2018              $1,531.47             COST                $1,531.47
        M/Y/B/G/

19.372. SHRINK WRAP IRONMAN        10/2018              $1,526.65             COST                $1,526.65

19.373. CARD KAOS 21276            10/2018              $1,523.28             COST                $1,523.28

19.374. BOX 9.75 X 11 X 12.75      10/2018              $1,510.85             COST                $1,510.85
        (19373)

19.375. DUMPBIN AIR                10/2018              $1,510.04             COST                $1,510.04
        MESH/METAL PLYBALL

19.376. F/E OPP BAG ORANGE -       10/2018              $1,502.38             COST                $1,502.38
        MX

19.377. SHIPPER FOR 62003          10/2018              $1,501.13             COST                $1,501.13

19.378. SMB END TRAY               10/2018              $1,498.38             COST                $1,498.38
        W/GRAPHICS

19.379. POWER PANEL TRAY -         10/2018              $1,493.40             COST                $1,493.40
        GREY 422U

19.380. PRINTED F/E INSERT         10/2018              $1,491.03             COST                $1,491.03
        23059 - MX

19.381. BOOKLET 20890              10/2018              $1,485.68             COST                $1,485.68

19.382. BOTTLE 4 OZ PET - M/B/G    10/2018              $1,481.04             COST                $1,481.04

19.383. CARD ALAMO 17552 2019      10/2018              $1,466.62             COST                $1,466.62

19.384. LID PDQ 26544/13648        10/2018              $1,466.40             COST                $1,466.40

19.385. HAND AIR PUMP              10/2018              $1,463.87             COST                $1,463.87

19.386. BLITZ END TRAY             10/2018              $1,456.38             COST                $1,456.38
        W/GRAPHICS

19.387. 2 OZ MB FILLD W/WAND       10/2018              $1,454.14             COST                $1,454.14

19.388. PDQ TEARAWAY 19267         10/2018              $1,444.70             COST                $1,444.70

19.389. 8 OZ SMB P RED W/O         10/2018              $1,441.82             COST                $1,441.82
        WAND

19.390. WATER SOFTENER SALT        10/2018              $1,440.18             COST                $1,440.18
        5900/5925

19.391. BOX 45971                  10/2018              $1,424.87             COST                $1,424.87

19.392. CARD YUMA 17552 2019       10/2018              $1,414.37             COST                $1,414.37

19.393. KAOS OCTAGON TUBE          10/2018              $1,414.23             COST                $1,414.23
        63MM

19.394. BOTTOM PANEL 17597         10/2018              $1,413.69             COST                $1,413.69

19.395. BLISTER 7452/5600 10GA     10/2018              $1,412.12             COST                $1,412.12

19.396. LABEL 4 OZ MB - AMSCAN     10/2018              $1,410.53             COST                $1,410.53
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19.397. SHRINK WRAP ELSA             10/2018              $1,405.56             COST                $1,405.56

19.398. ADHESIVE LABELING            10/2018              $1,405.10             COST                $1,405.10
        #1662

19.399. SMB END TRAY                 10/2018              $1,399.50             COST                $1,399.50
        FLOODCOATED

19.400. LABEL FRONT 16 OZ            10/2018              $1,399.09             COST                $1,399.09
        SMB/PET

19.401. TRAY 6 OZ 6PK PRINTED        10/2018              $1,397.86             COST                $1,397.86
        17579

19.402. BOTTLE 64 OZ SMB - MX        10/2018              $1,396.22             COST                $1,396.22
        G/P

19.403. CARD RUSTLER 17552           10/2018              $1,394.11             COST                $1,394.11
        2019

19.404. PDQ AIR MESH / METALLIC      10/2018              $1,393.60             COST                $1,393.60

19.405. TEAR A WAY PDQ 19183         10/2018              $1,391.91             COST                $1,391.91

19.406. BOTTLE 2 OZ MB GREEN         10/2018              $1,386.01             COST                $1,386.01

19.407. SHROUD - END CAP 17186       10/2018              $1,384.22             COST                $1,384.22

19.408. V BOARD 7 1/4"               10/2018              $1,378.91             COST                $1,378.91

19.409. LAYER PAD                    10/2018              $1,374.51             COST                $1,374.51

19.410. BLISTER SET 23102            10/2018              $1,374.39             COST                $1,374.39

19.411. CARD SPIDERMAN 24892         10/2018              $1,369.38             COST                $1,369.38

19.412. BOX 15.75 X 8.25 X 8.50      10/2018              $1,361.31             COST                $1,361.31

19.413. PRINTED INSERT F/E -         10/2018              $1,358.07             COST                $1,358.07
        17484 CN

19.414. LABEL 32 OZ SMB - ASDA       10/2018              $1,349.54             COST                $1,349.54

19.415. BACK PANEL 17597             10/2018              $1,348.31             COST                $1,348.31

19.416. BOX 20.375 X 9.125 X 5.375   10/2018              $1,347.53             COST                $1,347.53

19.417. CARD 25089 USM               10/2018              $1,347.16             COST                $1,347.16

19.418. BOX 16.5 X 11.25 X 7.875     10/2018              $1,335.74             COST                $1,335.74

19.419. LEFT SIDE PANEL              10/2018              $1,335.09             COST                $1,335.09

19.420. MINI WATER JET               10/2018              $1,333.77             COST                $1,333.77

19.421. WM MARBLES 25 CT NET         10/2018              $1,326.08             COST                $1,326.08
        BAG

19.422. BOX 11.25 X 9 X 9.5          10/2018              $1,317.47             COST                $1,317.47

19.423. CARD CAPTAIN AMERICA         10/2018              $1,316.27             COST                $1,316.27
        24641

19.424. BOX 9.75 X 6.75 X 8 16759    10/2018              $1,315.37             COST                $1,315.37
        INER

19.425. LABEL 32 OZ PET 19265        10/2018              $1,309.78             COST                $1,309.78

19.426. TRAY SMB 8 PK                10/2018              $1,309.24             COST                $1,309.24

19.427. SHRINK WRAP                  10/2018              $1,302.78             COST                $1,302.78
        YELLOW/PURPLE

19.428. BOX 9.5 X 14 X 14            10/2018              $1,294.48             COST                $1,294.48
        (6184/BLK)


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19.429. BOX 20.75 X 9.375 X 6        10/2018              $1,290.81             COST                $1,290.81

19.430. RESIN INJECTION PP BLUE 10/2018                   $1,289.34             COST                $1,289.34

19.431. BOX 13.13 X 9.94 X 10.25     10/2018              $1,286.03             COST                $1,286.03
        18992

19.432. CLEAR SHRINK BAND 4"         10/2018              $1,282.55             COST                $1,282.55

19.433. BOX 12.375 X 9.375 X         10/2018              $1,280.66             COST                $1,280.66
        11.1875

19.434. BOX 19.1 X 9.38 X 10.25      10/2018              $1,278.40             COST                $1,278.40
        14512

19.435. PDQ 21696 - ZOOMA            10/2018              $1,277.57             COST                $1,277.57

19.436. TOP CAP                      10/2018              $1,277.55             COST                $1,277.55

19.437. CARD LEONARDO 24766          10/2018              $1,272.54             COST                $1,272.54

19.438. MARBLE 16MM SINGLE           10/2018              $1,270.19             COST                $1,270.19
        SWIRL ASST

19.439. SHRINK WRAP NEMO             10/2018              $1,265.62             COST                $1,265.62

19.440. LARGE SUPPORT                10/2018              $1,263.60             COST                $1,263.60

19.441. POWR PNL PRNTD 7"            10/2018              $1,263.47             COST                $1,263.47
        SPRAYASTRING

19.442. BLITZ 1/2 PALLET TRAY        10/2018              $1,261.32             COST                $1,261.32
        W/GRAPHI

19.443. SHRINK WRAP HANK             10/2018              $1,259.26             COST                $1,259.26

19.444. PRINTED SLEEVE 23108         10/2018              $1,258.13             COST                $1,258.13
        OCTAGON

19.445. SHRINK WRAP DORY             10/2018              $1,258.10             COST                $1,258.10

19.446. BLISTER 16986                10/2018              $1,255.30             COST                $1,255.30

19.447. CARD 18446                   10/2018              $1,244.21             COST                $1,244.21

19.448. UPPER END MIDDLE             10/2018              $1,240.27             COST                $1,240.27

19.449. CARD IRONMAN 24640           10/2018              $1,239.31             COST                $1,239.31

19.450. CARD HULK 24639              10/2018              $1,238.50             COST                $1,238.50

19.451. BLISTER 21140 (2014)         10/2018              $1,234.91             COST                $1,234.91
        REVISED

19.452. BLISTER KAOS 21276           10/2018              $1,226.70             COST                $1,226.70

19.453. PRINTED TRAY 23108           10/2018              $1,225.35             COST                $1,225.35

19.454. BOX 17.25 X 12.375 X         10/2018              $1,225.13             COST                $1,225.13
        13.625

19.455. BOX 18.125 X 7.5 X 12        10/2018              $1,217.61             COST                $1,217.61

19.456. LABEL UPC 100 OZ PET         10/2018              $1,215.05             COST                $1,215.05
        F/E

19.457. TRAY PRINTED 4 OZ SC         10/2018              $1,206.32             COST                $1,206.32
        MB 6 PK

19.458. SHRINK WRAP 6 OZ TIE         10/2018              $1,205.69             COST                $1,205.69
        DYE - A

19.459. CARD 13764                   10/2018              $1,200.26             COST                $1,200.26

19.460. 5" NETTING WHITE BAG         10/2018              $1,197.40             COST                $1,197.40
        MARBLE
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19.461. GREEN CAP OCTAGON            10/2018              $1,191.08             COST                $1,191.08

19.462. REWORK 6599                  10/2018              $1,190.01             COST                $1,190.01

19.463. BOX PRNTD W/ACETATE          10/2018              $1,189.67             COST                $1,189.67
        HANDLE ARA

19.464. TRAY 6 PK F/E 20897          10/2018              $1,188.58             COST                $1,188.58
        PRINTED

19.465. LABEL UPC 8 OZ PET           10/2018              $1,188.24             COST                $1,188.24

19.466. RIGHT SIDE PANEL             10/2018              $1,187.67             COST                $1,187.67

19.467. BOX FOR 17188                10/2018              $1,184.36             COST                $1,184.36

19.468. 2 OZ MB FILLED FAIRIES       10/2018              $1,180.43             COST                $1,180.43
        W/O WAN

19.469. HEADER MARBLE 17554 -        10/2018              $1,173.55             COST                $1,173.55
        WM

19.470. BOX 15.56 X 13.5 X 23.25     10/2018              $1,171.67             COST                $1,171.67
        19193

19.471. BOTTLE 8 OZ MB - PURPLE      10/2018              $1,171.34             COST                $1,171.34
        2607

19.472. BUBBLE WAND 50TH             10/2018              $1,167.99             COST                $1,167.99

19.473. FILM BUNDLER 5 OZ BLITZ      10/2018              $1,167.32             COST                $1,167.32
        TEAL

19.474. RESIN HDPE - RED 185C        10/2018              $1,165.65             COST                $1,165.65

19.475. RESIN DARK BLUE #2935        10/2018              $1,164.06             COST                $1,164.06

19.476. BOX FOR 17564                10/2018              $1,162.59             COST                $1,162.59

19.477. BOTTLE 2 OZ MB RED 199 - 10/2018                  $1,152.52             COST                $1,152.52
        CN

19.478. BOX 19243 - WAVE 1 FAM $     10/2018              $1,149.82             COST                $1,149.82

19.479. SMB P 8 OZ CAP W/O TAG       10/2018              $1,144.13             COST                $1,144.13

19.480. BOTTLE 8 OZ MB - BLUE        10/2018              $1,140.96             COST                $1,140.96
        PMS300

19.481. WAND & BADGE 25423           10/2018              $1,136.88             COST                $1,136.88

19.482. POLYBAG 16 X 18              10/2018              $1,135.87             COST                $1,135.87

19.483. LABEL 128 OZ MB - MX         10/2018              $1,133.42             COST                $1,133.42

19.484. 8 OZ SMB P BLUE W/O          10/2018              $1,131.02             COST                $1,131.02
        WAND

19.485. RESIN HDPE - BLACK           10/2018              $1,127.00             COST                $1,127.00

19.486. 8" PLASTIC HOOK              10/2018              $1,123.55             COST                $1,123.55

19.487. PP SHIPPER 19369             10/2018              $1,121.24             COST                $1,121.24

19.488. POWER PANEL SHIPPER          10/2018              $1,113.48             COST                $1,113.48
        5"

19.489. CARD 16986                   10/2018              $1,112.59             COST                $1,112.59

19.490. FILM BUNDLER 4OZ SMB         10/2018              $1,111.29             COST                $1,111.29
        8PK F/EWM

19.491. LABEL YELLOW REWORK          10/2018              $1,110.00             COST                $1,110.00
        CVS BOXES

19.492. WINDOW BOX 151 CT            10/2018              $1,109.51             COST                $1,109.51
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19.493. LABEL 32 OZ PET FAM$         10/2018              $1,106.29             COST                $1,106.29

19.494. BOX PRINTED F/E              10/2018              $1,105.79             COST                $1,105.79
        ACETATE HANDLE

19.495. POWER PANEL PRINTED          10/2018              $1,101.87             COST                $1,101.87
        5" LOL

19.496. 3" SECUR A TACH              10/2018              $1,094.87             COST                $1,094.87

19.497. BLISTER 25609                10/2018              $1,094.81             COST                $1,094.81

19.498. TIE KNOT STICK 23204         10/2018              $1,091.00             COST                $1,091.00
        ASST CLRS

19.499. LABEL FRONT 64 OZ            10/2018              $1,089.00             COST                $1,089.00
        SMB/PET

19.500. WM 8" PDQ - 16539            10/2018              $1,084.90             COST                $1,084.90

19.501. BOX 16.6 X 11.1 X 7.35       10/2018              $1,075.28             COST                $1,075.28

19.502. INSTRUCTION SHEET            10/2018              $1,071.40             COST                $1,071.40
        23204

19.503. PDQ LID MINION 17008         10/2018              $1,065.96             COST                $1,065.96

19.504. MYLAR PINWHEEL SILVER        10/2018              $1,065.36             COST                $1,065.36

19.505. CUP 178 OZ SMB               10/2018              $1,064.23             COST                $1,064.23
        MAGENTA 226C

19.506. GUM DROP BUBBLE              10/2018              $1,059.96             COST                $1,059.96
        TOPPER FROZEN2

19.507. CARD 25575                   10/2018              $1,057.17             COST                $1,057.17

19.508. TRAY SMB 6 PK 15875          10/2018              $1,053.28             COST                $1,053.28

19.509. STICKY PALS SIDEKICK         10/2018              $1,050.30             COST                $1,050.30

19.510. BOX 19 X 25.5 X 22 (19273)   10/2018              $1,048.70             COST                $1,048.70

19.511. RESIN BAPOLENE 3272          10/2018              $1,042.99             COST                $1,042.99
        HDPE INJEC

19.512. BLISTER 25575                10/2018              $1,039.55             COST                $1,039.55

19.513. BOX 8.5 X 4.75 X 24.125      10/2018              $1,026.55             COST                $1,026.55

19.514. INSERT F/E 23058 / 17571     10/2018              $1,025.78             COST                $1,025.78
        CN

19.515. RESIN LDPE - BLOW MOLD       10/2018              $1,024.38             COST                $1,024.38

19.516. HOOK WALL PCS                10/2018              $1,023.39             COST                $1,023.39

19.517. FILM STRETCH                 10/2018              $1,023.20             COST                $1,023.20

19.518. BLISTER LICENSED             10/2018              $1,021.50             COST                $1,021.50
        PINWHEEL

19.519. YELLOW CAP OCTAGON           10/2018              $1,018.91             COST                $1,018.91

19.520. BOX 15.25 X 10.875 X         10/2018              $1,005.72             COST                $1,005.72
        12.125

19.521. BLITZ MIDDLE TRAY            10/2018              $1,005.47             COST                $1,005.47
        FLOODCOATED

19.522. LONG TUBE                    10/2018              $1,001.27             COST                $1,001.27

19.523. CAP TUBE PET ORANGE          10/2018              $1,000.34             COST                $1,000.34

19.524. CARD BATMAN 24824            10/2018              $1,000.30             COST                $1,000.30


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19.525. BOX 11.25 X 8.7 X 13.5        10/2018              $994.96               COST                $994.96
        (21882)

19.526. BOX 32401                     10/2018              $991.30               COST                $991.30

19.527. LABEL 128 OZ SMB WM           10/2018              $985.04               COST                $985.04

19.528. PAW PATROL MARSHALL           10/2018              $983.89               COST                $983.89
        CARD

19.529. POWER PANEL BASE -            10/2018              $981.75               COST                $981.75
        CYAN

19.530. BOTTLE 64 OZ MB - MS          10/2018              $977.49               COST                $977.49
        M/B/G

19.531. SHROUD - TRAIN                10/2018              $976.58               COST                $976.58

19.532. RESIN INJCTION                10/2018              $976.50               COST                $976.50
        RHODAMINE RED

19.533. CLIP MTL FOR MARBLE           10/2018              $975.38               COST                $975.38
        CL72

19.534. BOX 10.63 X 5.25 X 5.75 -     10/2018              $970.47               COST                $970.47
        22041

19.535. INSERT CARD W/POP UP          10/2018              $969.46               COST                $969.46

19.536. 3" SECUR A TACH               10/2018              $966.03               COST                $966.03

19.537. BOX 6.75 X 9 X 12.25          10/2018              $960.51               COST                $960.51
        (19275)

19.538. PRINTED WINDOW WRAP           10/2018              $960.48               COST                $960.48
        17536

19.539. LABEL UPC 16 OZ SMB -         10/2018              $958.96               COST                $958.96
        MX

19.540. SIDEKICK TRAY - SPECIAL       10/2018              $958.80               COST                $958.80
        BGLT

19.541. LABEL UPC 16 OZ PET F/E       10/2018              $957.67               COST                $957.67

19.542. CLEAR BOTTLE SMALL            10/2018              $955.25               COST                $955.25
        90GR

19.543. INNER FOR 24702               10/2018              $954.62               COST                $954.62

19.544. BLISTER FOR 26615             10/2018              $953.88               COST                $953.88

19.545. BOX 19 X 15.5 X 6.2           10/2018              $953.51               COST                $953.51
        (7452/4629

19.546. SPEED TABLE SHIPPER           10/2018              $953.51               COST                $953.51

19.547. BOX PRINTED W/INSERT          10/2018              $947.38               COST                $947.38
        CARD

19.548. BOX 10.375 X 10 X 10.5        10/2018              $946.08               COST                $946.08

19.549. BOX 23.4 X 12.9 X 16.75       10/2018              $939.90               COST                $939.90

19.550. BOX PRINTED F/E               10/2018              $935.38               COST                $935.38
        ACETATE HANDLE

19.551. BLITZ 1/2 PALLET TOP          10/2018              $935.21               COST                $935.21

19.552. BOX 8.06 X 9.75 X 15.06       10/2018              $932.82               COST                $932.82
        (19064

19.553. HANDLE PRINCESS 25423         10/2018              $932.58               COST                $932.58

19.554. CARD 17212                    10/2018              $929.02               COST                $929.02

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19.555. GREEN POWER PANEL            10/2018              $924.56               COST                $924.56
        TRAY 7"

19.556. BOX 12 X 11.675 X 9.4375     10/2018              $924.51               COST                $924.51

19.557. BOX 19235                    10/2018              $922.14               COST                $922.14

19.558. BOX 11 X 8.82 X 16.25        10/2018              $916.92               COST                $916.92
        (18996)

19.559. LABEL SURPRISE BUBBLE        10/2018              $916.60               COST                $916.60

19.560. RESIN HDPE - YELLOW          10/2018              $915.00               COST                $915.00
        7404C

19.561. BOX 16555                    10/2018              $913.94               COST                $913.94

19.562. PDQ KAOS 500 CT 17260        10/2018              $913.50               COST                $913.50

19.563. LABEL FRONT 64 OZ            10/2018              $909.30               COST                $909.30
        SMB/PET

19.564. ORANGE CAP OCTAGON           10/2018              $899.63               COST                $899.63

19.565. PDQ LID 18106 (2015)         10/2018              $898.82               COST                $898.82

19.566. SPIDERMAN CAP                10/2018              $897.68               COST                $897.68

19.567. LID PDQ 22469                10/2018              $896.93               COST                $896.93

19.568. PDQ 19283 DG SPILL           10/2018              $894.94               COST                $894.94
        STOPPER

19.569. BOX 19134                    10/2018              $891.91               COST                $891.91

19.570. LABEL UPC 8 OZ SMB 2020      10/2018              $888.80               COST                $888.80

19.571. LABEL SPILL STOPPER F/E      10/2018              $885.68               COST                $885.68

19.572. CRYSTAL CLEAR TAPE           10/2018              $883.95               COST                $883.95

19.573. BOX 12.675 X 8.5 X 10.75     10/2018              $881.22               COST                $881.22
        (2389

19.574. LABEL FRONT 8 OZ PET -       10/2018              $880.73               COST                $880.73
        AMSCAN

19.575. CARD 25423                   10/2018              $879.67               COST                $879.67

19.576. PDQ FOR 16555 / 16558        10/2018              $877.42               COST                $877.42

19.577. REMOVABLE UPC LABEL          10/2018              $869.74               COST                $869.74

19.578. CARD 13053 (25088)           10/2018              $866.09               COST                $866.09

19.579. BOTTOM CENTER                10/2018              $861.88               COST                $861.88
        SUPPORT

19.580. SPIDERMAN CARD               10/2018              $861.30               COST                $861.30

19.581. CELLO BAG-SMALL              10/2018              $860.35               COST                $860.35

19.582. PDQ LID 21692                10/2018              $858.00               COST                $858.00

19.583. RESIN INJECTION PP           10/2018              $854.66               COST                $854.66
        PURPLE

19.584. LABEL FRONT 100 OZ           10/2018              $853.62               COST                $853.62
        SMB/PET

19.585. 8" HOOK                      10/2018              $851.21               COST                $851.21

19.586. BOTTLE 4 OZ PET GREEN        10/2018              $850.02               COST                $850.02

19.587. BLISTER FOR 25089            10/2018              $849.92               COST                $849.92


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19.588. PRINTED VALUE BOX            10/2018              $842.72               COST                $842.72
        FROZEN

19.589. SHRINK WRAP                  10/2018              $841.28               COST                $841.28
        GREEN/ORANGE

19.590. BOX 16.0625 X 11.0625 X      10/2018              $839.68               COST                $839.68
        11.063

19.591. 5 TIER SPINNER RACK          10/2018              $838.50               COST                $838.50

19.592. SHRINK WRAP 6 OZ - B1        10/2018              $837.74               COST                $837.74
        SHARK

19.593. BOX 16.1 X 12.6 X 6          10/2018              $836.33               COST                $836.33
        (7850/7921

19.594. SHRINK WRAP 6 OZ - G3        10/2018              $834.05               COST                $834.05
        MERMAID

19.595. LABEL FRONT GLOW             10/2018              $833.22               COST                $833.22

19.596. PRINTED CARDBOARD            10/2018              $832.41               COST                $832.41
        COVER 20892

19.597. BOX PRNTD W/ACETATE          10/2018              $831.69               COST                $831.69
        HANDLE ARA

19.598. CARD 25609                   10/2018              $831.26               COST                $831.26

19.599. PDQ LABEL 46987              10/2018              $831.00               COST                $831.00

19.600. BOX 18449 SP2018             10/2018              $825.47               COST                $825.47

19.601. BOX 14.75 X 10.875 X 6.5     10/2018              $825.10               COST                $825.10

19.602. CARD 25610                   10/2018              $820.10               COST                $820.10

19.603. SMALL SUPPORT                10/2018              $819.49               COST                $819.49

19.604. MEDIUM TRAY                  10/2018              $818.15               COST                $818.15

19.605. LABEL UPC 100 OZ PET         10/2018              $817.90               COST                $817.90

19.606. LABEL FRONT 80 OZ PET        10/2018              $816.36               COST                $816.36

19.607. SHRINK WRAP 6 OZ - B2        10/2018              $811.40               COST                $811.40
        DINOS

19.608. BOX 16.75 X 20 X 22          10/2018              $810.52               COST                $810.52
        (23058)

19.609. BLISTER FOR 25925            10/2018              $808.45               COST                $808.45

19.610. WAND GREEN 16588             10/2018              $806.37               COST                $806.37

19.611. BOX 21572                    10/2018              $801.90               COST                $801.90

19.612. LABEL FRONT 8 OZ             10/2018              $801.45               COST                $801.45
        SMB/PET AG

19.613. SHRINK WRAP 6 OZ - B3        10/2018              $801.31               COST                $801.31
        SPACE

19.614. BOX 13.75 X 10.375 X         10/2018              $800.11               COST                $800.11
        10.625

19.615. BOX 12.38 X 13.63 X 17.25    10/2018              $798.53               COST                $798.53
        W3BK

19.616. LABEL FUN IN THE SUN         10/2018              $797.50               COST                $797.50
        LOGO

19.617. CORR-A-CLIP 3/8" ANGLED      10/2018              $795.70               COST                $795.70
        BRACE

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19.618. BOX 15.25 X 7.75 X 9.125     10/2018              $794.53               COST                $794.53

19.619. LABEL UPC 8 OZ BLITZ         10/2018              $791.43               COST                $791.43

19.620. SHRINK WRAP 6 OZ - G2        10/2018              $791.15               COST                $791.15
        UNICORN

19.621. BLUE SHELF INSERT FOR        10/2018              $789.80               COST                $789.80
        62003

19.622. SHRINK BAND 16 OZ 4 PK       10/2018              $785.38               COST                $785.38
        (18996)

19.623. CARD 13066 F/E (25408)       10/2018              $783.62               COST                $783.62

19.624. BOX 13371                    10/2018              $780.30               COST                $780.30

19.625. BLISTER 21691                10/2018              $775.03               COST                $775.03

19.626. HEADER 17186                 10/2018              $774.06               COST                $774.06

19.627. 12" SHRINK FILM C/F          10/2018              $771.66               COST                $771.66

19.628. PDQ PRINTED LOL F/E          10/2018              $771.44               COST                $771.44

19.629. LID PDQ 13865                10/2018              $770.87               COST                $770.87

19.630. MASTER CARTON 14682          10/2018              $769.66               COST                $769.66

19.631. PRINTED INSERT - 17495       10/2018              $767.46               COST                $767.46
        CN

19.632. BLISTER FOR 26607            10/2018              $767.15               COST                $767.15

19.633. LABEL 13315 3 PC SET         10/2018              $766.99               COST                $766.99

19.634. FROZEN 2 MICROPHONE -        10/2018              $763.67               COST                $763.67
        BULK

19.635. SHRINK WRAP 6 OZ - G1        10/2018              $762.36               COST                $762.36
        DOLPHIN

19.636. BOX 10.0625 X 9 X 10.25      10/2018              $759.29               COST                $759.29

19.637. SHRINK WRAP CAP AMER         10/2018              $753.80               COST                $753.80

19.638. POLYBAG 8" X 10" (1.5 MIL)   10/2018              $753.34               COST                $753.34

19.639. BLACK 5" POWER PANEL         10/2018              $753.30               COST                $753.30

19.640. PAW PATROL CARD              10/2018              $753.22               COST                $753.22
        CHASE

19.641. PDQ LID 46987                10/2018              $750.59               COST                $750.59

19.642. 1" CLEAR CIRCLE STICKER      10/2018              $745.85               COST                $745.85

19.643. PDQ 46987                    10/2018              $736.77               COST                $736.77

19.644. LID PDQ 22491                10/2018              $732.23               COST                $732.23

19.645. BUBBLE TRAY 25423            10/2018              $730.73               COST                $730.73

19.646. MIGHTY WAND HANDLE           10/2018              $725.94               COST                $725.94

19.647. CYAN POWER PANEL             10/2018              $725.62               COST                $725.62
        TRAY 7"

19.648. DIVIDER DUMPBIN              10/2018              $722.48               COST                $722.48

19.649. 75MM PLASTIC                 10/2018              $721.91               COST                $721.91
        FASTENERS

19.650. LABEL 64 OZ MB - AMSCAN 10/2018                   $719.98               COST                $719.98
        2020


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19.651. BOX 16.25 X 12.25 X 9        10/2018              $719.71               COST                $719.71

19.652. BOX 18.875 X 13.675 X        10/2018              $718.91               COST                $718.91
        13.375

19.653. PDQ F/E MARBLES              10/2018              $717.44               COST                $717.44

19.654. CYAN SHELVES FOR 62003 10/2018                    $714.74               COST                $714.74

19.655. HULK CARD                    10/2018              $712.19               COST                $712.19

19.656. BOX 18.9 X 13.68 X 10.38     10/2018              $711.01               COST                $711.01
        13124

19.657. INSERT PANEL 2PK LICK A      10/2018              $710.20               COST                $710.20
        BUBBLE

19.658. PDQ F/E 13371                10/2018              $707.03               COST                $707.03

19.659. POWER PANEL INSERT           10/2018              $705.71               COST                $705.71
        LAB GRAPHIC

19.660. BOTTEM PANEL TRAY -          10/2018              $705.21               COST                $705.21
        TRAIN 2019

19.661. LABEL CIRCLE BUBBLE          10/2018              $703.42               COST                $703.42

19.662. BLISTER 25928                10/2018              $693.59               COST                $693.59

19.663. LABEL UPC 8 OZ PET -         10/2018              $692.47               COST                $692.47
        AMSCAN

19.664. BOX FOR 16558                10/2018              $690.54               COST                $690.54

19.665. LABEL FRONT 128 OZ PET       10/2018              $690.32               COST                $690.32

19.666. BOX 12 X 14.75 X 12          10/2018              $687.13               COST                $687.13
        (46681)

19.667. RESIN HDPE - TEAL 3252C      10/2018              $686.89               COST                $686.89

19.668. BOX 18344                    10/2018              $686.56               COST                $686.56

19.669. BOX 7.25 X 6.25 X 9.75       10/2018              $680.52               COST                $680.52
        19282

19.670. BOX 15.75 X 8.25 X 8..50     10/2018              $678.53               COST                $678.53

19.671. SIMPL UV ADHESIVE            10/2018              $675.00               COST                $675.00
        SEALANT

19.672. BOX 15 X 5.625 X 19.75       10/2018              $673.29               COST                $673.29

19.673. CAP 38 MM BLACK MB-          10/2018              $672.35               COST                $672.35
        INDUC SEAL

19.674. TRAY LID 49993 (2015)        10/2018              $670.47               COST                $670.47

19.675. BOX 12.75 X 12.75 X 11.375   10/2018              $670.46               COST                $670.46

19.676. LABEL 5 OZ P+ BLITZ          10/2018              $668.78               COST                $668.78

19.677. 5" POWER PANEL HOOK          10/2018              $664.65               COST                $664.65

19.678. TOP LAYER TRAY CYAN          10/2018              $660.96               COST                $660.96

19.679. PDQ 22491                    10/2018              $660.88               COST                $660.88

19.680. ICE WAND                     10/2018              $656.57               COST                $656.57

19.681. BOX 19243 - WAVE 2 FAM $     10/2018              $655.73               COST                $655.73

19.682. FROZEN PROJECTOR             10/2018              $649.64               COST                $649.64
        LIGHT W/3 LEN



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19.683. 1/2 PALLET TRAY NO           10/2018              $638.57               COST                $638.57
        GRAPHICS

19.684. LABEL FRONT PDQ 15822        10/2018              $637.07               COST                $637.07

19.685. BOX S4732                    10/2018              $635.00               COST                $635.00

19.686. PDQ 18892                    10/2018              $633.50               COST                $633.50

19.687. SIDE PANELS (RIGHT &         10/2018              $633.06               COST                $633.06
        LEFT)

19.688. PURPLE CAP OCTAGON           10/2018              $625.61               COST                $625.61

19.689. CAP 55 OZ GREEN              10/2018              $624.08               COST                $624.08

19.690. BOX 14.0625 X 9.5625 X 12    10/2018              $623.57               COST                $623.57

19.691. BOX 18 X 10.25 X 6.25        10/2018              $621.86               COST                $621.86

19.692. LONG BOTTOM DIVIDER          10/2018              $620.64               COST                $620.64
        CYAN

19.693. BOX 19215                    10/2018              $619.13               COST                $619.13

19.694. V-BOARD 3" X 3" X .225" X    10/2018              $618.76               COST                $618.76
        70"

19.695. LABEL FRONT 8 OZ             10/2018              $617.45               COST                $617.45
        SMB/PET

19.696. POWER PANEL                  10/2018              $617.12               COST                $617.12
        W/GRAPHICS 17530

19.697. 35" X 35" SLIP SHEET         10/2018              $616.80               COST                $616.80

19.698. BOX 23058 1 PK               10/2018              $613.80               COST                $613.80

19.699. BOX 10 X 9.0625 X 6.1875     10/2018              $613.43               COST                $613.43

19.700. PANEL TOP/HEADER             10/2018              $611.49               COST                $611.49

19.701. LABEL UPC 25608 (26175)      10/2018              $610.97               COST                $610.97
        CN

19.702. PRINTED COLOR BOX            10/2018              $607.32               COST                $607.32
        22841

19.703. BOX 6.88 X 5.25 X 10.38      10/2018              $606.80               COST                $606.80
        (26562

19.704. CENTER INSERT SET            10/2018              $605.79               COST                $605.79
        23102 (2015)

19.705. CARD 21691 - ZOOMA           10/2018              $604.26               COST                $604.26

19.706. RED CAP OCTAGON              10/2018              $602.58               COST                $602.58

19.707. SHRINK WRAP SMB P 5 OZ       10/2018              $602.55               COST                $602.55
        2 PK

19.708. LABEL UPC 80 OZ PET          10/2018              $602.18               COST                $602.18

19.709. BLUE CAP OCTAGON             10/2018              $599.62               COST                $599.62

19.710. PDQ LID 17272                10/2018              $599.55               COST                $599.55

19.711. HANG TAG 15822 - UPC         10/2018              $597.12               COST                $597.12
        15486

19.712. BOX 13 X 17.2 X 23.25        10/2018              $596.75               COST                $596.75
        (29006)

19.713. JAR LABEL 21138 (2014)       10/2018              $596.36               COST                $596.36


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19.714. BOX 10.25 X 10.25 X 8.5       10/2018              $594.86               COST                $594.86
        20895

19.715. CAP 38 MM YELLOW - UNIV 10/2018                    $593.64               COST                $593.64
        108C

19.716. SMB 1/4 PALLET TOP            10/2018              $593.08               COST                $593.08

19.717. MASTER CARTON FOR             10/2018              $591.21               COST                $591.21
        24702

19.718. BOX 13.75X 12.38X 17.75       10/2018              $590.27               COST                $590.27
        (18913

19.719. FUZZBIES LABEL                10/2018              $588.29               COST                $588.29

19.720. BOX 5.5 X 8.5 X 14.75         10/2018              $587.15               COST                $587.15
        (18931)

19.721. LID PDQ 47008                 10/2018              $585.92               COST                $585.92

19.722. BOX 15.25 X 10.25 X 8.625     10/2018              $585.60               COST                $585.60

19.723. CARD 13959                    10/2018              $585.37               COST                $585.37

19.724. BOX 8 X 6.38 X 9.81 (18590)   10/2018              $582.78               COST                $582.78

19.725. BACK PANEL                    10/2018              $582.00               COST                $582.00

19.726. TIE KNOT STICK WHITE          10/2018              $579.99               COST                $579.99

19.727. END TRAY 13386                10/2018              $578.92               COST                $578.92

19.728. SHRINK WRAP MICKEY            10/2018              $577.22               COST                $577.22
        SET (10)

19.729. WIP 24702                     10/2018              $576.07               COST                $576.07

19.730. SIGN HEADER LICK-A-           10/2018              $573.01               COST                $573.01
        BUBBLE

19.731. CUP 178 OZ SMB PURPLE         10/2018              $569.85               COST                $569.85
        267C

19.732. BOX 18982                     10/2018              $566.92               COST                $566.92

19.733. CARTON TAPE-BROWN             10/2018              $566.10               COST                $566.10

19.734. MASSIVE GOOGLY BALL -         10/2018              $565.49               COST                $565.49
        DEFLATED

19.735. PDQ 13865                     10/2018              $563.10               COST                $563.10

19.736. COUNTER DISPLAY 23632         10/2018              $561.79               COST                $561.79

19.737. PRINTED COVER 23102           10/2018              $560.76               COST                $560.76

19.738. BOX 12 X 12 X 14.8            10/2018              $560.40               COST                $560.40
        23141/23106

19.739. BLUE POWER PANEL              10/2018              $558.15               COST                $558.15
        TRAY 7"

19.740. SHRINK WRAP                   10/2018              $557.98               COST                $557.98
        SPIDERMAN 24891

19.741. RIGHT SIDE PANEL              10/2018              $555.81               COST                $555.81

19.742. KRAFT SHIPPING INSERT /       10/2018              $555.46               COST                $555.46
        62003

19.743. BOX 8.25 X 7.625 X 9.25       10/2018              $552.85               COST                $552.85

19.744. LID FOR PDQ                   10/2018              $552.83               COST                $552.83

19.745. INSERT TRAY                   10/2018              $552.24               COST                $552.24
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19.746. BOX 10.25 X 8.5 X 10.75      10/2018              $551.64               COST                $551.64
        20895S

19.747. SHIPPER GRAVITY FEED         10/2018              $549.63               COST                $549.63
        DISPLAY

19.748. 12" GREEN PDQ                10/2018              $546.42               COST                $546.42

19.749. LABEL FRONT 178 OZ SMB       10/2018              $545.19               COST                $545.19
        F/E

19.750. LID PDQ 19283 SPILL          10/2018              $543.60               COST                $543.60
        STOPPER

19.751. SHIPPER 17541 ENDCAP         10/2018              $541.28               COST                $541.28

19.752. BOTTOM TRAY                  10/2018              $541.08               COST                $541.08

19.753. PDQ LID 18394 - BLACK        10/2018              $540.71               COST                $540.71
        WAVE 3

19.754. BUTTERFLY HOOK 7"            10/2018              $539.42               COST                $539.42

19.755. BOX 11.1 X 8.5 X 7.37        10/2018              $538.54               COST                $538.54
        (8165)

19.756. BOTTOM END MIDDLE            10/2018              $537.95               COST                $537.95
        SUPPORT

19.757. UPC HEAT TRANSFER            10/2018              $535.35               COST                $535.35
        19987 GREEN

19.758. BOX 13.8125 X 9.375 X        10/2018              $534.96               COST                $534.96
        6.125

19.759. PDQ 19456                    10/2018              $533.28               COST                $533.28

19.760. SMB 1/2 PALLET TOP           10/2018              $529.10               COST                $529.10

19.761. BOX 14.3125 X 7.375 X        10/2018              $524.70               COST                $524.70
        8.4375

19.762. SURPRISE HALLOWEEN           10/2018              $522.67               COST                $522.67
        TOY BAG

19.763. BOX 9 X 14.75 X 18.5         10/2018              $521.51               COST                $521.51
        (23944)

19.764. BOTTLE 16 OZ MB - MX         10/2018              $521.41               COST                $521.41
        M/Y/B/G/O

19.765. SIDEKICK SHELF SET -         10/2018              $518.00               COST                $518.00
        BGLT

19.766. BOX 10.75 X 7.375 X 8.375    10/2018              $516.22               COST                $516.22

19.767. BOX 9.25 X 11.5 X 13.75      10/2018              $516.14               COST                $516.14
        19276

19.768. PDQ BLACK 22469              10/2018              $515.90               COST                $515.90

19.769. BOX 17.3125 X 12.125 X       10/2018              $515.39               COST                $515.39
        5.125

19.770. BOX 9.625 X 8.625 X 5.75     10/2018              $514.50               COST                $514.50

19.771. LABEL 8 OZ BLITZ P+          10/2018              $513.63               COST                $513.63

19.772. BOTTOM LAYER CROSS           10/2018              $511.13               COST                $511.13

19.773. SHELF - GREY 422U            10/2018              $509.62               COST                $509.62

19.774. LABEL UPC 16 OZ PET          10/2018              $509.29               COST                $509.29
        19267


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19.775. BOTTLE 8 OZ MB PURPLE         10/2018              $507.53               COST                $507.53
        2577 LIC

19.776. BLISTER 18105 (2014)          10/2018              $506.66               COST                $506.66

19.777. DOUBLE SIDED TAPE             10/2018              $505.94               COST                $505.94
        SCOTCH

19.778. SHRINK WRAP RED/BLUE          10/2018              $505.20               COST                $505.20

19.779. INSTRUCTION SHEET             10/2018              $503.65               COST                $503.65
        GLOW ORANGE

19.780. BLISTER 26433                 10/2018              $499.07               COST                $499.07

19.781. BOX 14.3X 9.7 X11.5           10/2018              $498.60               COST                $498.60
        18108/1540

19.782. SHIPPER 17584                 10/2018              $497.61               COST                $497.61

19.783. BOX 46854                     10/2018              $497.54               COST                $497.54

19.784. BOTTLE 4 OZ MB ORANGE         10/2018              $496.14               COST                $496.14
        151

19.785. 5" DEEP 24" POWER             10/2018              $495.86               COST                $495.86
        PANEL

19.786. CARD 3D LOL SPILL             10/2018              $487.24               COST                $487.24
        STOPPER

19.787. LABEL UPC 64 OZ PET F/E       10/2018              $486.63               COST                $486.63

19.788. WINDOW BOX 4685               10/2018              $484.27               COST                $484.27

19.789. HANG TAG 23141                10/2018              $483.02               COST                $483.02

19.790. BOTTLE LOL - BALL SHAPE       10/2018              $481.38               COST                $481.38

19.791. POWER PANEL PRINTED           10/2018              $479.88               COST                $479.88
        5" 17518

19.792. BOX 21126                     10/2018              $478.80               COST                $478.80

19.793. PDQ 18394                     10/2018              $473.08               COST                $473.08

19.794. BOX 15 X 8.5 X 10.5           10/2018              $471.66               COST                $471.66

19.795. INSTRUCTION SHEET             10/2018              $471.46               COST                $471.46
        POWER POPPER

19.796. BOX 10.875 X 8.6875 X         10/2018              $470.11               COST                $470.11
        10.6875

19.797. BLISTER TRAY 151 CT           10/2018              $470.04               COST                $470.04

19.798. BOX FOR 17579                 10/2018              $468.96               COST                $468.96

19.799. PALLET 1/4 28.5" X 18.75"     10/2018              $464.60               COST                $464.60

19.800. 48" X 40" SLIP SHEET          10/2018              $459.00               COST                $459.00

19.801. COLUMN DIVIDER INSERT         10/2018              $458.45               COST                $458.45
        17536

19.802. 24 PRONG WIRE FLOOR           10/2018              $458.25               COST                $458.25
        STAND

19.803. BLISTER COVER 151 CT          10/2018              $457.41               COST                $457.41

19.804. LABEL 16 OZ SC MB             10/2018              $453.22               COST                $453.22

19.805. STICKY PATCHES ELSA           10/2018              $452.46               COST                $452.46

19.806. TOP CAP 13384                 10/2018              $451.31               COST                $451.31


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19.807. LABEL LARGE LOL              10/2018              $448.17               COST                $448.17
        DISPLAY

19.808. PDQ LID 17999                10/2018              $448.12               COST                $448.12

19.809. BLISTER TRAY 21696           10/2018              $447.76               COST                $447.76

19.810. BOX 13.1875 X 11.25 X        10/2018              $447.13               COST                $447.13
        4.8125

19.811. HANG TAG 23060 - MX          10/2018              $446.50               COST                $446.50

19.812. BOX 13.94 X 11.25 X 10.5     10/2018              $445.28               COST                $445.28
        17461

19.813. TRAY 49993 (2015)            10/2018              $443.92               COST                $443.92

19.814. WAND CONE SHELL              10/2018              $441.21               COST                $441.21

19.815. PDQ 48615                    10/2018              $440.23               COST                $440.23

19.816. CARD 46625 (2015)            10/2018              $440.14               COST                $440.14

19.817. FILLER FAUCET KAOS           10/2018              $439.86               COST                $439.86

19.818. GREEN P/P 7" (5 SHELVES)     10/2018              $436.84               COST                $436.84

19.819. WAND JELLYFISH               10/2018              $436.10               COST                $436.10

19.820. TRIETHANOLAMINE -            10/2018              $434.79               COST                $434.79
        MEXICO

19.821. PDQ LID 15742                10/2018              $433.84               COST                $433.84

19.822. PDQ LID 18394                10/2018              $432.68               COST                $432.68

19.823. SHRINK WRAP LOL OUTER        10/2018              $432.25               COST                $432.25
        F/E

19.824. BOX 14.375 X 9.0625 X        10/2018              $430.46               COST                $430.46
        5.6875

19.825. 2 OZ MB FLLD W/WAND          10/2018              $428.67               COST                $428.67

19.826. SHRINK WRAP SMB              10/2018              $427.15               COST                $427.15
        REFILL STATION

19.827. SHRINK WRAP IRON MAN         10/2018              $425.56               COST                $425.56
        24621

19.828. DIVIDER 6 PK 26544/13648     10/2018              $424.99               COST                $424.99

19.829. BOX 19332                    10/2018              $423.34               COST                $423.34

19.830. LABEL UPC 64 OZ PET          10/2018              $422.92               COST                $422.92

19.831. CARD 2 PC INSERT             10/2018              $422.35               COST                $422.35
        PLAYDAY F/E

19.832. CARD 2 PC INSERT             10/2018              $419.46               COST                $419.46
        PLAYDAY

19.833. FRAGRANCE COTTON             10/2018              $419.44               COST                $419.44
        CANDY F-99261

19.834. BOX 20 X 9 X 5.5 (14556)     10/2018              $419.22               COST                $419.22

19.835. LABEL UPC 128 OZ PET         10/2018              $419.20               COST                $419.20

19.836. SHIPPER 19097                10/2018              $417.96               COST                $417.96

19.837. TRAY SC 6 PK                 10/2018              $417.90               COST                $417.90

19.838. SHROUD 100 OZ FULL           10/2018              $417.61               COST                $417.61
        PALLET


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19.839. DISP GRAVITY FEED BACK       10/2018              $417.60               COST                $417.60
        PANEL

19.840. SHRINK WRAP MINNIE SET       10/2018              $415.17               COST                $415.17
        (10)

19.841. BOX 41 X 26 X 12.6 (49431)   10/2018              $412.88               COST                $412.88

19.842. POWER PANEL FASTENER         10/2018              $411.18               COST                $411.18
        CLIP

19.843. BOX 9.875 X 7.75 X 5.875     10/2018              $410.86               COST                $410.86
        19278

19.844. PDQ LID 17583                10/2018              $410.55               COST                $410.55

19.845. SHRINK BAND MINI             10/2018              $410.55               COST                $410.55
        BOWLING BALLS

19.846. BOX 20 X 8.25 X 8.75 -       10/2018              $410.53               COST                $410.53
        16451

19.847. SHRINK BAND 26639            10/2018              $409.62               COST                $409.62

19.848. PRINTED CARD 2 PC            10/2018              $409.60               COST                $409.60
        INSERT ZOOMA

19.849. WAND STAR                    10/2018              $409.14               COST                $409.14

19.850. SHELF INSERT                 10/2018              $408.58               COST                $408.58

19.851. WAND SPILL STOPPER           10/2018              $407.27               COST                $407.27
        LOL

19.852. BOX 16.06 X 9.56 X 6.06      10/2018              $406.94               COST                $406.94
        8042

19.853. BOTTLE 4 OZ MB GREEN         10/2018              $406.29               COST                $406.29
        7488

19.854. BOX 12 X 5.8 X 7.10          10/2018              $406.22               COST                $406.22

19.855. BOX 16.25 X 11 X 7.8         10/2018              $406.06               COST                $406.06

19.856. PDQ 22793                    10/2018              $404.38               COST                $404.38

19.857. WIRE RACK FUZZBIES           10/2018              $403.82               COST                $403.82

19.858. BOOKLET MARBLE 151 CT        10/2018              $403.54               COST                $403.54

19.859. PDQ LID 18105 - PURPLE       10/2018              $402.71               COST                $402.71

19.860. WAND FAN SHELL               10/2018              $399.22               COST                $399.22

19.861. 3.5 OZ PET FILLED BLU        10/2018              $399.00               COST                $399.00
        W/O WAND

19.862. LABEL "SAFETY TESTED"        10/2018              $397.47               COST                $397.47
        26567

19.863. CARD MICKEY                  10/2018              $395.87               COST                $395.87

19.864. FILM BUNDLER 4 OZ SMB 8 10/2018                   $395.11               COST                $395.11
        PK

19.865. LABEL 5 OZ SMB P+            10/2018              $395.03               COST                $395.03

19.866. BOX 19391                    10/2018              $392.70               COST                $392.70

19.867. INSTRUCTION SHEET M14        10/2018              $391.30               COST                $391.30

19.868. BOTTLE P+ 5 OZ CLEAR         10/2018              $391.20               COST                $391.20

19.869. BOTTLE 4 OZ SMB MX           10/2018              $390.92               COST                $390.92
        M/Y/B/G/O/P

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19.870. BOX TEARAWAY 8 OZ MB          10/2018              $388.02               COST                $388.02
        5353

19.871. PDQ 18105                     10/2018              $387.84               COST                $387.84

19.872. INSTRUCTION SHEET FOR         10/2018              $387.27               COST                $387.27
        26567

19.873. BUTTERFLY HOOK 5"             10/2018              $386.48               COST                $386.48

19.874. PDQ LID 44694 - BLACK         10/2018              $386.02               COST                $386.02

19.875. LABEL UPC 178 OZ SMB          10/2018              $385.79               COST                $385.79
        F/E

19.876. BUBBLE STICK FROZEN 3         10/2018              $382.75               COST                $382.75
        STYLES

19.877. PDQ $5 ENDCAP - 17999         10/2018              $382.23               COST                $382.23
        WM

19.878. ACETATE SHEET 51.26 X         10/2018              $381.40               COST                $381.40
        8.625

19.879. 1/4 PALLET 24" X 22"          10/2018              $380.00               COST                $380.00

19.880. INNER BOX 14469               10/2018              $379.46               COST                $379.46

19.881. END CAP 24" SHIPPER           10/2018              $379.17               COST                $379.17
        (16664)

19.882. RESIN HDPE - PINK 806         10/2018              $379.04               COST                $379.04

19.883. SHRINK WRAP LOL INNER         10/2018              $376.44               COST                $376.44
        F/E

19.884. PDQ 14451                     10/2018              $376.34               COST                $376.34

19.885. CARTON 45953                  10/2018              $376.14               COST                $376.14

19.886. RESIN HDPE - GRAY 431         10/2018              $373.76               COST                $373.76

19.887. BOX ASDA 32 OZ SMB            10/2018              $373.26               COST                $373.26

19.888. BOX 14.6 X 11 X 5 - 15663     10/2018              $372.09               COST                $372.09

19.889. BOX 15.75 X 16.75 X 23.5      10/2018              $371.84               COST                $371.84
        18019

19.890. LAYER PAD 100 OZ FULL         10/2018              $370.76               COST                $370.76
        PALLET

19.891. PRINTD VALUE BOX              10/2018              $368.00               COST                $368.00
        FROZEN INSERT

19.892. V-BOARD 2.5 X 2.5 36"         10/2018              $366.53               COST                $366.53

19.893. HOT GLUE STICK                10/2018              $361.66               COST                $361.66

19.894. CARD W/2 POP UPS FOR          10/2018              $360.58               COST                $360.58
        19233

19.895. SHRINK WRAP 6 OZ TIE          10/2018              $360.33               COST                $360.33
        DYE - B

19.896. 4 OZ MB F/E CARS 3 W/O        10/2018              $355.79               COST                $355.79
        WAND

19.897. DUMP BIN 13428                10/2018              $355.50               COST                $355.50

19.898. LABEL UPC 100 OZ F/E          10/2018              $353.91               COST                $353.91
        PET - MX

19.899. BOX FOR 19184                 10/2018              $353.49               COST                $353.49


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19.900. TOP CAP - TRAIN 2019         10/2018              $353.40               COST                $353.40

19.901. SHIPPER 18844                10/2018              $351.60               COST                $351.60

19.902. LABEL UPC 80 OZ PET -        10/2018              $351.54               COST                $351.54
        AMSCAN

19.903. LID PDQ 18105 - BLACK        10/2018              $348.53               COST                $348.53

19.904. CARD 25431 PRINCESS          10/2018              $347.69               COST                $347.69

19.905. PRINTED INSERT CARD          10/2018              $346.61               COST                $346.61
        32400

19.906. PRINTED CARDBOARD            10/2018              $346.15               COST                $346.15
        COVER 20891

19.907. HANDLE 23141 17" PINK        10/2018              $343.76               COST                $343.76

19.908. LID PDQ 18539                10/2018              $342.96               COST                $342.96

19.909. TRAY 4 OZ PET 8 PK           10/2018              $339.24               COST                $339.24

19.910. BOX 11.3125 X 10.875 X       10/2018              $339.15               COST                $339.15
        11.6875

19.911. LEFT SIDE PANEL              10/2018              $337.48               COST                $337.48

19.912. BOX 18859 1 PK               10/2018              $336.00               COST                $336.00

19.913. PRINTED COLOR BOX            10/2018              $335.12               COST                $335.12
        17461

19.914. SHIPPER 30600                10/2018              $335.00               COST                $335.00

19.915. PDQ LID 48615 - BLACK        10/2018              $334.56               COST                $334.56
        WAVE 3

19.916. PDQ LID 58962                10/2018              $334.36               COST                $334.36

19.917. END TRAY 13384               10/2018              $334.27               COST                $334.27

19.918. PDQ $5 ENDCAP - 17998        10/2018              $333.99               COST                $333.99
        WM

19.919. CAP 38 MM SMB ORANGE         10/2018              $333.31               COST                $333.31

19.920. BOX 21.13 X 9.69 X 22.63     10/2018              $331.82               COST                $331.82
        XMAS

19.921. FIBERGLASS TAPE              10/2018              $331.60               COST                $331.60

19.922. TRY ME LABEL FOR             10/2018              $328.60               COST                $328.60
        BUBBLE TOYS

19.923. CARD 21130 (2014)            10/2018              $325.22               COST                $325.22

19.924. A-3470-D ADHESIVE GLUE       10/2018              $324.43               COST                $324.43

19.925. SHRINK WRAP CAP              10/2018              $323.52               COST                $323.52
        AMERICA 24622

19.926. PDQ WM 21" FOAM BAT          10/2018              $323.52               COST                $323.52
        AND BALL

19.927. BLISTER TRAY 23108           10/2018              $323.20               COST                $323.20
        OCTAGON

19.928. BOTTLE 8 OZ P+ RED           10/2018              $319.78               COST                $319.78

19.929. SHRINK WRAP HULK 24620       10/2018              $314.21               COST                $314.21

19.930. UPC 7452                     10/2018              $313.62               COST                $313.62

19.931. LABEL SMALL LOL              10/2018              $313.39               COST                $313.39
        DISPLAY
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19.932. BLISTER FOR 25346            10/2018              $313.00               COST                $313.00

19.933. BOX 9 X 7 X 7 - 16405        10/2018              $312.80               COST                $312.80

19.934. RESIN HDPE - BLUE 295C       10/2018              $311.25               COST                $311.25

19.935. MIDDLE TRAY 13384            10/2018              $310.38               COST                $310.38

19.936. 32 OZ SMB PLAYPOND           10/2018              $307.07               COST                $307.07
        BLUE

19.937. POWER POPPER BL TRAY         10/2018              $306.42               COST                $306.42
        2 PC SET

19.938. RESIN INJECTN PP             10/2018              $305.55               COST                $305.55
        BAPOLENE 5072

19.939. BOX 18.25 X 8.25 X 8.40      10/2018              $304.02               COST                $304.02

19.940. MADE IN MEXICO/UPC           10/2018              $304.00               COST                $304.00
        STICKER

19.941. LABEL MADE IN MEXICO         10/2018              $301.61               COST                $301.61

19.942. CARD 25521                   10/2018              $300.01               COST                $300.01

19.943. 55 GAL PLASTIC BARREL        10/2018              $300.00               COST                $300.00

19.944. LABEL 16 OZ MB 2020          10/2018              $299.00               COST                $299.00

19.945. PDQ 18101 (2015)             10/2018              $297.17               COST                $297.17

19.946. ADHESIVE PAPER LABEL         10/2018              $295.81               COST                $295.81
        SET 22078

19.947. TOP DIVIDER CYAN             10/2018              $293.76               COST                $293.76

19.948. POWER PANEL TRAY -           10/2018              $292.43               COST                $292.43
        BLACK

19.949. 4 OZ MB HS BUBBLES F/E -     10/2018              $288.93               COST                $288.93
        5998

19.950. DYE GREEN [LIQUID            10/2018              $288.09               COST                $288.09
        FORM]

19.951. FRAGRANCE GRAPE F-           10/2018              $287.72               COST                $287.72
        99262

19.952. BOX 18.63 X 7.63 14.50       10/2018              $286.91               COST                $286.91
        23945

19.953. RISER TRAY                   10/2018              $286.88               COST                $286.88

19.954. BOX 5.75 X 5.88 X 9.38       10/2018              $286.18               COST                $286.18
        (22051)

19.955. BOX 11.1 X 11 X 11 (14561)   10/2018              $283.82               COST                $283.82

19.956. LABEL UPC 64 OZ SMB          10/2018              $283.36               COST                $283.36

19.957. BOX 26.375 X 5.5 X 4.25      10/2018              $281.77               COST                $281.77

19.958. PDQ LID 22793                10/2018              $280.70               COST                $280.70

19.959. BLISTER 21130                10/2018              $280.54               COST                $280.54

19.960. MASTER CARTON FOR            10/2018              $278.64               COST                $278.64
        14504

19.961. CARTON 45952                 10/2018              $278.19               COST                $278.19

19.962. LABEL UPC 16 OZ PET          10/2018              $275.99               COST                $275.99

19.963. RESIN HDPE - PINK 210        10/2018              $275.63               COST                $275.63


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19.964. LABEL 4 OZ MB 2020            10/2018              $275.60               COST                $275.60

19.965. DYE RED [LIQUID FORM]         10/2018              $275.00               COST                $275.00

19.966. DYE BLUE [LIQUID FORM]        10/2018              $275.00               COST                $275.00

19.967. MASTER 14469                  10/2018              $274.63               COST                $274.63

19.968. SHORT BOTTOM DIVIDER          10/2018              $273.46               COST                $273.46
        CYAN

19.969. TRAY PRINTED STW 4 OZ         10/2018              $270.77               COST                $270.77
        8 PK

19.970. SHRINK WRAP 23201             10/2018              $270.58               COST                $270.58
        GREEN/PURPLE

19.971. INSTRUCTION SHEET             10/2018              $269.83               COST                $269.83
        47220

19.972. ORANGE ALAMO CAP GUN          10/2018              $269.21               COST                $269.21

19.973. METAL BUCKLES S-108           10/2018              $269.17               COST                $269.17

19.974. LID PDQ 26168                 10/2018              $268.80               COST                $268.80

19.975. BOX 9.5 X 12 X 14 (26384)     10/2018              $268.79               COST                $268.79

19.976. PDQ LID 48615                 10/2018              $267.58               COST                $267.58

19.977. LABEL 64 OZ MB - AMSCAN 10/2018                    $264.98               COST                $264.98

19.978. INSERT CARD FOR 22841         10/2018              $264.90               COST                $264.90

19.979. BOX 15.0625 X 8.5 X           10/2018              $264.20               COST                $264.20
        10.4375

19.980. BOTTLE 4 OZ MB YELLOW         10/2018              $264.02               COST                $264.02
        803

19.981. UPC FINDING DORY 25613        10/2018              $263.70               COST                $263.70

19.982. FILM BUNDLER 6 PK - DG        10/2018              $263.14               COST                $263.14

19.983. HEADER CYAN                   10/2018              $262.90               COST                $262.90

19.984. POWER POPPER PVC CAP          10/2018              $262.40               COST                $262.40
        W/HOOK

19.985. BOX 13.38 X 9.13 X 10.75      10/2018              $262.30               COST                $262.30
        23055

19.986. CUP 178 OZ SMB BLUE           10/2018              $260.42               COST                $260.42
        801C

19.987. BOX 21.4375 X 6.875 X 3.75    10/2018              $259.08               COST                $259.08

19.988. BOX 12.25 X 7.25 X 6          10/2018              $258.54               COST                $258.54

19.989. BOX 8.9 X 4 X 6.7 - 21999     10/2018              $255.71               COST                $255.71

19.990. BOX 16.38 X 11 X 10.25        10/2018              $255.52               COST                $255.52
        32401

19.991. CLIX BROACH POD 8             10/2018              $254.96               COST                $254.96

19.992. INSERT TRAY                   10/2018              $254.84               COST                $254.84

19.993. PDQ 46625 (2015)              10/2018              $254.18               COST                $254.18

19.994. BOX 9.7 X 11.5 X 13.5         10/2018              $253.92               COST                $253.92
        (19211)

19.995. BOX 17 X 11.5 X 8             10/2018              $252.72               COST                $252.72



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19.996. 2 OZ MB FILLED W/O WND        10/2018              $252.63               COST                $252.63
        FRZN FE

19.997. BOX 8 X 6.25 X 17 (20897)     10/2018              $252.11               COST                $252.11

19.998. BOX 21.75 X 12.25 X 7.88      10/2018              $251.44               COST                $251.44
        32402

19.999. BOX PERF. BLUE & WHITE        10/2018              $251.34               COST                $251.34
        12880

19.1000. BOX 19307                    10/2018              $249.05               COST                $249.05

19.1001. BOX 12.375 X 9.625 X 9.375   10/2018              $248.95               COST                $248.95

19.1002. 2 OZ MB F/E AVENGERS         10/2018              $248.12               COST                $248.12
         W/O WAND

19.1003. BOX 15 X 8.5 X 10.5 18106    10/2018              $247.57               COST                $247.57

19.1004. GRAPHIC SIDE PANEL           10/2018              $246.62               COST                $246.62

19.1005. BOX 11.94 X 9.44 X 13        10/2018              $244.30               COST                $244.30
         19067

19.1006. PLASTIC RING 18CM 32401      10/2018              $244.22               COST                $244.22

19.1007. HEADER MARBLE 13371 -        10/2018              $243.27               COST                $243.27
         WM F/E

19.1008. BOX 13.25 X 9.25 X 11.625    10/2018              $242.55               COST                $242.55

19.1009. SHRINK WRAP 18931            10/2018              $241.71               COST                $241.71
         REFILL STATI

19.1010. LABEL UPC 100 OZ SMB         10/2018              $240.36               COST                $240.36

19.1011. BLISTER BUBBLE               10/2018              $239.79               COST                $239.79
         MACHINE

19.1012. PDQ 23201 - MEIJER           10/2018              $239.71               COST                $239.71

19.1013. HEADER                       10/2018              $239.25               COST                $239.25

19.1014. LABEL FOR OCTAGON            10/2018              $239.05               COST                $239.05
         TUBE 23108

19.1015. LOOP FASTENER 3"             10/2018              $238.50               COST                $238.50

19.1016. BOX 24 X 15 X 10             10/2018              $238.00               COST                $238.00

19.1017. F/E SHRINK WRAP 13766        10/2018              $232.29               COST                $232.29

19.1018. 8" TUBING FOR CLP STRIP      10/2018              $231.98               COST                $231.98

19.1019. PRINCESS CAP                 10/2018              $230.06               COST                $230.06

19.1020. LABEL LUNAR BLASTER          10/2018              $229.28               COST                $229.28

19.1021. TRAY PRINTED NEMO 4 OZ 10/2018                    $229.11               COST                $229.11
         8 PK

19.1022. LABEL 64 OZ MB - MX          10/2018              $229.03               COST                $229.03

19.1023. BLISTER 25521                10/2018              $227.79               COST                $227.79

19.1024. BLISTER FOR 25431            10/2018              $227.09               COST                $227.09

19.1025. STICKY PATCHES OLAF          10/2018              $226.97               COST                $226.97

19.1026. PDQ LID 18892                10/2018              $225.72               COST                $225.72

19.1027. LABEL FRONT 80 OZ PET -      10/2018              $224.80               COST                $224.80
         AMSCAN

19.1028. BOX 14 X 9.5 X 12.125        10/2018              $224.70               COST                $224.70

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19.1029. CAP 38 MM YELLOW - 108C 10/2018                   $224.51               COST                $224.51

19.1030. BLISTER 3D SPILL             10/2018              $222.06               COST                $222.06
         STOPPER LOL

19.1031. CARD 21882                   10/2018              $221.87               COST                $221.87

19.1032. SHRINK WRAP 19134            10/2018              $221.15               COST                $221.15

19.1033. BOX 9 X 6 X 13.75 18260      10/2018              $220.10               COST                $220.10
         W3

19.1034. PRINTED HANG TAG 22074       10/2018              $220.02               COST                $220.02

19.1035. SHIPPER 17586                10/2018              $219.64               COST                $219.64

19.1036. FRAGRANCE APPLE F-           10/2018              $219.35               COST                $219.35
         179794

19.1037. PP BASE STICKER LICK A       10/2018              $218.01               COST                $218.01
         BUBBLE

19.1038. LABEL 8 OZ MB MINNIE         10/2018              $217.37               COST                $217.37

19.1039. TOP CAP 100 OZ FULL          10/2018              $216.91               COST                $216.91
         PALLET

19.1040. TROLLS POPPY BLISTER         10/2018              $216.84               COST                $216.84

19.1041. UPC FROZEN                   10/2018              $216.83               COST                $216.83

19.1042. TROLLS POPPY CARD            10/2018              $216.75               COST                $216.75

19.1043. RESIN HDPE - YELLOW 116 10/2018                   $216.32               COST                $216.32

19.1044. CARS 3 CAP                   10/2018              $215.14               COST                $215.14

19.1045. 46 3/8" X 19 15/16"          10/2018              $214.83               COST                $214.83
         SHROUD

19.1046. BOX 16.5 X 7.625 X 6.125     10/2018              $214.76               COST                $214.76

19.1047. UPC AVENGERS 24699           10/2018              $214.32               COST                $214.32

19.1048. SLIDE BLISTER 26567          10/2018              $212.68               COST                $212.68
         SPECIAL

19.1049. PRINTED INSERT 18859         10/2018              $209.72               COST                $209.72

19.1050. PDQ LID 46625 (2015)         10/2018              $208.88               COST                $208.88

19.1051. CARD 21129                   10/2018              $208.79               COST                $208.79

19.1052. PDQ LID 9" COSMIC BALL       10/2018              $208.50               COST                $208.50

19.1053. BOX 12 X 12 X 14.75 46681    10/2018              $207.74               COST                $207.74

19.1054. THOMAS CAP                   10/2018              $207.67               COST                $207.67

19.1055. PDQ 16991                    10/2018              $203.41               COST                $203.41

19.1056. LID 23201 - MEIJER           10/2018              $203.28               COST                $203.28

19.1057. SIDE PANELS (RIGHT &         10/2018              $203.03               COST                $203.03
         LEFT)2019

19.1058. BOX 12.375 X 9.25 X 11       10/2018              $201.31               COST                $201.31
         BLACK

19.1059. BOX 15.875 X 8.25 X 8.375    10/2018              $200.63               COST                $200.63

19.1060. LABEL 24 OZ MB - DG 2020     10/2018              $200.00               COST                $200.00

19.1061. BOX INNER 9 X 6 3/8 X 6      10/2018              $199.07               COST                $199.07
         3/16


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19.1062. CARD ALAMO - NEW             10/2018              $198.73               COST                $198.73

19.1063. CARD 25346 CARS 3            10/2018              $198.21               COST                $198.21

19.1064. LABEL UPC 22051              10/2018              $197.42               COST                $197.42

19.1065. CARD FOR RUSTLER             10/2018              $197.04               COST                $197.04
         17552 NEW

19.1066. BOX 17.25 X 9.06 X 13.63     10/2018              $196.35               COST                $196.35
         22646

19.1067. SIDEKICK TRAY 48253          10/2018              $196.24               COST                $196.24

19.1068. SCOOP & SCORE SCOOP          10/2018              $196.00               COST                $196.00
         MIX COLORS

19.1069. BLISTER                      10/2018              $195.97               COST                $195.97

19.1070. PDQ 25215                    10/2018              $195.37               COST                $195.37

19.1071. BLISTER 21126                10/2018              $194.95               COST                $194.95

19.1072. BOX 11.6 X 10.6 X 13.5 -     10/2018              $193.90               COST                $193.90
         13145

19.1073. CVS CARTON 15288 - 1PK       10/2018              $193.80               COST                $193.80

19.1074. LABEL 64 OZ MB BIG LOTS      10/2018              $193.72               COST                $193.72

19.1075. LID PDQ 19349                10/2018              $192.87               COST                $192.87

19.1076. 4.2 OZ TUBE FILLNG           10/2018              $192.84               COST                $192.84
         PURPLE WAND

19.1077. LABEL 4 OZ MB RAPUNZEL       10/2018              $191.94               COST                $191.94

19.1078. 5" DEEP 24" POWER            10/2018              $191.05               COST                $191.05
         PANEL ORANGE

19.1079. F/E SHRINK WRAP 13757        10/2018              $190.57               COST                $190.57

19.1080. CAP SPILL STOPPER LOL        10/2018              $189.78               COST                $189.78

19.1081. BLISTER DEVIL'S TOWER        10/2018              $189.11               COST                $189.11
         46854

19.1082. LABEL 20999B                 10/2018              $187.39               COST                $187.39

19.1083. PDQ LID 48614 - BLACK        10/2018              $187.20               COST                $187.20
         WAVE 3

19.1084. BOX 6.25 X 9.88 X 10         10/2018              $186.62               COST                $186.62
         (44150)

19.1085. LABEL SET DATE GREEN         10/2018              $185.89               COST                $185.89
         12/1

19.1086. BOX 14.3 X 10.7 X 4.25       10/2018              $185.64               COST                $185.64

19.1087. HANDLE 16803 YELLOW          10/2018              $185.45               COST                $185.45

19.1088. WAND FISH                    10/2018              $185.24               COST                $185.24

19.1089. BOX 15.5 X 13.75 X 10.625    10/2018              $183.00               COST                $183.00

19.1090. LABEL 35 OZ BLITZ            10/2018              $182.54               COST                $182.54

19.1091. PDQ LID 22162                10/2018              $182.35               COST                $182.35

19.1092. DIP N BLOW PRINCESS          10/2018              $180.88               COST                $180.88

19.1093. BOX 18.25 X 8.25 X8.40       10/2018              $180.76               COST                $180.76

19.1094. LABEL 8 OZ MB - AMSCAN       10/2018              $180.73               COST                $180.73


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19.1095. PRINTED BOOKLET REFILL       10/2018              $178.58               COST                $178.58
         STATION

19.1096. OPP BAG ORANGE - MX          10/2018              $178.27               COST                $178.27

19.1097. KMART PDQ LID SHIPPER        10/2018              $178.20               COST                $178.20
         14094

19.1098. BOX 14.25 X 10 X 20.1        10/2018              $177.73               COST                $177.73
         (26197)

19.1099. CARD 13724 - WT              10/2018              $177.68               COST                $177.68

19.1100. LID PDQ 19270                10/2018              $175.77               COST                $175.77

19.1101. STANDARD I2 OF 5 LABEL       10/2018              $175.48               COST                $175.48

19.1102. BLISTER FOOTED               10/2018              $174.53               COST                $174.53
         WHIRLWIND

19.1103. LABEL FRONT 4 OZ PET -       10/2018              $174.38               COST                $174.38
         AMSCAN

19.1104. PDQ 7 IN 1 BUBBLE 19142      10/2018              $173.92               COST                $173.92

19.1105. CARD 17494                   10/2018              $172.93               COST                $172.93

19.1106. LABEL 128 OZ SMB - ASDA      10/2018              $172.75               COST                $172.75

19.1107. LABEL MASSIVE GOOGLY         10/2018              $172.12               COST                $172.12
         STICKER

19.1108. BOX 8.56 X 11.19 X 10.25     10/2018              $171.31               COST                $171.31
         44151

19.1109. PDQ 26466                    10/2018              $170.73               COST                $170.73

19.1110. BOX 12.25 X 9.25 X 11.125    10/2018              $170.64               COST                $170.64

19.1111. LABEL 24 OZ MB - DG          10/2018              $170.30               COST                $170.30
         19274

19.1112. LABEL F/E 2 OZ MB            10/2018              $170.00               COST                $170.00
         FINDING DORY

19.1113. BOX 19077                    10/2018              $169.88               COST                $169.88

19.1114. WAND SET RED PMS7195         10/2018              $169.30               COST                $169.30
         BUBBLE

19.1115. BOX 12.375 X 9.25 X 11       10/2018              $169.12               COST                $169.12
         PURPLE

19.1116. CUP 5/8 OZ P SMB             10/2018              $168.54               COST                $168.54
         ORANGE BUBBLE

19.1117. CARD 26433                   10/2018              $167.56               COST                $167.56

19.1118. SIEVE                        10/2018              $166.28               COST                $166.28

19.1119. POWER PANEL BASE -           10/2018              $164.21               COST                $164.21
         BLACK

19.1120. PVC DOUBLE BLISTER           10/2018              $163.14               COST                $163.14

19.1121. BOX 23349                    10/2018              $161.99               COST                $161.99

19.1122. 48 X 20 TREATED PALLET       10/2018              $161.20               COST                $161.20

19.1123. L&S BUBBLE WAND LOL          10/2018              $160.80               COST                $160.80

19.1124. BOTTLE 32 OZ SMB             10/2018              $160.74               COST                $160.74
         SHORT - PINK



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19.1125. NETTING - GOLF CADDY          10/2018              $160.58               COST                $160.58
         45971

19.1126. 4.2 OZ TUBE FILLING RED       10/2018              $160.46               COST                $160.46

19.1127. PDQ LID                       10/2018              $160.27               COST                $160.27

19.1128. 4.2 OZ TUBE FILLNG            10/2018              $158.64               COST                $158.64
         TURQUOISE W

19.1129. 32 OZ SMB PLAYPOND            10/2018              $158.39               COST                $158.39
         GREEN

19.1130. BOX 13.6875 X 9 X 8.4375      10/2018              $158.33               COST                $158.33

19.1131. INSERT 22042 (2014)           10/2018              $157.45               COST                $157.45

19.1132. BOX 4.75 X 4 X 14.25          10/2018              $157.00               COST                $157.00
         (19096)

19.1133. BOX 17.25 X 17.5 X 26.5       10/2018              $156.26               COST                $156.26
         (17174

19.1134. PDQ LID 18892 - BLACK         10/2018              $155.72               COST                $155.72
         WAVE 3

19.1135. PDQ & INSERT - SURPRISE       10/2018              $155.70               COST                $155.70
         BUBBLE

19.1136. LONG BOTTOM DIVIDER           10/2018              $155.52               COST                $155.52

19.1137. INTERNAL SHIP FILLER          10/2018              $154.33               COST                $154.33

19.1138. BOX 5.63 X 8.75 X 15.63       10/2018              $154.28               COST                $154.28
         (18922

19.1139. PDQ LID 15461                 10/2018              $152.76               COST                $152.76

19.1140. LABEL 8 OZ MB TD BANK         10/2018              $152.37               COST                $152.37

19.1141. EST. INNER CARTON             10/2018              $152.25               COST                $152.25

19.1142. BOTTLE 8 OZ MB -              10/2018              $151.98               COST                $151.98
         MAGENTA

19.1143. STRAP 1/2"                    10/2018              $151.75               COST                $151.75

19.1144. CARD FOR ALAMO 17552          10/2018              $149.43               COST                $149.43
         NEW

19.1145. BLISTER FROZEN 26533          10/2018              $149.32               COST                $149.32

19.1146. LID PDQ 44694 - PURPLE        10/2018              $149.25               COST                $149.25

19.1147. SENCO STAPLE NT BAG           10/2018              $148.87               COST                $148.87
         TOP 5982

19.1148. PDQ LID 17998                 10/2018              $147.66               COST                $147.66

19.1149. LABEL UPC PERMANENT           10/2018              $146.34               COST                $146.34
         13964

19.1150. BOX 7.25 X 8.5 X 14.38 - SP   10/2018              $146.33               COST                $146.33

19.1151. BOX 6.88 X 5.25 X 10.38 -     10/2018              $146.03               COST                $146.03
         SP

19.1152. LABEL 32 OZ MB LT PARTY       10/2018              $145.74               COST                $145.74
         POND

19.1153. PRINTED INSERT CARD           10/2018              $145.36               COST                $145.36
         30300

19.1154. BOTTLE .6 OZ W/CAP &          10/2018              $144.66               COST                $144.66
         WAND

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19.1155. LABEL PREPRICE CVS            10/2018              $143.68               COST                $143.68
         49882

19.1156. PRINTED CARD W/POP            10/2018              $143.54               COST                $143.54
         UPS

19.1157. TISSUE PAPER WHITE            10/2018              $143.48               COST                $143.48

19.1158. PDQ 48614                     10/2018              $142.93               COST                $142.93

19.1159. LABEL FROZEN 2 OZ MB          10/2018              $142.47               COST                $142.47

19.1160. LABEL 64 OZ MB - RITE AID     10/2018              $139.65               COST                $139.65

19.1161. BOTTOM TRAY INSERT            10/2018              $139.23               COST                $139.23

19.1162. LABEL 32 OZ MB                10/2018              $139.17               COST                $139.17

19.1163. BUBBLE TRAY FROZEN            10/2018              $138.65               COST                $138.65

19.1164. 4 OZ MB FIL W/O WND           10/2018              $138.31               COST                $138.31
         PRINCS F/E

19.1165. BLUE FILLER TIE KNOT          10/2018              $138.07               COST                $138.07

19.1166. BOX 15.25 X 10 X 13           10/2018              $138.00               COST                $138.00
         (21348)

19.1167. PDQ LID 17581                 10/2018              $138.00               COST                $138.00

19.1168. INSERT FOR MEGA               10/2018              $137.64               COST                $137.64
         CHECKERS

19.1169. DUMPBIN 18 PCS                10/2018              $137.54               COST                $137.54

19.1170. APPLE IFL-09107               10/2018              $135.90               COST                $135.90
         ALLERGEN FREE

19.1171. PLASTIC SWIFT TAG 2081        10/2018              $135.63               COST                $135.63

19.1172. POWER PANEL - PURPLE /        10/2018              $135.31               COST                $135.31
         WHITE

19.1173. INSTRUCTION SHEET             10/2018              $134.54               COST                $134.54
         26399

19.1174. LABEL UPC 21696               10/2018              $134.40               COST                $134.40

19.1175. CARD 26529                    10/2018              $134.35               COST                $134.35

19.1176. PDQ 15886                     10/2018              $134.28               COST                $134.28

19.1177. BOX 19306                     10/2018              $132.99               COST                $132.99

19.1178. LID 26169                     10/2018              $132.55               COST                $132.55

19.1179. BLUE FD&C #1 POWDER           10/2018              $132.30               COST                $132.30

19.1180. STEGOSAURUS BLISTER           10/2018              $132.08               COST                $132.08

19.1181. CARD FOR YUMA 17552           10/2018              $131.37               COST                $131.37
         NEW

19.1182. CARD 26533 FROZEN             10/2018              $130.00               COST                $130.00
         (2015)

19.1183. 55 OZ BLITZ APPLE             10/2018              $129.31               COST                $129.31
         W/WAND

19.1184. BOX 9 X 8.5 X 4.5 - 26189     10/2018              $128.87               COST                $128.87

19.1185. LABEL UPC W/WG WIC            10/2018              $127.86               COST                $127.86

19.1186. INSTRUCTION SHEET M14         10/2018              $127.70               COST                $127.70



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19.1187. INSTRUCTION SHEET            10/2018              $126.74               COST                $126.74
         20891

19.1188. BOTTLE 8 OZ MB BLUE          10/2018              $126.53               COST                $126.53
         PMS300 LIC

19.1189. INSERT CARD FOR 17461        10/2018              $126.40               COST                $126.40

19.1190. PREPRICE FOR BIG LOTS        10/2018              $126.03               COST                $126.03
         18141

19.1191. BOTTLE 128 OZ MB BLUE        10/2018              $125.95               COST                $125.95
         BL3317E

19.1192. LID FOR 25215                10/2018              $125.66               COST                $125.66

19.1193. LABEL 4 OZ MB                10/2018              $125.43               COST                $125.43
         SPIDERMAN

19.1194. FUZZBIES CARDBOARD           10/2018              $125.19               COST                $125.19
         SIGN

19.1195. LAYER TRAY 13386             10/2018              $125.05               COST                $125.05

19.1196. PRINTED INSERT - 17495       10/2018              $124.92               COST                $124.92
         MX

19.1197. SHRINK WRAP CLEAR LOL        10/2018              $124.91               COST                $124.91
         CAP ONLY

19.1198. 4.2 OZ TUBE FILLNG           10/2018              $124.47               COST                $124.47
         YELLOW WAND

19.1199. LABEL 4 OZ MB FROZEN         10/2018              $124.20               COST                $124.20

19.1200. CARD 18105 (2014)            10/2018              $123.84               COST                $123.84

19.1201. BOX FOR 32510 AMAZON         10/2018              $123.50               COST                $123.50

19.1202. I 2 OF 5 LABEL 17565 RED     10/2018              $122.95               COST                $122.95

19.1203. BOX 13 X 8.75 X 11           10/2018              $120.21               COST                $120.21

19.1204. BOX 9 X 11.25 X 16 (17494)   10/2018              $119.86               COST                $119.86

19.1205. BJWT HEADER SIGN             10/2018              $119.42               COST                $119.42

19.1206. SHRINK WRAP CAPTAIN          10/2018              $118.94               COST                $118.94
         AMERICA

19.1207. 16" POLY TUBING              10/2018              $118.80               COST                $118.80

19.1208. CARD 25365                   10/2018              $118.27               COST                $118.27

19.1209. 4 OZ MB FILLED W/O           10/2018              $117.49               COST                $117.49
         WAND F/E

19.1210. PDQ WHITE 19270              10/2018              $117.49               COST                $117.49

19.1211. LABEL UPC 35 OZ SMB P -      10/2018              $116.93               COST                $116.93
         MX

19.1212. LABEL 8 OZ MB                10/2018              $116.87               COST                $116.87
         SPIDERMAN

19.1213. ESTIMATED PRE PRICE          10/2018              $116.26               COST                $116.26
         LABEL

19.1214. INDEX CARD $3.00 -           10/2018              $116.22               COST                $116.22
         ANIMAL PLYST

19.1215. 35 OZ BLITZ P+ FIL           10/2018              $116.05               COST                $116.05
         BUBBLES

19.1216. BOX 15.25 X 10.25 X 9        10/2018              $115.05               COST                $115.05

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19.1217. BOX 12.75 X 8 X 4.5 (16697)   10/2018              $112.75               COST                $112.75

19.1218. PLASTIC SIGN HOLDER           10/2018              $112.20               COST                $112.20

19.1219. TRAY 4 OZ PET 6 PK M3 -       10/2018              $111.92               COST                $111.92
         MX

19.1220. MIDDLE DIVIDER CYAN           10/2018              $111.50               COST                $111.50

19.1221. V-BOARD 2.5 X 2.5 X 48        10/2018              $111.49               COST                $111.49

19.1222. LABEL F/E SC MB 4 OZ          10/2018              $111.34               COST                $111.34
         TRU

19.1223. HANDLE PINK 210               10/2018              $110.28               COST                $110.28

19.1224. TRAY LIL BLITZ YELLOW         10/2018              $109.99               COST                $109.99

19.1225. LABEL 2 OZ MB CARS F/E        10/2018              $109.95               COST                $109.95

19.1226. FROZEN L/U GLITTER            10/2018              $109.95               COST                $109.95
         BALL OLAF

19.1227. MONKEY BLISTER                10/2018              $109.20               COST                $109.20

19.1228. JUMBO CHALK                   10/2018              $108.26               COST                $108.26

19.1229. OPP BAG F/E 14514             10/2018              $108.25               COST                $108.25

19.1230. V-BOARD 2.5 X 2.5 X 44 3/4    10/2018              $107.89               COST                $107.89

19.1231. BATMAN CARD                   10/2018              $106.85               COST                $106.85

19.1232. SOLUTION JET CHILL            10/2018              $106.40               COST                $106.40

19.1233. PDQ W/TEARAWAY AND            10/2018              $106.27               COST                $106.27
         BLUE PANEL

19.1234. BOX .25 X .25 X .50           10/2018              $106.24               COST                $106.24

19.1235. DIPPING TRAY                  10/2018              $106.04               COST                $106.04
         SPIDERMAN

19.1236. BOX 14.8125 X 4.75 X          10/2018              $105.55               COST                $105.55
         3.5625

19.1237. INDEX CARD $3.00 -SPRAY       10/2018              $104.21               COST                $104.21
         STRING

19.1238. INDEX CARD $3.97 -            10/2018              $104.21               COST                $104.21
         HARMONICA

19.1239. INDEX CARD $3.00 -            10/2018              $104.21               COST                $104.21
         HANDCUFF

19.1240. INDEX CARD $5.97 - CAP        10/2018              $104.21               COST                $104.21
         PISTOLS

19.1241. CABLE TIE 4"                  10/2018              $103.78               COST                $103.78

19.1242. CARD RUSTLER - NEW            10/2018              $103.45               COST                $103.45

19.1243. "S" HOOK (FOR CLIP            10/2018              $103.28               COST                $103.28
         STRIP)

19.1244. 32 OZ MB LT PARTY POND        10/2018              $103.08               COST                $103.08

19.1245. BOTTLE 8 OZ SMB PINK          10/2018              $102.02               COST                $102.02

19.1246. 6 X 7 MED SURPRISE BAG        10/2018              $101.66               COST                $101.66

19.1247. PDQ LID 26466                 10/2018              $101.16               COST                $101.16

19.1248. LABEL 128 OZ MB MX - SP       10/2018              $101.12               COST                $101.12

19.1249. LABEL UPC 21266               10/2018              $100.77               COST                $100.77

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19.1250. BUBBLE TRAY PRINCESS        10/2018              $100.41               COST                $100.41

19.1251. BOTTLE 4 OZ MB -MX          10/2018              $100.05               COST                $100.05
         M/Y/B/G/O/P

19.1252. BOX 12.81 X 8.63 X 11 -     10/2018              $100.05               COST                $100.05
         13590

19.1253. LABEL UPC 17579             10/2018              $100.01               COST                $100.01

19.1254. LIC FIG TOPPER POPPY        10/2018              $99.66                COST                $99.66

19.1255. LIC FIG TOPPER CARS 3       10/2018              $99.66                COST                $99.66

19.1256. CLIP STRIP [R16-12-F]       10/2018              $99.43                COST                $99.43

19.1257. 8 OZ BLITZ APPLE SCENT      10/2018              $98.62                COST                $98.62
         N/WAND

19.1258. BOX 18 3/4 X 13 1/4 X 6     10/2018              $98.42                COST                $98.42
         11/16

19.1259. TRAY 6 PK FOLDING           10/2018              $97.39                COST                $97.39
         CORNERS

19.1260. PRINTED CARD MINNIE         10/2018              $97.20                COST                $97.20
         45690

19.1261. TWINSTICK TAPE 5 X 1        10/2018              $96.28                COST                $96.28
         1/16"

19.1262. 1/4 PALLET 22.5" X 17"      10/2018              $96.00                COST                $96.00

19.1263. PDQ 15461                   10/2018              $95.50                COST                $95.50

19.1264. HANG TAG F/E 30602          10/2018              $95.06                COST                $95.06

19.1265. BOX 13.75 X 7.5 X 11.5625   10/2018              $93.94                COST                $93.94

19.1266. 3.5 OZ PET ORANGE W/O       10/2018              $93.82                COST                $93.82
         WAND

19.1267. BOX FOR 21696               10/2018              $93.24                COST                $93.24

19.1268. LABEL UPC 25734             10/2018              $92.59                COST                $92.59

19.1269. LABEL 2 OZ MB MINNIE        10/2018              $92.50                COST                $92.50

19.1270. INDEX CARD $3.00            10/2018              $92.20                COST                $92.20

19.1271. PDQ LID 19142               10/2018              $92.18                COST                $92.18

19.1272. PDQ LID 48696 (2015)        10/2018              $91.66                COST                $91.66

19.1273. SIDE LABELS 17573           10/2018              $90.45                COST                $90.45

19.1274. PRINTED INSERT 23059        10/2018              $90.07                COST                $90.07

19.1275. CAP W/FOAM LINER LOL        10/2018              $89.32                COST                $89.32

19.1276. SHOVEL 14619                10/2018              $89.32                COST                $89.32

19.1277. ELEPHANT BLISTER            10/2018              $89.10                COST                $89.10

19.1278. LABEL UPC 8 OZ PET F/E      10/2018              $89.02                COST                $89.02

19.1279. LABEL NON BASIC             10/2018              $88.78                COST                $88.78
         FEATURE YELLOW

19.1280. GIRL CARD 21575             10/2018              $88.48                COST                $88.48

19.1281. BOX - MASSIVE GOOGLY        10/2018              $86.62                COST                $86.62
         17532

19.1282. GIRL BLISTER 21575          10/2018              $86.58                COST                $86.58


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19.1283. BLISTER FOR YUMA 17552        10/2018              $85.35                COST                $85.35
         NEW

19.1284. TOP CAP 13386                 10/2018              $85.14                COST                $85.14

19.1285. YELLOW FD&C #5                10/2018              $84.70                COST                $84.70
         POWDER

19.1286. HANG TAG MARBLE 7921          10/2018              $84.31                COST                $84.31

19.1287. SHIPPER 47517                 10/2018              $84.00                COST                $84.00

19.1288. CLIP WC-6 POWER WING          10/2018              $83.89                COST                $83.89
         CLIP

19.1289. BOTTLE MB 32OZ - MS           10/2018              $83.88                COST                $83.88
         NEW COLORS

19.1290. CARD 2PC INSERT FUN           10/2018              $83.87                COST                $83.87
         CLUB 19360

19.1291. CLUB DRIVER MINNIE -          10/2018              $83.35                COST                $83.35
         PINK

19.1292. DIVIDER 12 PK 19349           10/2018              $83.25                COST                $83.25

19.1293. CARD DIP & BLOW NEMO          10/2018              $82.85                COST                $82.85

19.1294. CARD 25553                    10/2018              $82.68                COST                $82.68

19.1295. RESIN HDPE - PURPLE 265       10/2018              $82.05                COST                $82.05

19.1296. 4 OZ SMB FILLED W/O           10/2018              $81.65                COST                $81.65
         WAND

19.1297. BOX 10 X 4.5 X 11 (14514)     10/2018              $81.47                COST                $81.47

19.1298. POLYBAG LABEL 18998           10/2018              $81.33                COST                $81.33

19.1299. WINDOW BOX & INSERT           10/2018              $81.28                COST                $81.28
         15573

19.1300. GREEN TISSUE PAPER            10/2018              $81.07                COST                $81.07

19.1301. 4.2 OZ TUBE FILLING           10/2018              $80.76                COST                $80.76
         GREEN WAND

19.1302. GUM DROP BUBBLE               10/2018              $80.45                COST                $80.45
         TOPPERS QNBEE

19.1303. CARTON 26559                  10/2018              $79.87                COST                $79.87

19.1304. GUM DROP BUBBLE               10/2018              $78.79                COST                $78.79
         TOPPERS DIVA

19.1305. BOX 13.94 X 11.25 X 10.5      10/2018              $78.43                COST                $78.43
         13546

19.1306. LABEL 4 OZ MB PRINCESS        10/2018              $77.98                COST                $77.98
         F/E

19.1307. HANG TAG 30600                10/2018              $77.85                COST                $77.85

19.1308. LABEL F/E 4 OZ MB             10/2018              $77.74                COST                $77.74
         SPIDERMAN

19.1309. CARD 18864                    10/2018              $77.25                COST                $77.25

19.1310. LABEL FRONT 64 OZ PET         10/2018              $77.11                COST                $77.11
         CVS$

19.1311. BOX 23059 1 PK                10/2018              $77.10                COST                $77.10

19.1312. BOX 10.75 X 10.38 X 14        10/2018              $75.86                COST                $75.86
         (26568)

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19.1313. LABEL - CE NO RECYCLE         10/2018              $75.79                COST                $75.79

19.1314. RED FD&C #3 POWDER            10/2018              $75.56                COST                $75.56

19.1315. BOX 16.88 X 15 X 10.5         10/2018              $75.52                COST                $75.52
         13524

19.1316. LABEL 8 OZ MB DORY            10/2018              $75.40                COST                $75.40

19.1317. BACK PANEL                    10/2018              $75.36                COST                $75.36

19.1318. CHECKERS INSTRUCTION          10/2018              $73.43                COST                $73.43
         SHEET F/E

19.1319. 10" HOOK                      10/2018              $73.06                COST                $73.06

19.1320. TRAY 4 OZ 8 PK PRINTED        10/2018              $72.74                COST                $72.74
         FROZEN

19.1321. CARD 21999                    10/2018              $72.35                COST                $72.35

19.1322. LABEL "SCENTED"               10/2018              $72.17                COST                $72.17

19.1323. LABEL WARNING 26639           10/2018              $72.09                COST                $72.09

19.1324. LABEL F/E 2 OZ MB             10/2018              $71.88                COST                $71.88
         AVENGERS

19.1325. BOTTLE 32 OZ SMB              10/2018              $71.85                COST                $71.85
         SHORT - GREEN

19.1326. CAP 38 MM GREEN- UNIV         10/2018              $71.78                COST                $71.78
         368C

19.1327. LABEL SPILL STOPPER           10/2018              $71.45                COST                $71.45
         LOL

19.1328. SHRINK WRAP LEONARDO          10/2018              $71.16                COST                $71.16
         24767

19.1329. 4 OZ MB FIL W/WAND            10/2018              $70.95                COST                $70.95

19.1330. SHRNK BAND 4 OZ 8PK           10/2018              $70.90                COST                $70.90
         210X265CL5

19.1331. LID DUMPBIN                   10/2018              $70.20                COST                $70.20

19.1332. LABEL CARS 2 OZ MB            10/2018              $70.13                COST                $70.13

19.1333. BLISTER LOL VALUE BOX         10/2018              $69.80                COST                $69.80

19.1334. BOX 8.25 X 8.5 X 32 (19046)   10/2018              $69.72                COST                $69.72

19.1335. 8 OZ MB DORY W/O WAND         10/2018              $69.14                COST                $69.14

19.1336. DISPLAY CARD GUMBALL          10/2018              $69.06                COST                $69.06
         BANKS

19.1337. BOTTLE 4 OZ MB PINK 205       10/2018              $68.81                COST                $68.81

19.1338. BLISTER 26529                 10/2018              $68.26                COST                $68.26

19.1339. LABEL SPILL STOPPER           10/2018              $67.35                COST                $67.35
         TOY STORY

19.1340. BLITZ TRAY TWIN TURBO         10/2018              $66.57                COST                $66.57

19.1341. PRINTED VALUE BOX LOL         10/2018              $66.55                COST                $66.55

19.1342. 4.2 OZ TUBE FILLING BLUE      10/2018              $66.49                COST                $66.49
         285 W

19.1343. PRINTED CARD W/1 POP          10/2018              $66.02                COST                $66.02
         UPS SP


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19.1344. INSERT SURPRISE BOX 1/2 10/2018                $66.00                COST                $66.00
         PALLET

19.1345. CARD 2 PC INSERT          10/2018              $65.70                COST                $65.70
         ZOOMA F/E

19.1346. BLISTER 21127             10/2018              $65.28                COST                $65.28

19.1347. LID PDQ 21843             10/2018              $64.10                COST                $64.10

19.1348. ME BAND W/O PDQ           10/2018              $64.00                COST                $64.00

19.1349. CARD 13968                10/2018              $62.86                COST                $62.86

19.1350. PDQ LID 18101 (2015)      10/2018              $62.79                COST                $62.79

19.1351. CLUB PUTTER MINNIE -      10/2018              $62.74                COST                $62.74
         TEAL

19.1352. IRONMAN CARD              10/2018              $62.68                COST                $62.68

19.1353. 12 X 9 10 SHIPPER         10/2018              $62.40                COST                $62.40

19.1354. LABEL LOL 4" PLAYBALL     10/2018              $62.25                COST                $62.25

19.1355. LABEL LOL 6" PLAYBALL     10/2018              $62.25                COST                $62.25

19.1356. FILLER REGULAR DARK       10/2018              $61.94                COST                $61.94
         BLUE

19.1357. LABEL 3 PIECE MICKEY      10/2018              $61.81                COST                $61.81

19.1358. HANDLE YELLOW 7404        10/2018              $61.65                COST                $61.65

19.1359. CARD 25408                10/2018              $61.29                COST                $61.29

19.1360. PRINCESS BUBBLE TRAY      10/2018              $61.01                COST                $61.01

19.1361. PDQ F/E 26197             10/2018              $60.89                COST                $60.89

19.1362. LABEL 3 PIECE DOC         10/2018              $60.89                COST                $60.89

19.1363. FRAGRANCE ORANGE F-       10/2018              $60.65                COST                $60.65
         15093

19.1364. TRAY 23108 (2014)         10/2018              $60.63                COST                $60.63

19.1365. TRAY 4 OZ 8 PK PRINTED    10/2018              $60.50                COST                $60.50
         THOMAS

19.1366. 4 OZ MB FLLD PRINCESS     10/2018              $60.07                COST                $60.07
         W/O WAND

19.1367. TRAY 4 OZ PRINTED         10/2018              $59.87                COST                $59.87
         CINDERELLA

19.1368. LABEL 16 OZ MB F/E        10/2018              $59.82                COST                $59.82

19.1369. 8 OZ MB FIL W/O WND WIP   10/2018              $59.55                COST                $59.55
         F/E

19.1370. CARD 13963                10/2018              $59.49                COST                $59.49

19.1371. CARD 13967                10/2018              $59.49                COST                $59.49

19.1372. MB 24 OZ PRESSURE         10/2018              $58.87                COST                $58.87
         LABEL

19.1373. LABEL 8 OZ MICKEY         10/2018              $58.46                COST                $58.46

19.1374. CARD 25357                10/2018              $58.20                COST                $58.20

19.1375. BOX 12 X 14.75 X 12       10/2018              $58.03                COST                $58.03
         (18421)

19.1376. PRINTED PDQ 19278         10/2018              $57.91                COST                $57.91

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19.1377. BLISTER NEMO                10/2018              $57.89                COST                $57.89

19.1378. V-BOARD 2.5 X 2.5 X 47"     10/2018              $57.55                COST                $57.55

19.1379. LABEL 3 PIECE MINNIE        10/2018              $57.24                COST                $57.24

19.1380. LABEL UPC 8 OZ DG 19282     10/2018              $57.09                COST                $57.09

19.1381. BOTTLE 8 OZ P+ BLUE CN      10/2018              $57.00                COST                $57.00

19.1382. LABEL 4 OZ MB DORY /        10/2018              $56.96                COST                $56.96
         NEMO

19.1383. SEA TURTLE BLISTER          10/2018              $56.66                COST                $56.66

19.1384. MASTER 46428                10/2018              $56.47                COST                $56.47

19.1385. PRINTED BOX F/E PROJ        10/2018              $55.58                COST                $55.58
         LIGHT PAW

19.1386. LABEL FRONT 80 OZ PET       10/2018              $54.76                COST                $54.76
         BIG LOTS

19.1387. LABEL RED STOP              10/2018              $54.75                COST                $54.75

19.1388. 23 7/16 21 1/4 X 4 TRAY     10/2018              $54.39                COST                $54.39

19.1389. NEW CARD 24702              10/2018              $53.96                COST                $53.96

19.1390. SHRINK WRAP BATMAN          10/2018              $53.87                COST                $53.87
         24826

19.1391. DISPLAY LABEL               10/2018              $53.67                COST                $53.67

19.1392. MARBLE HEADER 19332 -       10/2018              $53.56                COST                $53.56
         TARGET

19.1393. BLISTER 25002/25034         10/2018              $53.32                COST                $53.32

19.1394. RESIN HDPE - GREEN 7731     10/2018              $53.13                COST                $53.13

19.1395. BLISTER FOR RUSTLER         10/2018              $52.83                COST                $52.83
         17552 NEW

19.1396. DIPPING TRAY 24702          10/2018              $52.82                COST                $52.82

19.1397. LABEL 4 OZ MB CARS 3        10/2018              $52.42                COST                $52.42

19.1398. 4 OZ MB CARS 3 W/O          10/2018              $52.11                COST                $52.11
         WAND

19.1399. CAP PREMIUM STOPPER         10/2018              $52.04                COST                $52.04

19.1400. LABEL UPC 80 OZ PET BIG     10/2018              $51.97                COST                $51.97
         LOTS

19.1401. BOTTLE 4 OZ PET BLUE        10/2018              $51.81                COST                $51.81

19.1402. INNER FOR 21575             10/2018              $51.46                COST                $51.46

19.1403. BOX 11.125 X 8.375 X 7.75   10/2018              $51.27                COST                $51.27

19.1404. CARD 21127                  10/2018              $51.00                COST                $51.00

19.1405. BLUE SPEED TABLE BASE       10/2018              $50.98                COST                $50.98
         (308U)

19.1406. CARD 25348                  10/2018              $50.53                COST                $50.53

19.1407. ORANGE YUMA BLISTER         10/2018              $50.28                COST                $50.28

19.1408. PDQ PRINTED LOL 12 PK       10/2018              $49.98                COST                $49.98

19.1409. BOTTLE 4 OZ PET             10/2018              $49.68                COST                $49.68
         MAGENTA


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19.1410. LABEL UPC 80 OZ PET -     10/2018              $49.55                COST                $49.55
         DG 19276

19.1411. LABEL COVER UP 100 OZ     10/2018              $49.23                COST                $49.23
         PET F/E

19.1412. F/E BUBBLE CUP GREEN      10/2018              $49.20                COST                $49.20
         P+ 5 OZ

19.1413. BOX 22 X 14 X 10          10/2018              $48.96                COST                $48.96

19.1414. BOX ASDA 128 OZ           10/2018              $48.54                COST                $48.54

19.1415. MICKEY CAP                10/2018              $48.37                COST                $48.37

19.1416. HEADER SIGN STICKY        10/2018              $47.76                COST                $47.76
         PATCHES

19.1417. CLUB DRIVER SPIDEY -      10/2018              $47.25                COST                $47.25
         BLUE

19.1418. PDQ 47740/21073/18124     10/2018              $47.23                COST                $47.23

19.1419. F/E BUBBLE CUP PURPLE     10/2018              $47.20                COST                $47.20
         P+ 5 OZ

19.1420. 2 OZ MB FILLED FROZEN     10/2018              $47.04                COST                $47.04
         W/O WAND

19.1421. RAPHAEL CARD              10/2018              $46.91                COST                $46.91

19.1422. F/E BUBBLE CUP ORANGE     10/2018              $46.18                COST                $46.18
         P+ 5 OZ

19.1423. PRINTED INSERT 18870      10/2018              $46.03                COST                $46.03

19.1424. LABEL 3 PIECE SPIDEY      10/2018              $45.38                COST                $45.38

19.1425. SLEEVE 6 OZ PRINCESS      10/2018              $45.31                COST                $45.31

19.1426. PRINTED SLEEVE (PAPER)    10/2018              $45.22                COST                $45.22
         18971

19.1427. LABEL 8 OZ DG COTTON      10/2018              $45.15                COST                $45.15
         CANDY

19.1428. WAND & BADGE BLUE         10/2018              $45.13                COST                $45.13

19.1429. PRINTED CARD MICKEY       10/2018              $45.13                COST                $45.13
         45690

19.1430. LABEL FRONT 8 OZ          10/2018              $45.02                COST                $45.02
         SMB/PET

19.1431. LABEL 2 OZ MB             10/2018              $44.16                COST                $44.16
         SPIDERMAN

19.1432. CARD 18258 THOMAS DIP     10/2018              $44.04                COST                $44.04
         & BLOW

19.1433. LABEL 8 OZ DG APPLE       10/2018              $43.09                COST                $43.09
         SCENTED

19.1434. CARD 7452                 10/2018              $42.97                COST                $42.97

19.1435. LEONARDO CARD             10/2018              $42.95                COST                $42.95

19.1436. WINDOW BOX F/E            10/2018              $42.92                COST                $42.92
         W/INSERT 23944

19.1437. INSTRUCTION SHEET         10/2018              $42.23                COST                $42.23
         23201

19.1438. 8 OZ FROZEN 2             10/2018              $42.12                COST                $42.12


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19.1439. BUBBLE TRAY 21138            10/2018              $41.92                COST                $41.92

19.1440. SCOOP & SCORE                10/2018              $41.76                COST                $41.76
         CLAMSHELL

19.1441. CLUB IRON MINNIE - PINK      10/2018              $41.49                COST                $41.49

19.1442. POWER POPPER CLEAR           10/2018              $39.90                COST                $39.90
         TUBE

19.1443. BOTTLE 2 OZ W/LABEL          10/2018              $39.85                COST                $39.85
         LICK A BUB

19.1444. CARS BUBBLE TRAY             10/2018              $39.79                COST                $39.79

19.1445. BOX 8.25 X 8.5 X 32 FAT      10/2018              $39.28                COST                $39.28
         BAT

19.1446. BOX 10.25 X 8.375 X 9.6875   10/2018              $39.11                COST                $39.11

19.1447. DUO-CLIP STRIP (FIRM)        10/2018              $39.07                COST                $39.07

19.1448. LABEL 8 OZ DG GRAPE          10/2018              $38.91                COST                $38.91
         SCENTED

19.1449. HANG TAG 19193               10/2018              $38.77                COST                $38.77

19.1450. LABEL - CE                   10/2018              $38.67                COST                $38.67

19.1451. F/E 500 CT                   10/2018              $38.64                COST                $38.64
         YELLOW/PURPLE

19.1452. 8 OZ BLITZ FLLD RED          10/2018              $38.62                COST                $38.62
         SCENT W/WA

19.1453. BUBBLE TRAY SPIDERMAN 10/2018                     $37.89                COST                $37.89

19.1454. ORANGE RUSTLER CAP           10/2018              $37.74                COST                $37.74
         GUN

19.1455. EST. MASTER CARTON           10/2018              $37.70                COST                $37.70

19.1456. DISPLAY BOX DOC GOLF         10/2018              $37.68                COST                $37.68
         CADDY

19.1457. M7 WINDOW BOX 13465          10/2018              $37.67                COST                $37.67

19.1458. BLISTER MICKEY               10/2018              $37.58                COST                $37.58

19.1459. CARD 21114                   10/2018              $37.57                COST                $37.57

19.1460. LABEL UPC 8 OZ SMB F/E       10/2018              $37.54                COST                $37.54

19.1461. BOTTLE 100 OZ PET            10/2018              $37.30                COST                $37.30
         MAGENTA

19.1462. PRINTED F/E HANG TAG         10/2018              $36.88                COST                $36.88
         13419

19.1463. LID FOR PDQ 19341            10/2018              $36.73                COST                $36.73

19.1464. BLISTER 25414                10/2018              $36.51                COST                $36.51

19.1465. CABLE TIE 11"                10/2018              $36.38                COST                $36.38

19.1466. SIGN HEADER GOOGLY           10/2018              $36.03                COST                $36.03
         ERASER PP

19.1467. F/E 500 CT                   10/2018              $35.62                COST                $35.62
         GREEN/ORANGE

19.1468. LABEL 20999A                 10/2018              $35.34                COST                $35.34

19.1469. PDQ 22790                    10/2018              $35.19                COST                $35.19


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19.1470. V-BOARD 3 X 3 X 32"          10/2018              $35.05                COST                $35.05
         X.225KRAFT

19.1471. LID FOR PDQ 19340            10/2018              $34.50                COST                $34.50

19.1472. CARD ALAMO 17552             10/2018              $34.47                COST                $34.47

19.1473. DISPLAY BOX MICKEY           10/2018              $34.43                COST                $34.43
         GOLF CADDY

19.1474. PDQ 22162                    10/2018              $34.18                COST                $34.18

19.1475. BOX 18.125 X 8.25 X 9        10/2018              $34.14                COST                $34.14

19.1476. LABEL WORLD BEST             10/2018              $34.01                COST                $34.01
         BUBBLES TM

19.1477. SHRINK BAND 55 OZ            10/2018              $33.90                COST                $33.90
         PURPLE FE

19.1478. PDQ 18847                    10/2018              $33.55                COST                $33.55

19.1479. INSERT CARD 32402            10/2018              $33.45                COST                $33.45

19.1480. BOBBLE HEAD BUBBLE           10/2018              $33.45                COST                $33.45
         STICK DIVA

19.1481. LABEL 4 OZ MB PRINCESS       10/2018              $33.41                COST                $33.41

19.1482. 3" X 3" 40" .225 V BOARD     10/2018              $33.32                COST                $33.32

19.1483. HEADER F/E MARBLE            10/2018              $33.23                COST                $33.23
         14510

19.1484. BOBBLE HEAD BUBBLE           10/2018              $33.13                COST                $33.13
         STICK QNBEE

19.1485. DORY CAP                     10/2018              $32.82                COST                $32.82

19.1486. BOTTLE 8 OZ MB - GREEN       10/2018              $32.26                COST                $32.26
         PMS368

19.1487. LABEL SET DATE GREEN         10/2018              $32.20                COST                $32.20
         10/1

19.1488. BOTTLE 128 OZ MB GREEN 10/2018                    $32.06                COST                $32.06
         GR2767E

19.1489. BOX 14.75 X 11 X 11.75 -     10/2018              $31.99                COST                $31.99
         44614

19.1490. 8 OZ BLITZ FLLD PUR          10/2018              $31.26                COST                $31.26
         SCENT W/WA

19.1491. SHIPPER 24" - 17553          10/2018              $30.94                COST                $30.94

19.1492. RAKE                         10/2018              $30.65                COST                $30.65

19.1493. BOX 13.875 X 11.5 X 12.75    10/2018              $30.60                COST                $30.60

19.1494. LABEL 8 OZ MB THOMAS         10/2018              $30.45                COST                $30.45

19.1495. CARD RUSTLER 17552           10/2018              $30.40                COST                $30.40

19.1496. SOLUTION SMB P+ GLOW -       10/2018              $30.32                COST                $30.32
         MX

19.1497. POWER PANEL BASE             10/2018              $30.10                COST                $30.10
         LOGO LABEL

19.1498. BOTTLE 6 OZ CLR ROUND        10/2018              $29.51                COST                $29.51
         15 GR

19.1499. CARD RUSTLER (2014)          10/2018              $29.40                COST                $29.40


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19.1500. LABEL 16 OZ MB - MX           10/2018              $29.27                COST                $29.27

19.1501. BRACELET LOL CHARMS           10/2018              $29.22                COST                $29.22
         FE CRYSTAL

19.1502. BRACELET LOL CHARMS           10/2018              $29.22                COST                $29.22
         ROCKER

19.1503. LABEL "MADE IN CHINA"         10/2018              $29.09                COST                $29.09

19.1504. RAPHAEL BLISTER               10/2018              $28.90                COST                $28.90

19.1505. LABEL 4 OZ MB                 10/2018              $28.85                COST                $28.85

19.1506. SIDEKICK SIDE STICKERS        10/2018              $28.82                COST                $28.82
         17185

19.1507. LID 22790                     10/2018              $28.64                COST                $28.64

19.1508. CARD 25504 MINNIE             10/2018              $28.61                COST                $28.61

19.1509. LABEL 4 OZ SMB/PET            10/2018              $28.15                COST                $28.15

19.1510. BOX 5.5 X 12 X 14 19144       10/2018              $28.15                COST                $28.15

19.1511. BOTTLE 32 OZ SMB              10/2018              $28.10                COST                $28.10
         SHORT -PURPLE

19.1512. BOX 18 X 10.75 X 10 -         10/2018              $27.97                COST                $27.97
         15138

19.1513. CARD 25472                    10/2018              $27.17                COST                $27.17

19.1514. PRINTED INSERT CARD           10/2018              $26.79                COST                $26.79
         19175

19.1515. BOX FOR 23064                 10/2018              $26.60                COST                $26.60

19.1516. BOX 7 X 5.5 X 10.38 (26566)   10/2018              $26.35                COST                $26.35

19.1517. VIEWER SPILL STOPPER          10/2018              $25.98                COST                $25.98
         TOY STORY

19.1518. MINION KEVIN 26584            10/2018              $25.97                COST                $25.97

19.1519. FILLER 14 1/2 X 8             10/2018              $25.86                COST                $25.86

19.1520. FILLER REGULAR ORANGE 10/2018                      $25.77                COST                $25.77

19.1521. 4 OZ MB FILLED FROZEN         10/2018              $25.22                COST                $25.22
         W/O WAND

19.1522. SMB P EVER BUBBLES WG         10/2018              $25.20                COST                $25.20

19.1523. PRINTED VALUE BOX LOL         10/2018              $24.43                COST                $24.43
         INSERT

19.1524. BLACK 5" POWER PANEL          10/2018              $24.26                COST                $24.26
         TRAY

19.1525. LABEL F/E 2 OZ MB             10/2018              $24.08                COST                $24.08
         SPIDERMAN

19.1526. CARD W/1 POP UP FOR           10/2018              $24.07                COST                $24.07
         13661

19.1527. CARD ALAMO (2014)             10/2018              $23.96                COST                $23.96

19.1528. BOTTLE 5 OZ P+ ORANGE         10/2018              $23.87                COST                $23.87

19.1529. TWIN TURBO (26406)B           10/2018              $23.86                COST                $23.86

19.1530. PRINTED CARD CARS 3           10/2018              $23.61                COST                $23.61
         45690

19.1531. TRAY 4 OZ 6 PK PRINTED        10/2018              $23.54                COST                $23.54
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19.1532. BLISTER 23134              10/2018              $23.32                COST                $23.32

19.1533. STICKY PATCHES LOL F/E     10/2018              $23.15                COST                $23.15
         [BIG]

19.1534. LABEL 8 OZ MB              10/2018              $23.06                COST                $23.06
         VAMPIRINA

19.1535. CARD YUMA (2014)           10/2018              $23.06                COST                $23.06

19.1536. PDQ 22165                  10/2018              $22.39                COST                $22.39

19.1537. CABLE TIE 10"              10/2018              $22.12                COST                $22.12

19.1538. LABEL FOR M14 LAB - SP     10/2018              $21.93                COST                $21.93

19.1539. 4.2 OZ TUBE FILLING ELSA   10/2018              $21.86                COST                $21.86

19.1540. WHITE BLISTER TRAY         10/2018              $21.72                COST                $21.72
         22790

19.1541. CARD W/1 POP UP FOR        10/2018              $21.65                COST                $21.65
         19263 SP

19.1542. LABEL 4 OZ MB              10/2018              $21.55                COST                $21.55
         CINDERELLA

19.1543. DISPLAY BOX MINNIE         10/2018              $21.44                COST                $21.44
         GOLF CADDY

19.1544. BOX FOR 26406              10/2018              $21.00                COST                $21.00

19.1545. BOTTLE 5 OZ P+ GREEN       10/2018              $20.99                COST                $20.99

19.1546. FRONT PANEL PDQ 18394      10/2018              $20.87                COST                $20.87
         3105C

19.1547. NEW CLAM PACK 22042        10/2018              $20.74                COST                $20.74

19.1548. TRAY MICKEY 25519          10/2018              $20.30                COST                $20.30

19.1549. PAW PATROL EVEREST         10/2018              $19.89                COST                $19.89
         CARD

19.1550. SHELF FOR TRAY 52621 -     10/2018              $19.50                COST                $19.50
         BLUE

19.1551. SIGN HEADER SS SEQUIN      10/2018              $19.22                COST                $19.22
         CUFF PP

19.1552. INNER 18834                10/2018              $18.87                COST                $18.87

19.1553. BOTTLE 100 OZ PET BLUE     10/2018              $18.65                COST                $18.65

19.1554. BUBBLE TRAY 17494          10/2018              $18.51                COST                $18.51

19.1555. LABEL PP 16434 KOHL'S      10/2018              $18.29                COST                $18.29

19.1556. BUBBLE TRAY AVENGERS       10/2018              $18.16                COST                $18.16

19.1557. LABEL 4 OZ MB THOMAS       10/2018              $17.52                COST                $17.52

19.1558. SHRINK BAG DIPPY DOME      10/2018              $17.25                COST                $17.25

19.1559. LABEL 2 OZ MB MINNIE F/E   10/2018              $16.93                COST                $16.93

19.1560. SHRINK WRAP TROLLS         10/2018              $16.92                COST                $16.92

19.1561. SHRINK WRAP MINNIE         10/2018              $16.92                COST                $16.92

19.1562. CAP 55 OZ SMB P W/TAG-     10/2018              $16.90                COST                $16.90
         US

19.1563. SHRINK WRAP LION           10/2018              $16.83                COST                $16.83
         GUARD


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19.1564. BOX 12.9 X 9.5 X 16.63     10/2018              $16.80                COST                $16.80
         (46172)

19.1565. BOX 7.25 X 8.5 X 14.38     10/2018              $16.78                COST                $16.78
         (26567)

19.1566. ELASTIC TIE                10/2018              $16.71                COST                $16.71

19.1567. MARBLE HEADER 7850         10/2018              $16.63                COST                $16.63
         W/WIC#

19.1568. FOTO STICKER 32 OZ         10/2018              $16.62                COST                $16.62
         12921

19.1569. LABEL PP 4.99 KOHL'S       10/2018              $16.41                COST                $16.41
         20897

19.1570. CUP 5/8 OZ P SMB GREEN     10/2018              $16.17                COST                $16.17
         BUBBLE

19.1571. BUBBLE TRAY 25472          10/2018              $16.13                COST                $16.13

19.1572. LABEL 8 OZ MB TOY          10/2018              $15.50                COST                $15.50
         STORY

19.1573. LABEL 2 OZ MB FINDING      10/2018              $15.37                COST                $15.37
         DORY

19.1574. LABEL 8 OZ MB MICKEY       10/2018              $15.26                COST                $15.26

19.1575. CONTAINER W/8GR PUTTY      10/2018              $15.19                COST                $15.19
         - MINNIE

19.1576. LABEL UPC 178 OZ SMB       10/2018              $15.01                COST                $15.01

19.1577. CARD 13015 F/E (25034)     10/2018              $14.77                COST                $14.77

19.1578. CARD YUMA 17552            10/2018              $14.06                COST                $14.06

19.1579. MASTER 18834               10/2018              $14.04                COST                $14.04

19.1580. LABEL 8 OZ MB PRINCESS     10/2018              $13.92                COST                $13.92

19.1581. PRINTED CARD F/E           10/2018              $13.75                COST                $13.75
         BOWLING RED

19.1582. CARD 25088 SPIDERMAN       10/2018              $13.74                COST                $13.74
         FUN SET

19.1583. POPPER/LAUNCHER            10/2018              $13.60                COST                $13.60
         IRONMAN WIP

19.1584. CARD - 4784                10/2018              $13.53                COST                $13.53

19.1585. LABEL MB 128 OZ LT - MX    10/2018              $13.53                COST                $13.53

19.1586. ORANGE ALAMO BLISTER       10/2018              $13.52                COST                $13.52

19.1587. LABEL FRONT 80 OZ PET -    10/2018              $13.43                COST                $13.43
         DG

19.1588. STANDARD LABELS CN         10/2018              $13.16                COST                $13.16

19.1589. M7 PRINTED SLEEVE          10/2018              $13.08                COST                $13.08
         12962

19.1590. HANG TAG 45971             10/2018              $13.07                COST                $13.07

19.1591. INSTRUCTION SHEET          10/2018              $12.95                COST                $12.95
         17597

19.1592. F/E BOOKLET MARBLE         10/2018              $12.93                COST                $12.93

19.1593. LAYER TRAY 13384           10/2018              $12.78                COST                $12.78


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19.1594. FILLER REGULAR GREEN       10/2018              $12.64                COST                $12.64

19.1595. EGG W/ 55G PUTTY - 4784    10/2018              $12.53                COST                $12.53

19.1596. BLISTER TRAY 21114         10/2018              $12.48                COST                $12.48

19.1597. INSERT CARD 18864          10/2018              $12.43                COST                $12.43

19.1598. SHRINK WRAP ANNA           10/2018              $12.18                COST                $12.18

19.1599. SHRINK WRAP MICKEY         10/2018              $12.09                COST                $12.09

19.1600. MINNIE CAP                 10/2018              $12.05                COST                $12.05

19.1601. CABLE TIE 4.5"             10/2018              $12.02                COST                $12.02

19.1602. LABEL F/E NON BASIC        10/2018              $11.91                COST                $11.91
         FEATURE YL

19.1603. LIL BLITZ RED/YELLOW       10/2018              $11.65                COST                $11.65

19.1604. LABEL SET DATE GREEN       10/2018              $11.63                COST                $11.63
         8/1

19.1605. SHRINK WRAP IRONMAN        10/2018              $11.42                COST                $11.42

19.1606. SHRINK WRAP HULK           10/2018              $11.42                COST                $11.42

19.1607. PDQ PRINTED LOL 6 PK       10/2018              $11.28                COST                $11.28

19.1608. LABEL F/E SET DATE         10/2018              $11.28                COST                $11.28
         GREEN - AUG

19.1609. 8 OZ MB MICKEY W/O         10/2018              $11.16                COST                $11.16
         WAND

19.1610. FAMILY $ PRICE TICKET      10/2018              $11.15                COST                $11.15
         19235

19.1611. BOX PRNTD W/ACETATE        10/2018              $10.88                COST                $10.88
         HANDLE SP

19.1612. LABEL BLASTER TS 25313     10/2018              $10.87                COST                $10.87

19.1613. INDEX CRD $2.97 - TWIN     10/2018              $10.75                COST                $10.75
         TURBO

19.1614. HANDLE BLUE 2935           10/2018              $10.69                COST                $10.69

19.1615. PRINTED CARD 2 PC          10/2018              $10.69                COST                $10.69
         INSERT 19273

19.1616. BOX TEARAWAY               10/2018              $10.67                COST                $10.67
         W/PURPLE STRIPE

19.1617. LABEL PP 22833 KOHL'S      10/2018              $10.65                COST                $10.65

19.1618. 6 X 6 X 4                  10/2018              $10.53                COST                $10.53

19.1619. CARD - CARS 3              10/2018              $10.50                COST                $10.50

19.1620. 2 OZ MB FILLED CARS W/O    10/2018              $10.42                COST                $10.42
         WAND

19.1621. HANG TAG 23060 - CN        10/2018              $10.39                COST                $10.39

19.1622. LABEL INGREDIENTS /EU      10/2018              $10.32                COST                $10.32

19.1623. M7 LABEL OCTAGON TUBE      10/2018              $10.19                COST                $10.19
         12962

19.1624. BLISTER SPILL STOPPER      10/2018              $10.01                COST                $10.01
         TOY STOR

19.1625. PALM TREE                  10/2018              $9.94                 COST                $9.94


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19.1626. LABEL PP 26390 KOHL'S       10/2018              $9.86                 COST                $9.86

19.1627. 8OZ BLITZ ORANGE            10/2018              $9.72                 COST                $9.72
         SCENT NO WAND

19.1628. BLISTER 25086               10/2018              $9.64                 COST                $9.64

19.1629. 4 OZ SMB CLEAR NO           10/2018              $9.61                 COST                $9.61
         WAND

19.1630. CARD YUMA - NEW             10/2018              $9.13                 COST                $9.13

19.1631. UPC MINI BOWLING            10/2018              $9.10                 COST                $9.10
         COMBO 4

19.1632. LABEL FRONT 178 OZ SMB      10/2018              $8.99                 COST                $8.99

19.1633. CONTAINER W/8GR PUTTY       10/2018              $8.80                 COST                $8.80
         - CARS 3

19.1634. LABEL PP 22838 KOHL'S       10/2018              $8.75                 COST                $8.75

19.1635. LABEL PP 25037 KOHL'S       10/2018              $8.74                 COST                $8.74

19.1636. INDEX CARD $3.97 - 5 OZ     10/2018              $8.63                 COST                $8.63
         8PK

19.1637. CARD - MINNIE               10/2018              $8.53                 COST                $8.53

19.1638. LABEL UPC 80 OZ PET         10/2018              $8.42                 COST                $8.42

19.1639. SPANISH PDQ STICKER         10/2018              $8.40                 COST                $8.40
         LABEL

19.1640. 5 BIN DISPLAY TRAY 801U     10/2018              $8.25                 COST                $8.25
         (BLUE)

19.1641. BUBBLE WHISTLERS TRAY       10/2018              $8.24                 COST                $8.24

19.1642. PITBALLS - TRENDA           10/2018              $8.22                 COST                $8.22

19.1643. BUBBLE TRAY MINNIE          10/2018              $8.21                 COST                $8.21

19.1644. 2 OZ MB FILLED W/O WND      10/2018              $8.18                 COST                $8.18
         DORY FE

19.1645. 7.5 X 10 LARGE SURPRISE     10/2018              $8.17                 COST                $8.17
         BAG

19.1646. SMACK SHOT F/E              10/2018              $7.93                 COST                $7.93

19.1647. 4 OZ MB GRN SMB LABEL       10/2018              $7.60                 COST                $7.60
         NO WAND

19.1648. LABEL 8 OZ MB               10/2018              $7.42                 COST                $7.42
         SPIDERMAN

19.1649. PRINTED BOX F/E PROJ        10/2018              $7.41                 COST                $7.41
         LIGHT PRI

19.1650. STICKER M14 PRINTED         10/2018              $7.34                 COST                $7.34
         CIRCLE LAB

19.1651. MR. RETAILER                10/2018              $7.33                 COST                $7.33
         INSTRUCTION SHEET

19.1652. BOX PRINTED LAB 1 PK        10/2018              $7.25                 COST                $7.25

19.1653. PARTITION FOR LID 22790     10/2018              $7.22                 COST                $7.22

19.1654. 8 OZ MB THOMAS W/O          10/2018              $7.18                 COST                $7.18
         WAND

19.1655. BUBBLE STICK DORY 3         10/2018              $7.02                 COST                $7.02
         STYLE ASST

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19.1656. CABLE TIE 14"                10/2018              $6.79                 COST                $6.79

19.1657. LABEL 24 OZ MB - DG          10/2018              $6.74                 COST                $6.74

19.1658. INDEX CARD $3.88 - 55 OZ     10/2018              $6.73                 COST                $6.73

19.1659. 4" LOL PLAY BALL SHRINK      10/2018              $6.72                 COST                $6.72
         WRAP

19.1660. LABEL PP 24700 KOHL'S        10/2018              $6.64                 COST                $6.64

19.1661. CARD 6607 (UPC 6607)         10/2018              $6.62                 COST                $6.62

19.1662. LABEL 8 OZ MB MINNIE         10/2018              $6.61                 COST                $6.61

19.1663. FRONT PANEL PDQ 18261        10/2018              $6.42                 COST                $6.42

19.1664. LABEL UPC 25734              10/2018              $6.37                 COST                $6.37

19.1665. CARD 22042                   10/2018              $6.36                 COST                $6.36

19.1666. UPC MINI BOWLING             10/2018              $6.33                 COST                $6.33
         COMBO 3

19.1667. PRINTED CARD ZOOMA           10/2018              $6.29                 COST                $6.29
         MINI BOWLIN

19.1668. BUBBLE STICK WM 25232        10/2018              $6.28                 COST                $6.28
         EASTER

19.1669. BLISTER MINNIE               10/2018              $6.19                 COST                $6.19

19.1670. 5 BIN DISPLAY TRAY           10/2018              $6.06                 COST                $6.06
         (GREEN)

19.1671. BLISTER RUSTLER              10/2018              $5.95                 COST                $5.95

19.1672. UPC 21641                    10/2018              $5.94                 COST                $5.94

19.1673. PLASTIC ANCHOR               10/2018              $5.86                 COST                $5.86

19.1674. 2 OZ MB FILLED W/WAND        10/2018              $5.84                 COST                $5.84

19.1675. PDQ LID 19143                10/2018              $5.78                 COST                $5.78

19.1676. LABEL LIFE LIKE - BIG        10/2018              $5.64                 COST                $5.64
         LOTS

19.1677. LABEL PP 25524 KOHL'S        10/2018              $5.60                 COST                $5.60

19.1678. HANG TAG 45971 - WG2019 10/2018                   $5.55                 COST                $5.55

19.1679. LABEL PP 26048 KOHL'S        10/2018              $5.50                 COST                $5.50

19.1680. GOLF CADDY HANDLES           10/2018              $5.43                 COST                $5.43

19.1681. TUBE YLW OCTA                10/2018              $5.35                 COST                $5.35
         W/WATERBOMB BLIS

19.1682. BOX 9.94 X 10.25 X 12.63     10/2018              $5.27                 COST                $5.27
         19366

19.1683. BOX 47220 AMAZON             10/2018              $5.24                 COST                $5.24

19.1684. TUBE BLU OCTA                10/2018              $5.10                 COST                $5.10
         W/WATERBOMB BLIS

19.1685. TUBE PUR OCTA                10/2018              $5.10                 COST                $5.10
         W/WATERBOMB BLIS

19.1686. LABEL UPC PERMANENT          10/2018              $5.06                 COST                $5.06
         13963

19.1687. PRINTED CARD                 10/2018              $4.72                 COST                $4.72
         SPIDERMAN 45690


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19.1688. HEADER MARBLE 8565          10/2018              $4.66                 COST                $4.66

19.1689. 4 OZ MB FILL DORY/NEMO      10/2018              $4.47                 COST                $4.47
         W/O WAN

19.1690. ORANGE RUSTLER              10/2018              $4.44                 COST                $4.44
         BLISTER

19.1691. 4 OZ MB HK W/O WAND         10/2018              $4.35                 COST                $4.35

19.1692. INDEX CRD $3.88 - LUG       10/2018              $4.33                 COST                $4.33

19.1693. BOBBLE HEAD STICK           10/2018              $4.22                 COST                $4.22
         QNBEE NOWRAP

19.1694. PRINTED CARD FOR 7924       10/2018              $3.94                 COST                $3.94

19.1695. WIP CLIX 24647              10/2018              $3.92                 COST                $3.92

19.1696. 4 OZ MB FILLED SP W/O       10/2018              $3.89                 COST                $3.89
         WAND

19.1697. BL CARD 8478                10/2018              $3.74                 COST                $3.74

19.1698. TRAY 7924                   10/2018              $3.74                 COST                $3.74

19.1699. 8 OZ BLITZ GRPE SCENT       10/2018              $3.69                 COST                $3.69
         NO WAND

19.1700. BOTTLE PINK 4 OZ SMB        10/2018              $3.56                 COST                $3.56

19.1701. WAND SPILL STOPPER          10/2018              $3.44                 COST                $3.44
         TOY STORY

19.1702. BOX 8.25 X 10.63 X 9.38     10/2018              $3.39                 COST                $3.39
         (13724

19.1703. UPC 21642                   10/2018              $3.39                 COST                $3.39

19.1704. 8 OZ BLITZ RED APPLE NO     10/2018              $3.34                 COST                $3.34
         WAND

19.1705. 2 OZ MB FILLED SPMN W/O 10/2018                  $3.33                 COST                $3.33
         WAND

19.1706. BLISTER W/INSRT             10/2018              $3.26                 COST                $3.26
         PROJECTR LIGHT

19.1707. UPC TROLLS 23973            10/2018              $3.23                 COST                $3.23

19.1708. UPC MICKEY 49038            10/2018              $3.22                 COST                $3.22

19.1709. UPC PRINCESS 25390          10/2018              $3.22                 COST                $3.22

19.1710. F/E 21439 CARD B            10/2018              $3.14                 COST                $3.14

19.1711. UPC MINNIE 49039            10/2018              $3.13                 COST                $3.13

19.1712. UPC SPIDERMAN 25078         10/2018              $3.08                 COST                $3.08

19.1713. STORAGE BAG GREEN           10/2018              $3.07                 COST                $3.07
         19307

19.1714. BLISTER CARD CLOWN          10/2018              $3.00                 COST                $3.00
         8042

19.1715. LABEL 19254 / 19255         10/2018              $2.97                 COST                $2.97

19.1716. 8 OZ MB TOY STORY W/O       10/2018              $2.95                 COST                $2.95
         WAND

19.1717. PLASTIC FASTENER FOR        10/2018              $2.80                 COST                $2.80
         PACKAGING

19.1718. BOX 14.375 X 6.875 X 9      10/2018              $2.74                 COST                $2.74

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19.1719. BLISTER COVER 15951        10/2018              $2.73                 COST                $2.73

19.1720. BLISTER TRAY 15951         10/2018              $2.48                 COST                $2.48

19.1721. HANG TAG 21593             10/2018              $2.29                 COST                $2.29

19.1722. NEW BLISTER 24702          10/2018              $2.25                 COST                $2.25

19.1723. PRINTED INSERT CARD        10/2018              $2.21                 COST                $2.21
         19215

19.1724. LABEL BASE 14869           10/2018              $2.13                 COST                $2.13

19.1725. 100 OZ PET MAGENTA W/O     10/2018              $2.09                 COST                $2.09
         UPC

19.1726. BOBBLE HEAD LOL            10/2018              $2.06                 COST                $2.06
         SLEEVE

19.1727. LABEL LEFT SIDE 14869      10/2018              $2.04                 COST                $2.04

19.1728. LABEL RIGHT SIDE 14869     10/2018              $2.04                 COST                $2.04

19.1729. LABEL - JUST FUN           10/2018              $2.01                 COST                $2.01

19.1730. BLISTER FUN SET GIRLS      10/2018              $2.00                 COST                $2.00

19.1731. CAP SPILL STOPPER TOY      10/2018              $1.96                 COST                $1.96
         STORY

19.1732. 8 OZ MB CARS 3 W/O         10/2018              $1.95                 COST                $1.95
         WAND

19.1733. 8 OZ MB FILLED MINNIE      10/2018              $1.95                 COST                $1.95
         W/O WAND

19.1734. PRICE TICKET 45690 WG      10/2018              $1.89                 COST                $1.89
         BOWLING

19.1735. BLISTER FOR 24780          10/2018              $1.87                 COST                $1.87

19.1736. PRICE TICKET 19243 FD      10/2018              $1.85                 COST                $1.85
         CADDY

19.1737. LABEL PDQ 19270            10/2018              $1.84                 COST                $1.84

19.1738. BOBBLE HEAD STICK DIVA     10/2018              $1.83                 COST                $1.83
         NO WRAP

19.1739. BUBBLE TRAY CARS           10/2018              $1.80                 COST                $1.80

19.1740. LABEL PP 18207 KOHL'S      10/2018              $1.80                 COST                $1.80

19.1741. PRINTED CARD F/E           10/2018              $1.79                 COST                $1.79
         BOWLING BLUE

19.1742. PRINTED INSERT             10/2018              $1.78                 COST                $1.78
         JURASSIC CHECKE

19.1743. LABEL UPC 4 OZ 6 PK        10/2018              $1.74                 COST                $1.74
         19275

19.1744. PRINTED INSERT F/E         10/2018              $1.70                 COST                $1.70
         23064 - CN

19.1745. PRINTED INSERT CARD        10/2018              $1.61                 COST                $1.61
         30100

19.1746. BUBBLE PIPE 7924/6204      10/2018              $1.53                 COST                $1.53

19.1747. SHRINK WRAP                10/2018              $1.53                 COST                $1.53
         CHECKERED C

19.1748. SHRINK WRAP GLITTER A      10/2018              $1.53                 COST                $1.53


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19.1749. PDQ FRONT PANEL            10/2018              $1.46                 COST                $1.46
         PRINTED 48615

19.1750. ROCK                       10/2018              $1.43                 COST                $1.43

19.1751. LABEL MEILI BATTLE         10/2018              $1.34                 COST                $1.34
         BUCKET

19.1752. PDQ 47353                  10/2018              $1.31                 COST                $1.31

19.1753. PDQ 22074                  10/2018              $1.30                 COST                $1.30

19.1754. LABEL PP 19340 FD $1       10/2018              $1.23                 COST                $1.23

19.1755. POLY BAG 4.5 X 12          10/2018              $1.21                 COST                $1.21

19.1756. BOX 14.25 X 11.5 X 14      10/2018              $1.20                 COST                $1.20
         (22841)

19.1757. LABEL I 2 OF 5 TESCO       10/2018              $1.13                 COST                $1.13
         19347

19.1758. HANG TAG 18019             10/2018              $1.13                 COST                $1.13

19.1759. 24 OZ BOTTLE 8111          10/2018              $1.11                 COST                $1.11

19.1760. 16 OZ PET BUBBLES BULK     10/2018              $1.06                 COST                $1.06

19.1761. BLISTER 6608 10 GAUGE      10/2018              $1.04                 COST                $1.04

19.1762. LABEL 2 OZ MB PRINCESS     10/2018              $0.91                 COST                $0.91

19.1763. BLISTER                    10/2018              $0.91                 COST                $0.91
         25984/25035/25620

19.1764. LABEL 19253 4PK            10/2018              $0.81                 COST                $0.81

19.1765. UPC REMOVABLE LABEL        10/2018              $0.79                 COST                $0.79
         23064

19.1766. BOX 23902 AMAZON           10/2018              $0.73                 COST                $0.73

19.1767. LABEL 13123 - SIDE LABEL   10/2018              $0.71                 COST                $0.71

19.1768. LABEL CE - 19260           10/2018              $0.65                 COST                $0.65

19.1769. LABEL CE - 19259           10/2018              $0.65                 COST                $0.65

19.1770. BLISTER 10 GAUGE 4OZ       10/2018              $0.63                 COST                $0.63
         BOTTLE

19.1771. LABEL CE - 19258           10/2018              $0.63                 COST                $0.63

19.1772. PREPRICE 18922             10/2018              $0.61                 COST                $0.61

19.1773. CARD 20999 (2014)          10/2018              $0.61                 COST                $0.61

19.1774. PRICE TICKET BOWLING       10/2018              $0.61                 COST                $0.61
         19273

19.1775. LABEL UPC 21692            10/2018              $0.60                 COST                $0.60

19.1776. 2 OZ MB FILLED W/O         10/2018              $0.59                 COST                $0.59
         WAND MICKEY

19.1777. PRICE TICKET BOWLING       10/2018              $0.57                 COST                $0.57
         19391 RA

19.1778. HANDLES GRAY 45971         10/2018              $0.56                 COST                $0.56

19.1779. 12" TUBING                 10/2018              $0.56                 COST                $0.56

19.1780. LABEL 19254 BLOWER         10/2018              $0.54                 COST                $0.54

19.1781. DIPPING TRAY NEMO /        10/2018              $0.50                 COST                $0.50
         DORY

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19.1782. MB SPILL STOPPER CAP      10/2018              $0.47                 COST                $0.47
         20927

19.1783. LABEL PP 9.99 KOHL'S      10/2018              $0.44                 COST                $0.44
         26133

19.1784. HANG TAG 8 PK PIT BALLS   10/2018              $0.42                 COST                $0.42
         19270

19.1785. LABEL LOL JUMP ROPES      10/2018              $0.39                 COST                $0.39

19.1786. LABEL 13123 - WARNING     10/2018              $0.38                 COST                $0.38
         INFO

19.1787. LABEL UPC 24 OZ 19274     10/2018              $0.37                 COST                $0.37

19.1788. LABEL PP 4.99 KOHL'S      10/2018              $0.30                 COST                $0.30
         26406

19.1789. BLISTER FOR ALAMO         10/2018              $0.27                 COST                $0.27
         17552 NEW

19.1790. LABEL PP 4.99 KOHL'S      10/2018              $0.25                 COST                $0.25
         16433

19.1791. LABEL 19363 1000 WATER    10/2018              $0.25                 COST                $0.25
         BOMBS

19.1792. LABEL 18365 FUZZBIES      10/2018              $0.23                 COST                $0.23

19.1793. LABEL LOL SURPRISE        10/2018              $0.19                 COST                $0.19
         BUBBLES

19.1794. LABEL LOL GOOGLY BALL     10/2018              $0.19                 COST                $0.19

19.1795. CABLE TIE 8" (200MM X     10/2018              $0.19                 COST                $0.19
         2.5MM)

19.1796. SCREW DISCS FOR           10/2018              $0.18                 COST                $0.18
         PACKAGING

19.1797. LABEL PP 19349 KOHL'S     10/2018              $0.18                 COST                $0.18

19.1798. LABEL 19363 MADE IN       10/2018              $0.12                 COST                $0.12
         CHINA

19.1799. LABEL PRE-PRICE 18870     10/2018              $0.06                 COST                $0.06
         WG

19.1800. HANG TAG 19184            10/2018              $0.06                 COST                $0.06

19.1801. BLISTER COVER W/O         10/2018              $0.04                 COST                $0.04
         SHOULDER

19.1802. LABEL INGREDIENTS / EU    10/2018              $0.03                 COST                $0.03
         ADDRESS

19.1803. LAB SCREW FOR             10/2018              $0.01                 COST                $0.01
         PACKAGING

19.1804. SURPRISE BAG UNI          10/2018              ($0.20)               COST                ($0.20)
         RNBOW BAND

19.1805. LABEL FRONT 16 OZ         10/2018              ($5.24)               COST                ($5.24)
         SMB/PET

19.1806. SURPRISE BAG 2PC EMOJI    10/2018              ($6.00)               COST                ($6.00)
         FC JMUP

19.1807. "2000" FULL LINE          10/2018              ($28.19)              COST                ($28.19)
         CATALOG

19.1808. BOTTLE 16 OZ SMB - MX     10/2018              ($122.70)             COST                ($122.70)
         M/Y/B/G


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20.      Work in progress
20.1.    ________________________ _____________________ $___________________   _____________________ $_______________

21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used    Current value of
                                    physical inventory     debtor's interest   for current value        debtor’s interest
21.1.    LICKITY BUBBLE BLOWER      10/2018                $154,214.13         NET BOOK VALUE           $154,214.13
21.2.    SS SEQUIN CUFF             10/2018                $145,913.03         NET BOOK VALUE           $145,913.03
         BRACELET PDQ SP
21.3.    CW CARDED FIGURE           10/2018                $134,309.97         NET BOOK VALUE           $134,309.97
         PLAYSETS
21.4.    FUZZBIES SKIN              10/2018                $124,240.40         NET BOOK VALUE           $124,240.40
21.5.    PLAYDAY KAOS 360           10/2018                $115,145.16         NET BOOK VALUE           $115,145.16
21.6.    BOTTLE 2OZ W/LABEL M14     10/2018                $105,323.69         NET BOOK VALUE           $105,323.69
         L-A-B
21.7.    BLITZ L/U BUBBLE           10/2018                $105,169.17         NET BOOK VALUE           $105,169.17
         BLASTER PDQ
21.8.    9" AIR MESH NEW            10/2018                $101,157.32         NET BOOK VALUE           $101,157.32
         (DEFLATED) BB
21.9.    2PK INSTABALLOON ASST      10/2018                $99,978.88          NET BOOK VALUE           $99,978.88
21.10.   SPRAY-A-STRING 5OZ         10/2018                $99,015.02          NET BOOK VALUE           $99,015.02
21.11.   D-LECTABLES LAYERS OF      10/2018                $94,446.75          NET BOOK VALUE           $94,446.75
         MAGIC
21.12.   ZOOMA SMACK SHOT           10/2018                $91,005.30          NET BOOK VALUE           $91,005.30
21.13.   METALLIC 9" PLAYBALL       10/2018                $83,461.83          NET BOOK VALUE           $83,461.83
21.14.   ULTRA CATCH VELCRO         10/2018                $82,211.16          NET BOOK VALUE           $82,211.16
21.15.   WATERBOMB #2.5 PINK        10/2018                $78,623.38          NET BOOK VALUE           $78,623.38
21.16.   LIC LOL 4" PLAYBALL PDQ    10/2018                $78,462.70          NET BOOK VALUE           $78,462.70
21.17.   LIC L&S MICROPHONE         10/2018                $73,840.19          NET BOOK VALUE           $73,840.19
         BOXED
21.18.   100 OZ PET BUBBLES         10/2018                $66,931.86          NET BOOK VALUE           $66,931.86
21.19.   BLITZ L/U BUBBLE           10/2018                $65,836.46          NET BOOK VALUE           $65,836.46
         BLASTER BK-WS
21.20.   LW 216 - SHOT RING CAPS    10/2018                $63,937.51          NET BOOK VALUE           $63,937.51
21.21.   F/E AF 16" DUMP TRUCK      10/2018                $59,510.66          NET BOOK VALUE           $59,510.66
         SPECIAL
21.22.   LW 2400 SHOTS ROLL         10/2018                $57,890.78          NET BOOK VALUE           $57,890.78
         CAPS
21.23.   PD 10 PIN MINI BOWLING     10/2018                $57,671.82          NET BOOK VALUE           $57,671.82
         SPECIAL
21.24.   WM HANDCUFFS               10/2018                $56,773.23          NET BOOK VALUE           $56,773.23
21.25.   VINYL BAG - PIT BALL       10/2018                $55,295.07          NET BOOK VALUE           $55,295.07
21.26.   SPRAY-A-STRING             10/2018                $54,558.18          NET BOOK VALUE           $54,558.18
21.27.   WATERBOMB #2.5 PURPLE      10/2018                $52,125.97          NET BOOK VALUE           $52,125.97
21.28.   BLITZ BUBBLE FANTASIA      10/2018                $50,972.90          NET BOOK VALUE           $50,972.90
21.29.   FROZEN II MICROPHONE       10/2018                $50,909.35          NET BOOK VALUE           $50,909.35
         PDQ SP


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.30.   STICKY PALS CDU           10/2018                 $48,347.83          NET BOOK VALUE           $48,347.83
21.31.   BLITZ BUBBLE LIGHT        10/2018                 $47,848.16          NET BOOK VALUE           $47,848.16
         BLASTER -WS
21.32.   GRENADE TEXTURED          10/2018                 $47,695.49          NET BOOK VALUE           $47,695.49
         WATER BOMBS
21.33.   LIC L&S BUBBLE WAND       10/2018                 $47,493.94          NET BOOK VALUE           $47,493.94
         MINNIE
21.34.   LIC LIFE-LIKE MUPPET      10/2018                 $47,050.96          NET BOOK VALUE           $47,050.96
         BABIES
21.35.   PLAYDAY T BALL & PLATE    10/2018                 $46,690.80          NET BOOK VALUE           $46,690.80
21.36.   STW R2-D2 BUBBLE          10/2018                 $45,446.43          NET BOOK VALUE           $45,446.43
         MACHINE
21.37.   ULTRA CATCH RUBBER        10/2018                 $45,139.00          NET BOOK VALUE           $45,139.00
         BALLS
21.38.   REWORK 17579              10/2018                 $45,076.91          NET BOOK VALUE           $45,076.91
21.39.   PLAY DAY JUMBO            10/2018                 $43,677.40          NET BOOK VALUE           $43,677.40
         BOWLING
21.40.   LIC FANCY NANCY BUBBLE 10/2018                    $43,137.70          NET BOOK VALUE           $43,137.70
         TEA SET
21.41.   PLAYDAY STICKEE           10/2018                 $41,441.56          NET BOOK VALUE           $41,441.56
         PADDLE
21.42.   SMB 6PK BUBBLE WANDS      10/2018                 $41,115.64          NET BOOK VALUE           $41,115.64
         PDQ SPCL
21.43.   INTO THE FRYING PAN       10/2018                 $39,770.59          NET BOOK VALUE           $39,770.59
         PDQ
21.44.   BOBA BALL ASST            10/2018                 $39,601.63          NET BOOK VALUE           $39,601.63
21.45.   PUTTY PODS                10/2018                 $37,653.14          NET BOOK VALUE           $37,653.14
21.46.   SS SEQUIN SLAP            10/2018                 $35,001.49          NET BOOK VALUE           $35,001.49
         BRACELET PDQ
21.47.   BLITZ TWIN TURBO          10/2018                 $34,503.27          NET BOOK VALUE           $34,503.27
         BUBBLES
21.48.   BL 96 -SHOT RING CAPS     10/2018                 $32,543.71          NET BOOK VALUE           $32,543.71
21.49.   8 PK COLORED TABLETS      10/2018                 $30,109.77          NET BOOK VALUE           $30,109.77
         ASSORTED
21.50.   BUBBLE BELLIES            10/2018                 $29,435.04          NET BOOK VALUE           $29,435.04
         ASSORTMENT
21.51.   BLITZ TWIN TURBO BUBLE    10/2018                 $29,301.44          NET BOOK VALUE           $29,301.44
         BLASTER
21.52.   10" BALL DEFLATED -       10/2018                 $29,218.54          NET BOOK VALUE           $29,218.54
         FUZZBIES
21.53.   LWW MONTANA CLAM          10/2018                 $29,180.62          NET BOOK VALUE           $29,180.62
         PACK
21.54.   4 OZ PET 8 PK BUBBLES     10/2018                 $28,847.18          NET BOOK VALUE           $28,847.18
21.55.   SMB DINO BUBBLE           10/2018                 $28,299.40          NET BOOK VALUE           $28,299.40
         BLASTER
21.56.   SMB BUBBLE WAND PDQ       10/2018                 $27,270.09          NET BOOK VALUE           $27,270.09
         SPCL

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.57.   FUNKY FARM ASST PDQ       10/2018                 $27,088.04          NET BOOK VALUE           $27,088.04
21.58.   LW SMOKE'IN BARREL        10/2018                 $27,076.58          NET BOOK VALUE           $27,076.58
         CARD
21.59.   LIC BUBBLE BLASTER        10/2018                 $26,984.83          NET BOOK VALUE           $26,984.83
         ASSRT
21.60.   JUMBO TENNIS BALL         10/2018                 $26,737.13          NET BOOK VALUE           $26,737.13
21.61.   KAOS TEAM TUBES           10/2018                 $26,245.88          NET BOOK VALUE           $26,245.88
         WATER BOMBS
21.62.   1/4 PALLET 17597 MX       10/2018                 $26,129.18          NET BOOK VALUE           $26,129.18
21.63.   SURPRISE TOY BOX WM       10/2018                 $25,186.12          NET BOOK VALUE           $25,186.12
21.64.   PLAYDAY E-Z MITT          10/2018                 $24,854.49          NET BOOK VALUE           $24,854.49
21.65.   LICK-A-BUBBLE BUBBLE      10/2018                 $24,834.74          NET BOOK VALUE           $24,834.74
         BLOWER
21.66.   FUN SETS PDQ              10/2018                 $24,279.19          NET BOOK VALUE           $24,279.19
21.67.   CUBEZ PDQ                 10/2018                 $23,328.94          NET BOOK VALUE           $23,328.94
21.68.   F$ MB SPILL RESISTANT     10/2018                 $23,259.64          NET BOOK VALUE           $23,259.64
21.69.   BUDDY-L FOOD TRUCK        10/2018                 $23,258.46          NET BOOK VALUE           $23,258.46
         ASST
21.70.   ZOOMA JUMBO CHECKER       10/2018                 $22,710.42          NET BOOK VALUE           $22,710.42
         SET F/E
21.71.   FILLER DELUXE PINK        10/2018                 $22,550.20          NET BOOK VALUE           $22,550.20
21.72.   LIC 6 OZ BUBBLE PDQ       10/2018                 $21,763.21          NET BOOK VALUE           $21,763.21
21.73.   NEMO B/O DIP N BLOW       10/2018                 $21,618.66          NET BOOK VALUE           $21,618.66
21.74.   STICKY PATCH PDQ ASST     10/2018                 $21,559.48          NET BOOK VALUE           $21,559.48
21.75.   LIC D-LECTABLES ASST      10/2018                 $21,451.81          NET BOOK VALUE           $21,451.81
         CDU
21.76.   D-LECTABLES SCOOP &       10/2018                 $21,341.81          NET BOOK VALUE           $21,341.81
         SERVE
21.77.   LT SA SUPER SPIRAL        10/2018                 $21,334.35          NET BOOK VALUE           $21,334.35
         ASSEMBLED
21.78.   ZOOMA F/E SPLAT X         10/2018                 $21,044.95          NET BOOK VALUE           $21,044.95
         SMACK SHOT
21.79.   FS ACTIVITY FUN SETS      10/2018                 $21,037.85          NET BOOK VALUE           $21,037.85
21.80.   KAOS AQUA BOW ASST        10/2018                 $20,656.59          NET BOOK VALUE           $20,656.59
21.81.   5 OZ BLITZ BUBBLES 8 PK   10/2018                 $20,638.69          NET BOOK VALUE           $20,638.69
21.82.   REWORK 63270 W/LABEL      10/2018                 $20,567.76          NET BOOK VALUE           $20,567.76
21.83.   LW MICRO CAP RIFLES       10/2018                 $20,347.33          NET BOOK VALUE           $20,347.33
21.84.   FILLER DELUXE PURPLE      10/2018                 $20,224.96          NET BOOK VALUE           $20,224.96
21.85.   FATIMAL TIGER             10/2018                 $20,187.37          NET BOOK VALUE           $20,187.37
         W/HANGTAG
21.86.   MOLDING - BOWLING PIN     10/2018                 $19,914.81          NET BOOK VALUE           $19,914.81
         WHITE
21.87.   9" METALLIC BALL          10/2018                 $19,734.10          NET BOOK VALUE           $19,734.10
         (DEFLATED) YK

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.88.   ZOOMA JUMBO BOWLING -     10/2018                 $19,733.40          NET BOOK VALUE           $19,733.40
         F/E
21.89.   BLITZ BUBBLE FAN          10/2018                 $19,456.91          NET BOOK VALUE           $19,456.91
21.90.   LW TUCSON BOW &           10/2018                 $19,425.57          NET BOOK VALUE           $19,425.57
         ARROW SET
21.91.   ULTRA CATCH STRAPS        10/2018                 $19,318.34          NET BOOK VALUE           $19,318.34
21.92.   ZOOMA 10 PK AMMO          10/2018                 $19,112.23          NET BOOK VALUE           $19,112.23
21.93.   LT LEAF BLOWER            10/2018                 $19,045.65          NET BOOK VALUE           $19,045.65
21.94.   SP4 PROJECTOR LIGHTS      10/2018                 $18,787.26          NET BOOK VALUE           $18,787.26
21.95.   6PK SMB SURPRISE          10/2018                 $18,760.43          NET BOOK VALUE           $18,760.43
         BUBBLES
21.96.   SMB P LUNAR BUBBLE        10/2018                 $18,442.22          NET BOOK VALUE           $18,442.22
         BLASTER
21.97.   WAND 64/80 OZ PET         10/2018                 $18,156.10          NET BOOK VALUE           $18,156.10
21.98.   KAOS PUMP STATION         10/2018                 $17,807.87          NET BOOK VALUE           $17,807.87
         ASST
21.99.   LIC BUBBLE BLOWOUT        10/2018                 $17,634.09          NET BOOK VALUE           $17,634.09
         ASST
21.100. D-LECTABLES PRINCESS       10/2018                 $17,621.45          NET BOOK VALUE           $17,621.45
        COLLECTN
21.101. SS SEQUIN CUFF             10/2018                 $17,427.94          NET BOOK VALUE           $17,427.94
        BRACELET BW
21.102. JAR 120MM CLEAR PET        10/2018                 $17,129.06          NET BOOK VALUE           $17,129.06
        155 GR
21.103. LW WESTERN CAP PISTOL      10/2018                 $16,385.82          NET BOOK VALUE           $16,385.82
        ASRT
21.104. 2400-SHOT ROLL CAPS        10/2018                 $16,353.62          NET BOOK VALUE           $16,353.62
        PDQ
21.105. WIP 20897 SPECIAL          10/2018                 $16,243.41          NET BOOK VALUE           $16,243.41
21.106. BOTTLE W/SHRINK WRAP       10/2018                 $16,209.23          NET BOOK VALUE           $16,209.23
        6 OZ TD-C
21.107. SMB GLOW BUBBLE            10/2018                 $16,105.75          NET BOOK VALUE           $16,105.75
        BLASTER
21.108. BOTTLE W/SHRINK WRAP       10/2018                 $15,983.80          NET BOOK VALUE           $15,983.80
        6 OZ GL-F
21.109. BOTTLE W/SHRINK WRAP       10/2018                 $15,949.60          NET BOOK VALUE           $15,949.60
        6 OZ TD-E
21.110. BOTTLE W/SHRINK WRAP       10/2018                 $15,829.59          NET BOOK VALUE           $15,829.59
        6 OZ TD-F
21.111. BOTTLE W/SHRINK WRAP       10/2018                 $15,636.73          NET BOOK VALUE           $15,636.73
        6 OZ CK-C
21.112. BOTTLE W/SHRINK WRAP       10/2018                 $15,545.45          NET BOOK VALUE           $15,545.45
        6 OZ CK-F
21.113. BOTTLE W/SHRINK WRAP       10/2018                 $15,504.27          NET BOOK VALUE           $15,504.27
        6 OZ GL-E
21.114. LIC BUBBLE BLASTER         10/2018                 $15,339.77          NET BOOK VALUE           $15,339.77
        HULK

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.115. MESH BAG - 500 CT          10/2018                 $15,312.56          NET BOOK VALUE           $15,312.56
21.116. FATIMALS                   10/2018                 $15,249.14          NET BOOK VALUE           $15,249.14
21.117. LIC B/O DIP & BLOW         10/2018                 $15,212.00          NET BOOK VALUE           $15,212.00
21.118. BUBBLE MACHINE LICK-A-     10/2018                 $15,163.65          NET BOOK VALUE           $15,163.65
        BUBBLE
21.119. FATIMAL SNAKE              10/2018                 $15,035.97          NET BOOK VALUE           $15,035.97
        W/HANGTAG
21.120. BOTTLE W/SHRINK WRAP       10/2018                 $15,020.40          NET BOOK VALUE           $15,020.40
        6 OZ CK-A
21.121. LIC L&S BUBBLE WAND        10/2018                 $14,906.99          NET BOOK VALUE           $14,906.99
        ASST
21.122. WIP 50 CT MARBLES - MX     10/2018                 $14,813.31          NET BOOK VALUE           $14,813.31
21.123. LL PUNCHBALL CRITTERS      10/2018                 $14,777.85          NET BOOK VALUE           $14,777.85
21.124. 32 OZ SMB BUBBLES          10/2018                 $14,695.62          NET BOOK VALUE           $14,695.62
21.125. BLITZ LIGHT UP BUBBLE      10/2018                 $14,609.11          NET BOOK VALUE           $14,609.11
        BLASTER
21.126. LICK-A-BUBBLE 2 PACK       10/2018                 $14,394.12          NET BOOK VALUE           $14,394.12
21.127. BOTTLE W/SHRINK WRAP       10/2018                 $14,380.83          NET BOOK VALUE           $14,380.83
        6 OZ GL-D
21.128. JUMBO CHECKER PLAY         10/2018                 $14,213.62          NET BOOK VALUE           $14,213.62
        MAT
21.129. 9" DEFLATED LOL            10/2018                 $14,165.27          NET BOOK VALUE           $14,165.27
        PLAYBALL
21.130. WAND 2 OZ LICK A BUBBLE 10/2018                    $14,067.99          NET BOOK VALUE           $14,067.99
21.131. 4OZ SMB 8PK BUBBLES        10/2018                 $14,063.93          NET BOOK VALUE           $14,063.93
        F/E (16987
21.132. STICKY PATCH GIVEAWAY      10/2018                 $14,048.36          NET BOOK VALUE           $14,048.36
        2019
21.133. BOTTLE W/SHRINK WRAP       10/2018                 $13,998.36          NET BOOK VALUE           $13,998.36
        6 OZ CK-E
21.134. BOTTLE W/SHRINK WRAP       10/2018                 $13,983.07          NET BOOK VALUE           $13,983.07
        6 OZ CK-D
21.135. BOTTLE W/SHRINK WRAP       10/2018                 $13,936.58          NET BOOK VALUE           $13,936.58
        6 OZ TD-B
21.136. TRICE DINO L&S BUBBLE      10/2018                 $13,925.84          NET BOOK VALUE           $13,925.84
        BLASTER
21.137. BLITZ CHROME MINI          10/2018                 $13,820.79          NET BOOK VALUE           $13,820.79
        BUBBLE BLAST
21.138. T-REX DINO L&S BUBBLE      10/2018                 $13,556.52          NET BOOK VALUE           $13,556.52
        BLASTER
21.139. WAND 55 OZ BLITZ BLUE      10/2018                 $13,511.65          NET BOOK VALUE           $13,511.65
21.140. LW SMOKE'IN BARREL         10/2018                 $13,438.13          NET BOOK VALUE           $13,438.13
        CARD
21.141. FATIMAL ALLIGATOR          10/2018                 $13,414.19          NET BOOK VALUE           $13,414.19
        W/HANGTAG
21.142. LWW CAP PISTOL W/CAPS      10/2018                 $13,359.71          NET BOOK VALUE           $13,359.71

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.143. JUMBO STICKY PATCHES       10/2018                 $13,251.51          NET BOOK VALUE           $13,251.51
21.144. BOTTLE W/SHRINK WRAP       10/2018                 $13,069.77          NET BOOK VALUE           $13,069.77
        6 OZ GL-C
21.145. FILLER DELUXE YELLOW       10/2018                 $13,064.08          NET BOOK VALUE           $13,064.08
21.146. F/E BON BONS GRAVITY       10/2018                 $13,058.90          NET BOOK VALUE           $13,058.90
        FEED
21.147. 100 OZ SMB BUBBLES         10/2018                 $12,977.38          NET BOOK VALUE           $12,977.38
21.148. BOTTLE W/SHRINK WRAP       10/2018                 $12,909.48          NET BOOK VALUE           $12,909.48
        6 OZ TD-D
21.149. PUMP W/HANG TAG 23149      10/2018                 $12,907.90          NET BOOK VALUE           $12,907.90
21.150. BOTTLE W/SHRINK WRAP       10/2018                 $12,907.28          NET BOOK VALUE           $12,907.28
        6 OZ GL-A
21.151. GOLF CADDY DRIVER          10/2018                 $12,867.93          NET BOOK VALUE           $12,867.93
21.152. FATIMALS                   10/2018                 $12,791.70          NET BOOK VALUE           $12,791.70
21.153. BOTTLE W/SHRINK WRAP       10/2018                 $12,732.34          NET BOOK VALUE           $12,732.34
        6 OZ GL-B
21.154. FILLER DELUXE DARK         10/2018                 $12,639.83          NET BOOK VALUE           $12,639.83
        BLUE
21.155. LW BIG HORN ARCHERY        10/2018                 $12,540.71          NET BOOK VALUE           $12,540.71
        SET
21.156. LW SMOKING SOUND           10/2018                 $12,531.87          NET BOOK VALUE           $12,531.87
        PISTOL
21.157. ELECTROFORCE 300           10/2018                 $12,410.45          NET BOOK VALUE           $12,410.45
21.158. FATIMAL SHARK              10/2018                 $12,388.79          NET BOOK VALUE           $12,388.79
        W/HANGTAG
21.159. LIC LOL SURPRISE           10/2018                 $12,243.19          NET BOOK VALUE           $12,243.19
        BUBBLES PDQ
21.160. PLAYDAY JUMBO RACKET       10/2018                 $12,207.33          NET BOOK VALUE           $12,207.33
21.161. LIC F/E GLOW POD DLX       10/2018                 $12,151.29          NET BOOK VALUE           $12,151.29
        ASST
21.162. 9" METALLIC BALL           10/2018                 $12,084.42          NET BOOK VALUE           $12,084.42
        (DEFLATED) BB
21.163. BOTTLE W/SHRINK WRAP       10/2018                 $12,063.99          NET BOOK VALUE           $12,063.99
        6 OZ CK-B
21.164. FZ SUPER PLAY PUTTY        10/2018                 $11,901.74          NET BOOK VALUE           $11,901.74
21.165. SX SMACK SHOT              10/2018                 $11,893.02          NET BOOK VALUE           $11,893.02
21.166. NT CASH DRAWER             10/2018                 $11,883.66          NET BOOK VALUE           $11,883.66
21.167. FILLER DELUXE ORANGE       10/2018                 $11,874.30          NET BOOK VALUE           $11,874.30
21.168. PLAYDAY F/E STICKEE        10/2018                 $11,853.32          NET BOOK VALUE           $11,853.32
        PADDLE PDQ
21.169. BL 16" MIGHTY BRUTE        10/2018                 $11,838.34          NET BOOK VALUE           $11,838.34
        LOADER
21.170. LIC BUBBLE FLURRY          10/2018                 $11,831.01          NET BOOK VALUE           $11,831.01
21.171. BOTTLE W/SHRINK WRAP       10/2018                 $11,817.12          NET BOOK VALUE           $11,817.12
        6 OZ TD-A


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.172. WAND 55 OZ BLITZ RED       10/2018                 $11,675.28          NET BOOK VALUE           $11,675.28
21.173. LT LEAF BLOWER             10/2018                 $11,636.04          NET BOOK VALUE           $11,636.04
21.174. MARBLES 50 CT              10/2018                 $11,543.54          NET BOOK VALUE           $11,543.54
21.175. WAND 55 OZ BLITZ           10/2018                 $11,462.24          NET BOOK VALUE           $11,462.24
        PURPLE
21.176. BUBBLE STICK TUBE          10/2018                 $11,434.24          NET BOOK VALUE           $11,434.24
21.177. FILLER DELUXE RED          10/2018                 $11,322.30          NET BOOK VALUE           $11,322.30
21.178. VINYL BAG - 250 CT 63357   10/2018                 $11,232.85          NET BOOK VALUE           $11,232.85
21.179. RP LOVELY PONY             10/2018                 $11,207.16          NET BOOK VALUE           $11,207.16
21.180. GOLF CADDY 7-IRON          10/2018                 $11,127.62          NET BOOK VALUE           $11,127.62
21.181. FUZZBIE TROLL POPPY        10/2018                 $11,105.98          NET BOOK VALUE           $11,105.98
21.182. LIC FIG BUBBLE TOPPER      10/2018                 $11,004.89          NET BOOK VALUE           $11,004.89
        PDQ
21.183. LIC 3D SPILL STOPPER       10/2018                 $10,961.84          NET BOOK VALUE           $10,961.84
21.184. LIC LOL 6" PLAYBALLS       10/2018                 $10,957.29          NET BOOK VALUE           $10,957.29
        PDQ
21.185. GY MASSIVE GOOGLY          10/2018                 $10,693.44          NET BOOK VALUE           $10,693.44
        BALL PDQ
21.186. WIP 50 CT MARBLES - CN     10/2018                 $10,606.87          NET BOOK VALUE           $10,606.87
21.187. 5 OZ BLITZ 2 PK BUBBLES    10/2018                 $10,597.18          NET BOOK VALUE           $10,597.18
21.188. MA 151CT MARBLES           10/2018                 $10,595.74          NET BOOK VALUE           $10,595.74
        COLLECTOR SET
21.189. LIC LOL CHARM BRACELET 10/2018                     $10,591.03          NET BOOK VALUE           $10,591.03
        SP
21.190. GOOGLY TOWN OOGLIES        10/2018                 $10,447.72          NET BOOK VALUE           $10,447.72
        PDQ SP
21.191. BA 25 TWISTY BALLOONS      10/2018                 $10,252.93          NET BOOK VALUE           $10,252.93
21.192. BLITZ BUBBLE WHIRLWIND 10/2018                     $10,226.39          NET BOOK VALUE           $10,226.39
21.193. FLASH BLASTER 17212        10/2018                 $10,179.08          NET BOOK VALUE           $10,179.08
21.194. FILLER DELUXE GREEN        10/2018                 $10,050.23          NET BOOK VALUE           $10,050.23
21.195. MARBLE 35MM BLUE           10/2018                 $9,988.61           NET BOOK VALUE           $9,988.61
        NEPTUNE
21.196. FROZEN UMBRELLA            10/2018                 $9,975.83           NET BOOK VALUE           $9,975.83
        MICROPHONE
21.197. ZOOMA DART X CLASH         10/2018                 $9,742.60           NET BOOK VALUE           $9,742.60
        CF120
21.198. LIC GIRLS BUBBLE           10/2018                 $9,659.98           NET BOOK VALUE           $9,659.98
        TOPPER PDQ
21.199. LUMINATION F/E GLOW        10/2018                 $9,601.82           NET BOOK VALUE           $9,601.82
        STRAWS 8PK
21.200. LA BUBBLE STICK ASST       10/2018                 $9,581.25           NET BOOK VALUE           $9,581.25
        PDQ
21.201. BOTTLE FILLING 20897       10/2018                 $9,560.61           NET BOOK VALUE           $9,560.61
        SPECIAL


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.202. BA PUNCH BALL 4 PK         10/2018                 $9,351.65           NET BOOK VALUE           $9,351.65
21.203. LIC STICKY PATCH ASST      10/2018                 $9,245.77           NET BOOK VALUE           $9,245.77
        PDQ
21.204. WAND ASST BLUE 5           10/2018                 $9,054.15           NET BOOK VALUE           $9,054.15
        STYLES
21.205. SPRING TOY CLIP STRIP      10/2018                 $9,020.76           NET BOOK VALUE           $9,020.76
        PRE PACK
21.206. LIC L&S MICROPHONE         10/2018                 $8,994.76           NET BOOK VALUE           $8,994.76
        ASST
21.207. SX AERO SHOT               10/2018                 $8,986.73           NET BOOK VALUE           $8,986.73
21.208. WM GUMBALL MACHINE         10/2018                 $8,973.22           NET BOOK VALUE           $8,973.22
21.209. CW ANIMALS                 10/2018                 $8,967.26           NET BOOK VALUE           $8,967.26
21.210. WIP 20999 LUNAR BUBBLE     10/2018                 $8,930.92           NET BOOK VALUE           $8,930.92
        BLASTER
21.211. GY GOOGLY BALL             10/2018                 $8,921.09           NET BOOK VALUE           $8,921.09
21.212. LWW DURANGO DOUBLE         10/2018                 $8,918.05           NET BOOK VALUE           $8,918.05
        HOLSTER SET
21.213. WAND 6 OZ ORANGE           10/2018                 $8,916.55           NET BOOK VALUE           $8,916.55
21.214. BULK 25472 RAPUNZEL DIP 10/2018                    $8,887.92           NET BOOK VALUE           $8,887.92
        N BLOW
21.215. GLO BUBBLE GUN             10/2018                 $8,855.95           NET BOOK VALUE           $8,855.95
21.216. LIC DIP N BLOW ASST -      10/2018                 $8,843.95           NET BOOK VALUE           $8,843.95
        KOHL'S
21.217. PUMP STATION W/COLOR       10/2018                 $8,821.77           NET BOOK VALUE           $8,821.77
        BOMBS
21.218. KAOS 500 CT WATER          10/2018                 $8,789.50           NET BOOK VALUE           $8,789.50
        BOMBS
21.219. LIC LOL BEACH BALL         10/2018                 $8,775.18           NET BOOK VALUE           $8,775.18
        SPRINKLER
21.220. KAOS WATER BALLOON         10/2018                 $8,721.47           NET BOOK VALUE           $8,721.47
        LAUNCHER
21.221. WAND 6 OZ PINK             10/2018                 $8,618.66           NET BOOK VALUE           $8,618.66
21.222. ORB GREEN/BLUE             10/2018                 $8,552.27           NET BOOK VALUE           $8,552.27
        BLASTER
21.223. 128 OZ SMB BUBBLES         10/2018                 $8,524.86           NET BOOK VALUE           $8,524.86
21.224. FUZZBIES                   10/2018                 $8,497.93           NET BOOK VALUE           $8,497.93
21.225. RP BEAUTY BABE GLAM        10/2018                 $8,476.78           NET BOOK VALUE           $8,476.78
        BOX
21.226. STICKY PATCHES ASST        10/2018                 $8,458.05           NET BOOK VALUE           $8,458.05
21.227. GOLF CADDY AXLES           10/2018                 $8,356.00           NET BOOK VALUE           $8,356.00
21.228. PVC BAG 16759              10/2018                 $8,325.71           NET BOOK VALUE           $8,325.71
21.229. SHRINK WRAP CHECKERS       10/2018                 $8,309.57           NET BOOK VALUE           $8,309.57
        BLACK
21.230. KAOS TEAM TUBES            10/2018                 $8,286.92           NET BOOK VALUE           $8,286.92
        WATER BOMBS


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.231. GOLF CADDY PUTTER          10/2018                 $8,286.77           NET BOOK VALUE           $8,286.77
21.232. BT DLX BAGGED FIGURE       10/2018                 $8,236.99           NET BOOK VALUE           $8,236.99
        ASRT
21.233. WAND 6 OZ BLUE             10/2018                 $8,202.93           NET BOOK VALUE           $8,202.93
21.234. LIC LOL CHARM BR/4PK       10/2018                 $8,086.31           NET BOOK VALUE           $8,086.31
        ASST PDQ
21.235. LIC PROJECTOR LIGHT V3     10/2018                 $8,078.26           NET BOOK VALUE           $8,078.26
        TROLLS
21.236. BA 50 TWISTY BALLOONS      10/2018                 $8,001.93           NET BOOK VALUE           $8,001.93
21.237. WAND 6 OZ PURPLE           10/2018                 $7,975.26           NET BOOK VALUE           $7,975.26
21.238. LIC GO BUBBLES             10/2018                 $7,943.29           NET BOOK VALUE           $7,943.29
21.239. LWW DERRINGER 2PK          10/2018                 $7,937.62           NET BOOK VALUE           $7,937.62
21.240. HONUA BRACELETS            10/2018                 $7,935.29           NET BOOK VALUE           $7,935.29
21.241. BLITZ LIGHT UP BLASTER     10/2018                 $7,934.98           NET BOOK VALUE           $7,934.98
21.242. WATERBOMB #2.5 YELLOW 10/2018                      $7,913.73           NET BOOK VALUE           $7,913.73
21.243. LICK-A-BUBBLE 4 PACK       10/2018                 $7,904.93           NET BOOK VALUE           $7,904.93
21.244. WATERBOMB #2.5 RED         10/2018                 $7,839.72           NET BOOK VALUE           $7,839.72
21.245. LAUNCHER W/BASE            10/2018                 $7,761.41           NET BOOK VALUE           $7,761.41
        SPIDERMAN
21.246. CLIP LOADED DART GUN       10/2018                 $7,732.99           NET BOOK VALUE           $7,732.99
21.247. DG 50 CT MARBLES PDQ       10/2018                 $7,716.15           NET BOOK VALUE           $7,716.15
21.248. LIC SUPER STICK            10/2018                 $7,680.91           NET BOOK VALUE           $7,680.91
21.249. KIDDY UP 500 CT PIT BALL   10/2018                 $7,640.18           NET BOOK VALUE           $7,640.18
21.250. SS SEQUIN CUFF PDQ         10/2018                 $7,572.64           NET BOOK VALUE           $7,572.64
21.251. CHALK BUCKET 20 EA         10/2018                 $7,536.22           NET BOOK VALUE           $7,536.22
21.252. GUMBALL MACHINE            10/2018                 $7,535.84           NET BOOK VALUE           $7,535.84
21.253. SPRAY A STRING             10/2018                 $7,500.76           NET BOOK VALUE           $7,500.76
        SHOOTER
21.254. WAND 4/5 OZ CROWN          10/2018                 $7,451.00           NET BOOK VALUE           $7,451.00
21.255. LIC WATER GAME ASST        10/2018                 $7,427.78           NET BOOK VALUE           $7,427.78
21.256. BL 16" MIGHTY BRUTE        10/2018                 $7,415.92           NET BOOK VALUE           $7,415.92
        DUMP TRUCK
21.257. ZOOMA 21" JUMBO BAT &      10/2018                 $7,358.18           NET BOOK VALUE           $7,358.18
        BALL
21.258. RP DIARY AND PEN SET       10/2018                 $7,352.95           NET BOOK VALUE           $7,352.95
21.259. LIC FIG BUBBLE TOP BOY     10/2018                 $7,321.97           NET BOOK VALUE           $7,321.97
        PDQ
21.260. GY GOOGLY CRITTERS         10/2018                 $7,258.71           NET BOOK VALUE           $7,258.71
21.261. FT MINI SKY DIVERS         10/2018                 $7,248.90           NET BOOK VALUE           $7,248.90
21.262. RP BUSY BEAUTY BABE        10/2018                 $7,153.10           NET BOOK VALUE           $7,153.10
        BOX
21.263. LW KANSAS RIFLE CLAM       10/2018                 $7,130.55           NET BOOK VALUE           $7,130.55
        PACK
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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.264. BULK 25034 SPIDERMAN       10/2018                 $7,127.94           NET BOOK VALUE           $7,127.94
        DIP N BLO
21.265. 8 OZ SMB BUBBLES           10/2018                 $7,115.75           NET BOOK VALUE           $7,115.75
21.266. LWW BLACK CANYON           10/2018                 $7,105.50           NET BOOK VALUE           $7,105.50
        BUCKEYE SET
21.267. BUBBLE CUP                 10/2018                 $7,071.52           NET BOOK VALUE           $7,071.52
21.268. GUMBALL REFILL PDQ         10/2018                 $7,014.43           NET BOOK VALUE           $7,014.43
21.269. MARBLE 25MM CLEAR          10/2018                 $6,977.64           NET BOOK VALUE           $6,977.64
        BLUE
21.270. LAUNCHER W/BASE HULK       10/2018                 $6,958.71           NET BOOK VALUE           $6,958.71
21.271. LAUNCHER W/BASE CAPT       10/2018                 $6,929.58           NET BOOK VALUE           $6,929.58
        AMERICA
21.272. WATERBOMB #3 CLEAR         10/2018                 $6,926.09           NET BOOK VALUE           $6,926.09
21.273. ZOOMA SMACK SHOT           10/2018                 $6,921.94           NET BOOK VALUE           $6,921.94
21.274. BUBBLE FLURRY W/O          10/2018                 $6,808.48           NET BOOK VALUE           $6,808.48
        LOGO
21.275. LT BUBBLE BELLIES II       10/2018                 $6,759.67           NET BOOK VALUE           $6,759.67
21.276. LW TACOMA BOW &            10/2018                 $6,736.27           NET BOOK VALUE           $6,736.27
        ARROW SET
21.277. ORB RED/BLUE BLASTER       10/2018                 $6,732.08           NET BOOK VALUE           $6,732.08
21.278. LAUNCHER W/BASE            10/2018                 $6,680.03           NET BOOK VALUE           $6,680.03
        IRONMAN
21.279. SPIDERMAN 3D PLASTIC       10/2018                 $6,660.33           NET BOOK VALUE           $6,660.33
        VIEWER
21.280. WAND 2 OZ                  10/2018                 $6,647.75           NET BOOK VALUE           $6,647.75
21.281. F/E BOBA BALL/FRUIT        10/2018                 $6,624.47           NET BOOK VALUE           $6,624.47
        ASST PDQ
21.282. DINO BOP BAG               10/2018                 $6,508.79           NET BOOK VALUE           $6,508.79
21.283. 64 OZ PET BUBBLES          10/2018                 $6,360.94           NET BOOK VALUE           $6,360.94
21.284. BLISTERING OF 61107 TO     10/2018                 $6,356.94           NET BOOK VALUE           $6,356.94
        60782
21.285. SS SEQUIN CUFF             10/2018                 $6,345.19           NET BOOK VALUE           $6,345.19
        BRACELET LF-I
21.286. BUBBLE WHIRLWIND 17494 10/2018                     $6,285.62           NET BOOK VALUE           $6,285.62
21.287. LIC BUBBLE BLASTER TOY     10/2018                 $6,261.53           NET BOOK VALUE           $6,261.53
        STORY
21.288. LIFE-LIKE CREEPERS CDU     10/2018                 $6,201.43           NET BOOK VALUE           $6,201.43
21.289. ZIPS BRACELET DISPLAY      10/2018                 $6,198.24           NET BOOK VALUE           $6,198.24
21.290. 64 OZ SMB BUBBLES          10/2018                 $6,194.54           NET BOOK VALUE           $6,194.54
21.291. BATMAN BOP BALL            10/2018                 $6,179.28           NET BOOK VALUE           $6,179.28
21.292. 4 OZ SMB BUBBLES 6 PK      10/2018                 $6,129.22           NET BOOK VALUE           $6,129.22
21.293. LL REAL SKIN DINOSAURS     10/2018                 $6,093.35           NET BOOK VALUE           $6,093.35
        W/SKELE



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.294. WATERBOMB #2.5 NEON        10/2018                 $6,085.11           NET BOOK VALUE           $6,085.11
        ORANGE
21.295. STW FIGURAL BUBBLE         10/2018                 $6,077.42           NET BOOK VALUE           $6,077.42
        TOPPER
21.296. 55 OZ BLITZ SCENTED        10/2018                 $5,999.27           NET BOOK VALUE           $5,999.27
        BUBBLES
21.297. MB FANTASTIC BUBBLE        10/2018                 $5,965.96           NET BOOK VALUE           $5,965.96
        SET
21.298. LL PUNCHBALL CRITTERS      10/2018                 $5,963.16           NET BOOK VALUE           $5,963.16
21.299. BL 9" STEEL BRUTE DUMP     10/2018                 $5,925.78           NET BOOK VALUE           $5,925.78
        TRUCK
21.300. WAND 8 OZ BUBBLES          10/2018                 $5,912.26           NET BOOK VALUE           $5,912.26
21.301. POWER POPPER               10/2018                 $5,871.49           NET BOOK VALUE           $5,871.49
        SPIDERMAN
21.302. PINK PUMP W/HANG TAG       10/2018                 $5,854.46           NET BOOK VALUE           $5,854.46
        23141
21.303. AG SKIMMER FLYING DISC     10/2018                 $5,842.39           NET BOOK VALUE           $5,842.39
21.304. LIC SPILL STOPPER CARS     10/2018                 $5,839.43           NET BOOK VALUE           $5,839.43
        3
21.305. SPRAY A STRING             10/2018                 $5,837.47           NET BOOK VALUE           $5,837.47
21.306. CW TUBED ANIMALS           10/2018                 $5,791.23           NET BOOK VALUE           $5,791.23
21.307. PRINCESS BUBBLE            10/2018                 $5,775.25           NET BOOK VALUE           $5,775.25
        BELLIES
21.308. MARBLE 25MM GREEN          10/2018                 $5,758.68           NET BOOK VALUE           $5,758.68
        TIGER EYE
21.309. FZ STICKY HAND 1 PK        10/2018                 $5,750.20           NET BOOK VALUE           $5,750.20
21.310. MICKEY OP SPILL            10/2018                 $5,726.93           NET BOOK VALUE           $5,726.93
        STOPPER
21.311. RAPUNZEL DIP N BLOW        10/2018                 $5,698.38           NET BOOK VALUE           $5,698.38
        63538
21.312. D-LECTABLES COLLECTOR 10/2018                      $5,666.16           NET BOOK VALUE           $5,666.16
        CASE
21.313. LIC BEACH BALL             10/2018                 $5,613.21           NET BOOK VALUE           $5,613.21
        SPRINKLER TS4
21.314. LIC LOL 6" PLAYBALLS       10/2018                 $5,609.48           NET BOOK VALUE           $5,609.48
        BULK
21.315. AIR MESH ENDCAP PDQ        10/2018                 $5,595.38           NET BOOK VALUE           $5,595.38
21.316. BOTTLE FILLING             10/2018                 $5,595.28           NET BOOK VALUE           $5,595.28
        SURPRISE GIRLS
21.317. DIP & BLOW NEMO 63539      10/2018                 $5,566.09           NET BOOK VALUE           $5,566.09
21.318. BUBBLE TUBE MINI SET       10/2018                 $5,547.31           NET BOOK VALUE           $5,547.31
21.319. CUP 5/8 OZ P BLITZ RED     10/2018                 $5,528.39           NET BOOK VALUE           $5,528.39
21.320. WAND 6 OZ GREEN            10/2018                 $5,487.45           NET BOOK VALUE           $5,487.45
21.321. PLYDY PDQ 21"JUMBO BAT 10/2018                     $5,446.80           NET BOOK VALUE           $5,446.80
        & BALL
21.322. CUP 5/8 OZ P BLITZ BLUE    10/2018                 $5,446.20           NET BOOK VALUE           $5,446.20
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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.323. SMB HOVER BUBBLES 2.0      10/2018                 $5,440.53           NET BOOK VALUE           $5,440.53
21.324. GLOW BUBBLE SOLUTION       10/2018                 $5,409.56           NET BOOK VALUE           $5,409.56
        PDQ
21.325. SMB P EVER BUBBLE          10/2018                 $5,396.61           NET BOOK VALUE           $5,396.61
        BLASTER
21.326. LIC BUBBLE BELLIES         10/2018                 $5,368.05           NET BOOK VALUE           $5,368.05
        MINNIE
21.327. LIC WATER SQUEEZY BALL 10/2018                     $5,338.42           NET BOOK VALUE           $5,338.42
        PDQ
21.328. LUMINATN GLOW BUBBLE       10/2018                 $5,335.27           NET BOOK VALUE           $5,335.27
        OPP BAG
21.329. PLAYDAY PIT BALLS 100CT 10/2018                    $5,329.46           NET BOOK VALUE           $5,329.46
21.330. POWER POPPER CAPTAIN       10/2018                 $5,313.86           NET BOOK VALUE           $5,313.86
        AMERICA
21.331. 8 OZ PET BUBBLES           10/2018                 $5,310.11           NET BOOK VALUE           $5,310.11
21.332. JUMBO JELLY BALLOON        10/2018                 $5,286.96           NET BOOK VALUE           $5,286.96
        BALL
21.333. POWER POPPER HULK          10/2018                 $5,274.94           NET BOOK VALUE           $5,274.94
21.334. BEAUTY BABE BOX IN PDQ     10/2018                 $5,265.15           NET BOOK VALUE           $5,265.15
21.335. ZOOMA CLASHFORCE 100       10/2018                 $5,233.76           NET BOOK VALUE           $5,233.76
21.336. T-REX DINO                 10/2018                 $5,211.45           NET BOOK VALUE           $5,211.45
21.337. RUSTLER CAP GUN            10/2018                 $5,196.11           NET BOOK VALUE           $5,196.11
21.338. LIC BUBBLE BLASTER         10/2018                 $5,184.12           NET BOOK VALUE           $5,184.12
        RAPUNZEL
21.339. 178 OZ SMB BUBBLES         10/2018                 $5,163.30           NET BOOK VALUE           $5,163.30
21.340. LAUNCHER W/BASE            10/2018                 $5,152.32           NET BOOK VALUE           $5,152.32
        LEONARDO
21.341. SPILL RESISTANT 8 OZ       10/2018                 $5,125.89           NET BOOK VALUE           $5,125.89
        BUBBLES
21.342. BLITZ BUBBLE FLURRY        10/2018                 $5,095.96           NET BOOK VALUE           $5,095.96
21.343. YUMA CAP GUN               10/2018                 $5,070.98           NET BOOK VALUE           $5,070.98
21.344. ALAMO CAP GUN              10/2018                 $5,065.92           NET BOOK VALUE           $5,065.92
21.345. BLUE PUMP/HANG TAG         10/2018                 $5,056.03           NET BOOK VALUE           $5,056.03
        13293
21.346. MB 6 IN 1 BUBBLE FUN       10/2018                 $5,047.19           NET BOOK VALUE           $5,047.19
21.347. TOY GRENADE W/SOUND        10/2018                 $5,033.98           NET BOOK VALUE           $5,033.98
21.348. WAND 6 OZ YELLOW           10/2018                 $5,028.24           NET BOOK VALUE           $5,028.24
21.349. SMB BUBBLE JAR             10/2018                 $5,025.74           NET BOOK VALUE           $5,025.74
21.350. 250 CT WATER BOMB          10/2018                 $5,022.80           NET BOOK VALUE           $5,022.80
21.351. NT EGG SPLAT               10/2018                 $5,002.54           NET BOOK VALUE           $5,002.54
21.352. SMB P EVER BLASTER         10/2018                 $4,995.59           NET BOOK VALUE           $4,995.59
21.353. GREEN PUMP/HANG TAG        10/2018                 $4,992.87           NET BOOK VALUE           $4,992.87
        13293


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.354. POWER POPPER IRON          10/2018                 $4,977.14           NET BOOK VALUE           $4,977.14
        MAN
21.355. NT GUMBALL MACHINE         10/2018                 $4,971.47           NET BOOK VALUE           $4,971.47
21.356. LIC PROJ LIGHT V3 PAW      10/2018                 $4,962.78           NET BOOK VALUE           $4,962.78
        PATROL
21.357. BOTTLE FILLING             10/2018                 $4,944.98           NET BOOK VALUE           $4,944.98
        SURPRISE - BOYS
21.358. USM SPIDERMAN DIP N        10/2018                 $4,944.64           NET BOOK VALUE           $4,944.64
        BLOW 63537
21.359. M8 LIC FIG BUBBLE          10/2018                 $4,916.81           NET BOOK VALUE           $4,916.81
        TOPPER PDQ
21.360. 80 OZ PET BUBBLES          10/2018                 $4,872.50           NET BOOK VALUE           $4,872.50
21.361. 24 OZ MB BUBBLES           10/2018                 $4,848.95           NET BOOK VALUE           $4,848.95
21.362. LIC PROJECTOR LIGHT V3     10/2018                 $4,806.47           NET BOOK VALUE           $4,806.47
        PRINCES
21.363. NT RUBBER DUCKY            10/2018                 $4,736.36           NET BOOK VALUE           $4,736.36
21.364. SMB MINI BUBBLE            10/2018                 $4,731.79           NET BOOK VALUE           $4,731.79
        FACTORY
21.365. USM BUBBLE BELLIE          10/2018                 $4,689.28           NET BOOK VALUE           $4,689.28
21.366. VINYL BAG - 250 CT         10/2018                 $4,685.44           NET BOOK VALUE           $4,685.44
21.367. FATIMAL PENGUIN            10/2018                 $4,635.72           NET BOOK VALUE           $4,635.72
        W/HANGTAG
21.368. FILLER REGULAR PINK        10/2018                 $4,632.99           NET BOOK VALUE           $4,632.99
21.369. BLUE PUMP W/HANG TAG       10/2018                 $4,630.11           NET BOOK VALUE           $4,630.11
        23141
21.370. FATIMAL GORILLA W/HANG 10/2018                     $4,628.57           NET BOOK VALUE           $4,628.57
        TAG
21.371. AIR METAL 1/2 PALLET       10/2018                 $4,627.89           NET BOOK VALUE           $4,627.89
21.372. WAND 32 OZ                 10/2018                 $4,614.86           NET BOOK VALUE           $4,614.86
21.373. REWORK 46173               10/2018                 $4,599.56           NET BOOK VALUE           $4,599.56
21.374. 4 OZ SMB BUBBLES 8         10/2018                 $4,570.85           NET BOOK VALUE           $4,570.85
        PACK
21.375. SMB BUBBLE REFILL          10/2018                 $4,561.87           NET BOOK VALUE           $4,561.87
        STATION II
21.376. LIC FROZEN2 L&S BUBBLE     10/2018                 $4,555.99           NET BOOK VALUE           $4,555.99
        WAND
21.377. BT POLICE & SHERIFF SET    10/2018                 $4,555.76           NET BOOK VALUE           $4,555.76
21.378. KAOS CATAPULT WATER        10/2018                 $4,501.58           NET BOOK VALUE           $4,501.58
        BOMB
21.379. FLASH BLASTER              10/2018                 $4,491.86           NET BOOK VALUE           $4,491.86
21.380. WAND 128 OZ GREEN 8994     10/2018                 $4,468.01           NET BOOK VALUE           $4,468.01
21.381. MAGENTA BUCKET WITH        10/2018                 $4,438.20           NET BOOK VALUE           $4,438.20
        HANDLE
21.382. WAND 55 OZ BLITZ GREEN     10/2018                 $4,402.91           NET BOOK VALUE           $4,402.91
21.383. BUBBLE KAZOO 7924/6204     10/2018                 $4,355.93           NET BOOK VALUE           $4,355.93

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.384. MINI EGG ERASERS PDQ       10/2018                 $4,354.42           NET BOOK VALUE           $4,354.42
21.385. LAB BLOWER - ARABIC        10/2018                 $4,310.12           NET BOOK VALUE           $4,310.12
21.386. BT PLAYSET                 10/2018                 $4,298.13           NET BOOK VALUE           $4,298.13
21.387. PDQ SEQUIN CUFF            10/2018                 $4,266.37           NET BOOK VALUE           $4,266.37
        BRACELET
21.388. BLITZ BUBBLER              10/2018                 $4,207.94           NET BOOK VALUE           $4,207.94
21.389. LIC BUBBLE MACHINE         10/2018                 $4,191.18           NET BOOK VALUE           $4,191.18
        ASST
21.390. BLITZ BUBBLE MIGHTY        10/2018                 $4,176.40           NET BOOK VALUE           $4,176.40
        WAND
21.391. DEFLATED TENNIS BALL       10/2018                 $4,114.81           NET BOOK VALUE           $4,114.81
        W/UPC
21.392. BUBBLE STICK               10/2018                 $4,114.80           NET BOOK VALUE           $4,114.80
        W/BUBBLES
21.393. PRINCESS OP SPILL          10/2018                 $4,109.48           NET BOOK VALUE           $4,109.48
        STOPPER
21.394. F/E SC LUNAR LIGHT GUN     10/2018                 $4,108.75           NET BOOK VALUE           $4,108.75
21.395. CLOVER BUBBLE PIPE         10/2018                 $4,103.03           NET BOOK VALUE           $4,103.03
21.396. CW AMAZING CAPSULES        10/2018                 $4,079.78           NET BOOK VALUE           $4,079.78
21.397. 3 BALL BUBBLE BLOW         10/2018                 $4,053.48           NET BOOK VALUE           $4,053.48
        PISTOL
21.398. FUNKY FARM CHICKEN         10/2018                 $4,052.50           NET BOOK VALUE           $4,052.50
        PDQ
21.399. FS CHALK BUCKET 20 EA      10/2018                 $4,040.20           NET BOOK VALUE           $4,040.20
21.400. POWER POPPER TMNT -        10/2018                 $4,005.42           NET BOOK VALUE           $4,005.42
        LEONARDO
21.401. CW MINIATURE               10/2018                 $3,982.81           NET BOOK VALUE           $3,982.81
        DINOSAURS
21.402. PVC STORAGE BAG            10/2018                 $3,979.64           NET BOOK VALUE           $3,979.64
21.403. RP GLAMORIZE ME            10/2018                 $3,917.66           NET BOOK VALUE           $3,917.66
21.404. WAND 6 OZ PINK LIC         10/2018                 $3,898.91           NET BOOK VALUE           $3,898.91
21.405. BLITZ L/U BUBBLE STICK     10/2018                 $3,881.08           NET BOOK VALUE           $3,881.08
21.406. LIC BEACH BALL             10/2018                 $3,865.32           NET BOOK VALUE           $3,865.32
        SPRINKLER ASST
21.407. LIC BEACH BALL             10/2018                 $3,839.95           NET BOOK VALUE           $3,839.95
        SPRINKLER LOL
21.408. LT BUBBLIN' ACTIVITY       10/2018                 $3,829.38           NET BOOK VALUE           $3,829.38
        BUCKET
21.409. BRP ACTION SET ASST        10/2018                 $3,814.80           NET BOOK VALUE           $3,814.80
21.410. EGG SPLAT/DINO CLIP        10/2018                 $3,805.73           NET BOOK VALUE           $3,805.73
        STRIP
21.411. BOYS PADDLE BALL           10/2018                 $3,786.90           NET BOOK VALUE           $3,786.90
21.412. LIC BEACH BALL             10/2018                 $3,778.01           NET BOOK VALUE           $3,778.01
        SPRINKLER PAW P



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.413. SMB DINO BUBBLE            10/2018                 $3,771.72           NET BOOK VALUE           $3,771.72
        BLASTER
21.414. STW R2-D2 BUBBLE           10/2018                 $3,754.04           NET BOOK VALUE           $3,754.04
        BLASTER
21.415. RP L/U TIARA W/ EARRING    10/2018                 $3,753.07           NET BOOK VALUE           $3,753.07
21.416. FT 3X-STREAM AIRPLANES 10/2018                     $3,750.50           NET BOOK VALUE           $3,750.50
21.417. ADV PLAY 7' JUMP ROPE      10/2018                 $3,726.35           NET BOOK VALUE           $3,726.35
        PDQ SPCL
21.418. LIC PUTTY ASST             10/2018                 $3,707.86           NET BOOK VALUE           $3,707.86
21.419. SX 6PK AMMO                10/2018                 $3,702.43           NET BOOK VALUE           $3,702.43
21.420. THOMAS GO BUBBLES          10/2018                 $3,698.25           NET BOOK VALUE           $3,698.25
21.421. HALLOWEEN SURPRISE         10/2018                 $3,682.28           NET BOOK VALUE           $3,682.28
        TOY BAG PDQ
21.422. WATERBOMB #2.5 DARK        10/2018                 $3,681.93           NET BOOK VALUE           $3,681.93
        BLUE
21.423. LIC WATER SLIDE ASST       10/2018                 $3,676.98           NET BOOK VALUE           $3,676.98
21.424. LOL VALUE BOX              10/2018                 $3,664.00           NET BOOK VALUE           $3,664.00
21.425. BA 50 TWISTY BALLOONS      10/2018                 $3,660.03           NET BOOK VALUE           $3,660.03
21.426. LIC FROZEN2 L/U GLITTER    10/2018                 $3,647.43           NET BOOK VALUE           $3,647.43
        BALL
21.427. WIP 23059 250 CT PIT       10/2018                 $3,631.69           NET BOOK VALUE           $3,631.69
        BALLS
21.428. RUBBER DUCKS ASST          10/2018                 $3,579.86           NET BOOK VALUE           $3,579.86
21.429. FT AIR MISSILE             10/2018                 $3,544.48           NET BOOK VALUE           $3,544.48
21.430. LIC 5" GOOGLY BALL         10/2018                 $3,525.92           NET BOOK VALUE           $3,525.92
        ASSRT
21.431. MB 5 IN 1 BUBBLE FUN       10/2018                 $3,521.17           NET BOOK VALUE           $3,521.17
21.432. POP UP PIT TENT W/50       10/2018                 $3,521.15           NET BOOK VALUE           $3,521.15
        PITBALLS
21.433. FS 7 FT JUMP ROPE          10/2018                 $3,510.83           NET BOOK VALUE           $3,510.83
21.434. PRO FLYER DISPLAY 6 PK     10/2018                 $3,507.85           NET BOOK VALUE           $3,507.85
21.435. 32 OZ PET BUBBLES DT       10/2018                 $3,487.63           NET BOOK VALUE           $3,487.63
21.436. SX ROTO SHOT               10/2018                 $3,482.35           NET BOOK VALUE           $3,482.35
21.437. 16 OZ SMB BUBBLES          10/2018                 $3,478.53           NET BOOK VALUE           $3,478.53
21.438. F/E REAL STUFF METAL       10/2018                 $3,476.31           NET BOOK VALUE           $3,476.31
        HANDCUFFS
21.439. ZOOMA GOLF CADDY SET       10/2018                 $3,462.50           NET BOOK VALUE           $3,462.50
        F/E
21.440. SMB LIGHT & SOUND          10/2018                 $3,445.59           NET BOOK VALUE           $3,445.59
        BLASTER
21.441. SPRAY A STRING 1 PK        10/2018                 $3,398.78           NET BOOK VALUE           $3,398.78
21.442. LIC FROZEN 2 STICKY        10/2018                 $3,356.42           NET BOOK VALUE           $3,356.42
        PATCHES



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.443. GREEN BUCKET WITH          10/2018                 $3,355.03           NET BOOK VALUE           $3,355.03
        HANDLE
21.444. LIC POWER POPPER M8        10/2018                 $3,352.92           NET BOOK VALUE           $3,352.92
        CARDED
21.445. BLITZ BUBBLE SPILL         10/2018                 $3,350.61           NET BOOK VALUE           $3,350.61
        STOPPER
21.446. WIP 17579 6 PK SMB         10/2018                 $3,312.57           NET BOOK VALUE           $3,312.57
21.447. SMB P TWIN MINI BUBBLES 10/2018                    $3,285.68           NET BOOK VALUE           $3,285.68
21.448. SMB PIPE WITH BASKET       10/2018                 $3,265.30           NET BOOK VALUE           $3,265.30
21.449. 4 OZ PET 8 PK 1/4 PALLET   10/2018                 $3,239.92           NET BOOK VALUE           $3,239.92
21.450. LICK-A-BUBBLE 3 PACK       10/2018                 $3,202.04           NET BOOK VALUE           $3,202.04
21.451. LIC BUBBLE TOPPER ASST     10/2018                 $3,190.55           NET BOOK VALUE           $3,190.55
        PDQ
21.452. MA 51 CHAMPION             10/2018                 $3,182.91           NET BOOK VALUE           $3,182.91
        MARBLES
21.453. NT DRAWING BOARD           10/2018                 $3,162.64           NET BOOK VALUE           $3,162.64
21.454. KIDDY UP 15" HOPPER        10/2018                 $3,161.04           NET BOOK VALUE           $3,161.04
        BALL F/E
21.455. FZ PLAY PUTTY FM           10/2018                 $3,150.52           NET BOOK VALUE           $3,150.52
21.456. WAND 32 OZ - SHORT         10/2018                 $3,143.96           NET BOOK VALUE           $3,143.96
21.457. LIC M8 LIFE-LIKE PDQ       10/2018                 $3,139.90           NET BOOK VALUE           $3,139.90
        ASST
21.458. LIC VALUE BOX SETS         10/2018                 $3,137.95           NET BOOK VALUE           $3,137.95
        ASST
21.459. OL BLACK CANYON            10/2018                 $3,125.18           NET BOOK VALUE           $3,125.18
        BUCKEYE SET
21.460. SMB BUBBLE COPTER          10/2018                 $3,071.84           NET BOOK VALUE           $3,071.84
21.461. LIC BUBBLE SHOP            10/2018                 $3,071.77           NET BOOK VALUE           $3,071.77
        ASSORTMENT
21.462. BLITZ BUBBLE BLOW OUT      10/2018                 $3,040.27           NET BOOK VALUE           $3,040.27
21.463. GL GLO WAND & SWORD        10/2018                 $3,038.54           NET BOOK VALUE           $3,038.54
        ASSORTMENT
21.464. BLITZ BUBBLE MIGHTY        10/2018                 $3,036.89           NET BOOK VALUE           $3,036.89
        WAND
21.465. FZ HAND BUZZER             10/2018                 $3,029.11           NET BOOK VALUE           $3,029.11
21.466. GL GLO STICK               10/2018                 $3,027.47           NET BOOK VALUE           $3,027.47
21.467. BOTTLE 24 OZ MB M/B/G      10/2018                 $3,007.42           NET BOOK VALUE           $3,007.42
21.468. 4 OZ SMB 8 PK BUBBLES      10/2018                 $2,955.57           NET BOOK VALUE           $2,955.57
        PK OF 8
21.469. ALL THINGS SWEET TIARA     10/2018                 $2,917.55           NET BOOK VALUE           $2,917.55
21.470. BULK 24702 THOMAS DIP N 10/2018                    $2,908.00           NET BOOK VALUE           $2,908.00
        BLOW
21.471. GL GLO NECKLACE            10/2018                 $2,907.48           NET BOOK VALUE           $2,907.48
21.472. SMB BUBBLE REFILL          10/2018                 $2,902.42           NET BOOK VALUE           $2,902.42
        STATION

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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used    Current value of
                                    physical inventory     debtor's interest   for current value        debtor’s interest
21.473. DINO BUBB MAKER             10/2018                $2,900.69           NET BOOK VALUE           $2,900.69
        8627/6675/7277
21.474. KAOS 175 WATER BOMBS        10/2018                $2,862.75           NET BOOK VALUE           $2,862.75
21.475. 16 OZ MB BUBBLES            10/2018                $2,860.96           NET BOOK VALUE           $2,860.96
21.476. ZOOMA SPORTS JUMBO          10/2018                $2,854.74           NET BOOK VALUE           $2,854.74
        GOLF CADDY
21.477. LIC STICKY HAND             10/2018                $2,853.54           NET BOOK VALUE           $2,853.54
        ASSORTMENT
21.478. LT OCTOPUS BUBBLE           10/2018                $2,763.19           NET BOOK VALUE           $2,763.19
        MAKER
21.479. VINYL BAG 18859             10/2018                $2,752.79           NET BOOK VALUE           $2,752.79
21.480. WAND 64 OZ SMB YELLOW       10/2018                $2,724.73           NET BOOK VALUE           $2,724.73
21.481. KAOS PUMP STATION           10/2018                $2,722.94           NET BOOK VALUE           $2,722.94
        ASST
21.482. I-SNAP 3 CHARMS             10/2018                $2,720.70           NET BOOK VALUE           $2,720.70
21.483. LW SANTA FE CAP PISTOL      10/2018                $2,719.03           NET BOOK VALUE           $2,719.03
21.484. WAND 16 OZ BUBBLE           10/2018                $2,703.25           NET BOOK VALUE           $2,703.25
21.485. 5 OZ BLITZ GRAPE            10/2018                $2,688.61           NET BOOK VALUE           $2,688.61
        W/WAND
21.486. PLAYDAY 21" JUMBO BAT       10/2018                $2,670.87           NET BOOK VALUE           $2,670.87
        & BALL
21.487. LL JUNGLE ANIMALS           10/2018                $2,668.91           NET BOOK VALUE           $2,668.91
21.488. FZ CHALK BOARD              10/2018                $2,652.13           NET BOOK VALUE           $2,652.13
21.489. MARBLE 25MM ORANGE          10/2018                $2,643.46           NET BOOK VALUE           $2,643.46
        TIGER EYE
21.490. LIC FIG BUBBLE TOP          10/2018                $2,640.93           NET BOOK VALUE           $2,640.93
        SPIDERMAN
21.491. KIDDY UP F/E 250 CT PIT     10/2018                $2,629.04           NET BOOK VALUE           $2,629.04
        BALL
21.492. LIC REMOTE & KEYS ASST      10/2018                $2,569.27           NET BOOK VALUE           $2,569.27
21.493. 55 OZ BLITZ SCNTD           10/2018                $2,559.52           NET BOOK VALUE           $2,559.52
        BUBBLES F/E
21.494. LIC BOP BALLS               10/2018                $2,542.28           NET BOOK VALUE           $2,542.28
        ASSORTMENT
21.495. FS JUMP ROPE                10/2018                $2,470.06           NET BOOK VALUE           $2,470.06
21.496. LIC PUZZLE CUBE PDQ         10/2018                $2,469.82           NET BOOK VALUE           $2,469.82
21.497. LT BUBBLE FUN POND          10/2018                $2,469.19           NET BOOK VALUE           $2,469.19
21.498. LOOPY HANDLE JUMP           10/2018                $2,466.83           NET BOOK VALUE           $2,466.83
        ROPE
21.499. FINDING DORY 7 N 1 SET      10/2018                $2,454.09           NET BOOK VALUE           $2,454.09
21.500. MA 50 MARBLES               10/2018                $2,418.59           NET BOOK VALUE           $2,418.59
21.501. WAND FACE BUBBLE            10/2018                $2,384.30           NET BOOK VALUE           $2,384.30
21.502. SS SEQUIN CUFF              10/2018                $2,374.24           NET BOOK VALUE           $2,374.24
        BRACELET LF-II


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.503. ZOOMA F/E TBALL            10/2018                 $2,369.61           NET BOOK VALUE           $2,369.61
        HOMEPLATE
21.504. LIC GLOW WAND              10/2018                 $2,361.34           NET BOOK VALUE           $2,361.34
21.505. WAND 70 OZ SMB ORANGE 10/2018                      $2,360.12           NET BOOK VALUE           $2,360.12
21.506. USM SPRINKLER              10/2018                 $2,359.17           NET BOOK VALUE           $2,359.17
21.507. LT BUBBLE BELLIE BLUE      10/2018                 $2,353.24           NET BOOK VALUE           $2,353.24
        HIPPO
21.508. TOY STORY OP SPILL         10/2018                 $2,335.84           NET BOOK VALUE           $2,335.84
        STOPPER
21.509. LIC POWER POPPER           10/2018                 $2,316.86           NET BOOK VALUE           $2,316.86
        CARDED
21.510. XXL GOLF CLUB PDQ          10/2018                 $2,309.76           NET BOOK VALUE           $2,309.76
21.511. RP RULER OF ALL GLAM       10/2018                 $2,305.61           NET BOOK VALUE           $2,305.61
        TIARA
21.512. SMB P BUBBLE FLURRY        10/2018                 $2,299.64           NET BOOK VALUE           $2,299.64
21.513. BT CAP GUN                 10/2018                 $2,292.78           NET BOOK VALUE           $2,292.78
        ASSORTMENT
21.514. GLOW BUBBLES PDQ           10/2018                 $2,259.39           NET BOOK VALUE           $2,259.39
21.515. BOUNCE BALL                10/2018                 $2,242.17           NET BOOK VALUE           $2,242.17
21.516. MOLDING - BOWLING BALL     10/2018                 $2,190.45           NET BOOK VALUE           $2,190.45
        RED
21.517. SCOOP & SCORE PDQ          10/2018                 $2,185.19           NET BOOK VALUE           $2,185.19
21.518. 4 OZ PET BUBBLES           10/2018                 $2,183.48           NET BOOK VALUE           $2,183.48
        SCENTED 6 PK
21.519. LITTLE BUBBLE BLOWER       10/2018                 $2,164.52           NET BOOK VALUE           $2,164.52
21.520. TT THOMAS DIP & BLOW       10/2018                 $2,156.56           NET BOOK VALUE           $2,156.56
        63536
21.521. F/E WATER BALLOON          10/2018                 $2,155.43           NET BOOK VALUE           $2,155.43
        LAUNCHER PDQ
21.522. 8 OZ MB BUBBLES            10/2018                 $2,148.64           NET BOOK VALUE           $2,148.64
21.523. SMB BUBBLE BUCKET          10/2018                 $2,147.57           NET BOOK VALUE           $2,147.57
21.524. LIC MINI STICKS            10/2018                 $2,140.89           NET BOOK VALUE           $2,140.89
21.525. ORANGE BUCKET WITH         10/2018                 $2,115.40           NET BOOK VALUE           $2,115.40
        HANDLE
21.526. LIC 5" GOOGLY PDQ          10/2018                 $2,105.98           NET BOOK VALUE           $2,105.98
21.527. AIR MESH 9" PLAYBALL       10/2018                 $2,075.10           NET BOOK VALUE           $2,075.10
21.528. MOLDING - FAT BAT BLUE     10/2018                 $2,072.69           NET BOOK VALUE           $2,072.69
21.529. GREEN PUMP W/HANG          10/2018                 $2,066.65           NET BOOK VALUE           $2,066.65
        TAG 23141
21.530. MA 51 MARBLES FM           10/2018                 $2,035.69           NET BOOK VALUE           $2,035.69
21.531. FILLER REGULAR PURPLE      10/2018                 $2,032.52           NET BOOK VALUE           $2,032.52
21.532. WAND 100 OZ                10/2018                 $2,031.32           NET BOOK VALUE           $2,031.32
21.533. GOLF SET 7 PC              10/2018                 $2,026.94           NET BOOK VALUE           $2,026.94


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.534. ZOOMA PRO FLYING DISC      10/2018                 $2,023.03           NET BOOK VALUE           $2,023.03
21.535. WAND 6 OZ RED              10/2018                 $2,001.59           NET BOOK VALUE           $2,001.59
21.536. USM SPIDERMAN SPILL        10/2018                 $1,989.79           NET BOOK VALUE           $1,989.79
        STOPPER
21.537. LA GOOGLY 7.5" BALL PDQ    10/2018                 $1,980.85           NET BOOK VALUE           $1,980.85
21.538. FLUFT FLUFFY CLOUD         10/2018                 $1,975.68           NET BOOK VALUE           $1,975.68
        SAND
21.539. WAND 64 OZ MB BUBBLES      10/2018                 $1,953.40           NET BOOK VALUE           $1,953.40
21.540. JUMBO STICKY PATCHES       10/2018                 $1,935.92           NET BOOK VALUE           $1,935.92
        PDQ
21.541. NT PLAY MONEY              10/2018                 $1,931.96           NET BOOK VALUE           $1,931.96
21.542. GY 4" SOCCER BALL LIGHT 10/2018                    $1,921.07           NET BOOK VALUE           $1,921.07
        UP
21.543. F/E SMB P BUBBLE           10/2018                 $1,901.53           NET BOOK VALUE           $1,901.53
        FLURRY
21.544. MOLDING - BOWLING BALL     10/2018                 $1,881.63           NET BOOK VALUE           $1,881.63
        BLACK
21.545. LITTLE TIKES BUBBLE        10/2018                 $1,875.44           NET BOOK VALUE           $1,875.44
        POND
21.546. CW JUNGLE ANIMALS          10/2018                 $1,860.96           NET BOOK VALUE           $1,860.96
21.547. LT BUBBLE BELLIE BROWN 10/2018                     $1,853.52           NET BOOK VALUE           $1,853.52
        DOG
21.548. 8 OZ SMB BUBBLES BULK      10/2018                 $1,849.24           NET BOOK VALUE           $1,849.24
21.549. NET BAG - PIT BALLS        10/2018                 $1,839.99           NET BOOK VALUE           $1,839.99
21.550. BUBBLE BLOWER              10/2018                 $1,839.96           NET BOOK VALUE           $1,839.96
21.551. LT BUBBLE BELLIE           10/2018                 $1,839.63           NET BOOK VALUE           $1,839.63
        YELLOW LION
21.552. KAOS ULTIMATE BATTLE       10/2018                 $1,828.74           NET BOOK VALUE           $1,828.74
        BUCKET
21.553. BLITZ TWIN TURBO           10/2018                 $1,818.24           NET BOOK VALUE           $1,818.24
        BUBBLES
21.554. SMB 6PK BUBBLE WAND        10/2018                 $1,804.96           NET BOOK VALUE           $1,804.96
        PDQ SPCL
21.555. 32 OZ PET BUBBLES FAM$     10/2018                 $1,794.52           NET BOOK VALUE           $1,794.52
21.556. LIC 6OZ BUBBLES ASST       10/2018                 $1,783.67           NET BOOK VALUE           $1,783.67
        PDQ SP
21.557. LIC BUBBLE MOWER - LT      10/2018                 $1,773.19           NET BOOK VALUE           $1,773.19
21.558. AG JAMMER FLYING DISC      10/2018                 $1,759.59           NET BOOK VALUE           $1,759.59
21.559. SW 14 FT JUMP ROPE         10/2018                 $1,756.95           NET BOOK VALUE           $1,756.95
21.560. ALAMO CAP PISTOL           10/2018                 $1,722.26           NET BOOK VALUE           $1,722.26
21.561. 4 CELL PHONE CASE          10/2018                 $1,706.54           NET BOOK VALUE           $1,706.54
21.562. AG SKIMMER FLYING DISC     10/2018                 $1,704.10           NET BOOK VALUE           $1,704.10
21.563. TMNT PROJECTOR LIGHT       10/2018                 $1,693.22           NET BOOK VALUE           $1,693.22



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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used    Current value of
                                    physical inventory     debtor's interest   for current value        debtor’s interest
21.564. ZOOMA JUMBO GOLF            10/2018                $1,688.98           NET BOOK VALUE           $1,688.98
        CADDY - BLUE
21.565. LIC 6 OZ BUBBLE LOL PDQ     10/2018                $1,688.80           NET BOOK VALUE           $1,688.80
21.566. WATERBOMB #3 DARK           10/2018                $1,682.09           NET BOOK VALUE           $1,682.09
        BLUE
21.567. BLITZ BUBBLE LIGHT          10/2018                $1,656.30           NET BOOK VALUE           $1,656.30
        BLASTER
21.568. 4.5" PVC BALL DEFLATED      10/2018                $1,655.52           NET BOOK VALUE           $1,655.52
21.569. GOLF CADDY BALLS            10/2018                $1,651.14           NET BOOK VALUE           $1,651.14
21.570. LT BUB BELLIE               10/2018                $1,645.88           NET BOOK VALUE           $1,645.88
        BLACK/WHITE DOG
21.571. ZOOMA SPORTS STICKY         10/2018                $1,642.38           NET BOOK VALUE           $1,642.38
        PADDLE
21.572. MOLDING - FAT BAT BLACK 10/2018                    $1,636.16           NET BOOK VALUE           $1,636.16
21.573. ACTION ADVENTURE            10/2018                $1,636.09           NET BOOK VALUE           $1,636.09
        BOXED SET
21.574. LIC L&S BUBBLE WAND         10/2018                $1,627.51           NET BOOK VALUE           $1,627.51
        ASST SPCL
21.575. LT BUBBLE BELLIE BLUE       10/2018                $1,627.09           NET BOOK VALUE           $1,627.09
        HIPPO
21.576. 5 OZ BLITZ RED APPLE        10/2018                $1,606.76           NET BOOK VALUE           $1,606.76
        W/WAND
21.577. 5 CELL PHONE CASE           10/2018                $1,603.12           NET BOOK VALUE           $1,603.12
21.578. SMB P DOUBLE BIG            10/2018                $1,598.06           NET BOOK VALUE           $1,598.06
        BUBBLE MAKER
21.579. LIC LOL BUBBLE TOPPER       10/2018                $1,597.23           NET BOOK VALUE           $1,597.23
        ASST PDQ
21.580. LT TURTLE TOPPLE            10/2018                $1,582.01           NET BOOK VALUE           $1,582.01
        SPRINKLER
21.581. WAND 8320/5613              10/2018                $1,579.18           NET BOOK VALUE           $1,579.18
21.582. BLISTER INSERT GUMBALL 10/2018                     $1,575.74           NET BOOK VALUE           $1,575.74
        BANKS
21.583. 32 OZ PET DISPLAY           10/2018                $1,568.61           NET BOOK VALUE           $1,568.61
        SUMMER FAM$
21.584. 55 OZ BLITZ BUBBLES         10/2018                $1,562.85           NET BOOK VALUE           $1,562.85
21.585. LIC BUBBLE CAMERA ASST 10/2018                     $1,557.54           NET BOOK VALUE           $1,557.54
21.586. LIC DIP & BLOW              10/2018                $1,551.21           NET BOOK VALUE           $1,551.21
        ASSORTMENT
21.587. LIC LOL BUBBLE              10/2018                $1,540.38           NET BOOK VALUE           $1,540.38
        BOBBLEHEAD PDQ
21.588. PIT BALL 1000 CT - BULK     10/2018                $1,539.24           NET BOOK VALUE           $1,539.24
21.589. CARS 3D VIEWER              10/2018                $1,528.29           NET BOOK VALUE           $1,528.29
21.590. LIC F/E GLOW STRAW          10/2018                $1,520.44           NET BOOK VALUE           $1,520.44
        ASST
21.591. LOL 4" DEFLATED PLAY        10/2018                $1,515.80           NET BOOK VALUE           $1,515.80
        BALL

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.592. OPP BAG 22078              10/2018                 $1,514.67           NET BOOK VALUE           $1,514.67
21.593. LIC FIG TOPPER MICKEY      10/2018                 $1,508.27           NET BOOK VALUE           $1,508.27
21.594. SURPRISE PACK OUT F/E 4 10/2018                    $1,492.61           NET BOOK VALUE           $1,492.61
        13079
21.595. BUBBLE JAR TOP/HANDLE      10/2018                 $1,491.60           NET BOOK VALUE           $1,491.60
        F/E LABE
21.596. NEW 3D VIEWER              10/2018                 $1,484.79           NET BOOK VALUE           $1,484.79
        PRINCESS
21.597. 16 OZ PET BUBBLE           10/2018                 $1,483.74           NET BOOK VALUE           $1,483.74
        DISPLAY
21.598. 9" EAGLE FLYER             10/2018                 $1,463.43           NET BOOK VALUE           $1,463.43
21.599. PUMP W/HANG TAG 46681      10/2018                 $1,445.88           NET BOOK VALUE           $1,445.88
        (2014)
21.600. AG PRO FLYING DISC         10/2018                 $1,444.51           NET BOOK VALUE           $1,444.51
21.601. PIT BALL CANNON F/E        10/2018                 $1,437.20           NET BOOK VALUE           $1,437.20
        W/10 BALLS
21.602. LIC L&S MICROPHONE         10/2018                 $1,417.33           NET BOOK VALUE           $1,417.33
        ELENA
21.603. BA PUNCH BALL 2 PACK       10/2018                 $1,410.90           NET BOOK VALUE           $1,410.90
21.604. SMB P SPILL STOPPER        10/2018                 $1,402.59           NET BOOK VALUE           $1,402.59
21.605. MB LIL BUBBLE BUCKET       10/2018                 $1,399.91           NET BOOK VALUE           $1,399.91
21.606. LIC POWER POPPER           10/2018                 $1,399.52           NET BOOK VALUE           $1,399.52
        SIDEKICK
21.607. MOLDING - FAT BAT          10/2018                 $1,397.69           NET BOOK VALUE           $1,397.69
        ORANGE
21.608. SEE THRU BUBBLE GUN        10/2018                 $1,397.63           NET BOOK VALUE           $1,397.63
21.609. LIC FIG TOPPER NEMO        10/2018                 $1,395.17           NET BOOK VALUE           $1,395.17
21.610. BLASTER PRINCESS 25984     10/2018                 $1,382.68           NET BOOK VALUE           $1,382.68
21.611. SURPRISE PACK OUT P26      10/2018                 $1,378.49           NET BOOK VALUE           $1,378.49
        21572
21.612. BLUE PUMP W/HANG TAG       10/2018                 $1,376.96           NET BOOK VALUE           $1,376.96
        18410
21.613. SMB P SUPER STICK          10/2018                 $1,374.21           NET BOOK VALUE           $1,374.21
        BUBBLES
21.614. GL GLO BRACELET            10/2018                 $1,359.50           NET BOOK VALUE           $1,359.50
21.615. RUSTLER CAP PISTOL         10/2018                 $1,347.94           NET BOOK VALUE           $1,347.94
21.616. F/E GOOGLY OOGLIES         10/2018                 $1,344.72           NET BOOK VALUE           $1,344.72
21.617. MA 51 MARBLES FM           10/2018                 $1,341.07           NET BOOK VALUE           $1,341.07
21.618. WM LICENSED SPRINKLER      10/2018                 $1,338.02           NET BOOK VALUE           $1,338.02
21.619. SMB BUBBLE REFILL          10/2018                 $1,334.42           NET BOOK VALUE           $1,334.42
        STATION
21.620. 4 PLASTIC MEGAPHONE-2      10/2018                 $1,331.98           NET BOOK VALUE           $1,331.98
21.621. MONEY CLIP 50TH            10/2018                 $1,328.76           NET BOOK VALUE           $1,328.76
21.622. F4L WATER GUN DOUBLE       10/2018                 $1,321.76           NET BOOK VALUE           $1,321.76

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.623. KM MILITARY & POLICE       10/2018                 $1,316.83           NET BOOK VALUE           $1,316.83
        BOXED
21.624. GOLF PUTTING CIRCLE        10/2018                 $1,316.76           NET BOOK VALUE           $1,316.76
        GEN 1
21.625. LIC COSMIC ORB BALL        10/2018                 $1,301.89           NET BOOK VALUE           $1,301.89
        PDQ
21.626. WAND 8 OZ MB SPILL         10/2018                 $1,298.98           NET BOOK VALUE           $1,298.98
        STOPPER
21.627. WAND MIGHTY                10/2018                 $1,293.73           NET BOOK VALUE           $1,293.73
21.628. MOLDING - FAT BAT          10/2018                 $1,283.45           NET BOOK VALUE           $1,283.45
        GREEN
21.629. BUBBLE JAR                 10/2018                 $1,283.17           NET BOOK VALUE           $1,283.17
        TOP/HANDLE/LABEL 26
21.630. SURPRISE PACK OUT P25      10/2018                 $1,277.92           NET BOOK VALUE           $1,277.92
        21572
21.631. 7' FT JUMP ROPE            10/2018                 $1,272.25           NET BOOK VALUE           $1,272.25
21.632. STORAGE BAG -              10/2018                 $1,262.53           NET BOOK VALUE           $1,262.53
        CHECKERS
21.633. LIC BUBBLE PEN ASST        10/2018                 $1,260.90           NET BOOK VALUE           $1,260.90
21.634. ZOOMA SCOOP N SCORE        10/2018                 $1,253.95           NET BOOK VALUE           $1,253.95
        F/E
21.635. JAR TOP/HANDLE/LABEL       10/2018                 $1,250.80           NET BOOK VALUE           $1,250.80
        20890
21.636. BOTTLE FILLING M14 L-A-B   10/2018                 $1,248.78           NET BOOK VALUE           $1,248.78
21.637. MOLDING MINI PIN CARS 3    10/2018                 $1,247.90           NET BOOK VALUE           $1,247.90
        1
21.638. FZ PLAY PUTTY              10/2018                 $1,245.44           NET BOOK VALUE           $1,245.44
21.639. 100 CT WATER BOMBS         10/2018                 $1,244.03           NET BOOK VALUE           $1,244.03
21.640. CHRISTMAS SURPRISE         10/2018                 $1,241.98           NET BOOK VALUE           $1,241.98
        TOY BAG PDQ
21.641. FUZZBIE HULK 24635         10/2018                 $1,230.54           NET BOOK VALUE           $1,230.54
21.642. F/E STICKY PATCHES 2PK     10/2018                 $1,228.27           NET BOOK VALUE           $1,228.27
21.643. 47220 BULK BALLS GREEN     10/2018                 $1,226.89           NET BOOK VALUE           $1,226.89
21.644. 47220 BULK BALLS           10/2018                 $1,226.89           NET BOOK VALUE           $1,226.89
        YELLOW
21.645. LL LIFE LIKE CARDED        10/2018                 $1,225.70           NET BOOK VALUE           $1,225.70
        ASRT
21.646. ZOOMA 10 PIN MINI          10/2018                 $1,217.45           NET BOOK VALUE           $1,217.45
        BOWLING
21.647. WAND LARGE BUBBLE          10/2018                 $1,211.76           NET BOOK VALUE           $1,211.76
        (8111)
21.648. BT 35 PC SOLDIERS          10/2018                 $1,206.20           NET BOOK VALUE           $1,206.20
21.649. MARBLES F/E 50 CT- PDQ     10/2018                 $1,203.25           NET BOOK VALUE           $1,203.25
        SPECIAL
21.650. LIC BOP BALL ASST - FD     10/2018                 $1,201.62           NET BOOK VALUE           $1,201.62


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.651. F/E BLUE PUMP W/HANG       10/2018                 $1,194.56           NET BOOK VALUE           $1,194.56
        TAG 13757
21.652. PLAYDAY F/E JUMBO          10/2018                 $1,193.24           NET BOOK VALUE           $1,193.24
        BOWLING
21.653. WAND GLOW BUBBLE           10/2018                 $1,190.60           NET BOOK VALUE           $1,190.60
        WHITE
21.654. 5 PLASTIC MEGAPHONE-2      10/2018                 $1,189.33           NET BOOK VALUE           $1,189.33
21.655. LT BUB BELLIE              10/2018                 $1,181.33           NET BOOK VALUE           $1,181.33
        WHITE/GRAY DOG
21.656. BLASTER SPIDERMAN          10/2018                 $1,162.85           NET BOOK VALUE           $1,162.85
        25035
21.657. YUMA CAP PISTOL            10/2018                 $1,156.81           NET BOOK VALUE           $1,156.81
21.658. FROZEN BUBBLE FUN SET      10/2018                 $1,156.36           NET BOOK VALUE           $1,156.36
21.659. SCOOP & SCORE VALUE        10/2018                 $1,150.64           NET BOOK VALUE           $1,150.64
21.660. GOOGLY ERASERS             10/2018                 $1,149.70           NET BOOK VALUE           $1,149.70
        SIDEKICK - WM
21.661. LIC GLOW WANDS             10/2018                 $1,137.02           NET BOOK VALUE           $1,137.02
21.662. MOLDING - FAT BAT BALL     10/2018                 $1,116.38           NET BOOK VALUE           $1,116.38
        WHITE
21.663. MINI BOWLING PINK          10/2018                 $1,110.39           NET BOOK VALUE           $1,110.39
        CARRIER
21.664. M3 I-SNAP 3 CHARMS         10/2018                 $1,100.61           NET BOOK VALUE           $1,100.61
21.665. SHIPPER WITH LABEL         10/2018                 $1,084.50           NET BOOK VALUE           $1,084.50
        17586
21.666. SURPRISE PACK OUT P27      10/2018                 $1,082.79           NET BOOK VALUE           $1,082.79
        21572
21.667. POWER POPPER               10/2018                 $1,067.15           NET BOOK VALUE           $1,067.15
        LEONARDO CARDED
21.668. REWORK 6398                10/2018                 $1,063.46           NET BOOK VALUE           $1,063.46
21.669. F/E BLITZ BUBBLE FLASH     10/2018                 $1,062.61           NET BOOK VALUE           $1,062.61
        BLASTER
21.670. GUMBALL MACHINE            10/2018                 $1,052.22           NET BOOK VALUE           $1,052.22
        PURPLE & PINK
21.671. PURPLE BUCKET WITH         10/2018                 $1,050.31           NET BOOK VALUE           $1,050.31
        HANDLE
21.672. VIEWER SPILL STOPPER       10/2018                 $1,045.08           NET BOOK VALUE           $1,045.08
        LOL
21.673. 32 OZ SMB BUBBLES          10/2018                 $1,044.93           NET BOOK VALUE           $1,044.93
21.674. FIGURES LOL DIVA /         10/2018                 $1,034.93           NET BOOK VALUE           $1,034.93
        QUEENBEE
21.675. MINNIE BUBBLE FUN SET      10/2018                 $1,032.37           NET BOOK VALUE           $1,032.37
21.676. BOTTLE FILLING LOL         10/2018                 $1,025.18           NET BOOK VALUE           $1,025.18
21.677. LT BUBBLE BELLIES ASST     10/2018                 $1,015.03           NET BOOK VALUE           $1,015.03
21.678. BT SUPER SWORDS            10/2018                 $1,014.71           NET BOOK VALUE           $1,014.71
21.679. KAOS AQUA SPLASHER         10/2018                 $1,013.88           NET BOOK VALUE           $1,013.88
        LAUNCHER
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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.680. BA 25 TWISTY BALLOONS      10/2018                 $1,010.56           NET BOOK VALUE           $1,010.56
        FM
21.681. WAND CRAB                  10/2018                 $1,009.91           NET BOOK VALUE           $1,009.91
21.682. LICK-A-BUBBLE BUBBLE       10/2018                 $1,004.90           NET BOOK VALUE           $1,004.90
        MACHINE
21.683. MB BUBBLE HELICOPTER       10/2018                 $1,000.26           NET BOOK VALUE           $1,000.26
21.684. COLOR BOMB FILLER          10/2018                 $993.28             NET BOOK VALUE           $993.28
21.685. MA 25 MARBLES              10/2018                 $992.49             NET BOOK VALUE           $992.49
21.686. BIG BUBBLE FLIPPER         10/2018                 $975.77             NET BOOK VALUE           $975.77
21.687. KB MAXI STAR               10/2018                 $975.20             NET BOOK VALUE           $975.20
21.688. GY GOOGLY MONSTERS         10/2018                 $975.16             NET BOOK VALUE           $975.16
21.689. WAND SPIDERMAN             10/2018                 $973.09             NET BOOK VALUE           $973.09
21.690. STEGOSAURUS                10/2018                 $967.58             NET BOOK VALUE           $967.58
        PUNCHBALL
21.691. PRINCESS BUBBLE FUN        10/2018                 $965.41             NET BOOK VALUE           $965.41
        SET
21.692. WATERBOMB #2.5 STD         10/2018                 $959.38             NET BOOK VALUE           $959.38
        BLUE
21.693. MINI BOWLING RED           10/2018                 $958.92             NET BOOK VALUE           $958.92
        CARRIER
21.694. M8 LIC BUBBLE BELLIES      10/2018                 $958.15             NET BOOK VALUE           $958.15
21.695. F/E GREEN PUMP             10/2018                 $949.81             NET BOOK VALUE           $949.81
        W/HANGTAG 13757
21.696. MOLDING MINI PIN           10/2018                 $939.91             NET BOOK VALUE           $939.91
        ORANGE 804
21.697. 128 OZ MB BUBBLES          10/2018                 $939.79             NET BOOK VALUE           $939.79
21.698. SHRINK INNER SLEEVE        10/2018                 $938.56             NET BOOK VALUE           $938.56
        LOL
21.699. FOAM HOMEPLATE SET         10/2018                 $935.81             NET BOOK VALUE           $935.81
        PDQ
21.700. WAND SET GREEN PMS802 10/2018                      $932.17             NET BOOK VALUE           $932.17
        BUBBLE
21.701. GUMBALL REFILL             10/2018                 $930.94             NET BOOK VALUE           $930.94
21.702. PIT BALL 100 CT - NET BAG 10/2018                  $930.84             NET BOOK VALUE           $930.84
21.703. ASSEMBLY OF 17586          10/2018                 $928.58             NET BOOK VALUE           $928.58
        DISPLAY
21.704. 3D VIEWER FROZEN           10/2018                 $923.21             NET BOOK VALUE           $923.21
21.705. FINDING DORY SPRINKLER 10/2018                     $917.42             NET BOOK VALUE           $917.42
21.706. FUZZBIE CAPTAIN            10/2018                 $914.87             NET BOOK VALUE           $914.87
        AMERICA 24637
21.707. LIC EASY SQUEEZY PDQ       10/2018                 $904.47             NET BOOK VALUE           $904.47
21.708. ZOOMA F/E FATBAT &         10/2018                 $901.09             NET BOOK VALUE           $901.09
        BALL PDQ
21.709. 4 OZ PET 6 PK BUBBLES      10/2018                 $894.26             NET BOOK VALUE           $894.26


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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used    Current value of
                                    physical inventory     debtor's interest   for current value        debtor’s interest
21.710. 44151 BLASTER ASST          10/2018                $892.57             NET BOOK VALUE           $892.57
21.711. GUMBALL REFILL              10/2018                $889.36             NET BOOK VALUE           $889.36
21.712. M8 LIC LIL BUBBLE DIPPER 10/2018                   $879.54             NET BOOK VALUE           $879.54
        PDQ
21.713. F/E LIC LOL STICKY          10/2018                $878.70             NET BOOK VALUE           $878.70
        PATCHES PDQ
21.714. SMB P LUNAR BUBBLE          10/2018                $871.67             NET BOOK VALUE           $871.67
        BLASTER
21.715. RP GLITTER GLAMOUR          10/2018                $871.17             NET BOOK VALUE           $871.17
        TATTOOS
21.716. HALLOWEEN GLOW              10/2018                $865.43             NET BOOK VALUE           $865.43
        PENDANT
21.717. BADMINTON SET VINYL         10/2018                $865.20             NET BOOK VALUE           $865.20
        BAG
21.718. 4 PLASTIC MEGAPHONE         10/2018                $862.19             NET BOOK VALUE           $862.19
21.719. BULK REGULAR PUTTY          10/2018                $858.68             NET BOOK VALUE           $858.68
        W/O EGG
21.720. OL WESTERN CAP PISTOL       10/2018                $858.34             NET BOOK VALUE           $858.34
        ASRT
21.721. KIDDY UP F/E 100 CT PIT     10/2018                $851.60             NET BOOK VALUE           $851.60
        BALL
21.722. FT DISC LAUNCHER            10/2018                $851.41             NET BOOK VALUE           $851.41
21.723. 9" AIR MESH                 10/2018                $840.06             NET BOOK VALUE           $840.06
        NEW(DEFLATED) YK
21.724. LIC POWER POPPER CD -       10/2018                $839.93             NET BOOK VALUE           $839.93
        BATMAN
21.725. MINI SKY DIVERS             10/2018                $831.42             NET BOOK VALUE           $831.42
21.726. POPZOOKA                    10/2018                $811.12             NET BOOK VALUE           $811.12
21.727. POPPER/LAUNCHER CAP         10/2018                $807.05             NET BOOK VALUE           $807.05
        AMER WIP
21.728. SMB BUBBLE STICK PDQ        10/2018                $805.85             NET BOOK VALUE           $805.85
21.729. 5 PLASTIC MEGAPHONE         10/2018                $798.09             NET BOOK VALUE           $798.09
21.730. KAOS PUMP STATION 2.0       10/2018                $793.01             NET BOOK VALUE           $793.01
21.731. MONKEY PUNCHBALL            10/2018                $785.20             NET BOOK VALUE           $785.20
21.732. WAND 3D BUBBLE              10/2018                $783.29             NET BOOK VALUE           $783.29
21.733. SURPRISE TOY BOX            10/2018                $774.33             NET BOOK VALUE           $774.33
21.734. LIC BOWLING SET ASST -      10/2018                $768.57             NET BOOK VALUE           $768.57
        DTR
21.735. AG JAMMMER FLYING           10/2018                $765.90             NET BOOK VALUE           $765.90
        DISC
21.736. 25 CT BALLOONS              10/2018                $765.62             NET BOOK VALUE           $765.62
        W/FILLER
21.737. 8 OZ BLITZ BUBBLE           10/2018                $757.62             NET BOOK VALUE           $757.62
21.738. FANTASIA BLITZ BUBBLE       10/2018                $754.36             NET BOOK VALUE           $754.36



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.739. MOLDING - CHECKERS         10/2018                 $752.77             NET BOOK VALUE           $752.77
        RED
21.740. SHRINK WRAP MINI BALL      10/2018                 $752.61             NET BOOK VALUE           $752.61
        BLACK
21.741. KAOS WATERBALLOON          10/2018                 $748.65             NET BOOK VALUE           $748.65
        AST SIDEKICK
21.742. SMB P SUPER STICK M7       10/2018                 $745.62             NET BOOK VALUE           $745.62
21.743. COLOR BOMB JAR CAP         10/2018                 $738.76             NET BOOK VALUE           $738.76
21.744. FS TEENY BOUNCERS          10/2018                 $735.87             NET BOOK VALUE           $735.87
21.745. POPPER/LAUNCHER            10/2018                 $729.53             NET BOOK VALUE           $729.53
        LEONARDO WIP
21.746. ELEPHANT PUNCHBALL         10/2018                 $720.58             NET BOOK VALUE           $720.58
21.747. SMB P LASER LIGHT          10/2018                 $719.98             NET BOOK VALUE           $719.98
        BUBBLE BLAST
21.748. LIC LOL L&S BUBBLE         10/2018                 $716.07             NET BOOK VALUE           $716.07
        WAND
21.749. WAND GLOW BUBBLE           10/2018                 $708.70             NET BOOK VALUE           $708.70
        BLUE
21.750. STICKY PALS SIDEKICK       10/2018                 $705.36             NET BOOK VALUE           $705.36
21.751. ZOOMA JUMBO                10/2018                 $696.28             NET BOOK VALUE           $696.28
        CHECKERS SET F/E
21.752. GOOGLY BOP BALL            10/2018                 $688.93             NET BOOK VALUE           $688.93
21.753. LIC D-LECTABLES ASST       10/2018                 $686.91             NET BOOK VALUE           $686.91
21.754. SMB P BUBBLE BLASTER       10/2018                 $680.19             NET BOOK VALUE           $680.19
        ASSORT
21.755. LIC FIG TOPPER NEMO        10/2018                 $680.07             NET BOOK VALUE           $680.07
21.756. LIC FROZEN 2 BUBBLE        10/2018                 $679.16             NET BOOK VALUE           $679.16
        WAND PDQ
21.757. F/E SMB BUBBLE STICK       10/2018                 $677.76             NET BOOK VALUE           $677.76
21.758. GY LIGHT UP GOOGLY         10/2018                 $668.18             NET BOOK VALUE           $668.18
        WORM SM
21.759. 1/4 PALLET - WAKEFERN      10/2018                 $667.98             NET BOOK VALUE           $667.98
21.760. POWER POPPER HULK          10/2018                 $667.19             NET BOOK VALUE           $667.19
        CARDED
21.761. POWER POPPER CAP           10/2018                 $666.24             NET BOOK VALUE           $666.24
        AMER CARDED
21.762. ZOOMA DART X CLASH         10/2018                 $656.14             NET BOOK VALUE           $656.14
        CF500
21.763. POWER POPPER IRONMAN 10/2018                       $648.12             NET BOOK VALUE           $648.12
        CARDED
21.764. POWER POPPER               10/2018                 $633.46             NET BOOK VALUE           $633.46
        SPIDERMAN CARDED
21.765. PORTABLE PUMPING           10/2018                 $627.26             NET BOOK VALUE           $627.26
        STATION
21.766. BT 35 PC SOLDIERS          10/2018                 $621.50             NET BOOK VALUE           $621.50


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.767. 9" RAINBOW ATHLETIC        10/2018                 $614.06             NET BOOK VALUE           $614.06
        BALL ASST
21.768. AIR MESH BULK DEFLATED 10/2018                     $609.94             NET BOOK VALUE           $609.94
21.769. F/E GY MASSIVE GOOGLY      10/2018                 $608.94             NET BOOK VALUE           $608.94
        BALL PDQ
21.770. LIC LOL 5" GOOGLY BALL     10/2018                 $601.02             NET BOOK VALUE           $601.02
        PDQ
21.771. BUILD A MONSTER            10/2018                 $599.14             NET BOOK VALUE           $599.14
21.772. THOMAS WHISTLE TRAIN       10/2018                 $592.80             NET BOOK VALUE           $592.80
21.773. LUMINATION F/E GLOW        10/2018                 $590.82             NET BOOK VALUE           $590.82
        STRAWS 4PK
21.774. 4 OZ PET W/WAND BULK       10/2018                 $586.80             NET BOOK VALUE           $586.80
21.775. NT SCORE & ROAR            10/2018                 $582.16             NET BOOK VALUE           $582.16
        BASKETBALL
21.776. WAND 128 OZ CROWN          10/2018                 $579.43             NET BOOK VALUE           $579.43
21.777. 8 OZ PET BUBBLES FE        10/2018                 $577.08             NET BOOK VALUE           $577.08
        21396
21.778. F/E LIC LOL SURPRISE       10/2018                 $575.43             NET BOOK VALUE           $575.43
        BUBBLES
21.779. 8 OZ PET BUBBLES 36 PK     10/2018                 $570.57             NET BOOK VALUE           $570.57
21.780. HALLOWEEN GLOW             10/2018                 $564.87             NET BOOK VALUE           $564.87
        MASKS
21.781. 16 OZ SC MB BUBBLES -      10/2018                 $563.47             NET BOOK VALUE           $563.47
        TRU
21.782. 5 OZ BLITZ COTTON          10/2018                 $562.28             NET BOOK VALUE           $562.28
        CANDY W/WAND
21.783. PRINCESS GO BUBBLES        10/2018                 $551.23             NET BOOK VALUE           $551.23
21.784. 128 OZ PET BUBBLES         10/2018                 $550.89             NET BOOK VALUE           $550.89
21.785. NEMO DIP N BLOW            10/2018                 $548.60             NET BOOK VALUE           $548.60
21.786. GOOGLY TOWN OOGLIES        10/2018                 $547.33             NET BOOK VALUE           $547.33
21.787. MARBLE & NETTING BAG       10/2018                 $546.51             NET BOOK VALUE           $546.51
        7921
21.788. JUMBO TENNIS BALL -        10/2018                 $539.47             NET BOOK VALUE           $539.47
        BULK
21.789. LOL SPILL STOPPER          10/2018                 $536.33             NET BOOK VALUE           $536.33
21.790. FS WACKY PADDLE BALL       10/2018                 $535.10             NET BOOK VALUE           $535.10
21.791. DISNEY 5 N 1 PDQ - WM      10/2018                 $534.18             NET BOOK VALUE           $534.18
21.792. LIC BUBBLE FUN SET ASST 10/2018                    $528.36             NET BOOK VALUE           $528.36
21.793. 64 OZ MB BUBBLES           10/2018                 $518.93             NET BOOK VALUE           $518.93
21.794. MOLDING MINI PIN GREEN     10/2018                 $514.56             NET BOOK VALUE           $514.56
        368
21.795. FUZZBIE TROLL BRANCH       10/2018                 $512.70             NET BOOK VALUE           $512.70
21.796. D-LECTABLES PRINCESS       10/2018                 $512.10             NET BOOK VALUE           $512.10
21.797. LAB F/E BUBBLE MACHINE     10/2018                 $509.93             NET BOOK VALUE           $509.93

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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used    Current value of
                                    physical inventory     debtor's interest   for current value        debtor’s interest
21.798. LIC 7 IN 1 SET - MINNIE     10/2018                $509.51             NET BOOK VALUE           $509.51
21.799. SOLUTION SCENTED            10/2018                $502.45             NET BOOK VALUE           $502.45
        APPLE -SP
21.800. RP INSTANT GLAM             10/2018                $498.80             NET BOOK VALUE           $498.80
        JEWELS
21.801. LIC LIFE LIKE ASST          10/2018                $495.94             NET BOOK VALUE           $495.94
21.802. WAND ELEPHANT               10/2018                $494.74             NET BOOK VALUE           $494.74
21.803. SHOVEL                      10/2018                $492.15             NET BOOK VALUE           $492.15
21.804. M6 151 COUNT MARBLE         10/2018                $490.37             NET BOOK VALUE           $490.37
        BOX
21.805. WAND 24 OZ BUBBLE           10/2018                $489.73             NET BOOK VALUE           $489.73
21.806. LIFE LIKE ASSORTMENT        10/2018                $478.00             NET BOOK VALUE           $478.00
        W/O PDQ
21.807. BOWLING PIN COMBO 6 -       10/2018                $471.56             NET BOOK VALUE           $471.56
        YLLW/TEAL
21.808. F4L SINGLE WATER GUN        10/2018                $468.31             NET BOOK VALUE           $468.31
21.809. GOOGLY ERASERS              10/2018                $459.11             NET BOOK VALUE           $459.11
21.810. LT LEAF BLOWER              10/2018                $455.45             NET BOOK VALUE           $455.45
21.811. MOLDING MINI PIN TEAL       10/2018                $451.76             NET BOOK VALUE           $451.76
        3252
21.812. CLIP STRIP JUMP ROPE        10/2018                $451.33             NET BOOK VALUE           $451.33
21.813. BA PUNCH BALL 2 PK FM       10/2018                $449.08             NET BOOK VALUE           $449.08
21.814. LIC COSMIC BALL             10/2018                $449.06             NET BOOK VALUE           $449.06
21.815. RP RUNWAY GLAM HEELS        10/2018                $448.76             NET BOOK VALUE           $448.76
        DOME BOX
21.816. MOLDING - PINK GOLF         10/2018                $442.40             NET BOOK VALUE           $442.40
        CADDY 941
21.817. ZOOMA JUMBO GOLF            10/2018                $440.16             NET BOOK VALUE           $440.16
        CADDY - RED
21.818. LIC BUBBLE CAMERA           10/2018                $438.67             NET BOOK VALUE           $438.67
        MINNIE
21.819. LIC BUBBLE CAMERA           10/2018                $438.67             NET BOOK VALUE           $438.67
        SPIDERMAN
21.820. SURPRISE PACK OUT P28       10/2018                $435.20             NET BOOK VALUE           $435.20
        21572
21.821. WAND SET PURPLE             10/2018                $435.10             NET BOOK VALUE           $435.10
        PMS266 BUBBLE
21.822. 32 OZ MB BUBBLES            10/2018                $431.98             NET BOOK VALUE           $431.98
21.823. SEA TURTLE PUNCHBALL        10/2018                $427.43             NET BOOK VALUE           $427.43
21.824. HK HELLO KITTY SURFIN       10/2018                $426.06             NET BOOK VALUE           $426.06
21.825. WAND SHEEP                  10/2018                $424.09             NET BOOK VALUE           $424.09
21.826. MICKEY 3D VIEWER            10/2018                $423.31             NET BOOK VALUE           $423.31
21.827. SMB SCENTED PARTY 6         10/2018                $422.83             NET BOOK VALUE           $422.83
        PACK


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21.      Finished goods, including goods held for resale
         General description         Date of the last      Net book value of    Valuation method used    Current value of
                                     physical inventory    debtor's interest    for current value        debtor’s interest
21.828. SURPRISE PACK OUT P29        10/2018               $421.51              NET BOOK VALUE           $421.51
        21572
21.829. WM GUMBALL MACHINE           10/2018               $420.12              NET BOOK VALUE           $420.12
21.830. FUZZBIES CLIP ON PDQ         10/2018               $419.00              NET BOOK VALUE           $419.00
21.831. LL LIFE LIKE REPLICAS II     10/2018               $418.76              NET BOOK VALUE           $418.76
21.832. GY GOOGLY CRITTERS           10/2018               $414.24              NET BOOK VALUE           $414.24
21.833. 8 OZ PET DG GRAPE            10/2018               $409.29              NET BOOK VALUE           $409.29
        SCENTED
21.834. GUMBALL BANK - GIRLS         10/2018               $407.68              NET BOOK VALUE           $407.68
        VERSION
21.835. MOLDING MINI PIN RED         10/2018               $401.98              NET BOOK VALUE           $401.98
        200
21.836. ZOOMA JUMBO GOLF             10/2018               $399.21              NET BOOK VALUE           $399.21
        CADDY - PINK
21.837. LAUNCHER W/BASE              10/2018               $398.61              NET BOOK VALUE           $398.61
        BATMAN
21.838. WAND GIRAFFE                 10/2018               $397.27              NET BOOK VALUE           $397.27
21.839. LIC PROJECTOR LIGHT          10/2018               $394.16              NET BOOK VALUE           $394.16
21.840. LIC POWER POPPER TUBE        10/2018               $388.50              NET BOOK VALUE           $388.50
        BATMAN
21.841. MOLDING MINI PIN PINK        10/2018               $387.67              NET BOOK VALUE           $387.67
        941
21.842. LT BUBBLE BELLIE -           10/2018               $387.19              NET BOOK VALUE           $387.19
        BROWN LION
21.843. SMB P BUBBLE FLURRY          10/2018               $386.33              NET BOOK VALUE           $386.33
21.844. LIC BUBBLE BUDDIES           10/2018               $379.20              NET BOOK VALUE           $379.20
        ASST
21.845. 24 OZ MB BUBBLES - S&S       10/2018               $378.84              NET BOOK VALUE           $378.84
        F$
21.846. F/E 250 CT PIT BALL          10/2018               $378.09              NET BOOK VALUE           $378.09
21.847. 4 OZ MB BUBBLES              10/2018               $377.85              NET BOOK VALUE           $377.85
21.848. 9" DEFLATED RAINBOW          10/2018               $376.98              NET BOOK VALUE           $376.98
        SOCCER
21.849. BOWLING PIN COMBO 2 -        10/2018               $376.00              NET BOOK VALUE           $376.00
        BLUE/RED
21.850. MOLDING - CHECKERS           10/2018               $376.00              NET BOOK VALUE           $376.00
        BLACK
21.851. CANADIAN TIRE SMB 1/4        10/2018               $374.03              NET BOOK VALUE           $374.03
        PALLET
21.852. BOWLING PIN COMBO 5 -        10/2018               $370.79              NET BOOK VALUE           $370.79
        PINK/BLU
21.853. SPIDERMAN DIP N BLOW         10/2018               $370.74              NET BOOK VALUE           $370.74
21.854. MINI BOWLING BLACK           10/2018               $369.15              NET BOOK VALUE           $369.15
        CARRIER
21.855. 9" DEFLATED RAINBOW          10/2018               $368.46              NET BOOK VALUE           $368.46
        PLAYGROUND

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.856. CANADIAN TIRE SMB 1/4      10/2018                 $365.62             NET BOOK VALUE           $365.62
        PALLET
21.857. DISNEY L&S WAND            10/2018                 $364.92             NET BOOK VALUE           $364.92
        CARDED
21.858. LT SA SUPER SPIRAL         10/2018                 $363.13             NET BOOK VALUE           $363.13
        ASSEMBLED
21.859. M9 STW FIGURAL BUBBLE      10/2018                 $361.50             NET BOOK VALUE           $361.50
        PDQ
21.860. LIC L&S MICROPHONE -       10/2018                 $359.33             NET BOOK VALUE           $359.33
        SPCL
21.861. SMB BUBBLE STICK           10/2018                 $357.40             NET BOOK VALUE           $357.40
21.862. HONUA M8 BRACELETS         10/2018                 $354.84             NET BOOK VALUE           $354.84
21.863. BA 10 HAPPY BIRTHDAY       10/2018                 $349.72             NET BOOK VALUE           $349.72
        BALLOONS
21.864. WAND 55 OZ BLITZ BURNT     10/2018                 $348.68             NET BOOK VALUE           $348.68
        ORANGE
21.865. LIC L&S BUBBLE WAND        10/2018                 $347.80             NET BOOK VALUE           $347.80
        MICKEY
21.866. LA BUBBLE STICK ASST       10/2018                 $347.02             NET BOOK VALUE           $347.02
        PDQ
21.867. AIR MESH BULK W/PUMP       10/2018                 $345.01             NET BOOK VALUE           $345.01
21.868. SHRINK OUTER SLEEVE        10/2018                 $343.58             NET BOOK VALUE           $343.58
        LOL
21.869. PUNCHBALL W/TAG            10/2018                 $342.28             NET BOOK VALUE           $342.28
21.870. BLUE BUCKET WITH           10/2018                 $340.86             NET BOOK VALUE           $340.86
        HANDLE W/LOGO
21.871. SMB BUBBLE BUCKET -        10/2018                 $339.62             NET BOOK VALUE           $339.62
        PURPLE
21.872. LICENSED EASY SQUEEZE      10/2018                 $338.89             NET BOOK VALUE           $338.89
        ASSRT
21.873. POWER PANEL PRNTED 5"      10/2018                 $337.50             NET BOOK VALUE           $337.50
        HANDCUFF
21.874. 80 OZ PET BUBBLES - DG$    10/2018                 $336.44             NET BOOK VALUE           $336.44
21.875. RED FLYER                  10/2018                 $336.18             NET BOOK VALUE           $336.18
21.876. BLITZ BUBBLE BLOWOUT       10/2018                 $332.02             NET BOOK VALUE           $332.02
        2.0
21.877. JAX                        10/2018                 $330.16             NET BOOK VALUE           $330.16
21.878. STW MINI BUBBLE SABER      10/2018                 $329.56             NET BOOK VALUE           $329.56
        CARDED
21.879. BUBBLE JAR 120MM           10/2018                 $329.29             NET BOOK VALUE           $329.29
21.880. LIC FIG BUBBLES BOYS       10/2018                 $328.63             NET BOOK VALUE           $328.63
        PDQ SP
21.881. BRACELET ASST              10/2018                 $324.88             NET BOOK VALUE           $324.88
21.882. LUMINATION GLOW STICK      10/2018                 $322.53             NET BOOK VALUE           $322.53
        MARKER
21.883. SX SLY SHOT                10/2018                 $320.85             NET BOOK VALUE           $320.85

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.884. X-STREAM AIRPLANE          10/2018                 $319.01             NET BOOK VALUE           $319.01
21.885. STICKER LOL DIVA /         10/2018                 $315.26             NET BOOK VALUE           $315.26
        QUEENBEE
21.886. LIC BUBBLE DIPPER NEW      10/2018                 $313.65             NET BOOK VALUE           $313.65
        VERSION
21.887. WM LIC COSMIC BALL PDQ     10/2018                 $311.14             NET BOOK VALUE           $311.14
21.888. SMB P 8 OZ BUBBLES         10/2018                 $310.56             NET BOOK VALUE           $310.56
21.889. MOLDING - RED GOLF         10/2018                 $310.06             NET BOOK VALUE           $310.06
        CADDY
21.890. PUMP W/HANG TAG 23141      10/2018                 $307.50             NET BOOK VALUE           $307.50
21.891. SURPRISE BAG SEQUIN        10/2018                 $306.42             NET BOOK VALUE           $306.42
        63517
21.892. GIRL PADDLE BALL           10/2018                 $305.78             NET BOOK VALUE           $305.78
21.893. DISNEY MIRROR CARDED       10/2018                 $304.99             NET BOOK VALUE           $304.99
21.894. WHIMSY 6 IN 1 BUBBLE       10/2018                 $304.87             NET BOOK VALUE           $304.87
        FUN PDQ
21.895. 9" AIR MESH BALL           10/2018                 $304.80             NET BOOK VALUE           $304.80
        (DEFLATED)
21.896. METALLIC PLAYBALL BULK     10/2018                 $304.51             NET BOOK VALUE           $304.51
        W/PUMP
21.897. BT BOY ADVENTURE           10/2018                 $302.16             NET BOOK VALUE           $302.16
        PLAYSET
21.898. 3D VIEWER DORY             10/2018                 $295.95             NET BOOK VALUE           $295.95
21.899. LIC DIP & BLOW             10/2018                 $295.00             NET BOOK VALUE           $295.00
        ASSORTMENT
21.900. PLAYDAY GOLF CADDY         10/2018                 $294.31             NET BOOK VALUE           $294.31
21.901. LICK-A-BUBBLE F/E 2PK      10/2018                 $292.26             NET BOOK VALUE           $292.26
21.902. LIC 2PK PUNCHBALLS         10/2018                 $291.65             NET BOOK VALUE           $291.65
        ASST
21.903. F/E LIC SPRINKLER PAW      10/2018                 $290.15             NET BOOK VALUE           $290.15
        PATROL
21.904. RUSTLER CAP PISTOL         10/2018                 $289.66             NET BOOK VALUE           $289.66
21.905. LUM LUM ROOM               10/2018                 $289.44             NET BOOK VALUE           $289.44
        ACCESSORY
21.906. MOLDING - GREEN GOLF       10/2018                 $289.05             NET BOOK VALUE           $289.05
        CADDY
21.907. LIC SUPER BUBBLE STICK     10/2018                 $287.79             NET BOOK VALUE           $287.79
        ASST SP
21.908. 6 PK SMB SURPRISE          10/2018                 $285.22             NET BOOK VALUE           $285.22
        BUBBLES
21.909. FUZZBIES GREEN - ZANIE     10/2018                 $280.39             NET BOOK VALUE           $280.39
21.910. VINYL BAG                  10/2018                 $279.80             NET BOOK VALUE           $279.80
21.911. KAOS 450CT WATER           10/2018                 $279.77             NET BOOK VALUE           $279.77
        BOMBS
21.912. LIC L/U CHARACTERS         10/2018                 $279.39             NET BOOK VALUE           $279.39
        ASST
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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.913. LIC SMART PHONE ASSRT      10/2018                 $274.46             NET BOOK VALUE           $274.46
21.914. LW 192-SHOT RING CAPS      10/2018                 $273.33             NET BOOK VALUE           $273.33
21.915. FUZZBIES ORANGE -          10/2018                 $271.93             NET BOOK VALUE           $271.93
        DIZZIE
21.916. VINYL BAG 18870            10/2018                 $271.08             NET BOOK VALUE           $271.08
21.917. POWER POPPER BATMAN        10/2018                 $270.47             NET BOOK VALUE           $270.47
21.918. FUZZBIES PINK -            10/2018                 $269.35             NET BOOK VALUE           $269.35
        SMOOCHIE
21.919. SPACE LASER BLASTER        10/2018                 $269.26             NET BOOK VALUE           $269.26
21.920. BATMAN BOP BALL            10/2018                 $267.78             NET BOOK VALUE           $267.78
21.921. MOLDING MINI PIN           10/2018                 $266.94             NET BOOK VALUE           $266.94
        YELLOW 7404
21.922. SHRINK WRAP 23201          10/2018                 $266.92             NET BOOK VALUE           $266.92
        RED/BLUE
21.923. 16 OZ PET 4 PK BUBBLES     10/2018                 $266.53             NET BOOK VALUE           $266.53
21.924. WM EASTER TRAIN 2018       10/2018                 $265.18             NET BOOK VALUE           $265.18
21.925. HARMONICA                  10/2018                 $262.03             NET BOOK VALUE           $262.03
21.926. LIC BUBBLE PENDANT         10/2018                 $261.62             NET BOOK VALUE           $261.62
21.927. WS 100 WATER BOMB          10/2018                 $261.19             NET BOOK VALUE           $261.19
21.928. FUZZBIES YELLOW -          10/2018                 $260.52             NET BOOK VALUE           $260.52
        FRANKIE
21.929. DORY B/O DIP N BLOW        10/2018                 $259.22             NET BOOK VALUE           $259.22
21.930. YUMA CAP PISTOL            10/2018                 $258.18             NET BOOK VALUE           $258.18
21.931. BUBBLE HELICOPTER          10/2018                 $252.84             NET BOOK VALUE           $252.84
21.932. BL ZOO KEEPERS             10/2018                 $252.15             NET BOOK VALUE           $252.15
21.933. CARS 3 DIP N BLOW          10/2018                 $247.85             NET BOOK VALUE           $247.85
21.934. BT FLASH BLASTER CAP       10/2018                 $244.93             NET BOOK VALUE           $244.93
        GUN
21.935. BL 16" CEMENT MISER        10/2018                 $241.64             NET BOOK VALUE           $241.64
21.936. USM BUBBLE BLASTER         10/2018                 $241.49             NET BOOK VALUE           $241.49
        CARDED
21.937. SURPRISE BAG BUBBLES       10/2018                 $240.71             NET BOOK VALUE           $240.71
        4756
21.938. PLAYDAY F/E JUMBO          10/2018                 $238.80             NET BOOK VALUE           $238.80
        CHECKER SET
21.939. WS JET STREAMER            10/2018                 $236.72             NET BOOK VALUE           $236.72
21.940. FT MINI DISC LAUNCHER      10/2018                 $235.07             NET BOOK VALUE           $235.07
21.941. F/E BLITZ BUBBLE FLASH     10/2018                 $234.35             NET BOOK VALUE           $234.35
        BLASTER
21.942. LIC L&S BUBBLE WAND        10/2018                 $233.56             NET BOOK VALUE           $233.56
        RAPUNZEL
21.943. 6 OZ CLR RD USM            10/2018                 $233.34             NET BOOK VALUE           $233.34
        SPIDERMAN BUBB


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.944. WAND PRINCESS              10/2018                 $231.68             NET BOOK VALUE           $231.68
21.945. 5" WHITE PVC BALL          10/2018                 $231.06             NET BOOK VALUE           $231.06
        DEFLATED
21.946. MOLDING MINI BALL BLUE     10/2018                 $229.98             NET BOOK VALUE           $229.98
        647
21.947. FUZZBIES PURPLE -          10/2018                 $229.55             NET BOOK VALUE           $229.55
        HAIRIE
21.948. FUZZBIES BLUE - WONKIE     10/2018                 $225.20             NET BOOK VALUE           $225.20
21.949. FROZEN BUBBLE BELLIE       10/2018                 $224.70             NET BOOK VALUE           $224.70
21.950. LIC SPILL STOPPER          10/2018                 $223.21             NET BOOK VALUE           $223.21
        MINNIE
21.951. WAND THOMAS                10/2018                 $221.54             NET BOOK VALUE           $221.54
21.952. GY GOOGLY CUTIE ASSRT      10/2018                 $220.20             NET BOOK VALUE           $220.20
21.953. LIC B/O DIP & BLOW         10/2018                 $218.64             NET BOOK VALUE           $218.64
21.954. BEIGE SHORT FILLER         10/2018                 $218.56             NET BOOK VALUE           $218.56
21.955. BLITZ WIND STORM           10/2018                 $218.28             NET BOOK VALUE           $218.28
21.956. MOLDING - PINK MEGA        10/2018                 $218.25             NET BOOK VALUE           $218.25
        CHECKERS
21.957. MOLDING MINI BALL          10/2018                 $217.33             NET BOOK VALUE           $217.33
        BLACK
21.958. MINI BOWLING BLUE          10/2018                 $211.62             NET BOOK VALUE           $211.62
        CARRIER
21.959. SMB P 5 N' 1               10/2018                 $211.13             NET BOOK VALUE           $211.13
21.960. BJWT SIDEKICK 192 CT       10/2018                 $210.55             NET BOOK VALUE           $210.55
21.961. RP MISS POPULAR PDA        10/2018                 $209.98             NET BOOK VALUE           $209.98
21.962. LIC DIP N BLOW             10/2018                 $209.13             NET BOOK VALUE           $209.13
21.963. WAND CARS 3                10/2018                 $208.32             NET BOOK VALUE           $208.32
21.964. LIC BUBBLE TOPPER ASST     10/2018                 $207.52             NET BOOK VALUE           $207.52
        PDQ
21.965. PRINCESS DIP N BLOW        10/2018                 $206.27             NET BOOK VALUE           $206.27
21.966. BACKYARDIGANS PRE-         10/2018                 $206.25             NET BOOK VALUE           $206.25
        PACK
21.967. INSERT GUMBALL BANKS       10/2018                 $204.25             NET BOOK VALUE           $204.25
21.968. 80 OZ PET BUBBLES - DG$    10/2018                 $201.77             NET BOOK VALUE           $201.77
21.969. 125 CT PIT BALLS           10/2018                 $201.48             NET BOOK VALUE           $201.48
21.970. LIFE LIKE DINOSAURS        10/2018                 $200.10             NET BOOK VALUE           $200.10
21.971. TT BUBBLE MAKER            10/2018                 $199.92             NET BOOK VALUE           $199.92
21.972. SMB AQUA BUBBLE            10/2018                 $199.82             NET BOOK VALUE           $199.82
        BLASTER
21.973. LUM LUM DOLL & NU NU       10/2018                 $197.94             NET BOOK VALUE           $197.94
21.974. LIC 3PK SUPER BUBBLE       10/2018                 $193.74             NET BOOK VALUE           $193.74
        STICK



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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used    Current value of
                                    physical inventory     debtor's interest   for current value        debtor’s interest
21.975. LUM LUM FASHION             10/2018                $191.00             NET BOOK VALUE           $191.00
        BOUTIQUE
21.976. LL LIFE LIKE REPLICAS I     10/2018                $190.51             NET BOOK VALUE           $190.51
21.977. 1999 EASTER POWER           10/2018                $190.28             NET BOOK VALUE           $190.28
        PANEL
21.978. FROZEN GO BUBBLES           10/2018                $190.16             NET BOOK VALUE           $190.16
21.979. LIGHT UP GUMBALL BANK       10/2018                $190.03             NET BOOK VALUE           $190.03
21.980. SMB MINI BUBBLE             10/2018                $188.66             NET BOOK VALUE           $188.66
        MACHINE SP
21.981. WG LIC 7.5" GOOGLY BALL     10/2018                $188.50             NET BOOK VALUE           $188.50
        PDQ
21.982. DIEGO PRE-PACK              10/2018                $187.83             NET BOOK VALUE           $187.83
21.983. PLAYDAY 21" JUMBO BAT       10/2018                $186.95             NET BOOK VALUE           $186.95
        & BALL
21.984. FS 5 PC. SIDEWALK CHALK 10/2018                    $186.63             NET BOOK VALUE           $186.63
        W/HOLD
21.985. BLITZ L/U BLASTER PDQ       10/2018                $185.48             NET BOOK VALUE           $185.48
        46987
21.986. LICK-A-BUBBLE               10/2018                $185.18             NET BOOK VALUE           $185.18
        26562/26567 PP
21.987. GY CUTIE PRINCESS ASST      10/2018                $184.91             NET BOOK VALUE           $184.91
21.988. KIDDY UP PIT BALLS -        10/2018                $182.99             NET BOOK VALUE           $182.99
        GREEN
21.989. LW BLACK CANYON SET         10/2018                $181.96             NET BOOK VALUE           $181.96
21.990. CARS BUBBLE BELLIES         10/2018                $181.94             NET BOOK VALUE           $181.94
21.991. MOLDING BLACK WHEELS        10/2018                $181.60             NET BOOK VALUE           $181.60
        - CADDY
21.992. MOLDING - BLUE GOLF         10/2018                $181.56             NET BOOK VALUE           $181.56
        CADDY
21.993. LIC BALL PIT FE POPPY       10/2018                $181.30             NET BOOK VALUE           $181.30
        W/25 BAL
21.994. LIC SPLATX WRIST SHOT       10/2018                $178.15             NET BOOK VALUE           $178.15
        BATMAN
21.995. DAZZLERS TATTOOS            10/2018                $177.78             NET BOOK VALUE           $177.78
21.996. 16 OZ MB BUBBLES            10/2018                $177.08             NET BOOK VALUE           $177.08
21.997. 128 OZ MB BUBBLE F/E        10/2018                $175.74             NET BOOK VALUE           $175.74
21.998. LT GO BUBBLES               10/2018                $174.09             NET BOOK VALUE           $174.09
21.999. LIC BUBBLE TIN ASST         10/2018                $172.61             NET BOOK VALUE           $172.61
21.1000. CC 216-SHOT RING CAPS      10/2018                $171.05             NET BOOK VALUE           $171.05
21.1001. MINI BOWLING PINK          10/2018                $169.83             NET BOOK VALUE           $169.83
         HANDLE
21.1002. MOLDING MINI BALL          10/2018                $169.77             NET BOOK VALUE           $169.77
         WHITE
21.1003. NEMO B/O DIP N BLOW        10/2018                $169.75             NET BOOK VALUE           $169.75
21.1004. 5 OZ BLITZ BUBBLES 8 PK    10/2018                $168.22             NET BOOK VALUE           $168.22

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used    Current value of
                                   physical inventory      debtor's interest   for current value        debtor’s interest
21.1005. 4 OZ SMB NAT BUBBLES      10/2018                 $165.74             NET BOOK VALUE           $165.74
21.1006. MOLDING - PINK GOLF       10/2018                 $165.36             NET BOOK VALUE           $165.36
         CADDY 806
21.1007. LIC SMART PHONE           10/2018                 $164.75             NET BOOK VALUE           $164.75
         ASSORTMENT
21.1008. ELECTROFORCE 500          10/2018                 $164.04             NET BOOK VALUE           $164.04
21.1009. KAOS NEMESIS PDQ          10/2018                 $163.49             NET BOOK VALUE           $163.49
21.1010. PLAYDAY JUMBO             10/2018                 $162.28             NET BOOK VALUE           $162.28
         CHECKER SET
21.1011. SW 14' JUMP ROPE          10/2018                 $162.08             NET BOOK VALUE           $162.08
21.1012. OL DURANGO DOUBLE         10/2018                 $161.37             NET BOOK VALUE           $161.37
         HOLSTER SET
21.1013. BLITZ BUBBLE SPLASH       10/2018                 $159.83             NET BOOK VALUE           $159.83
         BLASTER
21.1014. KAOS 500 CT WATER         10/2018                 $158.61             NET BOOK VALUE           $158.61
         BOMBS PDQ
21.1015. POP UP BALL PIT TENT      10/2018                 $157.67             NET BOOK VALUE           $157.67
21.1016. LIC MINI STICKS           10/2018                 $155.97             NET BOOK VALUE           $155.97
21.1017. WATER GUN MINI FLR/DSP    10/2018                 $154.18             NET BOOK VALUE           $154.18
21.1018. BLITZ BUBBLE LIGHT        10/2018                 $153.59             NET BOOK VALUE           $153.59
         BLASTER -CA
21.1019. MINI BUBBLE KEYCHAIN      10/2018                 $149.10             NET BOOK VALUE           $149.10
         50TH
21.1020. OLAF DIP N BLOW           10/2018                 $148.20             NET BOOK VALUE           $148.20
21.1021. LIC PROJECTOR LIGHT       10/2018                 $147.47             NET BOOK VALUE           $147.47
21.1022. LIC BUBBLE MACHINE        10/2018                 $147.29             NET BOOK VALUE           $147.29
         ASST
21.1023. VINYL BAG - PIT BALL      10/2018                 $144.84             NET BOOK VALUE           $144.84
21.1024. DG CORE 5 N 1             10/2018                 $144.18             NET BOOK VALUE           $144.18
21.1025. GUMBALL MACHINE           10/2018                 $143.85             NET BOOK VALUE           $143.85
         PURPLE & PINK
21.1026. YO YO                     10/2018                 $143.77             NET BOOK VALUE           $143.77
21.1027. SMB P 55 OZ SCENTED       10/2018                 $143.50             NET BOOK VALUE           $143.50
         BUBBLES
21.1028. LIC FIG TOPPER MINNIE     10/2018                 $141.18             NET BOOK VALUE           $141.18
21.1029. SURPRISE ASST GIRLS       10/2018                 $139.49             NET BOOK VALUE           $139.49
         21572 G5
21.1030. SPRAY A STRING - WM SP    10/2018                 $139.44             NET BOOK VALUE           $139.44
21.1031. LIC FUZZBIE ASST          10/2018                 $139.14             NET BOOK VALUE           $139.14
21.1032. MOLDING MINI PIN BLUE     10/2018                 $139.04             NET BOOK VALUE           $139.04
         2935C
21.1033. LIC BUBBLE CAMERA ASST 10/2018                    $138.53             NET BOOK VALUE           $138.53
21.1034. SURPRISE ASST GIRLS       10/2018                 $138.52             NET BOOK VALUE           $138.52
         21572 G6


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21.      Finished goods, including goods held for resale
         General description         Date of the last      Net book value of    Valuation method used    Current value of
                                     physical inventory    debtor's interest    for current value        debtor’s interest
21.1035. LIC 7.5" GOOGLY BALL        10/2018               $138.22              NET BOOK VALUE           $138.22
         PDQ
21.1036. 4" LOL PLAY BALL COLOR      10/2018               $137.50              NET BOOK VALUE           $137.50
         STICKER
21.1037. LL MINI LIFE LIKE KEY       10/2018               $137.48              NET BOOK VALUE           $137.48
         CHAIN
21.1038. LIC FIG BUBBLE TOP          10/2018               $137.31              NET BOOK VALUE           $137.31
         NEMO/DORY
21.1039. KIDDY UP PIT BALLS - RED    10/2018               $137.27              NET BOOK VALUE           $137.27
21.1040. BOBA BALL FRUIT PDQ         10/2018               $137.09              NET BOOK VALUE           $137.09
21.1041. 16 OZ SMB BUBBLES -         10/2018               $135.76              NET BOOK VALUE           $135.76
         SPRING
21.1042. BT HANDCUFFS                10/2018               $135.44              NET BOOK VALUE           $135.44
21.1043. LIC BIG BUBBLE FAN - LT     10/2018               $135.16              NET BOOK VALUE           $135.16
21.1044. WAND CASTLE BUBBLE          10/2018               $134.81              NET BOOK VALUE           $134.81
21.1045. MOLDING - PURPLE MEGA       10/2018               $134.61              NET BOOK VALUE           $134.61
         CHECKERS
21.1046. MOLDING - GREEN MEGA        10/2018               $134.52              NET BOOK VALUE           $134.52
         CHECKERS
21.1047. LIC 7 IN 1 BUBBLE FUN       10/2018               $134.00              NET BOOK VALUE           $134.00
         SET
21.1048. WAND "A" BUBBLE             10/2018               $131.80              NET BOOK VALUE           $131.80
21.1049. AVENGER BUBBLE FUN          10/2018               $127.77              NET BOOK VALUE           $127.77
         SET
21.1050. LIC LOL CHARMS 4PK          10/2018               $127.70              NET BOOK VALUE           $127.70
21.1051. FT DISC LAUNCHER            10/2018               $126.73              NET BOOK VALUE           $126.73
21.1052. LIC 5" GOOGLY GIRL          10/2018               $126.44              NET BOOK VALUE           $126.44
         ASSRT
21.1053. OLW SMOKE'IN BARREL         10/2018               $125.92              NET BOOK VALUE           $125.92
21.1054. LIC 2PK PUNCHBALL ASST      10/2018               $125.48              NET BOOK VALUE           $125.48
         SPECIAL
21.1055. PLAYDAY FOAM                10/2018               $124.38              NET BOOK VALUE           $124.38
         HOMEPLATE SET
21.1056. F/E LIC LOL 5" GOOGLY       10/2018               $123.82              NET BOOK VALUE           $123.82
         BALL
21.1057. LIC PAW PATROL              10/2018               $123.81              NET BOOK VALUE           $123.81
         SPRINKLER
21.1058. KAOS SPLASH TANK            10/2018               $123.71              NET BOOK VALUE           $123.71
21.1059. 55 GAL MIRACLE BUBBLES      10/2018               $123.53              NET BOOK VALUE           $123.53
21.1060. 2 PK INSTABALLOON ASST      10/2018               $120.98              NET BOOK VALUE           $120.98
         BULK PK
21.1061. SURPRISE ASST GIRLS         10/2018               $120.78              NET BOOK VALUE           $120.78
         21572 G4
21.1062. SURPRISE ASST BOYS          10/2018               $119.60              NET BOOK VALUE           $119.60
         21572 B7


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1063. RP POP-UPS COSMETIC       10/2018                 $119.36             NET BOOK VALUE          $119.36
         COMPACT
21.1064. ZOOMA JUMBO BOWLING       10/2018                 $118.91             NET BOOK VALUE          $118.91
         F/E
21.1065. PLAY DAY FAT BAT & BALL   10/2018                 $118.40             NET BOOK VALUE          $118.40
21.1066. GY MASSIVE GOOGLY         10/2018                 $117.57             NET BOOK VALUE          $117.57
         BALL
21.1067. GOOGLY EASTER PDQ         10/2018                 $117.00             NET BOOK VALUE          $117.00
21.1068. SOLUTION N1 GRAPE         10/2018                 $116.64             NET BOOK VALUE          $116.64
         SCENTED
21.1069. BATTLING FIGURES          10/2018                 $116.10             NET BOOK VALUE          $116.10
         PLAYSET TUBE
21.1070. MOLDING PUTTING           10/2018                 $116.08             NET BOOK VALUE          $116.08
         CIRCLE GR GEN2
21.1071. MINIONS L&S               10/2018                 $115.93             NET BOOK VALUE          $115.93
         MICROPHONE
21.1072. DORY FIGURAL BUBBLE       10/2018                 $115.31             NET BOOK VALUE          $115.31
         TOPPER
21.1073. SURPRISE ASST BOYS        10/2018                 $115.27             NET BOOK VALUE          $115.27
         21572 B17
21.1074. GLOW BUBBLES OPP BAG      10/2018                 $114.88             NET BOOK VALUE          $114.88
         PDQ
21.1075. BUDDY L MON WHEEL         10/2018                 $114.10             NET BOOK VALUE          $114.10
         TOW ASST-SP
21.1076. LM PINK GLOW STICK        10/2018                 $113.70             NET BOOK VALUE          $113.70
         MARKER
21.1077. HALLOWEEN GLOW            10/2018                 $113.60             NET BOOK VALUE          $113.60
         BUBBLES PDQ
21.1078. LICK-A-BUBBLE BUBBLE      10/2018                 $113.02             NET BOOK VALUE          $113.02
         BLOWER
21.1079. LUMINATN GLOW STICK       10/2018                 $112.44             NET BOOK VALUE          $112.44
         MARKER PDQ
21.1080. SURPRISE BAG PALM         10/2018                 $112.42             NET BOOK VALUE          $112.42
         TREE 63784
21.1081. POWER PANEL -             10/2018                 $112.07             NET BOOK VALUE          $112.07
         21851/23029
21.1082. AF BUDDY-L 16" FORD       10/2018                 $111.92             NET BOOK VALUE          $111.92
         RAPTOR L&S
21.1083. LIC MAGICAL BUBBLES       10/2018                 $111.84             NET BOOK VALUE          $111.84
         ASSRT
21.1084. IRONMAN BOP BALL          10/2018                 $111.03             NET BOOK VALUE          $111.03
21.1085. SMB ICE CREAM BUB ASST 10/2018                    $110.53             NET BOOK VALUE          $110.53
21.1086. DRAGON LIFE LIKE ASST     10/2018                 $109.26             NET BOOK VALUE          $109.26
         PDQ
21.1087. CW ANIMAL PLAYSET         10/2018                 $108.99             NET BOOK VALUE          $108.99
21.1088. LIC 6 OZ BUBBLE PDQ       10/2018                 $108.97             NET BOOK VALUE          $108.97



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1089. DURANGO DOUBLE            10/2018                 $108.74             NET BOOK VALUE          $108.74
         HOLSTER SET
21.1090. STW GALACTIC BUBBLE       10/2018                 $107.60             NET BOOK VALUE          $107.60
         WAND ASST
21.1091. BLITZ BUBBLE WHIRLWIND 10/2018                    $106.57             NET BOOK VALUE          $106.57
21.1092. WATER BOMB SPINNER        10/2018                 $106.39             NET BOOK VALUE          $106.39
         RACK
21.1093. 72CT TWISTY BALLOONS      10/2018                 $105.59             NET BOOK VALUE          $105.59
21.1094. PLAY MONEY PVC BAG        10/2018                 $104.52             NET BOOK VALUE          $104.52
         VERSION
21.1095. FROZEN MIRROR W/ SONG 10/2018                     $104.09             NET BOOK VALUE          $104.09
21.1096. LIC BUBBLE MACHINE        10/2018                 $104.03             NET BOOK VALUE          $104.03
         ASST
21.1097. LIC GLOW WAND             10/2018                 $103.96             NET BOOK VALUE          $103.96
21.1098. BA 100 FUN PACK           10/2018                 $103.86             NET BOOK VALUE          $103.86
         BALLOONS
21.1099. SMB DIPPY DOME            10/2018                 $103.85             NET BOOK VALUE          $103.85
         BUBBLES PDQ
21.1100. LUM LUM DOLL              10/2018                 $103.81             NET BOOK VALUE          $103.81
21.1101. MOLDING - PURPLE GOLF     10/2018                 $103.53             NET BOOK VALUE          $103.53
         CADDY
21.1102. 55 OZ SMB P BUBBLES       10/2018                 $102.96             NET BOOK VALUE          $102.96
21.1103. RAPUNZEL DIP N BLOW       10/2018                 $102.44             NET BOOK VALUE          $102.44
21.1104. GY GOOGLY CRITTERS        10/2018                 $102.37             NET BOOK VALUE          $102.37
         PDQ
21.1105. BT BOY ADVENTURE          10/2018                 $102.07             NET BOOK VALUE          $102.07
         PLAYSET
21.1106. MINI BOWLING RED          10/2018                 $101.72             NET BOOK VALUE          $101.72
         HANDLE
21.1107. GOOGLY TOWN OOGLIES       10/2018                 $101.60             NET BOOK VALUE          $101.60
         PDQ
21.1108. FS TWIN JAX SET           10/2018                 $100.37             NET BOOK VALUE          $100.37
21.1109. LT SA SAND & GARDEN       10/2018                 $100.34             NET BOOK VALUE          $100.34
         HAND TOOL
21.1110. SMB P ORB BUBBLE          10/2018                 $99.67              NET BOOK VALUE          $99.67
         BLASTER
21.1111. 4 OZ MB W/WAND            10/2018                 $99.51              NET BOOK VALUE          $99.51
         CINDERELLA FILL
21.1112. DORY B/O DIP N BLOW       10/2018                 $99.12              NET BOOK VALUE          $99.12
21.1113. PLAYDAY XL GOLF CADDY     10/2018                 $98.95              NET BOOK VALUE          $98.95
21.1114. 3PK STICKY PATCHES W/O    10/2018                 $98.83              NET BOOK VALUE          $98.83
         SEQUIN
21.1115. WAND STAR BUBBLE          10/2018                 $98.49              NET BOOK VALUE          $98.49
21.1116. BLITZ L/U BUBBLE          10/2018                 $97.12              NET BOOK VALUE          $97.12
         BLASTER BULK


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1117. PIT BALLS 125 CT- VINYL   10/2018                 $97.08              NET BOOK VALUE          $97.08
         BAG TG
21.1118. 8 OZ SMB BUBBLES F/E      10/2018                 $96.91              NET BOOK VALUE          $96.91
         (21345)
21.1119. KAOS 150CT                10/2018                 $94.99              NET BOOK VALUE          $94.99
         WATERBOMBS SPECIAL
21.1120. DU DULCE BRACELET         10/2018                 $94.93              NET BOOK VALUE          $94.93
         18PCS BOX SE
21.1121. LIC SUPER BUB STICK       10/2018                 $94.62              NET BOOK VALUE          $94.62
         THOMAS
21.1122. FS 7 FT JUMP ROPE         10/2018                 $94.28              NET BOOK VALUE          $94.28
21.1123. FUZZBIES 6 PK             10/2018                 $93.15              NET BOOK VALUE          $93.15
21.1124. STW CAPT PHASMA FIG       10/2018                 $92.07              NET BOOK VALUE          $92.07
         BUBBLE TOP
21.1125. MOLDING MINI PIN BLUE     10/2018                 $91.07              NET BOOK VALUE          $91.07
         295C
21.1126. GOOGLY TOWER              10/2018                 $90.92              NET BOOK VALUE          $90.92
21.1127. RP TWINKLE HEARTS         10/2018                 $90.78              NET BOOK VALUE          $90.78
21.1128. BT CONSTRUCTION ZONE      10/2018                 $90.60              NET BOOK VALUE          $90.60
         VEHICLES
21.1129. LIC PROJECTOR LIGHT       10/2018                 $90.06              NET BOOK VALUE          $90.06
21.1130. NEMO BUBBLE BLASTER       10/2018                 $89.86              NET BOOK VALUE          $89.86
21.1131. BALL                      10/2018                 $89.64              NET BOOK VALUE          $89.64
21.1132. SMB BUBBLE STICK PDQ      10/2018                 $89.50              NET BOOK VALUE          $89.50
21.1133. LW HANDCUFFS              10/2018                 $89.44              NET BOOK VALUE          $89.44
21.1134. FUN IN THE SUN BUCKET     10/2018                 $88.41              NET BOOK VALUE          $88.41
21.1135. ANIMAL DOCTOR SET         10/2018                 $88.07              NET BOOK VALUE          $88.07
21.1136. LUM LUM 2 PK NU NU        10/2018                 $87.56              NET BOOK VALUE          $87.56
21.1137. NT PLAY MONEY             10/2018                 $87.37              NET BOOK VALUE          $87.37
21.1138. BLISTER 8042/6646         10/2018                 $86.14              NET BOOK VALUE          $86.14
21.1139. LIC LIL BUBBLE DIPPER     10/2018                 $85.20              NET BOOK VALUE          $85.20
         PDQ
21.1140. 5PK LUMINATION MARKER     10/2018                 $84.99              NET BOOK VALUE          $84.99
21.1141. WAND LOL                  10/2018                 $82.98              NET BOOK VALUE          $82.98
21.1142. LIFE LIKE MONSTER         10/2018                 $82.81              NET BOOK VALUE          $82.81
         HANDS
21.1143. LIC FLIP PHONE ASSRT      10/2018                 $82.23              NET BOOK VALUE          $82.23
21.1144. LIC D-LITES MINNIE        10/2018                 $82.15              NET BOOK VALUE          $82.15
21.1145. LIC D-LITES MICKEY        10/2018                 $82.15              NET BOOK VALUE          $82.15
21.1146. LUMINATION GLOW STICK     10/2018                 $81.88              NET BOOK VALUE          $81.88
         MARKERS
21.1147. LIC COSMIC ORB PDQ        10/2018                 $81.71              NET BOOK VALUE          $81.71



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1148. FASHIONETS NECKLACE       10/2018                 $81.64              NET BOOK VALUE          $81.64
         CDU
21.1149. COSMIC ORB FIXED LIGHT    10/2018                 $81.58              NET BOOK VALUE          $81.58
         PDQ
21.1150. USM PROJECTOR LIGHT       10/2018                 $81.44              NET BOOK VALUE          $81.44
21.1151. PITBALLS - BULK CN        10/2018                 $81.20              NET BOOK VALUE          $81.20
21.1152. BT MILITARY & POLICE      10/2018                 $80.01              NET BOOK VALUE          $80.01
         SET
21.1153. WAND STAR                 10/2018                 $79.90              NET BOOK VALUE          $79.90
21.1154. STW KYLO REN FIG          10/2018                 $79.72              NET BOOK VALUE          $79.72
         BUBBLE TOPPER
21.1155. 12" BALLOONS              10/2018                 $79.46              NET BOOK VALUE          $79.46
21.1156. LIC STICKY HAND           10/2018                 $79.34              NET BOOK VALUE          $79.34
21.1157. LT BUBBLE CHOMPERS        10/2018                 $79.17              NET BOOK VALUE          $79.17
21.1158. SURPRISE BAG CRITTERS     10/2018                 $78.80              NET BOOK VALUE          $78.80
         22162
21.1159. HK JUMP ROPE              10/2018                 $78.78              NET BOOK VALUE          $78.78
21.1160. ARIEL SPRINKLER           10/2018                 $78.76              NET BOOK VALUE          $78.76
21.1161. MOLDING PUTTING           10/2018                 $78.45              NET BOOK VALUE          $78.45
         CIRCLE BL GEN2
21.1162. LICK-A-BUBBLE 4 PACK -    10/2018                 $78.20              NET BOOK VALUE          $78.20
         UK
21.1163. SURPRISE PACK OUT P31     10/2018                 $78.02              NET BOOK VALUE          $78.02
         21572
21.1164. 3D VIEWER MINNIE          10/2018                 $77.28              NET BOOK VALUE          $77.28
21.1165. GREEN PUMP/HANG TAG       10/2018                 $77.07              NET BOOK VALUE          $77.07
         23183 SMAL
21.1166. LIC 3D BUBBLE TIN - STW   10/2018                 $76.94              NET BOOK VALUE          $76.94
21.1167. GLO JUNGLE STICKS 2PK     10/2018                 $76.78              NET BOOK VALUE          $76.78
21.1168. SURPRISE PACK OUT P30     10/2018                 $76.60              NET BOOK VALUE          $76.60
         21572
21.1169. CHA CHA CHARMS 4PK        10/2018                 $76.54              NET BOOK VALUE          $76.54
21.1170. LIC FLIP PHONE ASST FD    10/2018                 $76.43              NET BOOK VALUE          $76.43
21.1171. POWER POPPER IRON         10/2018                 $76.29              NET BOOK VALUE          $76.29
         MAN
21.1172. LA 7 N 1 BUBBLE FUN SET   10/2018                 $75.29              NET BOOK VALUE          $75.29
21.1173. FINDING DORY BUBBLE       10/2018                 $75.16              NET BOOK VALUE          $75.16
         MACHINE
21.1174. USM SPIDERMAN L/U         10/2018                 $75.16              NET BOOK VALUE          $75.16
         CHARACTER
21.1175. LIC TOY STORY BUBBLE      10/2018                 $74.51              NET BOOK VALUE          $74.51
         TOP PDQ
21.1176. BLITZ WHOPPER             10/2018                 $74.21              NET BOOK VALUE          $74.21
21.1177. POWER POPPER INSERT       10/2018                 $73.63              NET BOOK VALUE          $73.63
         SLEEVE

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1178. MOLDING - ORANGE MEGA 10/2018                     $73.22              NET BOOK VALUE          $73.22
         CHECKERS
21.1179. 14 FT JUMP ROPE           10/2018                 $72.44              NET BOOK VALUE          $72.44
21.1180. SURPRISE PACK OUT P32     10/2018                 $72.38              NET BOOK VALUE          $72.38
         21572
21.1181. LEONARDO BOP BALL         10/2018                 $72.38              NET BOOK VALUE          $72.38
21.1182. WAND BOW BUBBLE           10/2018                 $72.35              NET BOOK VALUE          $72.35
21.1183. STW BUBBLE FLURRY         10/2018                 $72.05              NET BOOK VALUE          $72.05
21.1184. BLITZ MEGA LIGHT          10/2018                 $71.81              NET BOOK VALUE          $71.81
         BLASTER
21.1185. PRINCESS BUB BLASTER      10/2018                 $71.67              NET BOOK VALUE          $71.67
         CARDED
21.1186. LW DURANGO DOUBLE         10/2018                 $71.22              NET BOOK VALUE          $71.22
         HOLSTER
21.1187. 8 OZ PET DG APPLE         10/2018                 $71.15              NET BOOK VALUE          $71.15
         SCENTED
21.1188. LICKITY TRAY 26567        10/2018                 $70.70              NET BOOK VALUE          $70.70
         SPECIAL
21.1189. SOLUTION LAB US           10/2018                 $70.55              NET BOOK VALUE          $70.55
         VERSION
21.1190. FS GELL JUMPER            10/2018                 $70.44              NET BOOK VALUE          $70.44
21.1191. SMB BUBBLE STICK DISP.    10/2018                 $70.05              NET BOOK VALUE          $70.05
         W/BASE
21.1192. NT DR & NURSE KIT ASST.   10/2018                 $69.92              NET BOOK VALUE          $69.92
21.1193. RP GORGEOUS LIPS &        10/2018                 $69.84              NET BOOK VALUE          $69.84
         EYES
21.1194. SCOOP & SCORE BALLS       10/2018                 $68.97              NET BOOK VALUE          $68.97
21.1195. KB POP STAR TATTOOS       10/2018                 $68.67              NET BOOK VALUE          $68.67
21.1196. GY MINI SOCCER W/ LIGHT 10/2018                   $68.39              NET BOOK VALUE          $68.39
         (PDQ)
21.1197. FROZEN OLAF L/U           10/2018                 $68.20              NET BOOK VALUE          $68.20
         CHARACTER
21.1198. WM PARTY 6 PUTTY EGGS     10/2018                 $67.98              NET BOOK VALUE          $67.98
21.1199. LT SA BEACH BALL          10/2018                 $67.68              NET BOOK VALUE          $67.68
         SPRINKLER
21.1200. MASSIVE GOOGLY BALL       10/2018                 $66.93              NET BOOK VALUE          $66.93
         BULK
21.1201. RP GLAM HEELS             10/2018                 $66.86              NET BOOK VALUE          $66.86
21.1202. FROZEN SNOWMAN L&S        10/2018                 $66.52              NET BOOK VALUE          $66.52
         MICROPHONE
21.1203. FS HI-TECH YO YO          10/2018                 $66.06              NET BOOK VALUE          $66.06
21.1204. SMB P L/U GYRO BLASTER    10/2018                 $65.76              NET BOOK VALUE          $65.76
21.1205. SPRAY A STRING SIDE       10/2018                 $65.57              NET BOOK VALUE          $65.57
         KICK
21.1206. REWORK 47028 KAOS 360     10/2018                 $65.22              NET BOOK VALUE          $65.22


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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used   Current value of
                                    physical inventory     debtor's interest   for current value       debtor’s interest
21.1207. INSTABALLOON ASST          10/2018                $64.34              NET BOOK VALUE          $64.34
         BULK
21.1208. GOOGLY HALLOWEEN           10/2018                $64.26              NET BOOK VALUE          $64.26
21.1209. SX THUMB SHOT              10/2018                $63.95              NET BOOK VALUE          $63.95
21.1210. MOLDING MINI PIN RED       10/2018                $63.87              NET BOOK VALUE          $63.87
         1797
21.1211. 128 OZ SMB F/E             10/2018                $63.68              NET BOOK VALUE          $63.68
21.1212. LW MONTANA CAP RIFLE       10/2018                $63.59              NET BOOK VALUE          $63.59
21.1213. ZOOMA ULTRA CATCH          10/2018                $63.57              NET BOOK VALUE          $63.57
21.1214. KAOS 250 CT COLOR          10/2018                $63.25              NET BOOK VALUE          $63.25
         WATERBOMBS
21.1215. RAINBOW JUMP ROPE          10/2018                $63.05              NET BOOK VALUE          $63.05
         BULK
21.1216. GREEN PUMP W/HANG          10/2018                $62.99              NET BOOK VALUE          $62.99
         TAG 18410
21.1217. GOOGLY CRITTERS            10/2018                $62.50              NET BOOK VALUE          $62.50
21.1218. STW BUB SABER NO LIGHT 10/2018                    $62.25              NET BOOK VALUE          $62.25
21.1219. FAT BAT BALLS              10/2018                $62.16              NET BOOK VALUE          $62.16
21.1220. BT POLICE & SHERIFF SET    10/2018                $62.01              NET BOOK VALUE          $62.01
         - SP
21.1221. ULTRA CATCH PDQ            10/2018                $61.45              NET BOOK VALUE          $61.45
21.1222. AIR MESH 9" PLAY BALL 6    10/2018                $61.08              NET BOOK VALUE          $61.08
         PK
21.1223. ORB BUBBLE BLASTER         10/2018                $60.94              NET BOOK VALUE          $60.94
21.1224. BLUE PUMP/HANG TAG         10/2018                $60.91              NET BOOK VALUE          $60.91
         23183 SMALL
21.1225. CLUB PUTTER DOC - TEAL     10/2018                $60.65              NET BOOK VALUE          $60.65
21.1226. 80 CT PIT BALL - VINYL     10/2018                $60.55              NET BOOK VALUE          $60.55
         BAG WG
21.1227. 4" LOL PLAYBALL            10/2018                $60.49              NET BOOK VALUE          $60.49
         SIDEKICK
21.1228. FS YO YO PADDLE BALL       10/2018                $60.35              NET BOOK VALUE          $60.35
21.1229. SMB BUBBLE STACKERS        10/2018                $60.21              NET BOOK VALUE          $60.21
21.1230. FINDING DORY LIFELIKE      10/2018                $60.17              NET BOOK VALUE          $60.17
         ASST PDQ
21.1231. SMB P 6 N 1 BUBBLE FUN     10/2018                $59.97              NET BOOK VALUE          $59.97
21.1232. WAND CARS BUBBLE           10/2018                $59.79              NET BOOK VALUE          $59.79
21.1233. LIC BUBBLE WHISTLE         10/2018                $59.52              NET BOOK VALUE          $59.52
         ASSRT
21.1234. LIC GIRL FIG BUB ASST      10/2018                $59.48              NET BOOK VALUE          $59.48
         PDQ
21.1235. GY CHICK W/ LIGHT UP       10/2018                $58.92              NET BOOK VALUE          $58.92
21.1236. MINNIE TEA SET 4 PK        10/2018                $58.89              NET BOOK VALUE          $58.89
21.1237. FS ULTIMATE YO-YO ASRT     10/2018                $58.43              NET BOOK VALUE          $58.43

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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used   Current value of
                                    physical inventory     debtor's interest   for current value       debtor’s interest
21.1238. LIC SMARTPHONE ASST        10/2018                $58.17              NET BOOK VALUE          $58.17
         SPECIAL
21.1239. LIGHT UP COMET STREAK      10/2018                $58.16              NET BOOK VALUE          $58.16
         W/PDQ
21.1240. 100CT WATER BOMB           10/2018                $57.91              NET BOOK VALUE          $57.91
         DISPLAY
21.1241. LWW DLX BLACK CANYON       10/2018                $57.79              NET BOOK VALUE          $57.79
         SET
21.1242. LIC POWER POPPERS PDQ 10/2018                     $57.57              NET BOOK VALUE          $57.57
21.1243. LIC BOYS FIG BUB ASST      10/2018                $57.54              NET BOOK VALUE          $57.54
         PDQ
21.1244. MINI PUNCH BALL            10/2018                $57.28              NET BOOK VALUE          $57.28
         CRITTERS 2CT
21.1245. ZOOMA DART X CLASH         10/2018                $57.10              NET BOOK VALUE          $57.10
         CF160
21.1246. 8 OZ PET DG COTTON         10/2018                $57.06              NET BOOK VALUE          $57.06
         CANDY
21.1247. LICENSED BUBBLE            10/2018                $56.54              NET BOOK VALUE          $56.54
         BELLIES ASST
21.1248. NT STICKY ICKY             10/2018                $56.49              NET BOOK VALUE          $56.49
         CREATURES
21.1249. LIC BUBBLE PENDANT         10/2018                $56.45              NET BOOK VALUE          $56.45
         ASSRT
21.1250. 72 CT TWISTY BALLOONS      10/2018                $55.98              NET BOOK VALUE          $55.98
21.1251. GY GOOGLY BALL             10/2018                $55.87              NET BOOK VALUE          $55.87
21.1252. MOLDING PUTTING            10/2018                $55.64              NET BOOK VALUE          $55.64
         CIRCLE PR GEN2
21.1253. LAUNCHER                   10/2018                $54.11              NET BOOK VALUE          $54.11
21.1254. WAND BIRD BUBBLE           10/2018                $53.86              NET BOOK VALUE          $53.86
21.1255. SHRINK WRAP BALL CARS      10/2018                $53.67              NET BOOK VALUE          $53.67
         3
21.1256. BLITZ BUBBLE LIGHT         10/2018                $53.36              NET BOOK VALUE          $53.36
         BLASTER -5S
21.1257. LW LAWMAN BADGES           10/2018                $53.06              NET BOOK VALUE          $53.06
21.1258. F$ MB 24 OZ BUBBLES        10/2018                $52.74              NET BOOK VALUE          $52.74
         WOW
21.1259. LL EXTREME LIFE-LIKE       10/2018                $52.70              NET BOOK VALUE          $52.70
21.1260. LIC 3D SPILL STOPPER -     10/2018                $52.56              NET BOOK VALUE          $52.56
         WG
21.1261. GOOGLY L/U PET RING        10/2018                $52.08              NET BOOK VALUE          $52.08
         PDQ
21.1262. SMB P 4 PACK               10/2018                $51.86              NET BOOK VALUE          $51.86
21.1263. REAL SKIN DINO             10/2018                $51.86              NET BOOK VALUE          $51.86
21.1264. LT GARDEN GROW             10/2018                $51.68              NET BOOK VALUE          $51.68
         WATERING CAN



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21.      Finished goods, including goods held for resale
         General description         Date of the last      Net book value of    Valuation method used   Current value of
                                     physical inventory    debtor's interest    for current value       debtor’s interest
21.1265. ISNAP BRACELET W/2          10/2018               $50.90               NET BOOK VALUE          $50.90
         CHARMS
21.1266. LIC L/U GLITTER BALL PDQ    10/2018               $50.69               NET BOOK VALUE          $50.69
21.1267. 7" BALLOONS                 10/2018               $50.50               NET BOOK VALUE          $50.50
21.1268. MA 151CT MARBLES            10/2018               $50.25               NET BOOK VALUE          $50.25
         COLLECTOR SET
21.1269. SURPRISE F/E TOY BOX        10/2018               $50.19               NET BOOK VALUE          $50.19
21.1270. GY MINI PUMPKIN             10/2018               $49.76               NET BOOK VALUE          $49.76
         GOOGLY
21.1271. LIC 3PK MINI BUB STICK      10/2018               $49.62               NET BOOK VALUE          $49.62
21.1272. 216-SHOT RING CAPS PDQ      10/2018               $49.40               NET BOOK VALUE          $49.40
21.1273. NINJA BOX SET               10/2018               $49.30               NET BOOK VALUE          $49.30
21.1274. MOLDING - PITBALL BLUE      10/2018               $48.85               NET BOOK VALUE          $48.85
21.1275. 55 OZ BLITZ SCNTD F/E       10/2018               $48.39               NET BOOK VALUE          $48.39
         BUBBLES
21.1276. OP POSTER ART TIVITIES      10/2018               $48.24               NET BOOK VALUE          $48.24
21.1277. AVA PROJECTOR LIGHT         10/2018               $47.57               NET BOOK VALUE          $47.57
21.1278. LIC 6OZ BUBBLES PDQ         10/2018               $47.56               NET BOOK VALUE          $47.56
21.1279. SS SEQUIN CUFF              10/2018               $47.14               NET BOOK VALUE          $47.14
         BRACELETS - GS
21.1280. 16 OZ PET BUBBLES           10/2018               $46.90               NET BOOK VALUE          $46.90
21.1281. PUTTY MINNIE                10/2018               $46.60               NET BOOK VALUE          $46.60
21.1282. PDQ 17541 FUNKY FARM        10/2018               $46.48               NET BOOK VALUE          $46.48
         ENDCAP
21.1283. LIC WALL TUMBLERS           10/2018               $46.17               NET BOOK VALUE          $46.17
21.1284. HELLO KITTY OP SPILL        10/2018               $45.79               NET BOOK VALUE          $45.79
         STOPPER
21.1285. GOOGLY L/U PET RING         10/2018               $45.62               NET BOOK VALUE          $45.62
21.1286. CLUB IRON MICKEY -          10/2018               $45.61               NET BOOK VALUE          $45.61
         YELLOW
21.1287. PP JEWELRY SET              10/2018               $45.32               NET BOOK VALUE          $45.32
21.1288. KAOS TIE KNOT FILLER 50     10/2018               $45.29               NET BOOK VALUE          $45.29
         CT
21.1289. GY 5" GOOGLY PUMPKIN        10/2018               $45.24               NET BOOK VALUE          $45.24
         FACE
21.1290. BUCKET W/HANDLE 18949       10/2018               $45.17               NET BOOK VALUE          $45.17
         - BL
21.1291. PALLET 1/4 SP - 22 X 26     10/2018               $45.04               NET BOOK VALUE          $45.04
21.1292. PREMIUM WAND 16585-         10/2018               $44.79               NET BOOK VALUE          $44.79
         21168
21.1293. SPILL STOPPER 8 OZ MB -     10/2018               $44.20               NET BOOK VALUE          $44.20
         DG
21.1294. DOC MEDICAL SET DIP &       10/2018               $43.88               NET BOOK VALUE          $43.88
         BLOW


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1295. RING CAP CLIP STRIP       10/2018                 $43.75              NET BOOK VALUE          $43.75
21.1296. BAYMAX                    10/2018                 $43.71              NET BOOK VALUE          $43.71
         POPPER/LAUNCHER WIP
21.1297. SURPRISE BAG POWER        10/2018                 $43.66              NET BOOK VALUE          $43.66
         POPPER - S
21.1298. 4PK BUBBLE STICK 1.8OZ    10/2018                 $42.92              NET BOOK VALUE          $42.92
21.1299. SMB F/E BUBBLE            10/2018                 $42.91              NET BOOK VALUE          $42.91
         STACKERS
21.1300. SP WEB SHOOTER            10/2018                 $42.90              NET BOOK VALUE          $42.90
         SPRINKLER
21.1301. LIC FUZZBIE TROLL F/E     10/2018                 $42.88              NET BOOK VALUE          $42.88
         POPPY
21.1302. HK DIP AND SQUEEZE        10/2018                 $42.79              NET BOOK VALUE          $42.79
21.1303. LT GARDEN TOOLS-RAKE      10/2018                 $42.50              NET BOOK VALUE          $42.50
         SHOVEL BO
21.1304. CW DINOSAUR REPLICA       10/2018                 $42.13              NET BOOK VALUE          $42.13
21.1305. PROP FLYERS OPP BAG       10/2018                 $42.12              NET BOOK VALUE          $42.12
21.1306. 5 IN 1 BUBBLE FUN PDQ     10/2018                 $42.01              NET BOOK VALUE          $42.01
21.1307. LM GREEN GLOW STICK       10/2018                 $41.89              NET BOOK VALUE          $41.89
         MARKER
21.1308. LIC 6 OZ BUBBLES          10/2018                 $41.65              NET BOOK VALUE          $41.65
21.1309. LT 3PK BUBBLE WANDS       10/2018                 $41.04              NET BOOK VALUE          $41.04
21.1310. BLITZ BUBBLE STICK        10/2018                 $40.92              NET BOOK VALUE          $40.92
21.1311. 9" DEFLATED PLAYGRND      10/2018                 $40.54              NET BOOK VALUE          $40.54
         BALL ASST
21.1312. WAND SNOW FLAKE           10/2018                 $40.48              NET BOOK VALUE          $40.48
         BUBBLE
21.1313. LT SA SUPER SPIRAL        10/2018                 $40.44              NET BOOK VALUE          $40.44
         ASSEMBLED
21.1314. RP JELLY BANGLES          10/2018                 $40.38              NET BOOK VALUE          $40.38
21.1315. FS ACTIVITY FUN SET       10/2018                 $39.82              NET BOOK VALUE          $39.82
21.1316. LOL F/E JUMP ROPE         10/2018                 $39.81              NET BOOK VALUE          $39.81
21.1317. KAOS AQUA BOW - PINK      10/2018                 $39.80              NET BOOK VALUE          $39.80
21.1318. KB LUMEFX LOCK            10/2018                 $39.70              NET BOOK VALUE          $39.70
21.1319. LT SA TWIST'N SPRAY       10/2018                 $39.68              NET BOOK VALUE          $39.68
21.1320. CLIX BROACH POD 4         10/2018                 $39.46              NET BOOK VALUE          $39.46
21.1321. SHRINK WRAP CHECKERS      10/2018                 $39.45              NET BOOK VALUE          $39.45
         GREEN
21.1322. WALKABOUTS PDQ            10/2018                 $39.29              NET BOOK VALUE          $39.29
21.1323. LIC FIG BUBBLE TOPPERS    10/2018                 $38.84              NET BOOK VALUE          $38.84
         ASST-SP
21.1324. SB BOPPIN BALL            10/2018                 $38.65              NET BOOK VALUE          $38.65
21.1325. KB ELECTRIC GUITAR PINK 10/2018                   $38.44              NET BOOK VALUE          $38.44


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21.      Finished goods, including goods held for resale
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                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1326. JAKE SUPER SPIN STICK     10/2018                 $38.35              NET BOOK VALUE          $38.35
21.1327. SURPRISE BAG POWER        10/2018                 $38.20              NET BOOK VALUE          $38.20
         POPPER - H
21.1328. PUTTY CARS                10/2018                 $37.89              NET BOOK VALUE          $37.89
21.1329. F/E SMB P BUBBLE          10/2018                 $37.78              NET BOOK VALUE          $37.78
         FACTORY
21.1330. 16 OZ SMB BUBBLES 24 PK 10/2018                   $37.34              NET BOOK VALUE          $37.34
21.1331. LIC HIGH BOUNCE BALL      10/2018                 $37.34              NET BOOK VALUE          $37.34
         ASSRT
21.1332. 100 OZ SMB BUBBLES F/E    10/2018                 $37.11              NET BOOK VALUE          $37.11
         (21348)
21.1333. NT FUN TATTOOS            10/2018                 $37.10              NET BOOK VALUE          $37.10
21.1334. MOLDING YELLOW            10/2018                 $37.06              NET BOOK VALUE          $37.06
         WHEELS - CADDY
21.1335. PLAY DAY JUMBO TENNIS     10/2018                 $37.02              NET BOOK VALUE          $37.02
         BALL
21.1336. BLITZ BUBBLE TURBINE      10/2018                 $36.94              NET BOOK VALUE          $36.94
21.1337. GY GOOGLY CHRISTMAS       10/2018                 $36.93              NET BOOK VALUE          $36.93
21.1338. PIT BALL TROLL HOUSE      10/2018                 $36.76              NET BOOK VALUE          $36.76
21.1339. SPIDERMAN WATER           10/2018                 $36.56              NET BOOK VALUE          $36.56
         SQUEEZY BALL
21.1340. BB BUBB-A-LOONS           10/2018                 $36.49              NET BOOK VALUE          $36.49
21.1341. POWER POPPER              10/2018                 $36.46              NET BOOK VALUE          $36.46
         INSTRUCTION SHEET
21.1342. SURPRISE PACK OUT         10/2018                 $36.45              NET BOOK VALUE          $36.45
         17584 P22
21.1343. SMB SODA BUBBLE PDQ       10/2018                 $36.10              NET BOOK VALUE          $36.10
21.1344. CLUB DRIVER DOC - PINK    10/2018                 $36.10              NET BOOK VALUE          $36.10
21.1345. HEB SW 7' JUMP ROPE       10/2018                 $36.05              NET BOOK VALUE          $36.05
         PDQ
21.1346. GOOGLY EASTER PDQ         10/2018                 $35.95              NET BOOK VALUE          $35.95
21.1347. GLOW MASK 1CT             10/2018                 $35.88              NET BOOK VALUE          $35.88
21.1348. LUMINATION GLOW STICK     10/2018                 $35.87              NET BOOK VALUE          $35.87
         MARKERS
21.1349. LW MASKED MARSHALL -      10/2018                 $35.71              NET BOOK VALUE          $35.71
         WM SP
21.1350. F/E LIC LOL STICKY        10/2018                 $35.55              NET BOOK VALUE          $35.55
         PATCHES
21.1351. DISNEY MIRROR PDQ         10/2018                 $35.55              NET BOOK VALUE          $35.55
21.1352. LW MASKED MARSHAL         10/2018                 $35.25              NET BOOK VALUE          $35.25
21.1353. CLUB DRIVER MICKEY -      10/2018                 $35.11              NET BOOK VALUE          $35.11
         BLUE
21.1354. SURPRISE BAG SM DINO      10/2018                 $34.42              NET BOOK VALUE          $34.42
         63782



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1355. JURASSIC JUNGLE MEGA      10/2018                 $34.37              NET BOOK VALUE          $34.37
         CHECKERS
21.1356. MOLDING MINI PIN RED      10/2018                 $34.10              NET BOOK VALUE          $34.10
         185
21.1357. WAND MICKEY               10/2018                 $34.05              NET BOOK VALUE          $34.05
21.1358. DO PROJECTOR LIGHTS       10/2018                 $33.94              NET BOOK VALUE          $33.94
21.1359. DISNEY POP-UP FAN ASST    10/2018                 $33.71              NET BOOK VALUE          $33.71
21.1360. LW KANSAS RIFLE           10/2018                 $33.55              NET BOOK VALUE          $33.55
21.1361. TUCSON BOW & ARROW        10/2018                 $33.50              NET BOOK VALUE          $33.50
         SET
21.1362. LIC SPILL STOPPER DORY    10/2018                 $33.27              NET BOOK VALUE          $33.27
21.1363. 55 OZ BLITZ SCENTED       10/2018                 $33.17              NET BOOK VALUE          $33.17
         BUBBLES UK
21.1364. JUMBO CHECKERS SET -      10/2018                 $33.13              NET BOOK VALUE          $33.13
         FUN CLUB
21.1365. MINI BOWLING BLUE         10/2018                 $33.03              NET BOOK VALUE          $33.03
         HANDLE
21.1366. MINI BOWLING SET IN BAG   10/2018                 $32.90              NET BOOK VALUE          $32.90
21.1367. LIC BUBBLE BLASTER        10/2018                 $32.63              NET BOOK VALUE          $32.63
         ASST
21.1368. CLUB IRON DOC - PINK      10/2018                 $32.37              NET BOOK VALUE          $32.37
21.1369. DORY BUBBLE FUN SET       10/2018                 $32.36              NET BOOK VALUE          $32.36
21.1370. LIC PINWHEEL BUBBLES      10/2018                 $32.35              NET BOOK VALUE          $32.35
21.1371. LP BUBBLE BELLIE          10/2018                 $32.34              NET BOOK VALUE          $32.34
21.1372. SHRINK WRAP BALL          10/2018                 $32.31              NET BOOK VALUE          $32.31
         SPIDERMAN
21.1373. LWW DURANGO CLICKER       10/2018                 $32.30              NET BOOK VALUE          $32.30
         GUN SET-SP
21.1374. USM F/E SPIDERMAN DIP N 10/2018                   $32.29              NET BOOK VALUE          $32.29
         BLOW
21.1375. LIC MINI BUBBLE STICKS    10/2018                 $32.20              NET BOOK VALUE          $32.20
21.1376. LIC MIRROR & WAND ASST    10/2018                 $31.89              NET BOOK VALUE          $31.89
21.1377. DISNEY L&S WAND PDQ       10/2018                 $31.81              NET BOOK VALUE          $31.81
21.1378. PLAY DAY BUBBLE FUN       10/2018                 $31.66              NET BOOK VALUE          $31.66
         POND
21.1379. DOCTOR NURSE KIT          10/2018                 $31.59              NET BOOK VALUE          $31.59
21.1380. WS 100 WATER BOMB         10/2018                 $31.55              NET BOOK VALUE          $31.55
21.1381. WS WATER BOMB 100CT       10/2018                 $31.38              NET BOOK VALUE          $31.38
21.1382. SHRINK WRAP BALL          10/2018                 $31.32              NET BOOK VALUE          $31.32
         MINNIE
21.1383. LIC FIGURAL SPRINKLER     10/2018                 $31.30              NET BOOK VALUE          $31.30
         ASST
21.1384. ZOOMA SPORTS EZ MITT      10/2018                 $31.01              NET BOOK VALUE          $31.01



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1385. DISNEY DELUXE EASY        10/2018                 $30.92              NET BOOK VALUE          $30.92
         SQUEEZE
21.1386. GUMBALL BANK PDQ          10/2018                 $30.79              NET BOOK VALUE          $30.79
21.1387. AIR METAL ENDCAP PDQ      10/2018                 $30.53              NET BOOK VALUE          $30.53
21.1388. GUMBALL MACHINE 22077     10/2018                 $29.91              NET BOOK VALUE          $29.91
21.1389. CLUB PUTTER MICKEY -      10/2018                 $29.88              NET BOOK VALUE          $29.88
         RED
21.1390. WAND HANG LOOSE HAND      10/2018                 $29.52              NET BOOK VALUE          $29.52
21.1391. CW THE SNEAKY SNAKE       10/2018                 $29.52              NET BOOK VALUE          $29.52
21.1392. FROZEN L&S                10/2018                 $29.36              NET BOOK VALUE          $29.36
         MICROPHONE
21.1393. NT GLOW STARS             10/2018                 $29.29              NET BOOK VALUE          $29.29
21.1394. COUNTER DISP - HONUA      10/2018                 $29.15              NET BOOK VALUE          $29.15
         BRACELET
21.1395. SMB P 5 OZ 2PK BUBBLES    10/2018                 $29.12              NET BOOK VALUE          $29.12
21.1396. 50 CT CAMO WATER          10/2018                 $29.08              NET BOOK VALUE          $29.08
         BOMBS
21.1397. LW LAWMAN SIDEKICK -      10/2018                 $28.73              NET BOOK VALUE          $28.73
         SP
21.1398. LM BLUE GLOW STICK        10/2018                 $28.73              NET BOOK VALUE          $28.73
         MARKER
21.1399. STW DARTH VADER FIG       10/2018                 $28.66              NET BOOK VALUE          $28.66
         BOTTLE TOP
21.1400. MINI BOWLING BLACK        10/2018                 $28.56              NET BOOK VALUE          $28.56
         HANDLE
21.1401. MB BLUE BUBBLE TWIN       10/2018                 $28.45              NET BOOK VALUE          $28.45
         PIPE
21.1402. LT MINI BELLIES ASST.     10/2018                 $28.40              NET BOOK VALUE          $28.40
21.1403. LIC L&S MICROPHONE        10/2018                 $28.39              NET BOOK VALUE          $28.39
         ZOOTOPIA
21.1404. FUNKY FARM PDQ            10/2018                 $28.04              NET BOOK VALUE          $28.04
         ENDCAP
21.1405. SMB 6" BUBBLE BLASTER     10/2018                 $27.98              NET BOOK VALUE          $27.98
21.1406. PLAYRIGHT GOLF CADDY      10/2018                 $27.81              NET BOOK VALUE          $27.81
         SET
21.1407. WAND ARROW BUBBLE         10/2018                 $27.81              NET BOOK VALUE          $27.81
21.1408. AVENGERS ROCKET           10/2018                 $27.27              NET BOOK VALUE          $27.27
         BLASTER
21.1409. LIC L&S BUBBLE WAND       10/2018                 $27.16              NET BOOK VALUE          $27.16
         ASST
21.1410. MB 24 OZ BUBBLES          10/2018                 $27.16              NET BOOK VALUE          $27.16
21.1411. KAOS TWIN BARREL          10/2018                 $27.08              NET BOOK VALUE          $27.08
21.1412. BB BUBB-A-LOONS           10/2018                 $26.89              NET BOOK VALUE          $26.89
         MAKING SET
21.1413. OPPO RINGS                10/2018                 $26.81              NET BOOK VALUE          $26.81


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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used   Current value of
                                    physical inventory     debtor's interest   for current value       debtor’s interest
21.1414. MICKEY 7 IN 1 SET          10/2018                $26.71              NET BOOK VALUE          $26.71
21.1415. FIRE ACCESSORY BOX         10/2018                $26.59              NET BOOK VALUE          $26.59
         SET
21.1416. DO DORA SPRINKLER          10/2018                $26.58              NET BOOK VALUE          $26.58
21.1417. LIC DIP & BLOW ASST - WG 10/2018                  $26.43              NET BOOK VALUE          $26.43
21.1418. DISNEY 5 OZ BUBBLE PDQ     10/2018                $26.41              NET BOOK VALUE          $26.41
21.1419. GY CAPTAIN AMERICA         10/2018                $26.37              NET BOOK VALUE          $26.37
         GOOGLY CUTI
21.1420. GY HULK GOOGLY CUTIE       10/2018                $26.37              NET BOOK VALUE          $26.37
21.1421. GY SPIDERMAN GOOGLY        10/2018                $26.37              NET BOOK VALUE          $26.37
         CUTIE
21.1422. KAOS 150 CT WATER          10/2018                $26.27              NET BOOK VALUE          $26.27
         BOMBS
21.1423. HALLOWEEN SKELETON         10/2018                $25.83              NET BOOK VALUE          $25.83
         CLIP STRIP
21.1424. LIC SPRINKLER MINNIE       10/2018                $25.81              NET BOOK VALUE          $25.81
21.1425. WAND DORY                  10/2018                $25.77              NET BOOK VALUE          $25.77
21.1426. SHRINK WRAP CHECKERS       10/2018                $25.75              NET BOOK VALUE          $25.75
         PINK
21.1427. 4 OZ SC MB 6 PK BUBBLE -   10/2018                $25.67              NET BOOK VALUE          $25.67
         TRU
21.1428. WAND FROZEN                10/2018                $25.65              NET BOOK VALUE          $25.65
21.1429. DRAGON LIFE-LIKE           10/2018                $25.63              NET BOOK VALUE          $25.63
         CARDED
21.1430. LIC SPINNING TOP           10/2018                $25.59              NET BOOK VALUE          $25.59
21.1431. MEGA CHECKER PLAY          10/2018                $25.56              NET BOOK VALUE          $25.56
         MAT RAINBOW
21.1432. MEGA CHECKER PLAY          10/2018                $25.56              NET BOOK VALUE          $25.56
         MAT JURASSIC
21.1433. 64 OZ MB BUBBLES - RITE    10/2018                $25.37              NET BOOK VALUE          $25.37
         AID
21.1434. ALLIGATOR PUNCHBALL        10/2018                $25.33              NET BOOK VALUE          $25.33
21.1435. SHRINK WRAP CHECKERS       10/2018                $25.32              NET BOOK VALUE          $25.32
         PURPLE
21.1436. KB LUMEFX VEST             10/2018                $25.30              NET BOOK VALUE          $25.30
21.1437. LIC 2PK FINGER FLINGERS    10/2018                $25.29              NET BOOK VALUE          $25.29
         ASST
21.1438. FROZEN MAGIC WAND W/       10/2018                $25.24              NET BOOK VALUE          $25.24
         SONG
21.1439. WS 50 WATER BOMB           10/2018                $24.82              NET BOOK VALUE          $24.82
21.1440. WAND BOLTS BUBBLE          10/2018                $24.77              NET BOOK VALUE          $24.77
21.1441. PLASTIC FIDGET STICK       10/2018                $24.71              NET BOOK VALUE          $24.71
21.1442. TT LIL' BUBBLE DIPPER      10/2018                $24.49              NET BOOK VALUE          $24.49
21.1443. STW FIG BUBBLE TOPPER      10/2018                $24.47              NET BOOK VALUE          $24.47
         PDQ

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1444. WS JET HYDRO              10/2018                 $24.30              NET BOOK VALUE          $24.30
21.1445. ZOOMA SPORTS F/E          10/2018                 $23.83              NET BOOK VALUE          $23.83
         FATBAT & BALL
21.1446. FROZEN BUBBLE TIN PDQ     10/2018                 $23.78              NET BOOK VALUE          $23.78
21.1447. GY 7.5" SOCCER BALL W/O   10/2018                 $23.74              NET BOOK VALUE          $23.74
         LIGHT
21.1448. WAND WORLD BUBBLE         10/2018                 $23.69              NET BOOK VALUE          $23.69
21.1449. WM GUMBALL BANK XMAS      10/2018                 $23.62              NET BOOK VALUE          $23.62
         PDQ
21.1450. WAND 95 BUBBLE            10/2018                 $23.59              NET BOOK VALUE          $23.59
21.1451. FZ ROLLING BOWLING SET 10/2018                    $23.53              NET BOOK VALUE          $23.53
21.1452. LIC BALL PIT TROLL        10/2018                 $23.52              NET BOOK VALUE          $23.52
         HOUSE W/25
21.1453. BOYS FUN SET              10/2018                 $23.45              NET BOOK VALUE          $23.45
21.1454. LT SA GARDEN TOOLS SET 10/2018                    $23.26              NET BOOK VALUE          $23.26
21.1455. ASSEMBLY OF 19398         10/2018                 $23.05              NET BOOK VALUE          $23.05
         DISPLAY
21.1456. SMB P BUBBLE              10/2018                 $22.95              NET BOOK VALUE          $22.95
         WHISTLERS
21.1457. HULK GOOGLY 7.5" BALL     10/2018                 $22.88              NET BOOK VALUE          $22.88
21.1458. RP MAKE-UP & NAIL SET     10/2018                 $22.66              NET BOOK VALUE          $22.66
21.1459. SPIDERMAN 7 IN 1 SET      10/2018                 $22.61              NET BOOK VALUE          $22.61
21.1460. 26567 SPECIAL             10/2018                 $22.25              NET BOOK VALUE          $22.25
21.1461. LIC 6" FUZZBIES TROLLS    10/2018                 $22.15              NET BOOK VALUE          $22.15
         F/E
21.1462. GOLF SET 6 PC             10/2018                 $22.13              NET BOOK VALUE          $22.13
21.1463. JUMBO BOWLING FUN         10/2018                 $22.09              NET BOOK VALUE          $22.09
         CLUB
21.1464. SURPRISE BAG ROCK         10/2018                 $21.97              NET BOOK VALUE          $21.97
         63783
21.1465. FINDING DORY 6OZ          10/2018                 $21.92              NET BOOK VALUE          $21.92
         BUBBLES PDQ
21.1466. 24 OZ MB BUBBLES          10/2018                 $21.81              NET BOOK VALUE          $21.81
21.1467. GY IRONMAN GOOGLY         10/2018                 $21.73              NET BOOK VALUE          $21.73
         CUTIE
21.1468. CW MINI HORSES            10/2018                 $21.66              NET BOOK VALUE          $21.66
21.1469. HK HELLO KITTY BUBBLE     10/2018                 $21.52              NET BOOK VALUE          $21.52
         BELLIE
21.1470. KAOS ORBPHONS WATER       10/2018                 $21.20              NET BOOK VALUE          $21.20
         BALL
21.1471. BOS SAND BUCKET           10/2018                 $20.97              NET BOOK VALUE          $20.97
21.1472. KB LUMEFX HAIR            10/2018                 $20.94              NET BOOK VALUE          $20.94
         EXTENSIONS
21.1473. LITTLE TIKES SHOVEL       10/2018                 $20.86              NET BOOK VALUE          $20.86
         CLAM PACK

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1474. IRONMAN WATER             10/2018                 $20.69              NET BOOK VALUE          $20.69
         SQUEEZY BALL
21.1475. GIRLS FUN SET             10/2018                 $20.66              NET BOOK VALUE          $20.66
21.1476. GOLF CADDY - MINNIE       10/2018                 $20.64              NET BOOK VALUE          $20.64
21.1477. PLAYDAY EZ MITT PDQ       10/2018                 $20.34              NET BOOK VALUE          $20.34
21.1478. MASSIVE GOOGLY BALL       10/2018                 $20.31              NET BOOK VALUE          $20.31
         W/PDQ
21.1479. BALLOON CLIP STRIP PRE    10/2018                 $20.30              NET BOOK VALUE          $20.30
         PACK
21.1480. GOLF CADDY - DOC          10/2018                 $20.10              NET BOOK VALUE          $20.10
21.1481. BAGGED FIGURES PDQ        10/2018                 $19.99              NET BOOK VALUE          $19.99
21.1482. F/E LIC BEACH BALL        10/2018                 $19.99              NET BOOK VALUE          $19.99
         SPRINKLER
21.1483. SEAHORSE WHISTLER         10/2018                 $19.94              NET BOOK VALUE          $19.94
         21139
21.1484. GREEN DIPPY DOME          10/2018                 $19.87              NET BOOK VALUE          $19.87
         WAND
21.1485. GOLF CADDY - MICKEY       10/2018                 $19.77              NET BOOK VALUE          $19.77
21.1486. DISNEY 5 OZ BUBBLES       10/2018                 $19.63              NET BOOK VALUE          $19.63
21.1487. DG LIC 6OZ BUBBLES        10/2018                 $19.57              NET BOOK VALUE          $19.57
         ASST PDQ
21.1488. LL MINI LIFE-LIKE         10/2018                 $19.53              NET BOOK VALUE          $19.53
         REPLICAS
21.1489. SOFIA BUBBLE AMULET       10/2018                 $19.48              NET BOOK VALUE          $19.48
21.1490. SURPRISE BAG EGG          10/2018                 $19.18              NET BOOK VALUE          $19.18
         ERASER 22029
21.1491. LM YELLOW GLOW STICK      10/2018                 $19.15              NET BOOK VALUE          $19.15
         MARKER
21.1492. WAND RECTANGULAR          10/2018                 $19.09              NET BOOK VALUE          $19.09
21.1493. FS BLUE YO YO ASSRT       10/2018                 $19.00              NET BOOK VALUE          $19.00
21.1494. LICK-A-BUBBLE 1 PACK      10/2018                 $18.91              NET BOOK VALUE          $18.91
21.1495. WAND SPIDER SHORT LEG 10/2018                     $18.80              NET BOOK VALUE          $18.80
         BUBBLE
21.1496. SMB P 35 OZ BUBBLES       10/2018                 $18.71              NET BOOK VALUE          $18.71
21.1497. NT SPRAY A STRING         10/2018                 $18.50              NET BOOK VALUE          $18.50
21.1498. LT SA BIG SAND SHOVEL     10/2018                 $18.45              NET BOOK VALUE          $18.45
21.1499. MB BUBBLE BUG             10/2018                 $18.27              NET BOOK VALUE          $18.27
21.1500. WAND MINNIE               10/2018                 $18.11              NET BOOK VALUE          $18.11
21.1501. RP RUNWAY GLAM NAILS      10/2018                 $17.95              NET BOOK VALUE          $17.95
21.1502. LIC SUPER BUB STICK AVA 10/2018                   $17.92              NET BOOK VALUE          $17.92
21.1503. BT POP BALL GUN           10/2018                 $17.91              NET BOOK VALUE          $17.91
21.1504. BL 9" STAMPED STEEL       10/2018                 $17.89              NET BOOK VALUE          $17.89
         SCHOOL BUS


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1505. LIC POWER POPPER          10/2018                 $17.88              NET BOOK VALUE          $17.88
         TUBED - HULK
21.1506. SMB P SUPER STICK         10/2018                 $17.65              NET BOOK VALUE          $17.65
21.1507. HK BUBBLE CHARM           10/2018                 $17.64              NET BOOK VALUE          $17.64
         NECKLACE
21.1508. KAOS 100 PK WATER         10/2018                 $17.56              NET BOOK VALUE          $17.56
         BOMBS - DT
21.1509. LT 3D BUBBLE CAMERA       10/2018                 $17.53              NET BOOK VALUE          $17.53
21.1510. 8 OZ PET BUBBLES -        10/2018                 $17.41              NET BOOK VALUE          $17.41
         AMSCAN
21.1511. VINYL BAG - 23064 PIT     10/2018                 $17.37              NET BOOK VALUE          $17.37
         BALLS
21.1512. MB BLUE DLX BUBBLE        10/2018                 $17.15              NET BOOK VALUE          $17.15
         VALUE PACK
21.1513. RP TRI-FOLD COMPACT       10/2018                 $17.12              NET BOOK VALUE          $17.12
         PDQ
21.1514. BAGGING 17495 PITBALLS    10/2018                 $16.99              NET BOOK VALUE          $16.99
21.1515. SURPRISE TOY BOX          10/2018                 $16.95              NET BOOK VALUE          $16.95
21.1516. SMB 3PK BUBBLE STICKS     10/2018                 $16.82              NET BOOK VALUE          $16.82
21.1517. LW MONTANA CAP RIFLE      10/2018                 $16.80              NET BOOK VALUE          $16.80
21.1518. RP OMBRE COMPACT          10/2018                 $16.76              NET BOOK VALUE          $16.76
21.1519. WAND FLOWER BUBBLE        10/2018                 $16.41              NET BOOK VALUE          $16.41
21.1520. 100 CT WATERBOMBS         10/2018                 $16.38              NET BOOK VALUE          $16.38
         W/CLIP STRIP
21.1521. WIP 21129 SMB P BUBBLE    10/2018                 $16.35              NET BOOK VALUE          $16.35
         FLURRY
21.1522. RP NAILS SET              10/2018                 $16.18              NET BOOK VALUE          $16.18
21.1523. 4 OZ MB FILLED FROZEN     10/2018                 $15.85              NET BOOK VALUE          $15.85
         W/WAND
21.1524. LIC D-LITES ASST          10/2018                 $15.81              NET BOOK VALUE          $15.81
21.1525. PLAY DAY F/E BUBBLE       10/2018                 $15.65              NET BOOK VALUE          $15.65
         FUN POND
21.1526. SMB 3PK BUBBLE STICK      10/2018                 $15.63              NET BOOK VALUE          $15.63
21.1527. CARS 3 DIP & BLOW         10/2018                 $15.41              NET BOOK VALUE          $15.41
         BUBBLES
21.1528. GY GOOGLY SPIDER          10/2018                 $15.32              NET BOOK VALUE          $15.32
21.1529. ZOOMA CLIP LOAD TWIN      10/2018                 $15.26              NET BOOK VALUE          $15.26
         PACK
21.1530. FUN BUCKET                10/2018                 $15.06              NET BOOK VALUE          $15.06
         ASSORTMENT
21.1531. BLITZ 5 OZ 2PK-           10/2018                 $15.01              NET BOOK VALUE          $15.01
         PEGGABLE TRAY
21.1532. USM STICKY HAND           10/2018                 $14.97              NET BOOK VALUE          $14.97
21.1533. WAND 35 OZ SMB ORANGE 10/2018                     $14.68              NET BOOK VALUE          $14.68
21.1534. 32 OZ SMB BUBBLES DT      10/2018                 $14.66              NET BOOK VALUE          $14.66

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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1535. LIC POWER POPPER TUBE     10/2018                 $14.65              NET BOOK VALUE          $14.65
         LEONARDO
21.1536. PUTTY DINO - SMALL EGG    10/2018                 $14.65              NET BOOK VALUE          $14.65
21.1537. WAND WEB BUBBLE           10/2018                 $14.60              NET BOOK VALUE          $14.60
21.1538. SURPRISE BAG MD DINO      10/2018                 $14.45              NET BOOK VALUE          $14.45
         63782
21.1539. FZ SUPER WOOPER           10/2018                 $14.20              NET BOOK VALUE          $14.20
         CUSHION
21.1540. WM PLAYDAY BUBBLE         10/2018                 $13.95              NET BOOK VALUE          $13.95
         HEADS ASST
21.1541. SPILL RESIST F/E 8 OZ     10/2018                 $13.93              NET BOOK VALUE          $13.93
         MB(20927
21.1542. CONTAINER PUTTY -         10/2018                 $13.93              NET BOOK VALUE          $13.93
         MINNIE
21.1543. FT 2 PK PROP FLYERS       10/2018                 $13.87              NET BOOK VALUE          $13.87
21.1544. KAOS PORTABLE             10/2018                 $13.75              NET BOOK VALUE          $13.75
         PUMPING STATION
21.1545. 4 OZ MB 8 PK NEMO         10/2018                 $13.73              NET BOOK VALUE          $13.73
21.1546. MOLDING MINI PIN CARS 3   10/2018                 $13.58              NET BOOK VALUE          $13.58
         2
21.1547. LIC L&S MICROPHONE        10/2018                 $13.53              NET BOOK VALUE          $13.53
         BELLE
21.1548. MM BUBBLE TEA SET         10/2018                 $13.33              NET BOOK VALUE          $13.33
21.1549. LUMINATN GLOW STICK       10/2018                 $13.29              NET BOOK VALUE          $13.29
         MARKER PDQ
21.1550. POLICE ACCESSORY BOX      10/2018                 $13.25              NET BOOK VALUE          $13.25
         SET
21.1551. LT SA BLOWFISH            10/2018                 $13.22              NET BOOK VALUE          $13.22
         WATERING CAN
21.1552. ALL THINGS SWEET PLAY     10/2018                 $13.19              NET BOOK VALUE          $13.19
         SHOES
21.1553. LWW DURANGO DOUBLE        10/2018                 $13.12              NET BOOK VALUE          $13.12
         HOLSTER
21.1554. OPTRIX SMB HOVER II       10/2018                 $12.92              NET BOOK VALUE          $12.92
21.1555. DSY FIGURAL BUBBLE        10/2018                 $12.89              NET BOOK VALUE          $12.89
         TOPPER
21.1556. WAND FLOWER MINNIE        10/2018                 $12.80              NET BOOK VALUE          $12.80
         BUBBLE
21.1557. SMB BUBBLE FRENZY         10/2018                 $12.77              NET BOOK VALUE          $12.77
         MACHINE
21.1558. LIC BAG OF BUBBLES        10/2018                 $12.75              NET BOOK VALUE          $12.75
21.1559. BUBBLE WAND 7924/6204     10/2018                 $12.72              NET BOOK VALUE          $12.72
21.1560. KAOS AQUA BOW             10/2018                 $12.66              NET BOOK VALUE          $12.66
21.1561. SPONGEBOB PROJECTOR       10/2018                 $12.61              NET BOOK VALUE          $12.61
         LIGHT



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21.      Finished goods, including goods held for resale
         General description        Date of the last       Net book value of   Valuation method used   Current value of
                                    physical inventory     debtor's interest   for current value       debtor’s interest
21.1562. F/E MB LIL BUBBLE          10/2018                $12.60              NET BOOK VALUE          $12.60
         BUCKET PDQ
21.1563. SHRINK WRAP BALL           10/2018                $12.40              NET BOOK VALUE          $12.40
         MICKEY
21.1564. BLITZ LIGHT UP BLASTER -   10/2018                $12.15              NET BOOK VALUE          $12.15
         WG
21.1565. WAND STAR BUBBLE           10/2018                $12.11              NET BOOK VALUE          $12.11
21.1566. GLOW BUBBLES OPP BAG       10/2018                $11.94              NET BOOK VALUE          $11.94
         PDQ
21.1567. SB PROJECTOR LIGHT         10/2018                $11.91              NET BOOK VALUE          $11.91
21.1568. WAND TIARA BUBBLE          10/2018                $11.85              NET BOOK VALUE          $11.85
21.1569. LIFE LIKE REPLICAS         10/2018                $11.83              NET BOOK VALUE          $11.83
21.1570. GLOW WAND ASSEMBLE         10/2018                $11.79              NET BOOK VALUE          $11.79
         IRONMAN
21.1571. MOLDING MINI BALL          10/2018                $11.77              NET BOOK VALUE          $11.77
         YELLOW 121
21.1572. MOLDING - PITBALL          10/2018                $11.72              NET BOOK VALUE          $11.72
         GREEN
21.1573. MB BLUE MB WHIMSEY         10/2018                $11.70              NET BOOK VALUE          $11.70
         BUBBLE FUN
21.1574. WAND ROSE BUBBLE           10/2018                $11.57              NET BOOK VALUE          $11.57
21.1575. CARS 3 7 IN 1 SET          10/2018                $11.09              NET BOOK VALUE          $11.09
21.1576. LICK-A-BUBBLE BUBBLE       10/2018                $11.05              NET BOOK VALUE          $11.05
         BLOWER
21.1577. 32 OZ SMB BUBBLES - WG     10/2018                $10.90              NET BOOK VALUE          $10.90
21.1578. WAND SPIDER LONG LEG       10/2018                $10.71              NET BOOK VALUE          $10.71
         BUBBLE
21.1579. 8 PK PIT BALLS IN PDQ      10/2018                $10.59              NET BOOK VALUE          $10.59
21.1580. 16 OZ PET BUBBLES          10/2018                $10.56              NET BOOK VALUE          $10.56
21.1581. LAUNCHER W/BASE            10/2018                $10.56              NET BOOK VALUE          $10.56
         SUPERMAN
21.1582. 9" DEFLATED SOCCER         10/2018                $10.51              NET BOOK VALUE          $10.51
         BALL ASST
21.1583. LT SA WATER SQUIRTERS      10/2018                $10.45              NET BOOK VALUE          $10.45
         ASSORTME
21.1584. SMB P DOUBLE BIG           10/2018                $10.43              NET BOOK VALUE          $10.43
         BUBBLE MAKER
21.1585. PUNCH BALL CRITTER         10/2018                $10.40              NET BOOK VALUE          $10.40
         OPP BAG
21.1586. CARS DIP N BLOW            10/2018                $10.19              NET BOOK VALUE          $10.19
21.1587. GY ZOOGLIES                10/2018                $10.18              NET BOOK VALUE          $10.18
21.1588. WAND HEART BUBBLE          10/2018                $10.10              NET BOOK VALUE          $10.10
21.1589. SHRINK WRAP CHECKERS       10/2018                $10.09              NET BOOK VALUE          $10.09
         ORANGE
21.1590. SPIDERMAN 5 OZ             10/2018                $9.96               NET BOOK VALUE          $9.96
         BUBBLES
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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1591. PLAYDAY 5PK FOAM          10/2018                 $9.90               NET BOOK VALUE          $9.90
         BASEBALL PDQ
21.1592. BJWT HONUA BRACELET       10/2018                 $9.86               NET BOOK VALUE          $9.86
21.1593. FLURRY BLUE               10/2018                 $9.83               NET BOOK VALUE          $9.83
21.1594. GLOW WAND USM             10/2018                 $9.75               NET BOOK VALUE          $9.75
21.1595. 21" JUMBO BAT & BALL      10/2018                 $9.71               NET BOOK VALUE          $9.71
         PDQ
21.1596. SURPRISE BAG WAND         10/2018                 $9.67               NET BOOK VALUE          $9.67
         51080
21.1597. GY JIGGLE PETS            10/2018                 $9.62               NET BOOK VALUE          $9.62
21.1598. F/E 5" LIC GOOGLY BALL    10/2018                 $9.53               NET BOOK VALUE          $9.53
         PDQ
21.1599. TTS THOMAS SAND           10/2018                 $9.44               NET BOOK VALUE          $9.44
         BUCKET
21.1600. DISNEY 5 N 1              10/2018                 $9.28               NET BOOK VALUE          $9.28
         ASSORTMENT
21.1601. LT OCTOPUS BUBBLE         10/2018                 $9.09               NET BOOK VALUE          $9.09
         MAKER
21.1602. STW R2-D2 FIG BOTTLE      10/2018                 $8.96               NET BOOK VALUE          $8.96
         TOPPER
21.1603. 8 OZ PET BUBBLES - WG     10/2018                 $8.78               NET BOOK VALUE          $8.78
21.1604. SMB 5N1 BUBBLE SET        10/2018                 $8.77               NET BOOK VALUE          $8.77
21.1605. IAM 8PK BOOT CAMP         10/2018                 $8.72               NET BOOK VALUE          $8.72
21.1606. TRU TEAM TUBE WATER       10/2018                 $8.70               NET BOOK VALUE          $8.70
         BOMBS
21.1607. LIC COSMIC BALL GIRL      10/2018                 $8.69               NET BOOK VALUE          $8.69
         ASSRT
21.1608. PAW PATROL MARSHALL       10/2018                 $8.64               NET BOOK VALUE          $8.64
         BOP BALL
21.1609. SMB BUBBLE STICK          10/2018                 $8.60               NET BOOK VALUE          $8.60
21.1610. HALLOWEEN MASK CLIP       10/2018                 $8.56               NET BOOK VALUE          $8.56
         STRIP
21.1611. MOLDING - PITBALL         10/2018                 $8.41               NET BOOK VALUE          $8.41
         PURPLE
21.1612. KAOS AQUA BOW - GREEN     10/2018                 $8.36               NET BOOK VALUE          $8.36
21.1613. OPTRIX HK HG3-D BUBBLE    10/2018                 $8.24               NET BOOK VALUE          $8.24
21.1614. DT ROCKET LAUNCHER        10/2018                 $8.22               NET BOOK VALUE          $8.22
21.1615. LOL 9" PLAYBALL           10/2018                 $8.22               NET BOOK VALUE          $8.22
21.1616. LT SA BUG BOX             10/2018                 $8.17               NET BOOK VALUE          $8.17
21.1617. STW YODA FIG BOTTLE       10/2018                 $8.06               NET BOOK VALUE          $8.06
         TOPPER
21.1618. USM CELL PHONE            10/2018                 $8.04               NET BOOK VALUE          $8.04
21.1619. 128 OZ SC MB BUBBLES -    10/2018                 $7.90               NET BOOK VALUE          $7.90
         TRU
21.1620. NT SPINNING ORB           10/2018                 $7.84               NET BOOK VALUE          $7.84

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21.      Finished goods, including goods held for resale
         General description         Date of the last      Net book value of    Valuation method used   Current value of
                                     physical inventory    debtor's interest    for current value       debtor’s interest
21.1621. F/E KAOS 500 CT WATER       10/2018               $7.80                NET BOOK VALUE          $7.80
         BOMBS
21.1622. NT DINO PUTTY EGG           10/2018               $7.77                NET BOOK VALUE          $7.77
         LARGE
21.1623. SMB ICE CREAM BUBBLE        10/2018               $7.77                NET BOOK VALUE          $7.77
         PDQ
21.1624. RAINBOW DREAMS MEGA         10/2018               $7.76                NET BOOK VALUE          $7.76
         CHECKERS
21.1625. 9" SAUCER DIAMONDS          10/2018               $7.73                NET BOOK VALUE          $7.73
         72GR
21.1626. MOLDING - PITBALL           10/2018               $7.72                NET BOOK VALUE          $7.72
         YELLOW
21.1627. LIC L&S MICROPHONE          10/2018               $7.61                NET BOOK VALUE          $7.61
         BELLE
21.1628. 4 OZ SMB 8 PK BUBBLE -      10/2018               $7.55                NET BOOK VALUE          $7.55
         WG
21.1629. LIC 6 OZ BUBBLES ASST       10/2018               $7.50                NET BOOK VALUE          $7.50
21.1630. JUNGLE DINO BUCKET          10/2018               $7.46                NET BOOK VALUE          $7.46
         PLAYSET
21.1631. TMNT SPRINKLER              10/2018               $7.43                NET BOOK VALUE          $7.43
21.1632. LIC GOLF SET ASST           10/2018               $7.33                NET BOOK VALUE          $7.33
         SPECIAL
21.1633. CARS 3 F/E DIP N BLOW       10/2018               $7.21                NET BOOK VALUE          $7.21
21.1634. GOOGLY BIRD - LARGE         10/2018               $7.11                NET BOOK VALUE          $7.11
21.1635. PLAYDAY GOOGLY TOSS         10/2018               $7.07                NET BOOK VALUE          $7.07
         GAME SP
21.1636. MA 151 COUNT MARBLE         10/2018               $6.97                NET BOOK VALUE          $6.97
         BOX
21.1637. SB SPONGEBOB                10/2018               $6.95                NET BOOK VALUE          $6.95
         SPRINKLER
21.1638. KAOS ZEUS LAUNCHER          10/2018               $6.71                NET BOOK VALUE          $6.71
21.1639. WATER BOMB BALL             10/2018               $6.67                NET BOOK VALUE          $6.67
21.1640. LIC 6OZ BUBBLES ASST        10/2018               $6.39                NET BOOK VALUE          $6.39
         PDQ SPCL
21.1641. MB BUBBLE EATER             10/2018               $6.36                NET BOOK VALUE          $6.36
21.1642. DOC MEDICAL SET             10/2018               $6.25                NET BOOK VALUE          $6.25
         CARDED
21.1643. FUNDERFUL DIARY             10/2018               $6.22                NET BOOK VALUE          $6.22
21.1644. LIC 7 IN 1 SET - PRINCESS   10/2018               $6.16                NET BOOK VALUE          $6.16
21.1645. PRINCESS BUBBLE             10/2018               $5.98                NET BOOK VALUE          $5.98
         PENDANT
21.1646. POWER POPPER                10/2018               $5.96                NET BOOK VALUE          $5.96
         SPIDERMAN
21.1647. NT MUSIC MAKER              10/2018               $5.94                NET BOOK VALUE          $5.94
         RECORDER



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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1648. LIC PADDLE BALL           10/2018                 $5.91               NET BOOK VALUE          $5.91
         ASSORTMENT
21.1649. LT SA SAND MOLD SET 4     10/2018                 $5.84               NET BOOK VALUE          $5.84
         PCS.
21.1650. RAINBOW DREAMS STICKY 10/2018                     $5.79               NET BOOK VALUE          $5.79
         PATCHES
21.1651. WM SMB 8 PK BUBBLES       10/2018                 $5.75               NET BOOK VALUE          $5.75
21.1652. SMB M8 MINI BUBBLE        10/2018                 $5.73               NET BOOK VALUE          $5.73
         FACTORY
21.1653. LIC BOP BALLS ASST        10/2018                 $5.69               NET BOOK VALUE          $5.69
21.1654. WIP 19096                 10/2018                 $5.61               NET BOOK VALUE          $5.61
21.1655. GOOGLY TAILS              10/2018                 $5.58               NET BOOK VALUE          $5.58
21.1656. SX WRIST SHOT             10/2018                 $5.49               NET BOOK VALUE          $5.49
21.1657. PRINCESS LIL DIPPER       10/2018                 $5.43               NET BOOK VALUE          $5.43
         BUBBLE
21.1658. 64 OZ PET BUBBLE FE       10/2018                 $5.32               NET BOOK VALUE          $5.32
         21398
21.1659. SMB BUBBLE REFILL         10/2018                 $5.29               NET BOOK VALUE          $5.29
         STATION -DG$
21.1660. SNEAKY SNAKE              10/2018                 $5.25               NET BOOK VALUE          $5.25
21.1661. SMB BUBBLE REFILL         10/2018                 $5.22               NET BOOK VALUE          $5.22
         STATION 2 DG
21.1662. PAW PATROL EVEREST        10/2018                 $5.12               NET BOOK VALUE          $5.12
         BOP BALL
21.1663. HK PROJECTOR LIGHT        10/2018                 $5.11               NET BOOK VALUE          $5.11
21.1664. 4 OZ MB 8 PK STW          10/2018                 $5.06               NET BOOK VALUE          $5.06
21.1665. LT SPIRAL SPRINKLER -     10/2018                 $5.00               NET BOOK VALUE          $5.00
         BLUE
21.1666. WAND 32 OZ SMB ASST       10/2018                 $4.98               NET BOOK VALUE          $4.98
         Y/B/PUR/G
21.1667. LIC BUBBLE BELLIES CARS 10/2018                   $4.93               NET BOOK VALUE          $4.93
         3
21.1668. FT SKY DIVER              10/2018                 $4.80               NET BOOK VALUE          $4.80
21.1669. RP MINI NOTEBOOK          10/2018                 $4.75               NET BOOK VALUE          $4.75
         KEYCHAIN
21.1670. SPIDERMAN BOP BALL        10/2018                 $4.74               NET BOOK VALUE          $4.74
21.1671. CHA CHA CHARMS            10/2018                 $4.74               NET BOOK VALUE          $4.74
         NECKLACE
21.1672. MV BATTLE SPLASH          10/2018                 $4.70               NET BOOK VALUE          $4.70
         SPRINKLER
21.1673. GLO STICK BALL            10/2018                 $4.66               NET BOOK VALUE          $4.66
21.1674. GY THE IT BALL 4" PDQ     10/2018                 $4.55               NET BOOK VALUE          $4.55
21.1675. LT SA PLAYFUL PAWS        10/2018                 $4.55               NET BOOK VALUE          $4.55
         SPRINKLER
21.1676. SCOOP & SCORE             10/2018                 $4.54               NET BOOK VALUE          $4.54


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1677. GUMBALL MACHINE           10/2018                 $4.54               NET BOOK VALUE          $4.54
21.1678. WG 450 CT WATER BOMBS     10/2018                 $4.48               NET BOOK VALUE          $4.48
21.1679. ND DORA HOPSPLASH         10/2018                 $4.40               NET BOOK VALUE          $4.40
21.1680. KAOS ZEUS                 10/2018                 $4.36               NET BOOK VALUE          $4.36
21.1681. HK SAND TOOL SET          10/2018                 $4.27               NET BOOK VALUE          $4.27
21.1682. OLAF DIP & BLOW           10/2018                 $4.26               NET BOOK VALUE          $4.26
21.1683. 16 OZ PET 4PK BUBBLE      10/2018                 $4.21               NET BOOK VALUE          $4.21
         1/4PALLET
21.1684. SPIDERMAN BUBBLE          10/2018                 $4.16               NET BOOK VALUE          $4.16
         BLASTER
21.1685. 16 OZ PET BUBBLES         10/2018                 $4.10               NET BOOK VALUE          $4.10
         SCENTED DT
21.1686. KIDSTUFF FAT BAT & BALL   10/2018                 $4.08               NET BOOK VALUE          $4.08
21.1687. LIGHT UP BATON            10/2018                 $4.08               NET BOOK VALUE          $4.08
21.1688. LT SA MINI SPIRAL         10/2018                 $4.00               NET BOOK VALUE          $4.00
         ASSEMBLED
21.1689. MOLDING PUTTING           10/2018                 $3.96               NET BOOK VALUE          $3.96
         CIRCLE PK GEN2
21.1690. STR SCENTED BUCKET &      10/2018                 $3.84               NET BOOK VALUE          $3.84
         SHOVEL
21.1691. M8 LIC L&S MICROPHONE     10/2018                 $3.81               NET BOOK VALUE          $3.81
         ASST
21.1692. LIC L&S MICROPHONE        10/2018                 $3.81               NET BOOK VALUE          $3.81
         POPPY
21.1693. GDG DIEGO RAFT SPLASH     10/2018                 $3.77               NET BOOK VALUE          $3.77
21.1694. 50 CT F/E MARBLES PDQ     10/2018                 $3.75               NET BOOK VALUE          $3.75
21.1695. SMB P BUBBLE              10/2018                 $3.74               NET BOOK VALUE          $3.74
         WHISTLERS
21.1696. STR SCENTED BUBBLE        10/2018                 $3.72               NET BOOK VALUE          $3.72
         TEA PARTY
21.1697. RP ULTIMATE BEAUTY        10/2018                 $3.66               NET BOOK VALUE          $3.66
         BABE GLAM
21.1698. POWER POPPER CAPTAIN      10/2018                 $3.58               NET BOOK VALUE          $3.58
         AMERICA
21.1699. HULK BOP BALL             10/2018                 $3.53               NET BOOK VALUE          $3.53
21.1700. PRINCESS DIP AND BLOW     10/2018                 $3.50               NET BOOK VALUE          $3.50
21.1701. OPTRIX SPINZ              10/2018                 $3.49               NET BOOK VALUE          $3.49
21.1702. MB HELICOPTER 2 PK BOX    10/2018                 $3.42               NET BOOK VALUE          $3.42
21.1703. USM MINI BUBBLE STICK     10/2018                 $3.38               NET BOOK VALUE          $3.38
21.1704. SW 7' TWIST N FUN JUMP    10/2018                 $3.32               NET BOOK VALUE          $3.32
         ROPE
21.1705. 32 OZ SMB BUBBLES F/E     10/2018                 $3.28               NET BOOK VALUE          $3.28
         (16523)
21.1706. SMB PP BUBBLE TURBINE     10/2018                 $3.26               NET BOOK VALUE          $3.26


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21.      Finished goods, including goods held for resale
         General description       Date of the last        Net book value of   Valuation method used   Current value of
                                   physical inventory      debtor's interest   for current value       debtor’s interest
21.1707. PRINCESS F/E BUBBLE       10/2018                 $3.16               NET BOOK VALUE          $3.16
         FUN SET
21.1708. MOLDING PINK WHEELS -     10/2018                 $3.10               NET BOOK VALUE          $3.10
         CADDY
21.1709. #2 NEON PURPLE WATER      10/2018                 $3.08               NET BOOK VALUE          $3.08
         BOMBS
21.1710. MB 2 OZ BUBBLES           10/2018                 $2.99               NET BOOK VALUE          $2.99
21.1711. LL F/E PUNCHBALL          10/2018                 $2.95               NET BOOK VALUE          $2.95
         CRITTERS
21.1712. SCOOP&SCORE ASSM 2        10/2018                 $2.94               NET BOOK VALUE          $2.94
         SCOOP&BALLS
21.1713. BOTTLE FILLING EU L-A-B   10/2018                 $2.76               NET BOOK VALUE          $2.76
21.1714. HK SUPER STICK BUBBLES 10/2018                    $2.75               NET BOOK VALUE          $2.75
21.1715. GY ZOOGLY PALS            10/2018                 $2.61               NET BOOK VALUE          $2.61
         W/LIGHTS
21.1716. FUZZBIES IRON MAN         10/2018                 $2.58               NET BOOK VALUE          $2.58
21.1717. RP BEAUTY BABE HEART      10/2018                 $2.51               NET BOOK VALUE          $2.51
         PALETTE
21.1718. PRINCESS SMART PHONE      10/2018                 $2.47               NET BOOK VALUE          $2.47
21.1719. CARS F/E BUBBLE FUN       10/2018                 $2.38               NET BOOK VALUE          $2.38
         SET
21.1720. 4 OZ SMB 6 PK - DG$       10/2018                 $2.36               NET BOOK VALUE          $2.36
21.1721. FUZZBIES CAPTAIN          10/2018                 $2.34               NET BOOK VALUE          $2.34
         AMERICA
21.1722. FUZZBIES HULK             10/2018                 $2.34               NET BOOK VALUE          $2.34
21.1723. LIC L&S MICROPHONE        10/2018                 $2.25               NET BOOK VALUE          $2.25
         RAPUNZEL
21.1724. LIC L&S MICROPHONE        10/2018                 $2.25               NET BOOK VALUE          $2.25
         ELENA
21.1725. BB BUBB-A-LOONS MAKER     10/2018                 $2.17               NET BOOK VALUE          $2.17
21.1726. 9" DEFLATED RAINBOW       10/2018                 $2.13               NET BOOK VALUE          $2.13
         BASKETBALL
21.1727. GY BIG EYES               10/2018                 $2.08               NET BOOK VALUE          $2.08
21.1728. AVENGERS BUBBLE           10/2018                 $2.08               NET BOOK VALUE          $2.08
         BLASTER
21.1729. FUZZBIE MARVEL ASST       10/2018                 $1.95               NET BOOK VALUE          $1.95
21.1730. PP MINI PONY 2 PACK       10/2018                 $1.93               NET BOOK VALUE          $1.93
21.1731. 80 OZ PET BUBBLE -        10/2018                 $1.87               NET BOOK VALUE          $1.87
         AMSCAN
21.1732. HK PROJECTOR LIGHT        10/2018                 $1.74               NET BOOK VALUE          $1.74
21.1733. RP FASHION DESIGNER       10/2018                 $1.72               NET BOOK VALUE          $1.72
21.1734. LALALOOPSY PROJECTOR      10/2018                 $1.70               NET BOOK VALUE          $1.70
         LIGHT
21.1735. TRU SC-151CT MARBLES      10/2018                 $1.70               NET BOOK VALUE          $1.70



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21.      Finished goods, including goods held for resale
         General description           Date of the last     Net book value of     Valuation method used   Current value of
                                       physical inventory   debtor's interest     for current value       debtor’s interest
21.1736. MICKEY F/E BUBBLE FUN         10/2018              $1.67                 NET BOOK VALUE          $1.67
         SET
21.1737. 16 OZ MB BUBBLE F/E           10/2018              $1.66                 NET BOOK VALUE          $1.66
21.1738. MA 100 MARBLES                10/2018              $1.66                 NET BOOK VALUE          $1.66
21.1739. DO DORA PROJECTOR             10/2018              $1.66                 NET BOOK VALUE          $1.66
         LIGHT
21.1740. 24 OZ MB BUBBLES - BIG        10/2018              $1.45                 NET BOOK VALUE          $1.45
         LOTS
21.1741. BLISTER 21999 B               10/2018              $1.44                 NET BOOK VALUE          $1.44
21.1742. 6 OZ FROZEN OLAF              10/2018              $1.40                 NET BOOK VALUE          $1.40
21.1743. GY GOOGLY STARFISH            10/2018              $1.40                 NET BOOK VALUE          $1.40
21.1744. HONUA BRACELETS               10/2018              $1.32                 NET BOOK VALUE          $1.32
21.1745. 50 CT MARBLE PDQ              10/2018              $1.29                 NET BOOK VALUE          $1.29
21.1746. MA MARVELOUS MARBLES 10/2018                       $1.28                 NET BOOK VALUE          $1.28
21.1747. MOLDING PUTTING               10/2018              $1.22                 NET BOOK VALUE          $1.22
         CIRCLE YW GEN2
21.1748. SX THUMB SHOT OPP BAG         10/2018              $1.13                 NET BOOK VALUE          $1.13
21.1749. FT FLYING UFO                 10/2018              $1.11                 NET BOOK VALUE          $1.11
21.1750. ISNAPS 1D                     10/2018              $1.04                 NET BOOK VALUE          $1.04
21.1751. OP SPIDERMAN HG3-D            10/2018              $1.00                 NET BOOK VALUE          $1.00
         BUBBLE
21.1752. 4 OZ SMB 6PK BUBBLES -        10/2018              $0.92                 NET BOOK VALUE          $0.92
         CLEAR
21.1753. 4 OZ SMB 6 PK - DG$           10/2018              $0.85                 NET BOOK VALUE          $0.85
21.1754. 4 OZ MB BUBBLES -             10/2018              $0.82                 NET BOOK VALUE          $0.82
         AMSCAN
21.1755. 8 OZ MB BUBBLE GREEN          10/2018              $0.77                 NET BOOK VALUE          $0.77
         TD BANK
21.1756. LT BEACH BALL                 10/2018              $0.64                 NET BOOK VALUE          $0.64
21.1757. RP CHARMINGLY GLAM            10/2018              $0.64                 NET BOOK VALUE          $0.64
21.1758. FUNNY BUNNY PUPPET            10/2018              $0.64                 NET BOOK VALUE          $0.64
         4681
21.1759. SPIDERMAN F/E BUBBLE          10/2018              $0.53                 NET BOOK VALUE          $0.53
         FUN SET
21.1760. MINNIE BUBBLE PENDANT         10/2018              $0.46                 NET BOOK VALUE          $0.46
21.1761. SP PADDLE BALL                10/2018              $0.43                 NET BOOK VALUE          $0.43
21.1762. MINI SPORT BALLS              10/2018              $0.38                 NET BOOK VALUE          $0.38
21.1763. BOTTLE FILLING LICK-A-        10/2018              $0.19                 NET BOOK VALUE          $0.19
         BUBBLE
21.1764. SMB P BUBBLE FACTORY          10/2018              $0.14                 NET BOOK VALUE          $0.14

22.      Other inventory or supplies
22.1.    ________________________ _____________________ $___________________      _____________________ $_______________



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23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                           $10,739,341.38

24.     Is any of the property listed in Part 5 perishable?
        þ No
        ¨ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        þ Yes Book value: $638,000.00 Valuation method: NET BOOK VALUE Current value: $638,000.00
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
          General description                                               Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

28.       Crops—either planted or harvested
28.1.     ___________________________________________________               $_______________    _________________   $_______________

29.       Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.     ___________________________________________________               $_______________    _________________   $_______________

30.       Farm machinery and equipment (Other than titled motor vehicles)
30.1.     ___________________________________________________               $_______________    _________________   $_______________

31.       Farm and fishing supplies, chemicals, and feed
31.1.     ___________________________________________________               $_______________    _________________   $_______________

32.       Other farming and fishing-related property not already listed in Part 6
32.1.     ___________________________________________________               $_______________    _________________   $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
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37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.
          General description                                                 Net book value of   Valuation method    Current value of
                                                                              debtor's interest   used for current    debtor’s interest
                                                                              (Where available)   value

39.       Office furniture
39.1.     OWNED                                                               $11,270.00          Net Book Value      $11,270.00

40.       Office fixtures
40.1.     ___________________________________________________                 $_______________    _________________   $_______________

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

                                                                              Net book value of   Valuation method    Current value of
                                                                              debtor's interest   used for current    debtor’s interest
                                                                                                  value

41.1.     LEASE                                                               $6,000.00           monthly lease       N/A

42.       Collectibles. Examples: Antiques and figurines; paintings, prints, or other
          artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
          or baseball card collections; other collections, memorabilia, or collectibles
42.1.     ___________________________________________________                 $_______________    _________________   $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                                 $11,270.00

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        þ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
          General description                                                 Net book value of   Valuation method    Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current    debtor’s interest
          HIN, or N-number)                                                   (Where available)   value
                                                                              (Where available)
47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.     ___________________________________________________                 $_______________    _________________   $_______________

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48.       Watercraft, trailers, motors, and related accessories. Examples: Boats,
          trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.     ___________________________________________________               $_______________      _________________       $_______________

49.       Aircraft and accessories
49.1.     ___________________________________________________               $_______________      _________________       $_______________

50.       Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.     ENOR MACHINES                                                     $112,161.54           Net Book Value          $112,161.54
50.2.     3 PITBALL MACHINES                                                $76,166.25            Net Book Value          $76,166.25
50.3.     7 FORKLIFTS                                                       $65,366.34            Net Book Value          $65,366.34
50.4.     'SUPERSTRUCTURE, ROOFING, PLUMBING, ELECTRICAL                    $217,697.00           Net Book Value          $217,697.00
50.5.     REPLACEMENT OF EXISTING CCTV IN NORTH HILLS                       $9,450.00             Net Book Value          $9,450.00
50.6.     TOOLING                                                           $1,577,223.09         Net Book Value          $1,577,223.09

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                  $2,058,064.22

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        þ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 9:        Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
          Description and location of property                  Nature and          Net book value      Valuation           Current value of
          Include street address or other description such as   extent of           of debtor's         method used for     debtor’s interest
          Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,            in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.     N/A                                                   LEASE               $_____________      N/A                 N/A
          OFFICE BUILDING
          THE PAUL VAN OSTRAND TRUST
          16641 ROSCOE PL
          NORTH HILLS CA 91343

55.2.     N/A                                                   LEASE               $_____________      N/A                 N/A
          OFFICE BUILDING
          SIEMPRE VIVA IND
          9043 SIEMPRE VIVA RD
          #100
          SAN DIEGO CA 92154




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          Description and location of property                      Nature and          Net book value      Valuation           Current value of
          Include street address or other description such as       extent of           of debtor's         method used for     debtor’s interest
          Assessor Parcel Number (APN), and type of property        debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,                in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.3.     N/A                                                       LEASE               $_____________      N/A                 N/A
          OFFICE BUILDING
          SH&S LIMITED PARTNERSHIP II, LLP
          RAIN TREE BUSINESS CENTER
          900B S. WALTON BLVD
          #24 & #25
          BENTONVILLE AR 72712

55.4.     N/A                                                       LEASEHOLD           $224,718.00         Net book value      $224,718.00
                                                                    IMPROVEMENT
          LEASHOLD IMPROVEMENT
          THE PAUL VAN OSTRAND TRUST
          16641 ROSCOE PL
          NORTH HILLS CA 91343

55.5.     N/A                                                       LEASEHOLD           $10,486.00          Net book value      $10,486.00
                                                                    IMPROVEMENT
          LEASHOLD IMPROVEMENT
          THE PAUL VAN OSTRAND TRUST
          16641 ROSCOE PL
          NORTH HILLS CA 91343

56.     Total of part 9
        Add the current value on lines 55. Copy the total to line 88.                                                             $235,204.00

57.     Is a depreciation schedule available for any of the property listed in Part 9?
        ¨ No
        þ Yes
58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 10: Intangibles and intellectual property

59.     Does the debtor have any interests in intangibles or intellectual property?
        ¨ No. Go to Part 11.
        þ Yes. Fill in the information below.
          General description                                                   Net book value of     Valuation method        Current value of
                                                                                debtor's interest     used for current        debtor’s interest
                                                                                (Where available)     value

60.       Patents, copyrights, trademarks, and trade secrets
60.1.     PATENT OMNI GLOW PATENT                                               $0.00                 Unknown, never had      UNDETERMINED
                                                                                                      them appraised

60.2.     PATENT DEMARS PATENT                                                  $0.00                 Unknown, never had      UNDETERMINED
                                                                                                      them appraised

60.3.     ERP SOFTWARE NETSUITE                                                 $375,000.00           UNDETERMINED            UNDETERMINED

60.4.     TRADEMARK-BUBBLES 2 GO 88453152                                       UNDETERMINED          undetermined            UNDETERMINED

60.5.     TRADEMARK-COTTON CANDY SAND 88220351                                  UNDETERMINED          undetermined            UNDETERMINED

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60.6.    TRADEMARK-FLUFT 88220347                             UNDETERMINED       undetermined       UNDETERMINED

60.7.    TRADEMARK-ASMR 88581197                              UNDETERMINED       undetermined       UNDETERMINED

60.8.    TRADEMARK-BUBBLE FRENZY 88581195                     UNDETERMINED       undetermined       UNDETERMINED

60.9.    TRADEMARK-SUPER STICK 88581193                       UNDETERMINED       undetermined       UNDETERMINED

60.10. TRADEMARK-POPBANDS 88581191                            UNDETERMINED       undetermined       UNDETERMINED

60.11. TRADEMARK-CHARMPOPS 88581189                           UNDETERMINED       undetermined       UNDETERMINED

60.12. TRADEMARK-INSTAPOP CHARMERS 88581185                   UNDETERMINED       undetermined       UNDETERMINED

60.13. TRADEMARK-BUBBLES ON THE GO 88581182                   UNDETERMINED       undetermined       UNDETERMINED

60.14. TRADEMARK-SCENTABUBBLES 88579536                       UNDETERMINED       undetermined       UNDETERMINED

60.15. TRADEMARK-BUBBLETINI 88579535                          UNDETERMINED       undetermined       UNDETERMINED

60.16. TRADEMARK-PAPER SHOOTERZ 88579533                      UNDETERMINED       undetermined       UNDETERMINED

60.17. TRADEMARK-SPITBALLBLASTERZ 88579531                    UNDETERMINED       undetermined       UNDETERMINED

60.18. TRADEMARK-BOUNCE 88579529                              UNDETERMINED       undetermined       UNDETERMINED

60.19. TRADEMARK-GLAMSTERS 88579526                           UNDETERMINED       undetermined       UNDETERMINED

60.20. TRADEMARK-FANORAMA 88579517                            UNDETERMINED       undetermined       UNDETERMINED

60.21. TRADEMARK-LOVEPOPS 88309513                            UNDETERMINED       undetermined       UNDETERMINED

60.22. TRADEMARK-SECRET POPS 88309498                         UNDETERMINED       undetermined       UNDETERMINED

60.23. TRADEMARK-MYSTERY POPS 88309489                        UNDETERMINED       undetermined       UNDETERMINED

60.24. TRADEMARK-BLITZ BUBBLES 88227199                       UNDETERMINED       undetermined       UNDETERMINED

60.25. TRADEMARK-BLITZ 88227184                               UNDETERMINED       undetermined       UNDETERMINED

60.26. TRADEMARK-FUNKY FARM 88025379                          UNDETERMINED       undetermined       UNDETERMINED

60.27. TRADEMARK-MURPHY & KAI 88309307                        UNDETERMINED       undetermined       UNDETERMINED

60.28. TRADEMARK-BLITZ STORMY BUBBLES 88309686                UNDETERMINED       undetermined       UNDETERMINED

60.29. TRADEMARK-STORMY 88309684                              UNDETERMINED       undetermined       UNDETERMINED

60.30. TRADEMARK-SENSE 88309473                               UNDETERMINED       undetermined       UNDETERMINED

60.31. TRADEMARK-PAWSOME 88309460                             UNDETERMINED       undetermined       UNDETERMINED

60.32. TRADEMARK-GLITZ 88309267                               UNDETERMINED       undetermined       UNDETERMINED

60.33. TRADEMARK-FORTUNEPOPS 88177217                         UNDETERMINED       undetermined       UNDETERMINED

60.34. TRADEMARK-INSTAPOPS 88177214                           UNDETERMINED       undetermined       UNDETERMINED

60.35. TRADEMARK-BOBA BALL 88140326                           UNDETERMINED       undetermined       UNDETERMINED

60.36. TRADEMARK-FOOMIES 87472585                             UNDETERMINED       undetermined       UNDETERMINED

60.37. TRADEMARK-FOAMIES 87472583                             UNDETERMINED       undetermined       UNDETERMINED

60.38. TRADEMARK-MONKEY LINKS 87875956                        UNDETERMINED       undetermined       UNDETERMINED

60.39. TRADEMARK-INSTABALLOON 87929072                        UNDETERMINED       undetermined       UNDETERMINED

60.40. TRADEMARK-LAYERS OF MAGIC 87929114                     UNDETERMINED       undetermined       UNDETERMINED

60.41. TRADEMARK-MIMIS 87779095                               UNDETERMINED       undetermined       UNDETERMINED

60.42. TRADEMARK-SAVOR THE FLAVOR 87579024                    UNDETERMINED       undetermined       UNDETERMINED

60.43. TRADEMARK-BUBBLETAINMENT 87536894                      UNDETERMINED       undetermined       UNDETERMINED

60.44. TRADEMARK-LITTLE JOEYS 87776579                        UNDETERMINED       undetermined       UNDETERMINED
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60.45. TRADEMARK-STREET EATS 87779808                         UNDETERMINED       undetermined       UNDETERMINED

60.46. TRADEMARK-BUBBLEMANIA 87536891                         UNDETERMINED       undetermined       UNDETERMINED

60.47. TRADEMARK-BUBBLE BITES 87384501                        UNDETERMINED       undetermined       UNDETERMINED

60.48. TRADEMARK-LICKITY 87514043                             UNDETERMINED       undetermined       UNDETERMINED

60.49. TRADEMARK-GLITTERATI 87625425                          UNDETERMINED       undetermined       UNDETERMINED

60.50. TRADEMARK-MAJIKKU 87514024                             UNDETERMINED       undetermined       UNDETERMINED

60.51. TRADEMARK-BUBBLOONS 87779090                           UNDETERMINED       undetermined       UNDETERMINED

60.52. TRADEMARK-LICK-A-BUBBLE 87412648                       UNDETERMINED       undetermined       UNDETERMINED

60.53. TRADEMARK-TASTE THE FUN 87625431                       UNDETERMINED       undetermined       UNDETERMINED

60.54. TRADEMARK-FIRST IN FUN 87394996                        UNDETERMINED       undetermined       UNDETERMINED

60.55. TRADEMARK-CHA CHA CHARMS 87817376                      UNDETERMINED       undetermined       UNDETERMINED

60.56. TRADEMARK-BON BONS 87779101                            UNDETERMINED       undetermined       UNDETERMINED

60.57. TRADEMARK-FIRE AND FURY 87561260                       UNDETERMINED       undetermined       UNDETERMINED

60.58. TRADEMARK-KIDDY UP 87391739                            UNDETERMINED       undetermined       UNDETERMINED

60.59. TRADEMARK-GOOGLY 1891491                               UNDETERMINED       undetermined       UNDETERMINED

60.60. TRADEMARK-MASSIVE GOOGLY 1891505                       UNDETERMINED       undetermined       UNDETERMINED

60.61. TRADEMARK-BLITZ 1891584                                UNDETERMINED       undetermined       UNDETERMINED

60.62. TRADEMARK-LICK-A-BUBBLE 1891615                        UNDETERMINED       undetermined       UNDETERMINED

60.63. TRADEMARK-MASSIVE GOOGLY BALL 1892632                  UNDETERMINED       undetermined       UNDETERMINED

60.64. TRADEMARK-INSTABALLOON 1931910                         UNDETERMINED       undetermined       UNDETERMINED

60.65. PATENT-PADDLE BALL 29/239954                           UNDETERMINED       undetermined       UNDETERMINED

60.66. PATENT-BUBBLE BOTTLE 29/224500                         UNDETERMINED       undetermined       UNDETERMINED

60.67. PATENT-BUBBLE SOLUTION BOTTLE 29/379640                UNDETERMINED       undetermined       UNDETERMINED

60.68. PATENT-CLEAR BELLY FOR AN ANIMAL SHAPED TOY            UNDETERMINED       undetermined       UNDETERMINED
       29/325796

60.69. PATENT-BUBBLE MAKER 11/473,942                         UNDETERMINED       undetermined       UNDETERMINED

60.70. PATENT-BUBBLE MAKER 12/344136                          UNDETERMINED       undetermined       UNDETERMINED

60.71. PATENT-COW SHAPED BUBBLE BLOWER 29/289320              UNDETERMINED       undetermined       UNDETERMINED

60.72. PATENT-DINOSAUR SHAPED BUBBLE BLOWER 29/289322         UNDETERMINED       undetermined       UNDETERMINED

60.73. PATENT-DOG SHAPED BUBBLE BLOWER 29/270817              UNDETERMINED       undetermined       UNDETERMINED

60.74. PATENT-RAT THROWING DISC 29/271711                     UNDETERMINED       undetermined       UNDETERMINED

60.75. PATENT-THROWING DISC 29/239955                         UNDETERMINED       undetermined       UNDETERMINED

60.76. PATENT-YOYO 29/239941                                  UNDETERMINED       undetermined       UNDETERMINED

60.77. PATENT-PIG SHAPED BUBBLE BLOWER 29/289328              UNDETERMINED       undetermined       UNDETERMINED

60.78. PATENT-PROJECTILE LAUNCHING DEVICE 13/343,660          UNDETERMINED       undetermined       UNDETERMINED

60.79. PATENT-PROJECTILE LAUNCHING DEVICE 14/630,555          UNDETERMINED       undetermined       UNDETERMINED

60.80. PATENT-ANIMAL SHAPED PUNCH TOY 11/491430               UNDETERMINED       undetermined       UNDETERMINED

60.81. PATENT-CHEMILUMINESCENT SYSTEM 13/998,715              UNDETERMINED       undetermined       UNDETERMINED

60.82. PATENT-CHEMILUMINESCENT SYSTEM 14/829,618              UNDETERMINED       undetermined       UNDETERMINED

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60.83. PATENT-HOLOGRAPHIC BUBBLE TOY 12/898539                UNDETERMINED        undetermined        UNDETERMINED

60.84. PATENT-INTERACTIVE TOY FIGURINE 13/630,575             UNDETERMINED        undetermined        UNDETERMINED

60.85. PATENT-LAUNCHABLE PROJECTILES AND LAUNCHERS FOR UNDETERMINED               undetermined        UNDETERMINED
       THE SAME 13/842,870

60.86. PATENT-LAUNCHABLE PROJECTILES AND LAUNCHERS FOR UNDETERMINED               undetermined        UNDETERMINED
       THE SAME 14/704,806

60.87. PATENT-TOY SHOTGUN 11/772611                           UNDETERMINED        undetermined        UNDETERMINED

60.88. PATENT-PROJECTILE LAUNCHERS 14/628,194                 UNDETERMINED        undetermined        UNDETERMINED

60.89. PATENT-LAUNCHING DEVICE 15/275,295                     UNDETERMINED        undetermined        UNDETERMINED

60.90. PATENT-PROJECTILE LAUNCHING DEVICE 15/340,922          UNDETERMINED        undetermined        UNDETERMINED

60.91. PATENT-LAUNCHABLE PROJECTILES AND LAUNCHERS FOR UNDETERMINED               undetermined        UNDETERMINED
       THE 15/465,279

60.92. PATENT-DEVICE FOR DISPENSING CHEMILUMINESCENT          UNDETERMINED        undetermined        UNDETERMINED
       SOLUTION (GLOW MARKER) 15/274,904

60.93. PATENT-LAUNCHING DEVICE 15/937,540                     UNDETERMINED        undetermined        UNDETERMINED

60.94. PATENT-BUBBLE BOTTLE 000337977-                        UNDETERMINED        undetermined        UNDETERMINED
       0001

60.95. PATENT-BUBBLE SOLUTION BOTTLE 140701                   UNDETERMINED        undetermined        UNDETERMINED

60.96. PATENT-BUBBLE SOLUTION BOTTLE 001867458-               UNDETERMINED        undetermined        UNDETERMINED
       0001

60.97. PATENT-HOLOGRAPHIC BUBBLE TOY 10774036.7               UNDETERMINED        undetermined        UNDETERMINED

60.98. PATENT-HOLOGRAPHIC BUBBLE TOY 10774036.7               UNDETERMINED        undetermined        UNDETERMINED

60.99. PATENT-HOLOGRAPHIC BUBBLE GENERATING 10774036.7        UNDETERMINED        undetermined        UNDETERMINED

61.      Internet domain names and websites
                                                              Net book value of   Valuation method    Current value of
                                                              debtor's interest                       debtor’s interest
61.1.    ACLIXREVOLUTION.COM                                  $0.00               N/A                 $0.00
61.2.    BOUNCINBONEHEADS.COM                                 $0.00               N/A                 $0.00
61.3.    BUBBLELICK.COM                                       $0.00               N/A                 $0.00
61.4.    BUDDYLSTEEL.COM                                      $0.00               N/A                 $0.00
61.5.    BUDDYLTOYS.COM                                       $0.00               N/A                 $0.00
61.6.    FIRSTINFUN.COM                                       $0.00               N/A                 $0.00
61.7.    GOOGLYBANDS.COM                                      $0.00               N/A                 $0.00
61.8.    IMPERIALTOY.COM                                      $0.00               N/A                 $0.00
61.9.    IMPERIALTOYQR.COM                                    $0.00               N/A                 $0.00
61.10. IMPTOY.COM                                             $0.00               N/A                 $0.00
61.11. IMPTOY.INFO                                            $0.00               N/A                 $0.00
61.12. IMPTOY.ONLINE                                          $0.00               N/A                 $0.00
61.13. IWANTCLIX.COM                                          $0.00               N/A                 $0.00
61.14. KAOSGETSOAKED.COM                                      $0.00               N/A                 $0.00
61.15. KIDJITS.COM                                            $0.00               N/A                 $0.00
61.16. LICKABUBBLE.COM                                        $0.00               N/A                 $0.00
61.17. MEBANDS.COM                                            $0.00               N/A                 $0.00

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61.      Internet domain names and websites
                                                                  Net book value of   Valuation method     Current value of
                                                                  debtor's interest                        debtor’s interest
61.18. MIRACLEBUBBLES.COM                                         $0.00               N/A                  $0.00
61.19. RUNWAYPINK.COM                                             $0.00               N/A                  $0.00
61.20. SUPERMIRACLEBUBBLES.COM                                    $0.00               N/A                  $0.00
61.21. LICKABUBBLE.COM                                            $0.00               N/A                  $0.00
61.22. IMPERIALTOY.COM                                            $0.00               N/A                  $0.00
61.23. IMPERIALTOY.COM                                            $0.00               N/A                  $0.00
61.24. IMPERIALTOY.COM                                            $0.00               N/A                  $0.00
61.25. IMPERIALTOY.COM                                            $0.00               N/A                  $0.00
61.26. BICCOMMERCE.COM                                            $0.00               N/A                  $0.00
61.27. E-COMMERCE WEBSITE                                         $0.00               Unknown, never had   UNDETERMINED
                                                                                      it appraised

62.      Licenses, franchises, and royalties
62.1.    BJWT BRAND SERVICES (LICENSOR)                           UNDETERMINED        _________________    UNDETERMINED
62.2.    BRAD ROSS, BEST ROAD INC (LICENSOR)                      UNDETERMINED        _________________    UNDETERMINED
62.3.    BRAD ROSS, IVY STRAUSS DESIGN, LLC (LICENSOR)            UNDETERMINED        _________________    UNDETERMINED
62.4.    DISNEY ASIA (LICENSOR)                                   UNDETERMINED        _________________    UNDETERMINED
62.5.    DISNEY CONSUMER PRODUCTS, INC. (LICENSOR)                UNDETERMINED        _________________    UNDETERMINED
62.6.    GIGGLICIOUS, LLC, BRAD ROSS (LICENSOR)                   UNDETERMINED        _________________    UNDETERMINED
62.7.    MARVEL BRANDS LLC (LICENSOR)                             UNDETERMINED        _________________    UNDETERMINED
62.8.    MATTEL/THOMAS LICENSING (LICENSOR)                       UNDETERMINED        _________________    UNDETERMINED
62.9.    MGA ENTERTAINMENT (LICENSOR)                             UNDETERMINED        _________________    UNDETERMINED
62.10. MGA LITTLE TIKES (LICENSOR)                                UNDETERMINED        _________________    UNDETERMINED
62.11. MGA LOL SURPRISE (LICENSOR)                                UNDETERMINED        _________________    UNDETERMINED
62.12. RICHARD CLAYTON (LICENSOR)                                 UNDETERMINED        _________________    UNDETERMINED
62.13. TIE NOT INC (LICENSOR)                                     UNDETERMINED        _________________    UNDETERMINED
62.14. TRANOVATION (LICK A BUBBLE) - (LICENSOR)                   UNDETERMINED        _________________    UNDETERMINED
62.15. VIACOM 80838 - (LICENSOR)                                  UNDETERMINED        _________________    UNDETERMINED
62.16. VIACOM 80839 - (LICENSOR)                                  UNDETERMINED        _________________    UNDETERMINED
62.17. VIACOM MEDIA NETWORKS (LICENSOR)                           UNDETERMINED        _________________    UNDETERMINED
62.18. WALT DISNEY RECORDS (LICENSOR)                             UNDETERMINED        _________________    UNDETERMINED
62.19. WARNER BROS. CONSUMER PRODUCTS, INC. (LICENSOR)            UNDETERMINED        _________________    UNDETERMINED
62.20. WIDE EYES MARKETING (LICENSOR)                             UNDETERMINED        _________________    UNDETERMINED
62.21. WONDERLAND MUSIC CO. INC. (LICENSOR)                       UNDETERMINED        _________________    UNDETERMINED

63.      Customer lists, mailing lists, or other compilations
63.1.    IN THE ORDINARY COURSE OF BUSINESS THE DEBTOR            $0.00               N/A                  N/A
         MAINTAINS A LIST OF CUSTOMERS COMPRISED OF MAINLY
         CORPORATIONS.

64.      Other intangibles, or intellectual property
64.1.    SEE, RESPONSE IN PART 10, NO. 60                         $_______________    _________________    $_______________


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65.       Goodwill
65.1.     ___________________________________________________                  $_______________         _________________          $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                         UNDETERMINED

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        þ No
        ¨ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        þ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest

71.     Notes receivable
        Description (include name of obligor)                 Total face amount          Doubtful or                               Current value of
                                                                                         uncollectible amount                      debtor’s interest

71.1. _______________________________________                 $________________       - $________________          = ........ →    $________________
        _______________________________________

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state,     Tax refund amount      NOL amount               Tax year                   Current value of
          local)                                                                                                                   debtor’s interest
72.1.     _________________________________             $_______________       $_______________         _________________          $_______________

73.       Interests in insurance policies or annuities
          Insurance company             Insurance policy      Annuity issuer name    Annuity account       Annuity account         Current value of
                                        No.                                          type                  No.                     debtor’s interest
73.1.     INSURANCE CO. OF THE          WVE 2162347 12        N/A                    N/A                   N/A                     $0.00
          WEST
          WORKERS
          COMPENSATION
73.2.     LLOYDS OF LONDON              509077                N/A                    N/A                   N/A                     $0.00
          132A - SERIOUS &
          WILLFUL LEGAL
73.3.     HANOVER                       AW3D86971300          N/A                    N/A                   N/A                     $0.00
          AUTO LIABILITY
73.4.     HANOVER                       M004975-19            N/A                    N/A                   N/A                     $0.00
          COMMERCIAL
          PROPERTY

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73.5.     NAVIGATORS INS. CO.           NY19CCC0A63IMNVN/A                     N/A              N/A               $0.00
          CRIME
73.6.     UNDERWRITERS AT               048500092037S03 N/A                    N/A              N/A               $0.00
          LLOYD’S
          DIFFERENCE IN
          CONDITIONS (DIC)
73.7.     NAVIGATORS INS. CO.           NY19DOL313830IV N/A                    N/A              N/A               $0.00
          D&O/EPLI/FIDUCIARY
          LIABILITY
73.8.     COLUMBIA CASUALTY             596773890             N/A              N/A              N/A               $0.00
          CO.
          ERRORS & OMISSIONS
          (EMPLOYED LAWYERS)
73.9.     GREAT AMERICAN                PL 4433286-07         N/A              N/A              N/A               $0.00
          EXCESS & SURPLUS
          GENERAL LIABILITY
73.10. ACE INDEMNITY CO.                PHFD38219947006 N/A                    N/A              N/A               $0.00
       FOREIGN PACKAGE
       LIABILITY
73.11. GREAT AMERICAN INS.              SCI273610967          N/A              N/A              N/A               $0.00
       CO.
       KIDNAP & RANSOM
73.12. AIG                              13-PAP-               N/A              N/A              N/A               $0.00
       MEXICAN AUTO                     10005843-7
       LIABILITY
73.13. GMX SEGUROS                      70130700035200000N/A                   N/A              N/A               $0.00
       MEXICAN BUSINESS
       PACKAGE POLICY
73.14. GREAT AMERICAN E&S               XS 4435008-06         N/A              N/A              N/A               $0.00
       INS. CO
       UMBRELLA LIABILITY
73.15. GUARANTEE CO. OF                 UM12082167            N/A              N/A              N/A               $0.00
       NORTH AMERICA
       CANADIAN SALES TAX
       BOND

74.       Causes of action against third parties (whether or not a lawsuit
          has been filed)
                                                         Nature of claim                      Amount requested    Current value of
                                                                                                                  debtor’s interest
74.1.     __________________________________             __________________________________   $_______________    $_______________

75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
                                                         Nature of claim                      Amount requested    Current value of
                                                                                                                  debtor’s interest
75.1.     __________________________________             __________________________________   $_______________    $_______________

76.       Trusts, equitable or future interests in property
76.1.     _______________________________________________________________________________________                 $_______________

77.       Other property of any kind not already listed
          Examples: Season tickets, country club membership
77.1.     BRAEMAR COUNTRY CLUB                                                                                    $3,407.00

78.     Total of part 11
        Add lines 71 through 77. Copy the total to line 90.                                                            $3,407.00


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                           Page 132 of 134
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                                                                     217
Debtor   Imperial Toy LLC                                                                         Case number (if known) 19-52335

79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
      þ No
      ¨ Yes




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Debtor    Imperial Toy LLC                                                                                                       Case number (if known) 19-52335



 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                             $23,675.40
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                        $462,616.14


82.   Accounts receivable. Copy line 12, Part 3.                                                $0.00


83.   Investments. Copy line 17, Part 4.                                                 UNDETERMINED


84.   Inventory. Copy line 23, Part 5.                                                    $10,739,341.38


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                         $11,270.00
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                            $2,058,064.22



88.   Real property. Copy line 56, Part 9. ...................................................................... →           $235,204.00

89.   Intangibles and intellectual property. Copy line 66, Part 10.                      UNDETERMINED


90.   All other assets. Copy line 78, Part 11.                                     +          $3,407.00



91.   Total. Add lines 80 through 90 for each column. ..........91a.                      $13,298,374.14          + 91b.      $235,204.00




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................     $13,533,578.14




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                                                                          217
Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335

                                                                                                                             ¨ Check if this is an
                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                    12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.

 Part 1:      List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                        Page 1 of 4
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Debtor    Imperial Toy LLC                                                                                       Case number (if known) 19-52335



                                                                                                            Column A         Column B
                                                                                                            Amount of        Value of
                                                                                                            Claim            collateral that
                                                                                                            Do not deduct    supports this
                                                                                                            the value of     claim
                                                                                                            collateral.


2.1.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         GREAT ROCK CAPITAL PARTNERS                        LIEN ON SUBSTANTIALLY ALL OF THE                $13,000,000.00   UNDETERMINED
         MANAGEMENT, LLC                                    DEBTOR'S PERSONAL PROPERTY.
         AS ADMINISTRATIVE AGENT
         285 RIVERSIDE AVE, STE 335                         Describe the lien
         WESTPORT CT 06880
                                                            LOAN AGREEMENT DATED JULY 5, 2018
         Creditor’s email address, if known
                                                            Is the creditor an insider or related party?
         _____________________________________
                                                            þ No
         Date debt was incurred: 07/2018
                                                            ¨ Yes
         Last 4 digits of account number:                   Is anyone else liable on this claim?
         Do multiple creditors have an interest in the
         same property?
                                                            ¨ No
                                                            þ Yes. Fill out Schedule H: Codebtors
         ¨ No                                               (Official Form 206H).
         þ Yes. Have you already specified the              As of the petition filing date, the claim is:
         relative priority?                                 Check all that apply.
             þ No. Specify each creditor, including         ¨ Contingent
             this creditor, and its relative priority.
             AS TO ACCOUNTS RECEIVABLE, THE                 ¨ Unliquidated
             CIT GROUP'S ("CIT") LIENS ARE
             SUPERIOR TO THE LIENS OF GREAT
                                                            ¨ Disputed
             ROCK CAPITAL PARTNERS
             MANAGEMENT, LLC ("GREAT ROCK")
             AND THE HIRSCH FAMILY TRUST
             DATED JUNE 9, 1998 (THE "HIRSCH
             TRUST"). AS TO NON-ACCOUNTS
             RECEIVABLE, (I) GREAT ROCK'S LIENS
             ARE SENIOR TO CIT AND THE HIRSCH
             TRUST; (II) CIT'S LIENS ARE SENIOR TO
             THE HIRSCH TRUST.
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                     Page 2 of 4
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                                                                    217
Debtor    Imperial Toy LLC                                                                                      Case number (if known) 19-52335

2.2.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         THE CIT GROUP                                      ALL ACCOUNTS, INVENTORY, EQUIPMENT,             $7,874,000.00   UNDETERMINED
         1 CIT DRIVE, MS 2108-A                             INVESTMENT PROPERTY AND
         LIVINGSTON NJ 07039                                INTELLECTUAL PROPERTY
         Creditor’s email address, if known                 Describe the lien
         _____________________________________              PURSUANT TO FACTORING AGREEMENT
                                                            DATED DECEMBER 13, 2016, INVENTORY
         Date debt was incurred: 10/2016                    SECURITY AGREEMENT DATED
                                                            DECEMBER 13, 2016, EQUIPMENT
         Last 4 digits of account number:
                                                            SECURITY AGREEMENT DATED
         Do multiple creditors have an interest in the      DECEMBER 13, 2016, A STANDBY LETTER
         same property?                                     OF CREDIT AGREEMENT DATED
                                                            DECEMBER 13, 2016 AND GRANT OF
         ¨ No                                               SECURITY INTEREST IN TRADEMARKS,
                                                            PATENTS, COPYRIGHTS, AND LICENSES
         þ Yes. Have you already specified the              DATED DECEMBER 13, 2016.
         relative priority?
                                                            Is the creditor an insider or related party?
             ¨ No. Specify each creditor, including
             this creditor, and its relative priority.      þ No
             _________________________________
             _________________________________              ¨ Yes
             þ Yes. The relative priority of creditors is   Is anyone else liable on this claim?
             specified on lines: 2.1
                                                            ¨ No
                                                            þ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.

                                                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
2.3.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         THE HIRSCH FAMILY TRUST DATED JUNE                 LIEN ON SUBSTANTIALLY ALL OF THE                $9,144,333.00   UNDETERMINED
         9, 1998                                            DEBTOR'S PERSONAL PROPERTY.
         126 DAPPLEGRAY ROAD
         BELL CANYON CA 91307                               Describe the lien

         Creditor’s email address, if known                 SERIES OF REDEMPTION, LOAN,
                                                            SECURITY AND RELATED AGREEMENTS
         _____________________________________
                                                            Is the creditor an insider or related party?
         Date debt was incurred: 02/2018
                                                            þ No
         Last 4 digits of account number:
                                                            ¨ Yes
         Do multiple creditors have an interest in the
                                                            Is anyone else liable on this claim?
         same property?

         ¨ No                                               þ No
         þ Yes. Have you already specified the              ¨ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
         relative priority?
                                                            As of the petition filing date, the claim is:
             ¨ No. Specify each creditor, including         Check all that apply.
             this creditor, and its relative priority.
             _________________________________              ¨ Contingent
             _________________________________
             þ Yes. The relative priority of creditors is   ¨ Unliquidated
             specified on lines: 2.1                        ¨ Disputed


Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                    Page 3 of 4
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Debtor     Imperial Toy LLC                                                                             Case number (if known) 19-52335




       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                        $30,018,333.00
       from the Additional Page, if any.




 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
         Name and address                                                                    On which line in       Last 4 digits of
                                                                                             Part 1 did you enter   account number
                                                                                             the related            for this entity
                                                                                             creditor?

3.1.     BRUTZKUS GUBNER                                                                     Line 2.3               _______________
         SUSAN K SEFLIN,ESQ
         21650 OXNARD ST., STE 500
         WOODLAND HILLS CA 91367

3.2.     BUCHALTER, A PROFESSIONAL CORPORATION                                               Line 2.2               _______________
         VALERIE BANTNER PEO,ESQ
         55 SECOND ST
         17TH FLOOR
         SAN FRANCISCO CA 94105-3493

3.3.     SIDLEY AUSTIN LLP                                                                   Line 2.1               _______________
         JENNIFER C HAGLE;ANNA GUMPORT
         555 WEST FIFTH ST
         STE 4000
         LOS ANGELES CA 90013-1010




Official Form 206D                 Schedule D: Creditors Who Have Claims Secured by Property                                Page 4 of 4
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                                                              217
Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.



 Part 1:     List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
2.      List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the
        debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.    Priority creditor’s name and mailing          As of the petition filing date, the claim      Total claim             Priority amount
        address                                       is:
                                                      Check all that apply.                          $6,634.65               $6,634.65
        ALL SOURCE
        STEVE DRAKE                                   ¨ Contingent
        P.O. BOX 254
        ANKENY IA 50021                               ¨ Unliquidated                                                         Nonpriority amount

                                                      ¨ Disputed                                                             $0.00

        Date or dates debt was incurred               Basis for the claim:
        MAR-OCT 2019                                  SALES REP. COMMISSIONS

        Last 4 digits of account                      Is the claim subject to offset?
        number: N/A
                                                      þ No
        Specify Code subsection of PRIORITY
        unsecured claim:11 U.S.C. § 507(a) (4)        ¨ Yes

2.2.    Priority creditor’s name and mailing          As of the petition filing date, the claim      Total claim             Priority amount
        address                                       is:
                                                      Check all that apply.                          $3,970.39               $3,970.39
        CARLA HEUNE & ASSOC
        CARLA HEUNE                                   ¨ Contingent
        4909 E. MORSE ROAD
        LODI CA 95240                                 ¨ Unliquidated                                                         Nonpriority amount

                                                      ¨ Disputed                                                             $0.00

        Date or dates debt was incurred               Basis for the claim:
        FEB-OCT 2019                                  SALES REP. COMMISSIONS

        Last 4 digits of account                      Is the claim subject to offset?
        number: N/A
                                                      þ No
        Specify Code subsection of PRIORITY
        unsecured claim:11 U.S.C. § 507(a) (4)        ¨ Yes
Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 1 of 62
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Debtor    Imperial Toy LLC                                                                                    Case number (if known) 19-52335




2.3.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $14,725.40             $13,650.00
         CDZ SALES, INC.
         TOMMY ZITIELLO                             ¨ Contingent
         P.O. BOX 1472
         PALM HARBOR FL 34682                       ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $1,075.40

         Date or dates debt was incurred            Basis for the claim:
         MAR-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.4.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $9,408.20              $9,408.20
         DBA, INC.
         ANDY HESTER                                ¨ Contingent
         1091 CENTRE ROAD, SUITE 270
         AUBURN HILLS MI 48326                      ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         FEB-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.5.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $447.99                $447.99
         DUKES GROUP INC.
         RON DUKES                                  ¨ Contingent
         1555 FLAT MOUNTAIN ROAD
         FAIRBANKS AK 99712                         ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         JUL-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 62
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Debtor    Imperial Toy LLC                                                                                    Case number (if known) 19-52335




2.6.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $986.40                $986.40
         FEBLAND GROUP
         NIGEL FEBLAND                              ¨ Contingent
         230 FIFTH AVE., SUITE 308
         NEW YORK NY 10001                          ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         AUG-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.7.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $35,905.28             $13,650.00
         FREUD & MORRIS, INC.
         KERI BRADY                                 ¨ Contingent
         1675 WHITEHORSE -MERCERVILLE
         ROAD, SUITE 107                            ¨ Unliquidated                                                     Nonpriority amount
         HAMILTON NJ 08619                          ¨ Disputed                                                         $22,255.28

         Date or dates debt was incurred            Basis for the claim:
         FEB-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.8.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $184,686.45            $13,650.00
         INSIGHT MARKETING
         KATHY RE                                   ¨ Contingent
         19035 SOUTHWEST CHESAPEAKE DR.
         TUALATIN OR 97062                          ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $171,036.45

         Date or dates debt was incurred            Basis for the claim:
         FEB-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes




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Debtor    Imperial Toy LLC                                                                                    Case number (if known) 19-52335




2.9.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $33,658.54             $13,650.00
         JMC SALES LLC
         JULIE COOK                                 ¨ Contingent
         10088 198TH CT W
         LAKEVILLE MN 55044                         ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $20,008.54

         Date or dates debt was incurred            Basis for the claim:
         FEB-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.10.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $19,377.46             $13,650.00
         LAURA GIGER & ASSOCIATES
         LAURA GIGER                                ¨ Contingent
         69 MADILL DR.
         MONO ON L9W 6G4                            ¨ Unliquidated                                                     Nonpriority amount
         CANADA                                     ¨ Disputed                                                         $5,727.46

         Date or dates debt was incurred            Basis for the claim:
         MAR-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.11.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $1,474.41              $1,474.41
         MIKE DOTY SALES COMPANY
         MIKE DOTY                                  ¨ Contingent
         P.O. BOX 901628
         SANDY UT 84090                             ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         JUL-SEP 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes




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Debtor    Imperial Toy LLC                                                                                    Case number (if known) 19-52335




2.12.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $6,186.95              $6,186.95
         SEASONS LTD., INC.
         JOE ODIERNA                                ¨ Contingent
         PO BOX 709
         ASHLAND OH 44805                           ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         APR-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.13.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $37,214.32             $37,214.32
         STATE OF WA DEPT OF REVENUE
         PO BOX 47478                               ¨ Contingent
         OLYMPIA WA 98504
                                                    ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         01/01/15-12/31/18                          TAXES

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.14.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $2,504.35              $2,504.35
         TEXAS STATE COMPTROLLER
         PO BOX 149359                              ¨ Contingent
         AUSTIN TX 78714
                                                    ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         01/01/19-12/31/19                          TAXES

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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2.15.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $40,107.38             $13,650.00
         THOMPSON SALES
         MARK THOMPSON                              ¨ Contingent
         4439 MYERWOOD LN.
         DALLAS TX 75244                            ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $26,457.38

         Date or dates debt was incurred            Basis for the claim:
         JAN-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.16.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $50,990.14             $13,650.00
         TOY SALES LTD.
         BURT STERN                                 ¨ Contingent
         4160 IL ROUTE 83, SUITE 201
         LONG GROVE IL 60047                        ¨ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         $37,340.14

         Date or dates debt was incurred            Basis for the claim:
         FEB-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes

2.17.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $6,831.48              $6,831.48
         WILLIAM WHEELER AGENCIES
         KEITH EAST / ANDY WHEELER                  ¨ Contingent
         31 HOOKWAY CRES.
         WINNIPEG MB R3R 3R8                        ¨ Unliquidated                                                     Nonpriority amount
         CANADA                                     ¨ Disputed                                                         $0.00

         Date or dates debt was incurred            Basis for the claim:
         MAR-OCT 2019                               SALES REP. COMMISSIONS

         Last 4 digits of account                   Is the claim subject to offset?
         number: N/A
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)     ¨ Yes




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 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.         List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
           with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           1ST CLASS CLEANING                                                                                $219.00
           322 FREDONIA                                      ¨ Contingent
           SPRINGDALE AR 72762
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           01/2019 - 11/2019                                 TRADE DEBT
           Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A.O. REED & CO. INC.                                                                              $387.00
           4777 RUFFNER ST.                                  ¨ Contingent
           SAN DIEGO CA 92111
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           01/2019 - 11/2019                                 TRADE DEBT
           Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.3.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ABF FREIGHT SYSTEMS                                                                               $10,315.84
           12200 MONTAGUE ST                                 ¨ Contingent
           PACOIMA CA 91331
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           01/2019 - 11/2019                                 TRADE DEBT
           Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.4.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACCUTEK                                                                                           $616.86
         2685 S. MELROSE DRIVE                             ¨ Contingent
         VISTA CA 92081
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.5.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AFS IBEX A DIVISION OF META BANK                                                                  $17,265.25
         PO BOX 100045                                     ¨ Contingent
         PASADENA CA 91189
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.6.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALBA WHEELS UP INT'L                                                                              $304.52
         1 EAST LINCOLN AVE                                ¨ Contingent
         VALLEY STREAM NY 01158
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.7.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALL SOURCE                                                                                        $5,188.25
         P.O. BOX 254                                      ¨ Contingent
         ANKENY IA 50021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.8.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERICAN EXPRESS CO.                                                                              $202,622.60
         BOX 0001                                          ¨ Contingent
         LOS ANGELES CA 90096
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.9.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERIGAS PROPANE LP                                                                               $469.92
         PO BOX 7155                                       ¨ Contingent
         PASADENA CA 91109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.10.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERI-SEAL INC.                                                                                   $3,618.10
         21330 SUPERIOR ST.                                ¨ Contingent
         CHATSWORTH CA 91311
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.11.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARPAC, LLC                                                                                        $59,520.08
         PO BOX 71948                                      ¨ Contingent
         CHICAGO IL 60694
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.12.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASSOC.PACKAGING INC.                                                                              $375.14
         P.O. BOX 306068                                   ¨ Contingent
         NASHVILLE TN 37230
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.13.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATLAS TRANSPORTATION                                                                              $51,766.00
         2306 AVENIDA COSTA ESTE                           ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.14.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATLAS WOOD PRODUCTS                                                                               $282,510.34
         PO BOX 13949                                      ¨ Contingent
         SAN DIEGO CA 92170
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.15.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AURIENT INT'L (H.K.)                                                                              $22,960.00
         8 F., 3 106, CHANG AN WEST ROAD                   ¨ Contingent
         TAIPEI, TAIWAN
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.16.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUTHENTIC DEALER INC                                                                              $3,260.00
         1141 E EIGHTH ST                                  ¨ Contingent
         UPLAND CA 91786
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.17.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AXIOM LABEL GROUP                                                                                 $35,011.51
         1360 W. WALNUT PARKWAY                            ¨ Contingent
         COMPTON CA 90220
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.18.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAMBERGER POLYMERS                                                                                $223,242.00
         1334 SOLUTIONS CENTER                             ¨ Contingent
         CHICAGO IL 60677
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.19.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARROW-AGEE LABS                                                                                  $5,016.00
         DEPT 583EE PLACE, PO BOX 1000                     ¨ Contingent
         MEMPHIS TN 38148
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.20.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENETECH INC                                                                                      $1,210.00
         3841 N FREEWAY BLVD, SUITE 185                    ¨ Contingent
         SACRAMENTO CA 95834
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.21.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BJWT BRAND SERVICES                                                                               $93.51
         11845 W. OLYMPIC BLVD.                            ¨ Contingent
         #1125W
         LOS ANGELES CA 90064                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.22.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUSET & PARTNERS LLP, BARRISTERS &                                                                $4,026.31
         SOLICITORS                                        ¨ Contingent
         1121 BARTON STREET
         THUNDER BAY ON P7B 5N3                            ¨ Unliquidated
         CANADA                                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.23.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUZZFEED INC.                                                                                     $175,000.00
         PO BOX 200022                                     ¨ Contingent
         PITTSBURGH PA 15251
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.24.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         C&V TECHNOPLAST LLC                                                                               $649.00
         1568 LANCASTER POINT WAY                          ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.25.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CANON FINANCIAL SERV                                                                              $6,864.90
         14904 COLLECTIONS CENTER DR                       ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.26.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARLA HEUNE & ASSOC                                                                               $2,703.17
         4909 E. MORSE ROAD                                ¨ Contingent
         LODI CA 95240
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.27.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASAS INTL BROKERAGE                                                                              $5,067.29
         9355 AIRWAY ROAD, SUITE 4                         ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.28.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASSELS BROCK LAWYER                                                                              $98,623.77
         2100 SCOTIA PLAZA, 40 KING STREET WEST            ¨ Contingent
         TORONTO ON M5H 3C2
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.29.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CATHERINE CANGLIALOSI AS MOTHER AND                                                               UNDETERMINED
         NATURAL GUARDIAN OF C.C., A MINOR                 þ Contingent
         JOSEPH A. MARIA, P.C.
         JOSEPH ANTHONY MARIA                              þ Unliquidated
         301 OLD TARRYTOWN ROAD
         WHITE PLAINS NY 10603
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        PENDING LITIGATION
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.30.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CBT INT'L, INC.                                                                                   $22,565.95
         249 E OCEAN BLVD                                  ¨ Contingent
         SUITE 650
         LONG BEACH CA 90802                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.31.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CDW DIRECT                                                                                        $7,360.00
         P.O. BOX 75723                                    ¨ Contingent
         CHICAGO IL 60675
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.32.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CDZ SALES, INC.                                                                                   $8,301.91
         P.O. BOX 1472                                     ¨ Contingent
         PALM HARBOR FL 34682
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.33.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHANGZHOU WUJIN DAYU                                                                              $4,467.91
         300 TANGJIACUN RD, ZOUQU INDUSTRY ZONE,           ¨ Contingent
         ZHONGLOU DISTRICT
         CHANGZHOU, JIANGSU PROVINCE                       ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.34.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHEMPOINT.COM, INC.                                                                               $69,857.54
         13727 COLLECTIONS CENTER DRIVE                    ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.35.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHEP USA                                                                                          $47.25
         P.O. BOX 79272                                    ¨ Contingent
         INDUSTRY CA 91716
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.36.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CMI TRANSPORTATION                                                                                $32,259.00
         2931 REDONDO AVE                                  ¨ Contingent
         LONG BEACH CA 90809
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.37.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CMI TRANSPORTATION                                                                                $11,451.00
         2931 REDONDO AVE                                  ¨ Contingent
         LONG BEACH CA 90809
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.38.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMPLETE OFFICE                                                                                   $6,842.40
         PO BOX 4318                                       ¨ Contingent
         CERRITOS CA 90703
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.39.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONSOLIDATED CONTAIN                                                                              $123,152.59
         62867 COLLECTION CENTER DRIVE                     ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.40.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CORRUGATED & PACKGNG                                                                              $55,875.44
         PO BOX 847301                                     ¨ Contingent
         LOS ANGELES CA 90084
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.41.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRITICAL POINT PARTN                                                                              $5,000.00
         1230 ROSECRANS, SUITE 170                         ¨ Contingent
         MANHATTAN BEACH CA 90266
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.42.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CUSTOM AIR SYSTEMS                                                                                $625.00
         4505 INDUSTRIAL STREET #2E                        ¨ Contingent
         SIMI VALLEY CA 93063
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.43.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D&S SECURITY INC                                                                                  $95.00
         5411 VALLEY BLVD                                  ¨ Contingent
         LOS ANGELES CA 90032
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.44.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAYLIGHT TRANSPORT                                                                                $1,512.58
         P.O. BOX 93155                                    ¨ Contingent
         LONG BEACH CA 90809
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.45.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DBA, INC.                                                                                         $5,324.06
         1091 CENTRE ROAD, STE 270                         ¨ Contingent
         AUBURN HILLS MI 48326
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.46.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEFOREST SEARCH                                                                                   $15,600.00
         1145 ARTESIA BLVD SUITE 203                       ¨ Contingent
         MANHATTAN BEACH CA 90266
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.47.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEPT OF REVENUE WA                                                                                $37,214.32
         PO BOX 47478                                      ¨ Contingent
         OLYMPIA WA 98504
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.48.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DISNEY CONSUMER PROD                                                                              $141,788.31
         622 CIRCLE SEVEN DR, STE 142D                     ¨ Contingent
         GLENDALE CA 91201
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.49.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DUKES GROUP, INC.                                                                                 $407.78
         1555 FLAT MOUNTAIN ROAD                           ¨ Contingent
         FAIRBANKS AK 99712
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.50.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EARTHBOUND LLC                                                                                    $7,500.00
         156 5TH AVE 10TH FLOOR                            ¨ Contingent
         NEW YORK NY 10010
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.51.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMO TRANS, INC                                                                                    $4,687.00
         377 OAK ST. SUITE 202                             ¨ Contingent
         GARDEN CITY NY 11530
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.52.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EWT HOLDINGS III, EVOQUA WATER                                                                    $4,362.00
         TECHNOLOGIES                                      ¨ Contingent
         28563 NETWORK PLACE
         CHICAGO IL 60673                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.53.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EXPEDITORS INT'L                                                                                  $479.34
         12200 S. WILKIE AVE, STE 100                      ¨ Contingent
         HAWTHORNE CA 90250
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.54.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EXPRESS SERVICE TRANSPORT, INC                                                                    $124,979.74
         2498 ROLL DRIVE, STE 422                          ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.55.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDERAL EXPRESS CORP                                                                              $79,819.04
         P.O. BOX 7221                                     ¨ Contingent
         PASADENA CA 91109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.56.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FERCO COLOR INC.                                                                                  $42,706.26
         5498 VINE STREET                                  ¨ Contingent
         CHINO CA 91710
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.57.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRST CHOICE SERVICE                                                                              $151.60
         18840 PARTHENIA ST.                               ¨ Contingent
         NORTHRIDGE CA 91324
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.58.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FREUD & MORRIS, INC.                                                                              $30,324.98
         1675 WHITEHORSE -MERCERVILLE ROAD, STE            ¨ Contingent
         107
         HAMILTON NJ 08619                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.59.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FROCO, S.DE FL DE CV                                                                              $17,724.00
         2498 ROLL DR # 519                                ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.60.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GAC (UK) LTD                                                                                      $109,836.00
         56 LLANTARNAM PARK                                ¨ Contingent
         CWMBRAN
         S. WALES ON NP44 3AW                              ¨ Unliquidated
         CANADA                                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.61.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GILLAM & SMITH LLP                                                                                $17,013.60
         303 S. WASHINGTON AVE.                            ¨ Contingent
         MARSHALL TX 75670
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.62.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLD POINT TRANSPORT                                                                              $34,337.80
         9287 AIRWAY ROAD                                  ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.63.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLDEN WEST SECURITY                                                                              $332.00
         12502 VAN NUYS BLVD. #215                         ¨ Contingent
         PACOIMA CA 91331
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.64.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GP CAPITAL & SALES                                                                                $184,723.56
         1011 HIGH RIDGE ROAD                              ¨ Contingent
         STAMFORD CT 06905
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.65.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREATAMERICA FINAN                                                                                $109.38
         PO BOX 660831                                     ¨ Contingent
         DALLAS TX 75266
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.66.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRIMM PROMO.PRODUCTS                                                                              $20,625.92
         PO BOX 924                                        ¨ Contingent
         FAIRVIEW PA 16415
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.67.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GXS, INC.                                                                                         $1,300.00
         9711 WASHINGTONIAN BLVD STE 700                   ¨ Contingent
         GAITHERSBURG MD 20878
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.68.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEDMAN PARTNERS                                                                                   $10,899.00
         27441 TOURNEY ROAD, STE 200                       ¨ Contingent
         VALENCIA CA 91355
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.69.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOLLYWOOD DELIVERY                                                                                $9,152.13
         2828 S. WILLOW AVE.                               ¨ Contingent
         BLOOMINGTON CA 92316
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.70.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ICD AMERICA LLC                                                                                   $50,524.22
         145 HUGUENOT ST STE 106                           ¨ Contingent
         NEW ROCHELLE NY 10801
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.71.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IDEAL CHEMICAL&SUPPL                                                                              $862,338.38
         PO BOX 18698                                      ¨ Contingent
         MEMPHIS TN 38181
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.72.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INLINE DIST. ALL-TEX INC.                                                                         $32,391.65
         14093 BALBOA BLVD                                 ¨ Contingent
         SYLMAR CA 91342
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.73.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INSIGHT MARKETING                                                                                 $73,511.39
         19035 SOUTHWEST CHESAPEAKE DR.                    ¨ Contingent
         TUALATIN OR 97062
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.74.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JACK OBERLIN                                                                                      $1,899.40
         1920 WAUKEGAN RD, 206-A                           ¨ Contingent
         GLENVIEW IL 60025
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.75.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JACKSON LEWIS LLP                                                                                 $366.00
         PO BOX 416019                                     ¨ Contingent
         BOSTON MA 02241
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.76.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JB HUNT TRANSPORT                                                                                 $36,786.46
         5650 SOUTHERN AVE,                                ¨ Contingent
         SOUTH GATE, CA 90280
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.77.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JINJUA JINFENG                                                                                    $17,634.10
         JINDONG ECONOMIC DEVELOPMENT ZONE                 ¨ Contingent
         JINHUA, ZHENGJIANG 321037
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.78.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JMC SALES LLC                                                                                     $28,405.05
         10088 198TH CT W                                  ¨ Contingent
         LAKEVILLE MN 55044
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.79.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOSEPHINE LY                                                                                      $117.13
         9037 DE ADALENA ST.                               ¨ Contingent
         ROSEMEAD CA 91770
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.80.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KRONES INC.                                                                                       $1,814.60
         29065 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.81.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LANDSBERG                                                                                         $3,371.93
         PO BOX 101144                                     ¨ Contingent
         PASADENA CA 91189
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.82.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LANDSTAR GLOBAL LOGISTICS, INC.                                                                   $114,778.25
         PO BOX 784302                                     ¨ Contingent
         PHILADELPHIA PA 19178
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.83.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LANGUAGE CONNECTION                                                                               $1,144.20
         PO BOX 704                                        ¨ Contingent
         SAN LUIS REY CA 92068
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.84.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAURA GIGER & ASSOCIATES INC.                                                                     $19,216.34
         69 MADILL DR.                                     ¨ Contingent
         MONO ON L9W 6G4
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.85.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW OFFICES OF VICTOR SAPPHIRE, INC                                                               $3,337.50
         7190 SUNSET BLVD., SUITE 116                      ¨ Contingent
         LOS ANGELES CA 90046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.86.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARCUM LLP                                                                                        $149,018.60
         2049 CENTURY PARK EAST, STE 300                   ¨ Contingent
         LOS ANGELES CA 90067
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.87.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARVEL CHARACTERS BV                                                                              $89,880.15
         417 FIFTH AVE.                                    ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.88.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCKINNEY VEHICLE SER                                                                              $48,932.99
         8400 SLAUSON AVE                                  ¨ Contingent
         PICO RIVERA CA 90660
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.89.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MODE TRANSPORTATION                                                                               $422,033.63
         PO BOX 936644                                     ¨ Contingent
         ATLANTA GA 31193
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.90.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MY GYM ENTERPRISES                                                                                $15,000.00
         15300 VENTURA BLVD SUITE 523                      ¨ Contingent
         SHERMAN OAKS CA 91403
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.91.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NESTLE PURE LIFE DIR                                                                              $380.50
         PO BOX 856158                                     ¨ Contingent
         LOUISVILLE KY 40285
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.92.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NOVATEC INC.                                                                                      $7,704.70
         222 EAST THOMAS AVE                               ¨ Contingent
         BALTIMORE MD 21225
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.93.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORACLE AMERICA, INC.                                                                              $91,392.64
         15612 COLLECTIONS CENTER DR                       ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.94.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OTAY MESA SALES INC                                                                               $5,990.90
         1596 RADAR RD                                     ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.95.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PACE PACKAGING LLC                                                                                $12,000.00
         PO BOX 932808                                     ¨ Contingent
         CLEVELAND OH 44193
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.96.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PACKAGING SPECIALTIE                                                                              $89,587.22
         PO BOX 360                                        ¨ Contingent
         FAYETTEVILLE AR 72702
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.97.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PAUL VAN OSTRAND                                                                                  $29,758.59
         7800 DEERING AVE.                                 ¨ Contingent
         CANOGA PARK CA 91304
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.98.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PETER TIGER                                                                                       $7,775,820.96
         Address Intentionally Omitted                     ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LOAN
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.99.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PIERPASS                                                                                          $192.72
         444 W OCEAN BLVD STE 700                          ¨ Contingent
         LONG BEACH CA 90802
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.100.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PLASTIC CONTAINER CO                                                                              $229,745.86
         P.O. BOX 438                                      ¨ Contingent
         CHAMPAIGN IL 61824
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.101.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PREMIER AIR CARGO                                                                                 $2,065.01
         PO BOX 803313                                     ¨ Contingent
         SANTA CLARITA CA 91380
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.102.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRINTER REPAIR PROS                                                                               $619.96
         PO BOX 3672                                       ¨ Contingent
         CHATSWORTH CA 91313
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.103.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRISM SOFTWARE CORP.                                                                              $699.00
         15500-C ROCKFIELD BLVD                            ¨ Contingent
         IRVINE CA 92618
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.104.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRO MACH, INC, PNC BANK C/O PE USA LLC                                                            $7,612.23
         LOCKBOX # 933208, 4100 W. 150TH ST                ¨ Contingent
         CLEVELAND OH 44135
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.105.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUIMICA INDUSTRIAL                                                                                $5,456.28
         3633 BONITA VERDE DR. SUITE 102                   ¨ Contingent
         BONITA CA 91902
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.106.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REGENCY TESTING, INC                                                                              $635.00
         7651 DENSMORE AVE                                 ¨ Contingent
         VAN NUYS CA 91406
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.107.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RELIABLE CONTAINER                                                                                $778,286.39
         9206 SANTA FE SPRINGS ROAD                        ¨ Contingent
         SANTA FE SPRINGS CA 90670
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.108.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RELIABLE CONTAINER                                                                                $1,014,935.46
         9206 SANTA FE SPRINGS ROAD                        ¨ Contingent
         SANTA FE SPRINGS CA 90670
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.109.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REPUBLIC SERVICES                                                                                 $1,401.39
         PO BOX 9001099, # 837                             ¨ Contingent
         LOUISVILLE KY 40290
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.110.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICHARD CLAYTON                                                                                   $72.90
         71 HUMBOLDT STREET                                ¨ Contingent
         SIMI VALLEY CA 93065
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.111.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SCHNEIDER NAT'L INC.                                                                              $40,313.25
         2567 PAYSPHERE CIRCLE                             ¨ Contingent
         CHICAGO IL 60674
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.112.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SEASONS LTD., INC.                                                                                $1,084.86
         PO BOX 709                                        ¨ Contingent
         ASHLAND OH 44805
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.113.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SECURE US INCORP.                                                                                 $95.27
         2308 TURNER ST, STE 3                             ¨ Contingent
         SPRINGDALE AR 72764
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.114.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SELECT STAFFING SRVC                                                                              $462,226.04
         PO BOX 512007                                     ¨ Contingent
         LOS ANGELES CA 90051
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.115.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SH&S LIMITED PARTNERSHIP II LLLP                                                                  $2,417.00
         210 N. WALTON BLVD. STE 30                        ¨ Contingent
         BENTONVILLE AR 72712
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.116.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIEMPRE VIVA IND                                                                                  $205,232.22
         US BANK LOCKBOX # 511350                          ¨ Contingent
         LOS ANGELES CA 90051
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.117.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOHNI-WICKE GMBH                                                                                  $169,189.62
         POSTFACH 800254                                   ¨ Contingent
         D-45502 HATTINGEN
         GERMANY                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.118.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHLAND POLYMERS                                                                                $242,595.00
         14030 GANNET ST                                   ¨ Contingent
         SANTA FE SPRINGS CA 90670
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.119.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHWEST ASSETS MANAGEMENT CORP.                                                                 $3,610.10
         6682 GATEWAY PARK DRIVE                           ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.120.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPECIAL TOUCH CLEAN                                                                               $1,500.00
         PO BOX 8144                                       ¨ Contingent
         NORTHRIDGE CA 91327
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.121.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STACEY GRIECO                                                                                     $500.00
         17 SADDLE LANE                                    ¨ Contingent
         SOUTH HUNGTINGTON NY 11746
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.122.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STRATUS BUILDING, SOLUTIONS OF SD                                                                 $1,195.00
         PO BOX 211339                                     ¨ Contingent
         DENVER CO 80221
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.123.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUN LIFE FINANCIAL                                                                                $3,164.49
         PO BOX 843300                                     ¨ Contingent
         KANSAS CITY MO 64184
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.124.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SWM/CONWED PLASTICS                                                                               $3,436.80
         PO BOX 74008904                                   ¨ Contingent
         CHICAGO IL 60674
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.125.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAMCO CAPITAL CORP.                                                                               $709.34
         PO BOX 10306                                      ¨ Contingent
         DES MOINES IA 50306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.126.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TARIMAS Y ACCESSORIO EL MENNY S.A DE C.V                                                          $5,550.00
         CALLE JOSE VASCONCELOS 9801 C                     ¨ Contingent
         NINO ARTILLERO BAJA CALIFORNIA 22680
         TIJUANA BC                                        ¨ Unliquidated
         MEXICO                                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.127.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TARIMAS Y ACCESSORIO EL MENNY S.A DE C.V                                                          $132,898.66
         CALLE JOSE VASCONCELOS 9801 C                     ¨ Contingent
         NINO ARTILLERO BAJA CALIFORNIA 22680
         TIJUANA BC                                        ¨ Unliquidated
         MEXICO                                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.128.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TDS SERVICE                                                                                       $25.63
         P.O. BOX 660831                                   ¨ Contingent
         DALLAS TX 75266
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.129.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TEN-E PACKAGING SERV                                                                              $4,160.00
         326 NORTH CORONA AVE                              ¨ Contingent
         ONTARIO CA 91764
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.130.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE WALT DISNEY CO.                                                                               $4,750.00
         TIME SQUARE 2 1 MATHESON ST 18-21/F               ¨ Contingent
         HONG KONG
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.131.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THEODORE KAN                                                                                      $6,100.00
         23605 CANYON VISTA CT.                            ¨ Contingent
         DIAMOND BAR, CA 91765
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.132.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THOMPSON SALES                                                                                    $22,125.87
         4439 MYERWOOD LN.                                 ¨ Contingent
         DALLAS TX 75244
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.133.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIE-NOT, INC                                                                                      $1,965.13
         2750 CHURCH ROAD                                  ¨ Contingent
         AURORA IL 60502
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.134.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIGER VALUATION SERV                                                                              $32,436.65
         84 STATE ST STE 420                               ¨ Contingent
         BOSTON MA 02109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.135.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOY SALES LTD.                                                                                    $41,554.14
         4160 IL ROUTE 83                                  ¨ Contingent
         SUITE 201
         LONG GROVE IL 60047                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.136.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TQL                                                                                               $14,903.00
         PO BOX 634558                                     ¨ Contingent
         CINCINNATI OH 45263
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.137.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRANOVATION                                                                                       $25,000.00
         4110 BELLAIRE BLVD SUITE 202                      ¨ Contingent
         HOUSTON TX 77025
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.138.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRI SALES FINANCE LL                                                                              $49,372.36
         P.O. BOX 99435, FILE 99435                        ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.139.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRM MANUFACTURING                                                                                 $4,055.43
         PO BOX 77520                                      ¨ Contingent
         CORONA CA 92877
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.140.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TROST LEGAL PC                                                                                    $12,495.00
         1010 N CENTRAL AVE                                ¨ Contingent
         GLENDALE CA 91202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.141.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRUE COMMERCE INC                                                                                 $54,386.18
         NW 6199, PO BOX 1450                              ¨ Contingent
         MINNEAPOLIS MN 55485
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.142.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TURBO EXPRESS                                                                                     $12,610.00
         2498 ROLL DR # 519                                ¨ Contingent
         SAN DIEGO CA 92154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.143.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TWE SOLUTIONS INC.                                                                                $7,229.98
         13900 MARQUESAS WAY #6006                         ¨ Contingent
         MARINA DEL REY CA 90292
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.144.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UL VERIFICATION                                                                                   $3,360.00
         62045 COLLECTIONS CENTER DR                       ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.145.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ULINE                                                                                             $5,784.05
         PO BOX 88741                                      ¨ Contingent
         CHICAGO IL 60680
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.146.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNITED PARCEL SVC                                                                                 $950.73
         P.O. BOX 894820                                   ¨ Contingent
         LOS ANGELES CA 90189
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.147.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNITED PET CARE CA                                                                                $127.05
         24361 EL TORO RD, SUITE 255                       ¨ Contingent
         LAGUNA WOODS CA 92637
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.148.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UPS SUPPLY CHAIN                                                                                  $495.14
         28013 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.149.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VANTAGE ID APPLICATI                                                                              $532.72
         2400 FENTON ST                                    ¨ Contingent
         SUITE 204
         CHULA VISTA CA 91914                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.150.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VG PACKAGING                                                                                      $309,311.92
         13142 ST. THOMAS DR.                              ¨ Contingent
         SANTA ANA CA 92705
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.151.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIACOM MEDIA NETWORK                                                                              $90,967.01
         1540 BROADWAY, 32ND FL                            ¨ Contingent
         NEW YORK NY 10036
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.152.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VPET USA                                                                                          $1,158,923.35
         12925B MARLAY AVE.                                ¨ Contingent
         FONTANA CA 92337
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.153.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WALT DISNEY RECORDS                                                                               $17,853.44
         PO BOX 101622                                     ¨ Contingent
         PASADENA CA 91189
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.154.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WARNER BROTHERS CONSUMER PRODUCTS                                                                 $11,554.23
         21477 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.155.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTERN EXT. CO                                                                                   $325.00
         PO BOX 16350                                      ¨ Contingent
         READING PA 19612
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.156.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTERN EXTERMINATOR                                                                              $139.00
         PO BOX 16350                                      ¨ Contingent
         READING PA 19612
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.157.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTERN GRAPHICS                                                                                  $32,198.73
         PO BOX 8229                                       ¨ Contingent
         LA VERNE CA 91750
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.158.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WIDE EYES MARKETING                                                                               UNDETERMINED
         32600 BOBCAT DR                                   ¨ Contingent
         MISSION BC V2V 5L1
         CANADA                                            þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        TRADE DEBT
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.159.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WILLIAM WHEELER                                                                                   $4,192.06
         31 HOOKWAY CRES.                                  ¨ Contingent
         WINNIPEG, MANITOBA R3R 3R8
         WINNIPEG MB R3R 3R8                               ¨ Unliquidated
         CANADA                                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.160.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WONDERLAND MUSIC CO.                                                                              $99.75
         500 S. BUENA VISTA STREET                         ¨ Contingent
         BURBANK CA 91521
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.161.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         XPO LOGISTICS, INC                                                                                $70,824.94
         27724 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.162.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ZIGMOND,SNOW & LANG                                                                               $5,720.00
         16255 VENTURA BLVD                                ¨ Contingent
         SUITE 212
         ENCINO CA 91436                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         01/2019 - 11/2019                                 TRADE DEBT
         Last 4 digits of account number: N/A              Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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 Part 3:     List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      BINDER & MALTER LLP                                Part 2 line 3.97                                        _____________________
      ROBERT G. HARRIS, ESQ.
      2775 PARK AVENUE
      SANTA CLARA CA 95050

      GOLDBERG SEGALLA LLP (NJ)                          Part 2 line 3.29                                        _____________________
      DAVID SCOTT OSTERMAN AND ADAM RICHARD
      DOLAN
      902 CARNEGIE CENTER
      ST 100
      PRINCETON NJ 08540

      GOLDBERG SEGALLA, LLP (WHPLS2)                     Part 2 line 3.29                                        _____________________
      ADAM RICHARD DOLAN
      11 MARTINE AVENUE
      SUITE 750
      WHITE PLAINS NY 10606

      LANDAU GOTTFRIED & BERGER LLP                      Part 2 line 3.116                                       _____________________
      MICHAEL I. GOTTFRIED
      1880 CENTURY PARK EAST STE 1101
      LOS ANGELES CA 90067

      SEVERSON & WERSON                                  Part 2 line 3.150                                       _____________________
      DONALD H CRAM III, ESQ
      ONE EMBARCADERO CENTER, 26TH FLOOR
      SAN FRANCISCO CA 94111

      TEXAS COMPTROLLER                                  Part 1 line 2.14                                        _____________________
      111 E 17TH ST
      AUSTIN TX 78701




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 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts


5a.   Total claims from Part 1                                                           5a.        $455,109.79


5b.   Total claims from Part 2                                                           5b.   +    $17,778,823.57


      Total of Parts 1 and 2                                                                        $18,233,933.36
5c.                                                                                      5c.
      Lines 5a + 5b = 5c.




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Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.      List all contracts and unexpired leases                                                            State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.    Title of contract                SOFTWARE                                                          1WORLDSYNC
                                                                                                           PO BOX 71-3883
        State what the contract or       SOFTWARE                                                          COLUMBUS OH 43271
        lease is for

        Nature of debtor's interest      _________________________________________________

        State the term remaining         ANNUAL

        List the contract number of      _________________________________________________
        any government contract


2.2.    Title of contract                SOFTWARE                                                          State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       SOFTWARE                                                          debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      _________________________________________________                 ALIGNTRAC SOLUTIONS
                                                                                                           1099 KINGSTON ROAD
        State the term remaining         MONTH TO MONTH                                                    STE. 219
                                                                                                           PICKERING ON L1V-1B5
        List the contract number of      _________________________________________________                 CANADA
        any government contract


2.3.    Title of contract                INDEPENDENT REP                                                   State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       INDEPENDENT REP                                                   debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      _________________________________________________                 ALL SOURCE (STEVE DRAKE)
                                                                                                           P.O. BOX 254
        State the term remaining         MONTH TO MONTH                                                    ANKENY IA 50021
        List the contract number of      _________________________________________________
        any government contract




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2.4.     Title of contract              SHIPPERS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SHIPPERS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   ATLAS TRANSPORTATION
                                                                                            2306 AVENIDA COSTA ESTE
         State the term remaining       MONTH TO MONTH                                      SAN DIEGO CA 92154
         List the contract number of    _________________________________________________
         any government contract


2.5.     Title of contract              OFFICE LEASE                                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     OFFICE LEASE                                        debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   BEST VALUE INTERNATIONAL
                                                                                            (HONG KONG)
         State the term remaining       ENDS 9/30/21                                        19F, 8 OBSERVATORY RD
                                                                                            TSIM SHA TSUI
         List the contract number of    _________________________________________________   CHINA
         any government contract


2.6.     Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   BJWT BRAND SERVICES
                                                                                            11845 W. OLYMPIC BLVD.
         State the term remaining       1/17/2020                                           #1125W
                                                                                            LOS ANGELES CA 90064
         List the contract number of    _________________________________________________
         any government contract


2.7.     Title of contract              BENEFITS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     BENEFITS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   BLUE SHIELD
                                                                                            PO BOX 749415
         State the term remaining       MONTH TO MONTH                                      LOS ANGELES CA 90074
         List the contract number of    _________________________________________________
         any government contract


2.8.     Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   BRAD ROSS, BEST ROAD INC
                                                                                            484 W. 43RD STREET
         State the term remaining       LIFE OF TRADEMARK                                   STE. 31T
                                                                                            NY NY 10036
         List the contract number of    _________________________________________________
         any government contract




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2.9.     Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   BRAD ROSS, IVY STRAUSS DESIGN,
                                                                                            LLC
         State the term remaining       LIFE OF TRADEMARK                                   484 W. 43RD STREET
                                                                                            STE. 31T
         List the contract number of    _________________________________________________   NY NY 10036
         any government contract


2.10.    Title of contract              PROFESSIONAL SERVICES                               State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     PROFESSIONAL SERVICES                               debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   BUSET & PARTNERS LLP
                                                                                            1121 BARTON STREET
         State the term remaining       MONTH TO MONTH                                      THUNDER BAY ON P7B 5N3
                                                                                            CANADA
         List the contract number of    _________________________________________________
         any government contract


2.11.    Title of contract              SUPPLIER                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SUPPLIER                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   CANON FINANCIAL SERVICES
                                                                                            14904 COLLECTIONS CENTER
         State the term remaining       MONTH TO MONTH                                      DRIVE
                                                                                            CHICAGO IL 60693
         List the contract number of    _________________________________________________
         any government contract


2.12.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   CARLA HEUNE & ASSOC
                                                                                            4909 E. MORSE ROAD
         State the term remaining       MONTH TO MONTH                                      LODI CA 95240
         List the contract number of    _________________________________________________
         any government contract


2.13.    Title of contract              PROFESSIONAL SERVICES                               State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     PROFESSIONAL SERVICES                               debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   CASSELS BROCK LAWYER
                                                                                            2100 SCOTIA PLAZA, 40 KING
         State the term remaining       MONTH TO MONTH                                      STREET WEST
                                                                                            TORONTO ON M5H 3C2
         List the contract number of    _________________________________________________   CANADA
         any government contract




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2.14.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   CDW DIRECT
                                                                                            P.O. BOX 75723
         State the term remaining       ANNUAL                                              CHICAGO IL 60675
         List the contract number of    _________________________________________________
         any government contract


2.15.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   CDZ SALES, INC. (TOMMY ZITIELLO)
                                                                                            P.O. BOX 1472
         State the term remaining       MONTH TO MONTH                                      PALM HARBOR FL 34682
         List the contract number of    _________________________________________________
         any government contract


2.16.    Title of contract              SUPPLIER                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SUPPLIER                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   D&S SECURITY, INC.
                                                                                            5411 VALLEY BLVD
         State the term remaining       MONTH TO MONTH                                      LOS ANGELES CA 90032
         List the contract number of    _________________________________________________
         any government contract


2.17.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   DBA INC. (ANDY HESTER)
                                                                                            1091 CENTRE ROAD, STE 270
         State the term remaining       MONTH TO MONTH                                      AUBURN HILLS MI 48326
         List the contract number of    _________________________________________________
         any government contract


2.18.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   DISNEY ASIA
                                                                                            38/F, OXFORD HOUSE, TAIKOO
         State the term remaining       6/30/2020                                           PLACE,
                                                                                            979 KING'S ROAD,
         List the contract number of    1888532041                                          QUARRY BAY HONG KONG
         any government contract                                                            CHINA




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2.19.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   DISNEY CONSUMER PRODUCTS,
                                                                                            INC.
         State the term remaining       12/31/2019                                          622 CIRCLE 7 DRIVE
                                                                                            STE 142 D
         List the contract number of    1700003654                                          GLENDALE CA 91201
         any government contract


2.20.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   DUKES GROUP INC (RON DUKE)
                                                                                            1555 FLAT MOUNTAIN ROAD
         State the term remaining       MONTH TO MONTH                                      FAIRBANKS AK 99712
         List the contract number of    _________________________________________________
         any government contract


2.21.    Title of contract              SHIPPERS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SHIPPERS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   EVERGREEN SHIPPING AGENCY
                                                                                            (AMERICA) CORP.
         State the term remaining       MONTH TO MONTH                                      6021 KATELLA AVE., STE 200
                                                                                            CYPRESS CA 90630
         List the contract number of    _________________________________________________
         any government contract


2.22.    Title of contract              SHIPPERS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SHIPPERS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   EXPEDITORS INTERNATIONAL OF
                                                                                            WASHINGTON, INC.
         State the term remaining       MONTH TO MONTH                                      12200 S. WILKIE AVE, STE 100
                                                                                            HAWTHORNE CA 90250
         List the contract number of    _________________________________________________
         any government contract


2.23.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   FEBLAND GROUP (NIGEL FEBLAND)
                                                                                            230 FIFTH AVE., STE 308
         State the term remaining       MONTH TO MONTH                                      NEW YORK NY 10001
         List the contract number of    _________________________________________________
         any government contract




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2.24.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   FREUD & MORRIS INC. (KERI
                                                                                            BRADY)
         State the term remaining       MONTH TO MONTH                                      1675 WHITEHORSE -MERCERVILLE
                                                                                            ROAD, STE 107
         List the contract number of    _________________________________________________   HAMILTON NJ 08619
         any government contract


2.25.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   GIGGLICIOUS, LLC, BRAD ROSS
                                                                                            1782 RUDGATE DR
         State the term remaining       LIFE OF TRADEMARK                                   AVON IN 46123
         List the contract number of    _________________________________________________
         any government contract


2.26.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   GX INC.
                                                                                            9711 WASHINGTONIAN BLVD. STE.
         State the term remaining       MONTH TO MONTH                                      700
                                                                                            GAITHERSBURG MD 20878
         List the contract number of    _________________________________________________
         any government contract


2.27.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   IBM
                                                                                            PO BOX 740867
         State the term remaining       ANNUAL                                              ATLANTA GA 30374
         List the contract number of    _________________________________________________
         any government contract


2.28.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   INSIGHT MARKETING (KATHY RE)
                                                                                            19035 SOUTHWEST CHESAPEAKE
         State the term remaining       MONTH TO MONTH                                      DR.
                                                                                            TUALATIN OR 97062
         List the contract number of    _________________________________________________
         any government contract




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2.29.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   JDA SOFTWARE
                                                                                            15059 N. SCOTTSDALE RD SUITE
         State the term remaining       MONTH TO MONTH                                      400
                                                                                            SCOTTSDALE AZ 85254
         List the contract number of    _________________________________________________
         any government contract


2.30.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   JMC SALES LLC (JULIE COOK)
                                                                                            10088 198TH CT W
         State the term remaining       MONTH TO MONTH                                      LAKEVILLE MN 55044
         List the contract number of    _________________________________________________
         any government contract


2.31.    Title of contract              BENEFITS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     BENEFITS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   JOHN HANCOCK PERSONAL
                                                                                            FINANCIAL SERVICES
         State the term remaining       MONTH TO MONTH                                      601 CONGRESS STREET
                                                                                            BOSTON MA 02210
         List the contract number of    _________________________________________________
         any government contract


2.32.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   LAURA GIGER & ASSOCIATES
                                                                                            69 MADILL DR.
         State the term remaining       MONTH TO MONTH                                      MONO ON L9W 6G4
                                                                                            CANADA
         List the contract number of    _________________________________________________
         any government contract


2.33.    Title of contract              PROFESSIONAL SERVICES                               State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     PROFESSIONAL SERVICES                               debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   LAW OFFICES OF VICTOR
                                                                                            SAPPHIRE
         State the term remaining       MONTH TO MONTH                                      7190 SUNSET BLVD. STE. 116
                                                                                            LOS ANGELES CA 90046
         List the contract number of    _________________________________________________
         any government contract




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2.34.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MARVEL BRANDS LLC
                                                                                            417 FIFTH AVENUE
         State the term remaining       ENDS 12/31/2019                                     NEW YORK NY 10016
         List the contract number of    130130
         any government contract


2.35.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MATTEL/THOMAS LICENSING
                                                                                            PO BOX 911258
         State the term remaining       ENDS 12/31/2019                                     DALLAS TX 75391
         List the contract number of    77257
         any government contract


2.36.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MGA ENTERTAINMENT
                                                                                            9220 WINNETKA AVE
         State the term remaining       N/A                                                 CHATSWORTH CA 91311
         List the contract number of    _________________________________________________
         any government contract


2.37.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MGA LITTLE TIKES
                                                                                            16380 ROSCOE BLVD. SUITE 105
         State the term remaining       12/31/2020                                          ATTN: ROYALTY DEPT.
                                                                                            VAN NUYS CA 91406
         List the contract number of    MLA201701644
         any government contract


2.38.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MGA LOL SURPRISE
                                                                                            16380 ROSCOE BLVD. SUITE 105
         State the term remaining       12/31/2019                                          ATTN: ROYALTY DEPT.
                                                                                            VAN NUYS CA 91406
         List the contract number of    MLA201801668
         any government contract




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2.39.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MIKE DOTY SALES COMPANY
                                                                                            P.O. BOX 901628
         State the term remaining       MONTH TO MONTH                                      SANDY UT 84090
         List the contract number of    _________________________________________________
         any government contract


2.40.    Title of contract              SHIPPERS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SHIPPERS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   MODE TRANSPORTATION
                                                                                            PO BOX 936644
         State the term remaining       MONTH TO MONTH                                      ATLANTA GA 31193
         List the contract number of    _________________________________________________
         any government contract


2.41.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   PARK PLACE TECH
                                                                                            P.O. BOX 78000
         State the term remaining       ANNUAL                                              DEPT 781156
                                                                                            DETROIT MI 48278
         List the contract number of    _________________________________________________
         any government contract


2.42.    Title of contract              OFFICE LEASE                                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     OFFICE LEASE                                        debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   PAUL VAN OSTRAND
                                                                                            7800 DEERING AVE.
         State the term remaining       ENDS 2/28/2021                                      CANOGA PARK CA 91304
         List the contract number of    _________________________________________________
         any government contract


2.43.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   RICHARD CLAYTON
                                                                                            71 HUMBOLDT STREET
         State the term remaining       LIFE OF TRADEMARK                                   SIMI VALLEY CA 93065
         List the contract number of    _________________________________________________
         any government contract




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2.44.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   RUCKUS CLOUD
                                                                                            350 WEST JAVA DR.
         State the term remaining       ANNUAL                                              SUNNYVALE CA 94089
         List the contract number of    _________________________________________________
         any government contract


2.45.    Title of contract              SHIPPERS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SHIPPERS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   SCHNEIDER NATIONAL INC.
                                                                                            2567 PAYSPHERE CIRCLE
         State the term remaining       MONTH TO MONTH                                      CHICAGO IL 60674
         List the contract number of    _________________________________________________
         any government contract


2.46.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   SEASONS LTD. INC. (JOE ODIERNA)
                                                                                            PO BOX 709
         State the term remaining       MONTH TO MONTH                                      ASHLAND OH 44805
         List the contract number of    _________________________________________________
         any government contract


2.47.    Title of contract              OFFICE LEASE                                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     OFFICE LEASE                                        debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   SH&S LIMITED PARTNERSHIP II, LLP
                                                                                            210 N. WALTON BLVD.
         State the term remaining       ENDS 12/31/2021                                     STE. 30
                                                                                            BENTONVILLE AR 72712
         List the contract number of    _________________________________________________
         any government contract


2.48.    Title of contract              OFFICE LEASE                                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     OFFICE LEASE                                        debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   SIEMPRE VIVA IND (SAN DIEGO)
                                                                                            9043 SIEMPRE VIVA RD #100
         State the term remaining       ENDS 3/31/2020                                      SAN DIEGO CA 92154
         List the contract number of    _________________________________________________
         any government contract




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2.49.    Title of contract              PROFESSIONAL SERVICES                               State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     PROFESSIONAL SERVICES                               debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   SNELL & WILMER LLP
                                                                                            400 E. VAN BUREN, STE 1900
         State the term remaining       MONTH TO MONTH                                      PHOENIX AZ 85004
         List the contract number of    _________________________________________________
         any government contract


2.50.    Title of contract              BENEFITS                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     BENEFITS                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   SUN LIFE FINANCIAL
                                                                                            PO BOX 843300
         State the term remaining       MONTH TO MONTH                                      KANSAS CITY MO 64184
         List the contract number of    _________________________________________________
         any government contract


2.51.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   THOMPSON SALES (MARK
                                                                                            THOMPSON)
         State the term remaining       MONTH TO MONTH                                      4439 MYERWOOD LN.
                                                                                            DALLAS TX 75244
         List the contract number of    _________________________________________________
         any government contract


2.52.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   TIE NOT INC
                                                                                            2750 CHURCH ROAD
         State the term remaining       AUTO RENEW AT FIRST OF YEAR FOR ONE YEAR            AURORA IL 60502
         List the contract number of    _________________________________________________
         any government contract


2.53.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   TOY SALES LTD. (BURT STERN)
                                                                                            4160 IL ROUTE 83
         State the term remaining       MONTH TO MONTH                                      SUITE 201
                                                                                            LONG GROVE IL 60047
         List the contract number of    _________________________________________________
         any government contract




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2.54.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   TRANOVATION (LICK A BUBBLE)
                                                                                            4110 BELLAIRE BLVD SUITE 202
         State the term remaining       12/31/2019                                          HOUSTON TX 77025
         List the contract number of    _________________________________________________
         any government contract


2.55.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   TRUECOMMERCE, INC.
                                                                                            NW 6199, PO BOX 1450
         State the term remaining       6 MONTHS                                            MINNEAPOLIS MN 55485
         List the contract number of    _________________________________________________
         any government contract


2.56.    Title of contract              SOFTWARE                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     SOFTWARE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   TWE SOLUTIONS
                                                                                            13900 MARQUESAS WAY #6006
         State the term remaining       ANNUAL                                              MARINA DEL REY CA 90292
         List the contract number of    _________________________________________________
         any government contract


2.57.    Title of contract              OFFICE LEASE                                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     OFFICE LEASE                                        debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   VESTA BAJA CALIFORNIA, S DE R.L
                                                                                            DE CV PLANT I & II
         State the term remaining       11/30/2020                                          PARQUE INDUSTRIAL PACIFICO
                                                                                            CALLE GUERRERO NEGRO 9802
         List the contract number of    _________________________________________________   TIJUANA BAJA CALIFORNIA CP
         any government contract                                                            22644
                                                                                            MEXICO


2.58.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   VIACOM 80838
                                                                                            1540 BROADWAY, 32ND FL
         State the term remaining       12/31/2020                                          NEW YORK NY 10036
         List the contract number of    80838
         any government contract




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2.59.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   VIACOM 80839
                                                                                            1540 BROADWAY, 32ND FL
         State the term remaining       12/31/2020                                          NEW YORK NY 10036
         List the contract number of    80839
         any government contract


2.60.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   VIACOM MEDIA NETWORKS
                                                                                            1540 BROADWAY, 32ND FL
         State the term remaining       N/A                                                 NEW YORK NY 10036
         List the contract number of    _________________________________________________
         any government contract


2.61.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   WALT DISNEY RECORDS
                                                                                            PO BOX 101622
         State the term remaining       12/31/2019                                          PASADENA CA 91189
         List the contract number of    _________________________________________________
         any government contract


2.62.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   WARNER BROS. CONSUMER
                                                                                            PRODUCTS, INC.
         State the term remaining       12/31/2020                                          21477 NETWORK PLACE
                                                                                            CHICAGO IL 60673
         List the contract number of    582116
         any government contract


2.63.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   WIDE EYES MARKETING
                                                                                            32600 BOBCAT DR
         State the term remaining       UNTIL TERMINATED ACCORDING TO PROVISIONS            MISSION BC V2V 5L1
                                                                                            CANADA
         List the contract number of    _________________________________________________
         any government contract




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2.64.    Title of contract              INDEPENDENT REP                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     INDEPENDENT REP                                     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   WILLIAM WHEELER AGENCIES
                                                                                            (KEITH EAST / ANDY WHEELER)
         State the term remaining       MONTH TO MONTH                                      31 HOOKWAY CRES.
                                                                                            WINNIPEG MB R3R 3R8
         List the contract number of    _________________________________________________   CANADA
         any government contract


2.65.    Title of contract              LICENSOR                                            State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     LICENSOR                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    _________________________________________________   WONDERLAND MUSIC CO. INC.
                                                                                            500 S. BUENA VISTA STREET
         State the term remaining       12/31/2019                                          BURBANK CA 91521
         List the contract number of    _________________________________________________
         any government contract




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Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   ARTHUR HIRSCH                      Address Intentionally Omitted             THE CIT GROUP                      þD
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.2.   IMPERIAL TOY DE MEXICO, S.         CALLE MAZATLAN 14600                      GREAT ROCK CAPITAL                 þD
       DE R.L., DE C.V.                   PARQUE INDUSTRIAL PACIFICO                PARTNERS MANAGEMENT,
                                          TIJUANA, BAJA CALIFORNIA 22643            LLC                                ¨ E/F
                                          MEXICO                                                                       ¨G
2.3.   PETER TIGER                        Address Intentionally Omitted             GREAT ROCK CAPITAL                 þD
                                                                                    PARTNERS MANAGEMENT,
                                                                                    LLC                                ¨ E/F
                                                                                                                       ¨G




Official Form 206H                                          Schedule H: Codebtors                                                       Page 1 of 1
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Fill in this information to identify the case:

Debtor name: Imperial Toy LLC
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 19-52335



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



      þ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      þ Schedule H: Codebtors (Official Form 206H)
      þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨ Amended Schedule ____
      ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
      ¨ Other document that requires a declaration _______________________________________________________________________


      I declare under penalty of perjury that the foregoing is true and correct.



       Executed on      12/9/2019
                        MM/DD/YYYY                                û        /s/ Peter Tiger
                                                                      ______________________________________________________________
                                                                      Signature of individual signing on behalf of debtor


                                                                      Peter Tiger
                                                                      Printed name


                                                                      Chief Executive Officer
                                                                      Position or relationship to debtor




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